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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
GIGAMONSTER NETWORKS, LLC, et al.,1                       ) Case No. 23-10051 (JKS)
                                                          )
                                 Debtors.                 ) (Jointly Administered)
                                                          )
                                                          Objection Deadline: August 3, 2023 at 4:00 p.m.
                                                          Hearing Date: August 17, 2023 at 10:00 a.m.



               FIRST QUARTERLY APPLICATION FOR COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES OF
                PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
              FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
              PERIOD FROM JANUARY 17, 2023 THROUGH MARCH 31, 2023

    Name of Applicant:                                Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                      Debtors and Debtors in Possession
    to:
                                                      Effective as of January 16, 2023 by order
    Date of Retention:
                                                      signed February 9, 2023
    Period for which Compensation and
                                                      January 17, 2023 through March 31, 20232
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                      $2,229,904.75
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                      $     32,981.52
    as Actual, Reasonable and Necessary:
    Rates are Higher than those Approved or
    Disclosed at Retention? Yes__ No__
                                                      No
    If yes, Total Compensation Sought Using
    Rates Disclosed in Retention Application:
    Compensation Sought in this Application
    Already Paid Pursuant to a Monthly                $1,036,591.60
    Compensation Order but not yet Allowed:


1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
2
  The applicant reserves the right to include any time expended in the time period indicated above in future
application(s) if it is not included herein.


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 Expenses Sought in this Application
 Already Paid Pursuant to a Monthly               $    23,375.25
 Compensation Order but not yet Allowed:
 Number of Professionals Included in this
                                                  19
 Application:
 If Applicable, Number of Professionals in
 this Application not Included in Staffing        None
 Plan Approved by Client:
 If Applicable, Difference Between Fees
 Budgeted and Compensation Sought for this        ($49,595.25)
 Period:
 Number of Professionals Billing Fewer than
                                                  6
 15 Hours to the Case During this Period:

This is a:       ☐monthly      ☒ interim      ☐final application.

                 The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,000.00.




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                                 PRIOR APPLICATIONS FILED

   Date          Period Covered        Requested         Requested      Approved        Approved
  Filed                                  Fees            Expenses         Fees          Expenses
 04/11/23      01/17/23 – 01/31/23     $304,014.00        $11,622.17    $243,211.20      $11,622.17
 04/18/23      02/01/23 – 02/28/23     $991,725.50        $11,753.08    $793,380.40      $11,753.08
 07/10/23      03/01/23 – 03/31/23     $934,165.25        $ 9,606.27       Pending         Pending



                                     PSZ&J PROFESSIONALS

         Name of                 Position of the Applicant,        Hourly   Total         Total
       Professional              Number of Years in that           Billing  Hours      Compensation
        Individual                Position, Prior Relevant          Rate    Billed
                              Experience, Year of Obtaining      (including
                                License to Practice, Area of      Changes)
                                         Expertise
 Laura Davis Jones           Partner 2000; Joined Firm 2000;     $1,745.00   187.50      $327,187.50
                             Member of DE Bar since 1986
 David J. Barton             Partner 2000; Member of CA Bar      $1,645.00    98.30      $161,703.50
                             since 1981
 Richard J. Gruber           Of Counsel 2008; Member of CA       $1,525.00    40.10      $ 61,152.50
                             Bar since 1982
 David M. Bertenthal         Partner 1999; Member of CA Bar      $1,450.00   286.10      $414,845.00
                             since 1993                          $ 725.00     12.60      $ 9,135.00
 Maxim B. Litvak             Partner 2004; Member of TX Bar      $1,445.00    44.30      $ 64,013.50
                             since 1997; Member of CA Bar
                             since 2001
 Mary F. Caloway             Of Counsel 2020; Member of DE       $1,350.00    52.50      $ 70,875.00
                             Bar since 1992
 Joshua M. Fried             Partner 2006; Member of CA Bar      $1,275.00   146.30      $186,532.50
                             since 1995; Member of NY Bar        $ 637.50     14.10      $ 8,988.75
                             since 1999; Member of NJ Bar
                             since 2000
 Timothy P. Cairns           Partner 2012; Member of DE Bar      $1,125.00   248.40      $279,450.00
                             2002-2014; 2017-Present
 Nina L. Hong                Partner 2006; Member of CA Bar      $1,075.00   142.30      $152,972.50
                             since 1996
 Peter J. Keane              Of Counsel 2018; Member of PA       $1,025.00   379.00      $388,475.00
                             Bar since 2008; Member of DE &
                             NH Bars since 2010
 Edward A. Corma             Associate 2022; Member of NJ        $ 725.00     63.80      $ 46,255.00
                             Bar since 2018; Member of PA
                             Bar since 2019; Member of DE
                             Bar since 2020


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         Name of                Position of the Applicant,        Hourly   Total          Total
       Professional              Number of Years in that          Billing  Hours       Compensation
        Individual               Position, Prior Relevant          Rate    Billed
                              Experience, Year of Obtaining     (including
                               License to Practice, Area of      Changes)
                                        Expertise
 Patricia J. Jeffries        Paralegal                          $     545.00   38.50     $ 20,982.50
 Patricia E. Cuniff          Paralegal                          $     545.00    0.50     $    272.50
 Ian Densmore                Paralegal                          $     545.00   54.30     $ 29,593.50
 Cheryl A. Knotts            Paralegal                          $     495.00    0.50     $    247.50
 Mike A. Matteo              Paralegal                          $     495.00    2.40     $ 1,188.00
 Andrea R. Paul              Case Management Assistant          $     425.00    0.50     $    212.50
 Charles J. Bouzoukis        Case Management Assistant          $     425.00    1.10     $    467.50
 Karen S. Neil               Case Management Assistant          $     425.00   12.60     $ 5,355.00

                                    Grand Total: $2,229,904.75
                                    Total Hours:      1,825.70
                                    Blended Rate:    $1,221.40




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                             COMPENSATION BY CATEGORY

              Project Categories                   Total Hours            Total Fees
 Asset Disposition                                         1,100.00         $1,423,246.00
 Bankruptcy Litigation                                       312.30         $ 373,510.00
 Business Operations                                           2.70         $    2,852.50
 Case Administration                                          22.00         $ 12,853.50
 Claims Admin./Objections                                     23.40         $ 27,740.00
 Compensation of Prof./Others                                 13.10         $ 13,081.00
 Employee Benefit/Pension                                     41.50         $ 48,978.50
 Executory Contracts                                          89.30         $ 102,814.50
 Financial Filings                                            69.60         $ 60,621.00
 Financing                                                    44.60         $ 59,148.00
 General Business Advice                                       0.90         $      445.50
 General Creditors Committee                                   0.20         $      289.00
 Insurance Coverage                                            0.70         $      381.50
 Meeting of Creditors                                          9.30         $ 11,627.00
 Operations                                                    1.10         $      831.50
 Retention of Professional                                     8.30         $    8,777.50
 Retention of Prof./Others                                    58.90         $ 63,448.50
 Tax Issues                                                    1.10         $    1,135.50
 Travel                                                       26.70         $ 18,123.75




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                                         EXPENSE SUMMARY

          Expense Category                            Service Provider3                            Total
                                                        (if applicable)                           Expenses
    Air Fare                             American Airlines; United Airlines                        $5,496.60
    Airport Parking                      SFO                                                       $ 180.00
    Auto Travel Expense                  Verifone Transportation; KLS Worldwide                    $ 926.42
                                         Transportation
    Bloomberg                                                                                       $ 20.00
    Working Meals                        Gotts Roadside; Bistrot; Olympic Steaks;                   $ 243.54
                                         Spark'd; El Diablo Market St; Chickies &
                                         Pete; Deco; Catus Cantina
    Conference Call                      AT&T Conference Call                                       $ 345.20
    Delivery/Courier Service             Advita                                                     $1,859.98
    Express Mail                         Federal Express                                            $ 39.49
    Filing Fee                           USBC                                                       $8,928.00
    Hotel Expense                        Hotel DuPont                                               $2,631.20
    Legal Research                       Lexis/Nexis                                                $ 555.34
    Outside Services                     L. Saunders                                                $ 434.40
    Court Research                       Pacer                                                      $1,056.10
    Postage                              US Mail                                                    $    0.60
    Reproduction Expense                                                                            $ 751.30
    Reproduction/ Scan Copy                                                                         $4,064.70
    Research                             Cl@s Information Services                                  $1,084.00
    Travel Expense                       Travel Agency Fee; Amtrak; Inflight WiFi                   $ 380.00
                                         Service
    Transcript                           Reliable Companies; Veritext                               $3,984.65




3
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 ) Chapter 11
                                                       )
GIGAMONSTER NETWORKS, LLC, et al.,1                    ) Case No. 23-10051 (JKS)
                                                       )
                                 Debtors.              ) (Jointly Administered)
                                                       )
                                                        Objection Deadline: August 3, 2023 at 4:00
                                                        p.m. Hearing Date: August 17, 2023 at 10:00
                                                        a.m.

              FIRST QUARTERLY APPLICATION FOR COMPENSATION
                     AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
                 FOR THE DEBTORS AND DEBTORS IN POSSESSION,
         FOR THE PERIOD FROM JANUARY 17, 2023 THROUGH MARCH 31, 2023

                 Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”) and the Court’s “Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals,” signed on or about February 9, 2023 (the

“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), counsel

for the debtors and debtors in possession (“Debtors”), hereby submits its First Quarterly

Application for Compensation and for Reimbursement of Expenses for the Period from January

17, 2023 through March 31, 2023 (the “Application”).

                 By this Application PSZ&J seeks an interim allowance of compensation in the

amount of $2,229,904.75 and actual and necessary expenses in the amount of $32,981.52 for a


1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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total allowance of $2,262,886.27 and payment of the unpaid amount of such fees and expenses

for the period January 17, 2023 through March 31, 2023 (the “Fee Period”). In support of this

Application, PSZ&J respectfully represents as follows:

                                                Background

                 1.          On January 16, 2023, the Debtors commenced these cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in

possession of their property and continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the Debtors’ chapter 11 cases. An official committee of

unsecured creditors (the “Committee”) was appointed in these cases on or about January 30,

2023.

                 2.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                 3.          On or about February 9, 2023, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within twenty-one (21) days after service of the

monthly fee application the Debtors are authorized to pay the Professional eighty percent (80%)

of the requested fees and one hundred percent (100%) of the requested expenses. Beginning

with the period ending March 31, 2023, and at three-month intervals or such other intervals



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convenient to the Court, each of the Professionals may file and serve an interim application for

allowance of the amounts sought in its monthly fee applications for that period. All fees and

expenses paid are on an interim basis until final allowance by the Court.

                 4.          The retention of PSZ&J, as counsel for the Debtors, was approved

effective as of January 16, 2023 by this Court’s “Order Authorizing the Employment and

Retention of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the

Petition Date,” signed on or about February 9, 2023 (the “Retention Order”). The Retention

Order authorized PSZ&J to be compensated on an hourly basis and to be reimbursed for actual

and necessary out-of-pocket expenses.

                 5.          Attorneys retained pursuant to sections 327 or 1103 of the Bankruptcy

Code must comply with certain requirements of the United States Trustee’s Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11

U.S.C. §330 by Attorneys in Larger Chapter 11 Cases (the “Revised UST Guidelines”). The

Office of the United States Trustee has promulgated forms to aid in compliance with the Revised

UST Guidelines. Charts and tables based on such forms are attached hereto as exhibits and filled

out with data to the extent relevant to these cases: Exhibit “A”, Customary and Comparable

Compensation Disclosures with Fee Applications; Exhibit “B”, Summary of Timekeepers

Included in this Fee Application, Exhibit “C-1”, Budget; Exhibit “C-2”, Staffing Plan; Exhibit

“D-1”, Summary of Compensation Requested by Project Category; Exhibit “D-2”, Summary of

Expense Reimbursement Requested by Category; and Exhibit “E”, Summary Cover Sheet of Fee

Application.



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                      PSZ&J’s APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                 6.          The monthly fee applications (the “Monthly Fee Applications”) for the

periods January 17, 2023 through March 31, 2023 of PSZ&J have been filed and served pursuant

to the Administrative Order.

                 7.          On April 12, 2023, PSZ&J filed its First Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtors, for the Period from January 17, 2023 through January 31, 2023 (the

“First Monthly Fee Application”) requesting $304,014.00 in fees and $11,622.17 in expenses.

Pursuant to the Administrative Order, PSZ&J has been paid $243,211.20 of the fees and

$11,622.17 of the expenses requested in the First Monthly Fee Application. A true and correct

copy of the First Monthly Fee Application is attached hereto as Exhibit F.

                 8.          On April 18, 2023, PSZ&J filed its Second Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel for the Debtors, for the Period from February 1, 2023 through February 28, 2023 (the

“Second Monthly Fee Application”) requesting $991,725.50 in fees and $11,753.08 in expenses.

Pursuant to the Administrative Order, PSZ&J has been paid $793,380.40 of the fees and

$11,753.08 of the expenses requested in the Second Monthly Fee Application. A true and

correct copy of the Second Monthly Fee Application is attached hereto as Exhibit G.

                 9.          On July 10, 2023, PSZ&J filed its Third Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as



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Counsel for the Debtors, for the Period from March 1, 2023 through March 31, 2023 (the “Third

Monthly Fee Application”) requesting $934,165.25 in fees and $9,606.27 in expenses. The

Third Monthly Fee Application is pending. A true and correct copy of the Third Monthly Fee

Application is attached hereto as Exhibit H.

                 10.         The Monthly Fee Applications covered by this Application contain

detailed daily time logs describing the actual and necessary services provided by PSZ&J during

the periods covered by such applications as well as other detailed information required to be

included in fee applications.

                                              Requested Relief

                 11.         By this Application, PSZ&J requests that the Court approve payment of

one-hundred percent (100%) of the fees and expenses incurred by PSZ&J during the Interim

Period of January 17, 2023 through March 31, 2023.

                 12.         At all relevant times, PSZ&J has not represented any party having an

interest adverse to these cases.

                 13.         All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtors.

                 14.         PSZ&J, and any partner, of counsel, or associate thereof, have received no

payment and no promises for payment from any source other than from the Debtors for services

rendered or to be rendered in any capacity whatsoever in connection with the matters covered by

this Application. There is no agreement or understanding between PSZ&J and any other person

other than among the partners, of counsel, or associates of PSZ&J for the sharing of



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compensation to be received for services rendered in these cases. PSZ&J has received payments

from the Debtors during the year prior to the Petition Date in the amount of $850,000 in

connection with the preparation of initial documents and its prepetition representation of the

Debtors. Upon final reconciliation of the amount actually expended prepetition, any balance

remaining from the prepetition payments to PSZ&J will be credited to the Debtors and utilized as

PSZ&J’s retainer to apply to postpetition fees and expenses pursuant to the compensation

procedures approved by this Court in accordance with the Bankruptcy Code.

                 15.         The professional services and related expenses for which PSZ&J requests

interim allowance of compensation and reimbursement of expenses were rendered and incurred

in connection with this case in the discharge of PSZ&J’s professional responsibilities as

attorneys for the Debtors in these chapter 11 cases. PSZ&J’s services have been necessary and

beneficial to the Debtors and their estates, the Committee, creditors and other parties in interest.

                 16.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order signed on or about

February 9, 2023 and believes that this Application complies with such Rule and Order.




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                                          Statement from PSZJ

                 17.         Pursuant to the Appendix B Guidelines for Reviewing Application for

Compensation and Reimbursement of Expenses Filed under the United States Code by Attorneys

in Larger Chapter 11 Cases, PSZ&J responds to the following questions regarding the

Application:

                     Question                        Yes      No    Additional Explanation or
                                                                    Clarification
 Did you agree to any variations from, or                     NO
 alternatives to, your standard or customary
 billing rates, fees or terms for services
 pertaining to this engagement that were
 provided during the application period? If
 so, please explain.
 If the fees sought in this fee application as                N/A
 compared to the fees budgeted for the
 time period covered by this fee application
 higher by 10% or more, did you discuss
 the reasons for the variation with the
 client?
 Have any of the professionals included in                    NO
 this fee application varied their hourly rate
 based on the geographic location of the
 bankruptcy case?
 Does the fee application include time or                     NO
 fees related to reviewing or revising time
 records or preparing, reviewing, or
 revising invoices?
 Does this fee application include time or                    NO
 fees for reviewing time records to redact
 any privileged or other confidential
 information? If so, please quantify by
 hours and fees.




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 If the fee application includes any rate                 N/A
 increases since retention in these Cases:
      i.     Did your client review and
             approve those rate increases in
             advance?
      ii.    Did your client agree when
             retaining the law firm to accept
             all future rate increases? If
             not, did you inform your client
             that they need not agree to
             modified rates or terms in
             order to have you continue the
             representation, consistent with
             ABA Formal Ethics Opinion
             11-458?

                 WHEREFORE, PSZ&J respectfully requests that the Court enter an order

providing that, for the period of January 17, 2023 through March 31, 2023, an interim allowance

be made to PSZ&J for compensation in the amount of $2,229,904.75 and actual and necessary

expenses in the amount of $32,981.52 for a total allowance of $2,262,886.27; that the Debtors be

authorized and directed to pay to PSZ&J the outstanding amount of such sums; and for such

other and further relief as may be just and proper.

Dated: July 13, 2023                  PACHULSKI STANG ZIEHL & JONES LLP


                                      /s/ Laura Davis Jones____________________
                                      Laura Davis Jones (DE Bar No. 2436)
                                      David M. Bertenthal (CA Bar No. 167624)
                                      Timothy P. Cairns (DE Bar No. 4228)
                                      919 North Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, Delaware 19899 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
                                      Email: ljones@pszjlaw.com
                                              dbertenthal@pszjlaw.com
                                              tcairns@pszjlaw.com

                                      Counsel for the Debtors and Debtors in Possession


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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                 Laura Davis Jones, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                 b)          I am familiar with the work performed on behalf of the debtors and

debtors in possession by the lawyers and paraprofessionals of PSZ&J.

                 c)          I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about February 9,

2023 and submit that the Application substantially complies with such Rule and Order.



                                                /s/ Laura Davis Jones
                                                Laura Davis Jones




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                                  EXHIBIT A
        Customary and Comparable Compensation Disclosures with Fee Applications




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                                                                                    EXHIBIT A
                                         CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

                                                (See Guidelines C.3. for definitions of terms used in this Exhibit.)


                                                                                                                     BLENDED HOURLY RATE
                                         CATEGORY OF TIMEKEEPER
                       (using categories already maintained by the firm)                            BILLED OR COLLECTED                            BILLED

                                                                                             Firm or offices for preceding year,           In this fee application
                                                                                                    excluding bankruptcy*

                             Sr./Equity Partner/Shareholder                                                $1,050.00                                 $1,360.14

                             Of Counsel                                                                    $950.00                                   $1,103.70
                             Associate (4-6 years since first admission)                                   $750.00                                   $ 725.00
                             Law Library Director                                                          $450.00                                   $     0.00
                             Paralegal                                                                     $450.00                                   $ 543.49

                             Case Management Assistants                                                    $300.00
                                                                                                                                                     $ 425.00

                             All timekeepers aggregated                                                     $950.00**                                $1,221.40

 Represents approximate blended hourly rate. Non-estate work for PSZ&J represents a de minimis amount of the Firm’s revenues as the Firm’s engagements are primarily on
 behalf of debtors, official committees, and other estate-billed constituencies. For fiscal year ending 2021, non-estate work represented approximately 6-8% of the Firm’s
 revenues, and in 2022 non-estate work represented approximately 8-10% of the Firm’s revenues. It is expected that non-estate work in 2023 will represent approximately 8-10%
 of the Firms’ revenues.

 **Represents an estimate for the aggregate blended hourly rate for all timekeepers on non-estate work.




Case Name:              GigaMonster Networks, LLC
Case Number:            23-10051 (JKS)
Applicant's Name:       Pachulski Stang Ziehl & Jones LLP
Date of Application:    7/11/2023
Interim or Final        Interim



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                                    EXHIBIT B
                    Summary of Timekeepers Included in this Fee Application




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                                                                                                                                                 NUMBER OF
                                                                                     HOURS                            HOURLY RATE BILLED
                                                   DEPARTMENT          DATE OF                     FEES BILLED                                      RATE
                                                                                     BILLED
        NAME                 TITLE OR POSITION      GROUP OR            FIRST                         IN THIS                      IN FIRST      INCREASES
                                                                                     IN THIS                        IN THIS
                                                     SECTION          ADMISSION1                  APPLICATION                      INTERIM        SINCE CASE
                                                                                   APPLICATION                    APPLICATION
                                                                                                                                 APPLICATION      INCEPTION
Laura Davis Jones            Partner                 Bankruptcy          1986            187.50    $327,187.50       $1,745.00       $1,745.00        0
David J. Barton              Partner                 Bankruptcy          1981             98.30    $161,703.50       $1,645.00       $1,645.00        0
Richard J. Gruber            Of Counsel              Bankruptcy          1982             40.10      $61,152.50      $1,525.00       $1,525.00        0
David M. Bertenthal          Partner                 Bankruptcy          1993            286.10    $414,845.00       $1,450.00       $1,450.00        0
David M. Bertenthal          Partner                 Bankruptcy          1993             12.60       $9,135.00      $ 725.00        $ 725.00         0
Maxim B. Litvak              Partner                 Bankruptcy          1997             44.30      $64,013.50      $1,445.00       $1,445.00        0
Mary F. Caloway              Of Counsel              Bankruptcy          1990             52.50      $70,875.00      $1,350.00       $1,350.00        0
Joshua M. Fried              Partner                 Bankruptcy          1995            146.30    $186,532.50       $1,275.00       $1,275.00        0
Joshua M. Fried              Partner                 Bankruptcy          1995             14.10       $8,988.75      $ 637.50        $ 637.50         0
Timothy P. Cairns            Partner                 Bankruptcy          2002            248.40    $279,450.00       $1,125.00       $1,125.00        0
Nina L. Hong                 Partner                 Bankruptcy          1996            142.30    $152,972.50       $1,075.00       $1,075.00        0
Peter J. Keane               Of Counsel              Bankruptcy          2008            379.00    $388,475.00       $1,025.00       $1,025.00        0
Edward A. Corma              Associate               Bankruptcy          2018             63.80      $46,255.00      $ 725.00        $ 725.00         0
Patricia J. Jeffries         Paralegal               Bankruptcy          N/A              38.50      $20,982.50      $ 545.00        $ 545.00         0
Patricia E. Cuniff           Paralegal               Bankruptcy          N/A               0.50        $272.50       $ 545.00        $ 545.00         0
Ian Densmore                 Paralegal               Bankruptcy          N/A              54.30      $29,593.50      $ 545.00        $ 545.00         0
Cheryl A. Knotts             Paralegal               Bankruptcy          N/A               0.50        $247.50       $ 495.00        $ 495.00         0
Mike A. Matteo               Paralegal               Bankruptcy          N/A               2.40       $1,188.00      $ 495.00        $ 495.00         0
Andrea R. Paul               Case Mgmt. Assist       Bankruptcy          N/A               0.50        $212.50       $ 425.00        $ 425.00         0
Charles J. Bouzoukis         Case Mgmt. Assist       Bankruptcy          N/A               1.10        $467.50       $ 425.00        $ 425.00         0
Karen S. Neil                Case Mgmt. Assist       Bankruptcy          N/A              12.60       $5,355.00      $ 425.00        $ 425.00         0
Total:                                                                                 1,825.70   $2,229,904.75



        Case Name:                GigaMonster Networks, LLC
        Case Number:              23-10051 (JKS)
        Applicant's Name:         Pachulski Stang Ziehl & Jones LLP
        Date of Application:      7/11/2023
        Interim or Final          Interim



        1
            If applicable.
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                              EXHIBIT C-1
                                       Budget




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                                                  EXHIBIT C-1
                                                   BUDGET
If the parties consent or the court so directs, a budget approved by the client in advance should generally
be attached to each interim and final fee application filed by the applicant. If the fees sought in the fee
application vary by more than 10% from the budget, the fee application should explain the variance. See
Guidelines ¶ C.8. for project category information.

                                                                        HOURS
                        PROJECT CATEGORY                              BUDGETED1       FEES BUDGETED
    Asset Disposition                                                      1,200.00      $1,440,000.00
    Bankruptcy Litigation                                                    400.00      $ 400,000.00
    Business Operations                                                        0.00      $        0.00
    Case Administration                                                       25.00      $ 12,500.00
    Claims Admin./Objections                                                  25.00      $ 27,500.00
    Compensation of Prof./Others                                              20.00      $ 15,000.00
    Employee Benefit/Pension                                                  50.00      $ 50,000.00
    Executory Contracts                                                      100.00      $ 100,000.00
    Financial Filings                                                         75.00      $ 67,500.00
    Financing                                                                 50.00      $ 60,000.00
    General Business Advice                                                    0.00      $        0.00
    General Creditors Committee                                                0.00      $        0.00
    Insurance Coverage                                                         0.00      $        0.00
    Meeting of Creditors                                                      10.00      $ 12,000.00
    Operations                                                                 0.00      $        0.00
    Retention of Professional                                                 10.00      $ 10,000.00
    Retention of Prof./Others                                                 60.00      $ 65,000.00
    Tax Issues                                                                 0.00      $        0.00
    Travel                                                                    30.00      $ 20,000.00
    Total                                                                  2,055.00      $2,279,500.00




Case Name:                 GigaMonster Networks, LLC
Case Number:               23-10051 (JKS)
Applicant's Name:          Pachulski Stang Ziehl & Jones LLP
Date of Application:       7/11/2023
Interim or Final           Interim



1
    If applicable.


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                              EXHIBIT C-2
                                     Staffing Plan




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                                                                          EXHIBIT C-2

                                                                       STAFFING PLAN
      If the parties consent or the court so directs, a staffing plan approved by the client in advance should generally be attached to each interim and
      final fee application filed by the applicant. If the fees are sought in the fee application for a greater number of professionals than identified in
      the staffing plan, the fee application should explain the variance.


                                                                          NUMBER OF TIMEKEEPERS EXPECTED TO
                                CATEGORY OF TIMEKEEPER 1
                                                                           WORK ON THE MATTER DURING THE                         AVERAGE HOURLY RATE
                         (using categories maintained by the firm)
                                                                                   BUDGET PERIOD
                   Sr./Equity Partner/Shareholder                                              7                                        $1,360.14

                   Of Counsel                                                                  3                                        $1,103.70

                   Associates                                                                  1                                        $ 725.00

                   Law Library Director                                                        0                                        $      0.00

                   Paralegal/Assistant/Other                                                   5                                        $ 543.49

                   Case Management Assistants                                                  3                                        $ 425.00
1
 As an alternative, firms can identify attorney timekeepers by years of experience rather than category of attorney timekeeper: 0-3, 4-7, 8-14, and 15+. Non-
attorney timekeepers, such as paralegals, should be identified by category.




      Case Name:                GigaMonster Networks, LLC
      Case Number:              23-10051 (JKS)
      Applicant's Name:         Pachulski Stang Ziehl & Jones LLP
      Date of Application:      7/11/2023
      Interim or Final          Interim



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                                  EXHIBIT D-1
                    Summary of Compensation Requested by Project Category




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              PROJECT CATEGORY                        HOURS               FEES         HOURS           FEES
                                                    BUDGETED1          BUDGETED        BILLED        SOUGHT
Asset Disposition                                      1,200.00       $1,440,000.00     1,100.00    $1,423,246.00
Bankruptcy Litigation                                    400.00       $ 400,000.00        312.30    $ 373,510.00
Business Operations                                        0.00       $        0.00         2.70    $     2,852.50
Case Administration                                       25.00       $ 12,500.00          22.00    $ 12,853.50
Claims Admin./Objections                                  25.00       $ 27,500.00          23.40    $ 27,740.00
Compensation of Prof./Others                              20.00       $ 15,000.00          13.10    $ 13,081.00
Employee Benefit/Pension                                  50.00       $ 50,000.00          41.50    $ 48,978.50
Executory Contracts                                      100.00       $ 100,000.00         89.30    $ 102,814.50
Financial Filings                                         75.00       $ 67,500.00          69.60    $ 60,621.00
Financing                                                 50.00       $ 60,000.00          44.60    $ 59,148.00
General Business Advice                                    0.00       $        0.00         0.90    $       445.50
General Creditors Committee                                0.00       $        0.00         0.20    $       289.00
Insurance Coverage                                         0.00       $        0.00         0.70    $       381.50
Meeting of Creditors                                      10.00       $ 12,000.00           9.30    $ 11,627.00
Operations                                                 0.00       $        0.00         1.10    $       831.50
Retention of Professional                                 10.00       $ 10,000.00           8.30    $     8,777.50
Retention of Prof./Others                                 60.00       $ 65,000.00          58.90    $ 63,448.50
Tax Issues                                                 0.00       $        0.00         1.10    $     1,135.50
Travel                                                    30.00       $ 20,000.00          26.70    $ 18,123.75
Total                                                  2,055.00       $2,279,500.00     1,825.70    $2,229,904.75




   Case Name:                 GigaMonster Networks, LLC
   Case Number:               23-10051 (JKS)
   Applicant's Name:          Pachulski Stang Ziehl & Jones LLP
   Date of Application:       7/11/2023
   Interim or Final           Interim


   1
       If applicable.


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                                EXHIBIT D-2
                  Summary of Expense Reimbursement Requested by Category




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                                                  EXHIBIT D -2

                   SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY
                         (See Guidelines C.8. for project category information.)



                              Expense Category                               Total Expenses
            Air Fare                                                                   $5,496.60
            Airport Parking                                                            $ 180.00
            Auto Travel Expense                                                        $ 926.42
            Bloomberg                                                                  $ 20.00
            Working Meals                                                              $ 243.54
            Conference Call                                                            $ 345.20
            Delivery/Courier Service                                                   $1,859.98
            Express Mail                                                               $ 39.49
            Filing Fee                                                                 $8,928.00
            Hotel Expense                                                              $2,631.20
            Legal Research                                                             $ 555.34
            Outside Services                                                           $ 434.40
            Court Research                                                             $1,056.10
            Postage                                                                    $    0.60
            Reproduction Expense                                                       $ 751.30
            Reproduction/Scan Copy                                                     $4,064.70
            Research                                                                   $1,084.00
            Travel Expense                                                             $ 380.00
            Transcript                                                                 $3,984.65
            Total:                                                                    $32,981.52




Case Name:              GigaMonster Networks, LLC
Case Number:            23-10051 (JKS)
Applicant's Name:       Pachulski Stang Ziehl & Jones LLP
Date of Application:    7/11/2023
Interim or Final        Interim



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                                    EXHIBIT E
                             Summary Cover Sheet of Fee Application




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                                           EXHIBIT E
                             SUMMARY COVER SHEET OF FEE APPLICATION

 Name of Applicant:                                          Pachulski Stang Ziehl & Jones LLP

 Name of client:                                             GigaMonster Networks, LLC

 Time period covered by this application:                    January 17, 2023 through March 31, 2023

 Total compensation sought this period:                      $2,229,904.75

 Total expenses sought this period:                          $     32,981.52

 Petition date:                                              January 17, 2023

 Retention date:                                             Nunc Pro Tunc to January 17, 2023

 Date of order approving employment:                         February 9, 2023

  Total fees approved by interim order to date:              $0.00

  Total expenses approved by interim order to date:          $0.00

  Total allowed fees paid to date:                           $0.00

  Total allowed expenses paid to date:                       $0.00

  Blended rate in this application for all attorneys:        $1,266.01

  Blended rate in this application for all timekeepers:      $1,221.40
  Fees sought in this application already paid
  pursuant to a monthly compensation order but               $1,036,591.60
  not yet allowed:
  Expenses sought in this application already paid
  pursuant to a monthly compensation order but not           $     23,375.25
  yet allowed:
  Number of professionals included in this application:      19
  If applicable, number of professionals in this
  application not included in staffing plan approved         N/A
  by client:
  If applicable, difference between fees budgeted
                                                             ($49,595.25)
  and compensation sought for this period:




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 Name of Applicant:                                              Pachulski Stang Ziehl & Jones LLP
  Number of professionals billing fewer than 15
                                                                 6
  hours to the case during this period
  Are any rates higher than those approved or
  disclosed at retention? If yes, calculate and disclose
  the total compensation sought in this application              No
  using the rates originally disclosed in the retention
  application




Case Name:              GigaMonster Networks, LLC
Case Number:            23-10051 (JKS)
Applicant's Name:       Pachulski Stang Ziehl & Jones LLP
Date of Application:    7/11/2023
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                                   

                    EXHIBIT F





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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  ) Chapter 11
                                                        )
GIGAMONSTER NETWORKS, LLC, et al.,1                     ) Case No. 23-10051 (JKS)
                                                        )
                                 Debtors.               ) (Jointly Administered)
                                                        )
                                                         Objection Deadline: May 2, 2023 at 4:00 p.m.
                                                         Hearing Date: To be scheduled if necessary




                FIRST MONTHLY APPLICATION FOR COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES OF
                PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
               FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR
          THE PERIOD FROM JANUARY 17, 2023 THROUGH JANUARY 31, 2023

    Name of Applicant:                                Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                      Debtors and Debtors in Possession
    to:
                                                      Effective as of January 16, 2023 by order
    Date of Retention:
                                                      signed February 9, 2023
    Period for which Compensation and
                                                      January 17, 2023 through January 31, 20232
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                      $304,014.00
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                      $ 11,622.17
    as Actual, Reasonable and Necessary:

This is a:       ☒monthly        ☐ interim        ☐final application.

                 The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,000.00.

1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
2
  The applicant reserves the right to include any time expended in the time period indicated above in future
application(s) if it is not included herein.


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                                 PRIOR APPLICATIONS FILED

   Date          Period Covered        Requested      Requested       Approved       Approved
   Filed                                 Fees         Expenses          Fees         Expenses

No prior fee applications have been filed.

                                    PSZ&J PROFESSIONALS

         Name of                 Position of the Applicant,      Hourly   Total        Total
       Professional              Number of Years in that         Billing  Hours     Compensation
        Individual                Position, Prior Relevant        Rate    Billed
                              Experience, Year of Obtaining    (including
                                License to Practice, Area of    Changes)
                                         Expertise
 Laura Davis Jones           Partner 2000; Joined Firm 2000;   $1,745.00    30.20      $52,699.00
                             Member of DE Bar since 1986
 Davis J. Barton             Partner 2000; Member of CA Bar    $1,645.00     2.30      $ 3,783.50
                             since 1981
 David M. Bertenthal         Partner 1999; Member of CA Bar    $1,450.00    37.00      $53,650.00
                             since 1993
 Maxim B. Litvak             Partner 2004; Member of TX Bar    $1,445.00    14.00      $20,230.00
                             since 1997; Member of CA Bar
                             since 2001
 Mary F. Caloway             Of Counsel 2020; Member of DE     $1,350.00    21.40      $28,890.00
                             Bar since 1992
 Nina L. Hong                Partner 2006; Member of CA Bar    $1,075.00     2.60      $ 2,795.00
                             since 1996
 Timothy P. Cairns           Partner 2012; Member of DE Bar    $1,125.00    53.10      $59,737.50
                             2002-2014; 2017-Present
 Peter J. Keane              Of Counsel 2018; Member of PA     $1,025.00    60.60      $62,115.00
                             Bar since 2008; Member of DE &
                             NH Bars since 2010
 Edward A. Corma             Associate 2022; Member of NJ      $ 725.00     15.00      $10,875.00
                             Bar since 2018; Member of PA
                             Bar since 2019; Member of DE
                             Bar since 2020
 Patricia J. Jeffries        Paralegal                         $   545.00    1.80      $ 981.00
 Ian Densmore                Paralegal                         $   545.00   12.40      $ 6,758.00
 Cheryl A. Knotts            Paralegal                         $   495.00    0.50      $ 247.50
 Mike A. Matteo              Paralegal                         $   495.00    1.50      $ 742.50
 Karen S. Neil               Case Management Assistant         $   425.00    1.20      $ 510.00

                                    Grand Total:     $304,014.00
                                    Total Hours:          253.60
                                    Blended Rate:      $1,198.79


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                                 COMPENSATION BY CATEGORY

                 Project Categories                          Total Hours                    Total Fees
    Asset Disposition                                                   77.30                    $92,168.00
    Bankruptcy Litigation                                               66.40                    $87,749.50
    Case Administration                                                  4.80                    $ 3,367.00
    Claims Admin./Objections                                             1.20                    $ 1,846.00
    Compensation of Prof./Others                                         4.50                    $ 3,907.00
    Employee Benefit/Pension                                            13.40                    $17,393.50
    Executory Contracts                                                  3.80                    $ 5,560.50
    Financial Filings                                                    8.50                    $10,566.50
    Financing                                                           19.00                    $23,906.50
    General Creditors Committee                                          0.20                    $ 289.00
    Insurance Coverage                                                   0.10                    $     54.50
    Meeting of Creditors                                                 3.50                    $ 3,676.00
    Operations                                                           0.50                    $ 504.50
    Retention of Professional                                            5.40                    $ 6,037.00
    Retention of Prof./Others                                           44.60                    $46,596.50
    Tax Issues                                                           0.40                    $ 392.00



                                         EXPENSE SUMMARY

          Expense Category                              Service Provider3                          Total
                                                          (if applicable)                         Expenses
    Bloomberg                                                                                      $ 20.00
    Conference Call                      AT&T Conference Call                                      $ 34.72
    Filing Fee                           USBC                                                      $8,928.00
    Court Research                       Pacer                                                     $ 177.90
    Reproduction Expense                                                                           $ 427.20
    Reproduction/ Scan Copy                                                                        $ 566.10
    Research                             Cl@s Information Services                                 $1,084.00
    Transcript                           Reliable Companies                                        $ 384.25




3
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 ) Chapter 11
                                                       )
GIGAMONSTER NETWORKS, LLC, et al.,1                    ) Case No. 23-10051 (JKS)
                                                       )
                                 Debtors.              ) (Jointly Administered)
                                                       )
                                                        Objection Deadline: May 2, 2023 at 4:00 p.m.
                                                        Hearing Date: To be scheduled if necessary



               FIRST MONTHLY APPLICATION FOR COMPENSATION
                     AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
              FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR
         THE PERIOD FROM JANUARY 17, 2023 THROUGH JANUARY 31, 2023

                 Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”) and the Court’s “Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals,” signed on or about February 9, 2023 (the

“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), counsel

for the debtors and debtors in possession (“Debtors”), hereby submits its First Monthly

Application for Compensation and for Reimbursement of Expenses for the Period from January

17, 2023 through January 31, 2023 (the “Application”).

                 By this Application PSZ&J seeks a monthly interim allowance of compensation

in the amount of $304,014.00 and actual and necessary expenses in the amount of $11,622.17 for


1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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a total allowance of $315,636.17 and payment of $243,211.20 (80% of the allowed fees) and

reimbursement of $11,622.17 (100% of the allowed expenses) for a total payment of

$254,833.37 for the period January 17, 2023 through January 31, 2023 (the “Fee Period”):

                                                Background

                 1.          On January 16, 2023, the Debtors commenced these cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in

possession of their property and continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the Debtors’ chapter 11 cases. An official committee of

unsecured creditors (the “Committee”) was appointed in these cases on or about January 30,

2023.

                 2.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                 3.          On or about February 9, 2023, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within twenty-one (21) days after service of the

monthly fee application the Debtors are authorized to pay the Professional eighty percent (80%)

of the requested fees and one hundred percent (100%) of the requested expenses. Beginning

with the period ending March 31, 2023, and at three-month intervals or such other intervals



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convenient to the Court, each of the Professionals may file and serve an interim application for

allowance of the amounts sought in its monthly fee applications for that period. All fees and

expenses paid are on an interim basis until final allowance by the Court.

                 4.          The retention of PSZ&J, as counsel for the Debtors, was approved

effective as of January 16, 2023 by this Court’s “Order Authorizing the Employment and

Retention of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the

Petition Date,” signed on or about February 9, 2023 (the “Retention Order”). The Retention

Order authorized PSZ&J to be compensated on an hourly basis and to be reimbursed for actual

and necessary out-of-pocket expenses.

                      PSZ&J’s APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                 5.          All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtors, and not on behalf of any committee, creditor or other person.

                 6.          PSZ&J, and any partner, of counsel, or associate thereof, have received no

payment and no promises for payment from any source other than from the Debtors for services

rendered or to be rendered in any capacity whatsoever in connection with the matters covered by

this Application. There is no agreement or understanding between PSZ&J and any other person

other than among the partners, of counsel, or associates of PSZ&J for the sharing of

compensation to be received for services rendered in these cases. PSZ&J has received payments

from the Debtors during the year prior to the Petition Date in the amount of $850,000 in

connection with the preparation of initial documents and its prepetition representation of the


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Debtors. Upon final reconciliation of the amount actually expended prepetition, any balance

remaining from the prepetition payments to PSZ&J was credited to the Debtors and utilized as

PSZ&J’s retainer to apply to postpetition fees and expenses pursuant to the compensation

procedures approved by this Court in accordance with the Bankruptcy Code.

                 7.          The professional services and related expenses for which PSZ&J requests

interim allowance of compensation and reimbursement of expenses were rendered and incurred

in connection with these cases in the discharge of PSZ&J’s professional responsibilities as

attorneys for the Debtors in these chapter 11 cases. PSZ&J’s services have been necessary and

beneficial to the Debtors and their estates, creditors and other parties in interest.

                                               Fee Statements

                 8.          The fee statements for the Fee Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Fee Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code and the Bankruptcy Rules.

PSZ&J’s time reports are initially handwritten by the attorney or paralegal performing the

described services. The time reports are organized on a daily basis. PSZ&J is particularly

sensitive to issues of “lumping” and, unless time was spent in one time frame on a variety of

different matters for a particular client, separate time entries are set forth in the time reports.

PSZ&J’s charges for its professional services are based upon the time, nature, extent and value

of such services and the cost of comparable services other than in a case under the Bankruptcy

Code. PSZ&J has reduced its charges related to any non-working “travel time” to fifty percent



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(50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J professionals attempt

to work during travel.

                                      Actual and Necessary Expenses

                 9.          A summary of actual and necessary expenses incurred by PSZ&J for the

Fee Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per page

for photocopying expenses related to cases, such as this one, arising in Delaware. PSZ&J’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                 10.         PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtors for the receipt of faxes in these cases.

                 11.         With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                 12.         PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are



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in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered

                 13.         The names of the partners and associates of PSZ&J who have rendered

professional services in these cases during the Fee Period, and the paralegals and case

management assistants of PSZ&J who provided services to these attorneys during the Fee Period,

are set forth in the attached Exhibit A.

                 14.         PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Debtors on a regular basis with respect to various matters in connection with the Debtors’

bankruptcy cases, and performed all necessary professional services which are described and

narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of

the Debtors’ bankruptcy cases.

                                     Summary of Services by Project

                 15.         The services rendered by PSZ&J during the Fee Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit



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A identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.

             A.         Asset Disposition

                  16.        This category relates to work regarding sales and other asset disposition

issues. During the Fee Period, the Firm, among other things: (1) reviewed and analyzed issues

regarding confidential documents; (2) attended to timing issues; (3) performed work regarding a

bid procedures motion; (4) performed work regarding closing documents; (5) performed work

regarding an Asset Purchase Agreement; (6) performed work regarding a notice of sale motion

hearing; (7) performed work regarding a bid procedures motion notice; (8) reviewed and

analyzed cure issues and performed work regarding cure notice issues; (9) attended to scheduling

issues; (10) performed research; (11) performed work regarding a sale order; (12) performed

work regarding non-disclosure agreements; (13) attended to due diligence issues; (14) reviewed

and analyzed consultant issues; (15) reviewed and analyzed private sale issues; (16) reviewed

and analyzed a bidding procedures objection; (17) reviewed and analyzed sale strategy issues;

(18) reviewed and analyzed contract renewal issues under the Asset Purchase Agreement;

(19) reviewed and analyzed issues regarding the Cigna cure objection; (20) reviewed and

analyzed bidder issues; (21) reviewed and analyzed United States Trustee comments regarding

the bid procedures order; (22) performed work regarding assignment and bill of sale forms; and

(23) corresponded and conferred regarding asset disposition issues.

                             Fees: $92,168.00;     Hours: 77.30



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             B.         Bankruptcy Litigation

                  17.        This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Fee Period, the Firm, among other things: (1) reviewed and

analyzed, and responded to, United States Trustee comments regarding First Day motions and

orders; (2) performed work regarding Agenda Notices and Hearing Binders; (3) performed work

regarding First Day motions, notices and orders; (4) performed work regarding pro hac vice

issues; (5) performed work regarding the DirecPath matter; (6) prepared for and attended a First

Day hearing on January 18, 2023; (7) attended to scheduling issues; (8) maintained a work-in-

progress memorandum; (9) reviewed and revised First Day orders to incorporate comments from

the Court at the First Day hearing; (10) performed work regarding notices of final hearing

relating to First Day orders; (11) performed work regarding cash management, insurance and

financing motions and orders; (12) performed work regarding the DirecPath term sheet;

(13) performed work regarding the Dodd settlement; (14) performed work regarding Committee

due diligence issues; (15) reviewed and responded to Committee information requests;

(16) performed work regarding a non-disclosure agreement with the Committee; and

(17) corresponded and conferred regarding bankruptcy litigation issues.

                             Fees: $87,749.50;     Hours: 66.40

             C.         Case Administration

                  18.        This category relates to work regarding administration of these cases.

During the Fee Period, the Firm, among other things: (1) maintained a memorandum of critical




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dates; (2) maintained document control; (3) maintained service lists; and (4) conferred and

corresponded regarding case administration issues.

                             Fees: $3,367.00;      Hours: 4.80

             D.         Claims Administration and Objections

                  19.        This category relates to work regarding claims administration and claims

objections. During the Fee Period, the Firm, among other things, responded to creditor inquiries.

                             Fees: $1,846.00;      Hours: 1.20

             E.         Compensation of Professionals--Others

                  20.        This category relates to issues regarding the compensation of

professionals, other than the Firm. During the Fee Period, the Firm, among other things,

performed work regarding an interim compensation procedures motion.

                             Fees: $3,907.00;      Hours: 4.50

             F.         Employee Benefits and Pensions

                  21.        This category relates to issues regarding employee benefits and pension

plans, and other employee issues. During the Fee Period, the Firm, among other things:

(1) performed work regarding a wage motion and order; (2) reviewed and analyzed bonus issues;

(3) performed work regarding a Key Employee Retention Program motion; (4) performed

research; and (5) corresponded and conferred regarding employee issues.

                             Fees: $17,393.50;     Hours: 13.40

             G.         Executory Contracts

                  22.        This category relates to issues regarding executory contracts and

unexpired leases of real property. During the Fee Period, the Firm, among other things:


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(1) reviewed and analyzed cure issues and performed work regarding cure notices; (2) reviewed

and analyzed lease assumption issues; (3) reviewed and analyzed issues regarding a headquarters

lease; and (4) corresponded and conferred regarding lease and contract issues.

                             Fees: $5,560.50;      Hours: 3.80

             H.         Financial Filings

                  23.        This category relates to issues regarding compliance with reporting

requirements. During the Fee Period, the Firm, among other things: (1) reviewed and analyzed

issues regarding Schedules and Statements; (2) reviewed and analyzed issues regarding Monthly

Operating Reports and an Initial Debtor Interview; (3) performed work regarding Schedules and

Statements; (4) reviewed and responded to document requests from the United States Trustee;

(5) prepared for and attended an Initial Debtor Interview; and (6) corresponded and conferred

regarding financial filings issues.

                             Fees: $10,566.50;     Hours: 8.50

             I.         Financing

                  24.        This category relates to issues regarding Debtor in Possession (“DIP”)

financing and use of cash collateral. During the Fee Period, the Firm, among other things:

(1) performed work regarding DIP financing documents; (2) performed work regarding closing

documents; (3) performed work regarding a DIP financing motion and interim order;

(4) reviewed and responded to United States Trustee comments regarding the DIP financing

order; (5) performed work regarding a DIP financing facility officer certificate; (6) attended to

funding issues; (7) performed work regarding variance reports; (8) performed work regarding a




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DIP credit agreement; (9) performed work regarding a cash management order; (10) performed

work regarding notice issues; (11) performed work regarding a cash management motion and

order, and regarding a supplement to the cash management motion; and (12) corresponded and

conferred regarding financing issues.

                             Fees: $23,906.50;     Hours: 19.00

             J.         General Creditors Committee

                  25.        This category relates to general creditors committee issues. During the

Fee Period, the Firm, among other things, reviewed and analyzed issues regarding a Committee

formation notice.

                             Fees: $289.00;        Hours: 0.20

             K.         Insurance Coverage

                  26.        This category relates to insurance coverage issues. During the Fee

Period, the Firm, among other things, performed work regarding an insurance motion and order.

                             Fees: $54.50;         Hours: 0.10

             L.         Meeting of Creditors

                  27.        This category relates to meeting of creditors issues. During the Fee

Period, the Firm, among other things, performed work regarding a Section 341 Meeting of

Creditors notice, and reviewed and analyzed Section 341 Meeting of Creditors issues.

                             Fees: $3,676.00;      Hours: 3.50




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             M.         Operations

                  28.        This category relates to issues regarding operations. During the Fee

Period, the Firm, among other things, performed work regarding a utility motion and order and

reviewed and analyzed supplier issues.

                             Fees: $504.50;         Hours: 0.50

             N.         Retention of Professionals

                  29.        This category relates to issues regarding retention of the Firm. During the

Fee Period, the Firm, among other things, performed work regarding the Firm’s retention

application.

                             Fees: $6,037.00;       Hours: 5.40

             O.         Retention of Professionals--Others

                  30.        This category relates to issues regarding the retention of professionals,

other than the Firm. During the Fee Period, the Firm, among other things: (1) performed work

regarding the Kroll retention application, and reviewed and responded to United States Trustee

comments regarding the Kroll retention; (2) performed work regarding the Bank Street and Novo

retention applications; (3) performed work regarding an Ordinary Course Professionals motion

and order; (4) performed work regarding a consulting agreement; and (5) corresponded and

conferred regarding retention issues.

                             Fees: $46,596.50;      Hours: 44.60




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             P.         Tax Issues

                  31.        This category relates to work regarding tax issues. During the Fee Period,

the Firm, among other things, performed work regarding a tax motion and order.

                             Fees: $392.00;        Hours: 0.40

                                           Valuation of Services

                  32.        Attorneys and paraprofessionals of PSZ&J expended a total 253.60 hours

in connection with their representation of the Debtors during the Fee Period, as follows:

         Name of                    Position of the Applicant,         Hourly   Total          Total
       Professional                 Number of Years in that            Billing  Hours       Compensation
        Individual                   Position, Prior Relevant           Rate    Billed
                                 Experience, Year of Obtaining       (including
                                   License to Practice, Area of       Changes)
                                            Expertise
 Laura Davis Jones              Partner 2000; Joined Firm 2000;       $1,745.00    30.20        $52,699.00
                                Member of DE Bar since 1986
 Davis J. Barton                Partner 2000; Member of CA Bar        $1,645.00      2.30       $ 3,783.50
                                since 1981
 David M. Bertenthal            Partner 1999; Member of CA Bar        $1,450.00    37.00        $53,650.00
                                since 1993
 Maxim B. Litvak                Partner 2004; Member of TX Bar        $1,445.00    14.00        $20,230.00
                                since 1997; Member of CA Bar
                                since 2001
 Mary F. Caloway                Of Counsel 2020; Member of DE         $1,350.00    21.40        $28,890.00
                                Bar since 1992
 Nina L. Hong                   Partner 2006; Member of CA Bar        $1,075.00      2.60       $ 2,795.00
                                since 1996
 Timothy P. Cairns              Partner 2012; Member of DE Bar        $1,125.00    53.10        $59,737.50
                                2002-2014; 2017-Present
 Peter J. Keane                 Of Counsel 2018; Member of PA         $1,025.00    60.60        $62,115.00
                                Bar since 2008; Member of DE &
                                NH Bars since 2010
 Edward A. Corma                Associate 2022; Member of NJ          $ 725.00     15.00        $10,875.00
                                Bar since 2018; Member of PA
                                Bar since 2019; Member of DE
                                Bar since 2020
 Patricia J. Jeffries           Paralegal                             $ 545.00      1.80        $ 981.00
 Ian Densmore                   Paralegal                             $ 545.00     12.40        $ 6,758.00


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         Name of                   Position of the Applicant,          Hourly   Total          Total
       Professional                 Number of Years in that            Billing  Hours       Compensation
        Individual                  Position, Prior Relevant            Rate    Billed
                                 Experience, Year of Obtaining       (including
                                  License to Practice, Area of        Changes)
                                           Expertise
 Cheryl A. Knotts               Paralegal                             $ 495.00       0.50       $    247.50
 Mike A. Matteo                 Paralegal                             $ 495.00       1.50       $    742.50
 Karen S. Neil                  Case Management Assistant             $ 425.00       1.20       $    510.00

                                         Grand Total:      $304,014.00
                                         Total Hours:           253.60
                                         Blended Rate:       $1,198.79

                 33.         The nature of work performed by these persons is fully set forth in Exhibit

A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtors during the Fee Period is

$304,014.00.

                 34.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order signed on or about

February 9, 2023 and believes that this Application complies with such Rule and Order.

                 WHEREFORE, PSZ&J respectfully requests that the Court enter an order

providing that, for the period of January 17, 2023 through January 31, 2023, an interim

allowance be made to PSZ&J for compensation in the amount of $304,014.00 and actual and

necessary expenses in the amount of $11,622.17 for a total allowance of $315,636.17 and



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payment of $243,211.20 (80% of the allowed fees) and reimbursement of $11,622.17 (100% of

the allowed expenses) be authorized for a total payment of $254,833.37; and for such other and

further relief as this Court deems proper.

Dated: April 11, 2023                 PACHULSKI STANG ZIEHL & JONES LLP


                                      /s/ Laura Davis Jones____________________
                                      Laura Davis Jones (DE Bar No. 2436)
                                      David M. Bertenthal (CA Bar No. 167624)
                                      Timothy P. Cairns (DE Bar No. 4228)
                                      919 North Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, Delaware 19899 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
                                      Email: ljones@pszjlaw.com
                                              dbertenthal@pszjlaw.com
                                              tcairns@pszjlaw.com

                                      Counsel for the Debtors and Debtors in Possession




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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                 Laura Davis Jones, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                 b)          I am familiar with the work performed on behalf of the debtors and

debtors in possession by the lawyers and paraprofessionals of PSZ&J.

                 c)          I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about February 9,

2023 and submit that the Application substantially complies with such Rule and Order.



                                                /s/ Laura Davis Jones
                                                Laura Davis Jones




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                                   Pachulski Stang Ziehl & Jones LLP
                                           919 North Market Street
                                                 17th Floor
                                           Wilmington, DE 19801
                                                                     January 31, 2023
Rian Branning                                                        Invoice 132148
GigaMonster Networks, LLC                                            Client   31213
350 Franklin Gateway SE ste. 300                                     Matter   00001
Marietta , GA 30067
                                                                              LDJ

RE: Debtor Representation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2023
                FEES                                                 $304,014.00
                EXPENSES                                               $11,622.17
                TOTAL CURRENT CHARGES                                $315,636.17

                TOTAL BALANCE DUE                                    $315,636.17

                PREPAID BALANCE                                      $850,000.00
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GigaMonster Networks LLC                                                     Invoice 132148
31213 - 00001                                                                January 31, 2023




  Summary of Services by Professional
  ID        Name                             Title                Rate        Hours               Amount

 CAK        Knotts, Cheryl A.                Paralegal           495.00        0.50              $247.50

 DJB        Barton, David J.                 Partner            1645.00        2.30             $3,783.50

                                                                              37.00         $53,650.00
 DMB        Bertenthal, David M.             Partner            1450.00
                                                                              15.00         $10,875.00
 ECO        Corma, Edward A.                 Associate           725.00
                                                                              12.40             $6,758.00
 IDD        Densmore, Ian                    Paralegal           545.00
                                                                               1.20              $510.00
 KSN        Neil, Karen S.                   Case Man. Asst.     425.00
 LDJ        Jones, Laura Davis               Partner            1745.00       30.20         $52,699.00

 MAM        Matteo, Mike A.                  Paralegal           495.00        1.50              $742.50

 MBL        Litvak, Maxim B.                 Partner            1445.00       14.00         $20,230.00

 MFC        Caloway, Mary F.                 Counsel            1350.00       21.40         $28,890.00

 NLH        Hong, Nina L.                    Partner            1075.00        2.60             $2,795.00

 PJJ        Jeffries, Patricia J.            Paralegal           545.00        1.80              $981.00

 PJK        Keane, Peter J.                  Counsel            1025.00       60.60         $62,115.00

 TPC        Cairns, Timothy P.               Partner            1125.00       53.10         $59,737.50

                                                                            253.60          $304,014.00
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GigaMonster Networks LLC                                                       Invoice 132148
31213 - 00001                                                                  January 31, 2023


  Summary of Services by Task Code
  Task Code         Description                                        Hours                        Amount

 AD                 Asset Disposition [B130]                           77.30                      $92,168.00

 BL                 Bankruptcy Litigation [L430]                       66.40                      $87,749.50

 CA                 Case Administration [B110]                          4.80                       $3,367.00

 CO                 Claims Admin/Objections[B310]                       1.20                       $1,846.00

 CPO                Comp. of Prof./Others                               4.50                       $3,907.00

 EB                 Employee Benefit/Pension-B220                      13.40                      $17,393.50

 EC                 Executory Contracts [B185]                          3.80                       $5,560.50

 FF                 Financial Filings [B110]                            8.50                      $10,566.50

 FN                 Financing [B230]                                   19.00                      $23,906.50

 GC                 General Creditors Comm. [B150]                      0.20                        $289.00

 IC                 Insurance Coverage                                  0.10                         $54.50

 MC                 Meeting of Creditors [B150]                         3.50                       $3,676.00

 OP                 Operations [B210]                                   0.50                        $504.50

 RP                 Retention of Prof. [B160]                           5.40                       $6,037.00

 RPO                Ret. of Prof./Other                                44.60                      $46,596.50

 TI                 Tax Issues [B240]                                   0.40                        $392.00

                                                                      253.60                  $304,014.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          300-1 Filed
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  Summary of Expenses
  Description                                                                             Amount
Bloomberg                                                                                 $20.00
Conference Call [E105]                                                                    $34.72
Filing Fee [E112]                                                                      $8,928.00
Pacer - Court Research                                                                   $177.90
Reproduction Expense [E101]                                                              $427.20
Reproduction/ Scan Copy                                                                  $566.10
Research [E106]                                                                        $1,084.00
Transcript [E116]                                                                        $384.25

                                                                                      $11,622.17
                    Case
                    Case 23-10051-JKS
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                                                                                        Hours           Rate       Amount

  Asset Disposition [B130]
 01/17/2023   DJB     AD        Respond to N Hong re confidential documents;             0.20      1645.00          $329.00
                                Review status of compiled APA.

 01/17/2023   DMB     AD        Review APA, BP re timing issues                          0.40      1450.00          $580.00

 01/17/2023   MFC     AD        Emails with PSZJ group regarding bid procedures          0.10      1350.00          $135.00
                                motion and hearing.

 01/17/2023   MFC     AD        Emails regarding UST issues with bid procedures.         0.20      1350.00          $270.00

 01/17/2023   NLH     AD        Work on closing documents                                0.60      1075.00          $645.00

 01/17/2023   NLH     AD        Review correspondence re closing documents               0.10      1075.00          $107.50

 01/17/2023   PJK     AD        Review final versions of APA documents, emails           0.50      1025.00          $512.50
                                with N Hong re same

 01/17/2023   IDD     AD        Revise Notice of Hearing on Sale Motion (.2); file       0.40        545.00         $218.00
                                same with the Court (.2)

 01/18/2023   DJB     AD        Work on compiling APA with schedules.                    0.30      1645.00          $493.50

 01/18/2023   DMB     AD        Call with P Keane re bid procedures                      0.10      1450.00          $145.00

 01/18/2023   DMB     AD        Work on other assets APA                                 0.80      1450.00         $1,160.00

 01/18/2023   DMB     AD        Corr with buyer re sale milestones                       0.20      1450.00          $290.00

 01/18/2023   DMB     AD        Review milestone issues                                  0.30      1450.00          $435.00

 01/18/2023   DMB     AD        Call with client re sale issues                          0.30      1450.00          $435.00

 01/18/2023   LDJ     AD        Review sale issues                                       0.80      1745.00         $1,396.00

 01/18/2023   MFC     AD        Emails regarding bid procedures order and hearing.       0.10      1350.00          $135.00

 01/18/2023   NLH     AD        Work on closing documents                                0.90      1075.00          $967.50

 01/18/2023   NLH     AD        Review correspondence re closing documents               0.10      1075.00          $107.50

 01/18/2023   PJK     AD        Review and edit bid pro motion notice, emails with       0.40      1025.00          $410.00
                                IDD re same, attention to issues re service

 01/18/2023   PJK     AD        Emails with DMB re cure notice issues and other          1.60      1025.00         $1,640.00
                                assets cure notice, research re same, attention to
                                issues re same, emails with R Branning re same

 01/18/2023   PJK     AD        Calls and emails with DMB re sale scheduling issues      0.80      1025.00          $820.00
                                and next steps re sale (.5), emails with PSZJ team re
                                first day issues (.3)

 01/18/2023   PJK     AD        Research re sale order for other assets, begin prep      0.50      1025.00          $512.50
                    Case
                    Case 23-10051-JKS
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                                      Doc 441
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                                                   Filed
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                                                                                          Hours           Rate       Amount
                                form for same

 01/18/2023   PJK     AD        Edits to form APA re other assets, emails with DMB         0.50      1025.00          $512.50
                                re same

 01/18/2023   IDD     AD        Draft Notice of Hearing for Bidding Procedures             0.60        545.00         $327.00
                                Motion (.3); file same with the Court (.2); arrange
                                for service of same on required parties (.1)

 01/19/2023   DMB     AD        Review draft other assets sale order                       0.60      1450.00          $870.00

 01/19/2023   DMB     AD        Initial review re other assets APA                         0.70      1450.00         $1,015.00

 01/19/2023   DMB     AD        Calls from/to client re sale process, open issues          0.40      1450.00          $580.00

 01/19/2023   LDJ     AD        Review other assets sale issues                            1.30      1745.00         $2,268.50

 01/19/2023   PJK     AD        Draft form sale order for other assets, emails with        1.30      1025.00         $1,332.50
                                DMB re same (.8), research re sale order provisions
                                and issues (.5)

 01/19/2023   PJK     AD        Attention to cure notice issues, review data room for      2.50      1025.00         $2,562.50
                                initial contract issues for prep for cure notice (1.8),
                                call with Novo re cure notice prep and issues re
                                same (.2), begin draft of cure notice (.5)

 01/19/2023   PJK     AD        Begin drafting cure notice                                 0.80      1025.00          $820.00

 01/20/2023   DMB     AD        Corr with N Hong re APA                                    0.10      1450.00          $145.00

 01/20/2023   DMB     AD        Work on bidder NDA's                                       0.60      1450.00          $870.00

 01/20/2023   PJK     AD        Call with R Branning re APA and data room and              0.60      1025.00          $615.00
                                cure notice issues (.2), emails with DMB re same
                                and attention to same (.4)

 01/20/2023   PJK     AD        Continue drafting cure notice, review contracts re         2.50      1025.00         $2,562.50
                                same

 01/20/2023   PJK     AD        Emails with LDJ re cure notice help, attention to          0.30      1025.00          $307.50
                                same

 01/20/2023   PJK     AD        Research re NDA issues and next steps re sale issues       1.20      1025.00         $1,230.00
                                (1.0), call with DMB re same (.2)

 01/22/2023   DMB     AD        Review NDA revisions                                       0.20      1450.00          $290.00

 01/22/2023   PJK     AD        Attention to data room and cure issues                     0.50      1025.00          $512.50

 01/22/2023   PJK     AD        Review form NDA from Bank Street, edits to same,           0.80      1025.00          $820.00
                                emails with DMB re same, emails with T Murphy re
                                same

 01/23/2023   DMB     AD        Corr with N Hong, P Keane re diligence issues              0.30      1450.00          $435.00
                    Case
                    Case 23-10051-JKS
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 01/23/2023   DMB     AD        Revise other assets APA                                  0.90      1450.00         $1,305.00

 01/23/2023   DMB     AD        Work on other assets order                               0.40      1450.00          $580.00

 01/23/2023   LDJ     AD        Review sale issues, next steps                           0.80      1745.00         $1,396.00

 01/23/2023   LDJ     AD        Teleconference with David Bertenthal re: other           0.30      1745.00          $523.50
                                assets sale

 01/23/2023   MFC     AD        Emails regarding potential bidder.                       0.10      1350.00          $135.00

 01/23/2023   PJK     AD        Attention to cure notice issues for SH assets (.5),      1.40      1025.00         $1,435.00
                                discuss project with I Levy, emails with I Levy re
                                same (.4), review data room (.5)

 01/23/2023   PJK     AD        Call with DMB re sale order and sale process issues      1.10      1025.00         $1,127.50
                                (.4), research issues re same (.7)

 01/23/2023   PJK     AD        Revise other assets form of sale order, emails with      0.80      1025.00          $820.00
                                DMB re same

 01/23/2023   PJK     AD        Research re ancillary APA forms, emails with N           0.40      1025.00          $410.00
                                Hong and D Barton re same

 01/24/2023   DJB     AD        Review and revise APA for other assets.                  1.80      1645.00         $2,961.00

 01/24/2023   DMB     AD        Corr with client re other assets sale                    0.20      1450.00          $290.00

 01/24/2023   DMB     AD        Review consultant doc                                    0.30      1450.00          $435.00

 01/24/2023   DMB     AD        Review APA re schedules issues                           0.40      1450.00          $580.00

 01/24/2023   DMB     AD        Corr with N Hong re APA schedules                        0.20      1450.00          $290.00

 01/24/2023   DMB     AD        Corr with client re schedules                            0.20      1450.00          $290.00

 01/24/2023   DMB     AD        Review revisions re other assets APA                     0.40      1450.00          $580.00

 01/24/2023   DMB     AD        Call with client re consultant, sale issues              0.50      1450.00          $725.00

 01/24/2023   DMB     AD        Call with P Keane re sale issues                         0.20      1450.00          $290.00

 01/24/2023   LDJ     AD        Teleconference with clients, PSZJ re: sale issues        0.50      1745.00          $872.50

 01/24/2023   MAM     AD        Review and compare schedules for Nina L. Hong.           0.20        495.00          $99.00

 01/24/2023   MAM     AD        Research in the virtual file for credit agreement for    0.40        495.00         $198.00
                                Nina L. Hong.

 01/24/2023   MAM     AD        Locate and forward sale orders and bidding               0.50        495.00         $247.50
                                procedures orders to Nina L. Hong.

 01/24/2023   MAM     AD        Review and compare exhibit list for Nina L. Hong.        0.20        495.00          $99.00
                    Case
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                                                                                       Hours           Rate       Amount

 01/24/2023   NLH     AD        Work on APA compliation                                 0.80      1075.00          $860.00

 01/24/2023   NLH     AD        Correspond with Choate re APA compilation               0.10      1075.00          $107.50

 01/24/2023   PJK     AD        Revise other assets APA (.4), emails with DMB re        1.20      1025.00         $1,230.00
                                same and call with DMB re same (.2), further edits
                                to other assets form APA, emails with D Barton re
                                same, attention to issues re same (.6)

 01/24/2023   PJK     AD        Emails with PSZJ team re APA and related docs for       0.60      1025.00          $615.00
                                data room, attention to issues re same

 01/24/2023   PJK     AD        Revise sale order for other assets, emails with MBL,    0.40      1025.00          $410.00
                                research re same

 01/25/2023   DMB     AD        Review materials re wind down/potential consultant      0.40      1450.00          $580.00
                                issue

 01/25/2023   DMB     AD        Call with P Keane, N Hong re APA                        0.20      1450.00          $290.00

 01/25/2023   DMB     AD        Prep for .3 and attend .3 call with client re other     0.60      1450.00          $870.00
                                assets APA

 01/25/2023   DMB     AD        Call with P Keane re other assets APA                   0.10      1450.00          $145.00

 01/25/2023   DMB     AD        Further review/comment re other assets APA              0.80      1450.00         $1,160.00

 01/25/2023   LDJ     AD        Review sale, cure issues, strategy, precedent           1.20      1745.00         $2,094.00

 01/25/2023   PJK     AD        Call with DMB re other assets APA and sale order,       0.50      1025.00          $512.50
                                attention to same

 01/25/2023   PJK     AD        Review cure notice issues for SH assets, research in    0.80      1025.00          $820.00
                                data room

 01/25/2023   PJK     AD        Research cure notice issues re other assets, review     1.70      1025.00         $1,742.50
                                data room (.8), review raw data re properties and
                                agreements for cure (.7), emails from R Branning re
                                same (.2)

 01/25/2023   PJK     AD        Review bidder NDA, emails with DMB re same              0.80      1025.00          $820.00

 01/25/2023   PJK     AD        Revise APA form for other assets, emails with DMB       1.60      1025.00         $1,640.00
                                re same

 01/25/2023   PJK     AD        Research re private sale issues                         1.20      1025.00         $1,230.00

 01/25/2023   PJK     AD        Further emails with DMB re other assets APA and         0.30      1025.00          $307.50
                                sale order

 01/26/2023   DMB     AD        Corr with Bank Street re bidder nda                     0.10      1450.00          $145.00

 01/26/2023   DMB     AD        Review comments re bidder nda                           0.20      1450.00          $290.00
                    Case
                    Case 23-10051-JKS
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 01/26/2023   DMB     AD        Review bidding procedures objection                     0.30      1450.00          $435.00

 01/26/2023   DMB     AD        Corr to P Keane re bidding procedures objection         0.10      1450.00          $145.00

 01/26/2023   DMB     AD        Corr with N Hong re APA                                 0.10      1450.00          $145.00

 01/26/2023   DMB     AD        Corr from P Keane re APA issue                          0.10      1450.00          $145.00

 01/26/2023   LDJ     AD        Review open sale issues, strategy                       0.70      1745.00         $1,221.50

 01/26/2023   PJK     AD        Research re contract renewal issues under the APA,      0.50      1025.00          $512.50
                                emails with DMB re same

 01/26/2023   PJK     AD        Research re APA and SOFs from pending properties        0.80      1025.00          $820.00

 01/26/2023   PJK     AD        Research re Cigna cure objection, emails with DMB       0.40      1025.00          $410.00
                                re same, emails with R Branning re same

 01/26/2023   PJK     AD        Calls and emails with DMB re various sale issues        0.50      1025.00          $512.50

 01/27/2023   DMB     AD        Review potential bidder NDA's                           0.50      1450.00          $725.00

 01/27/2023   DMB     AD        Review corr from potential bidder                       0.20      1450.00          $290.00

 01/27/2023   DMB     AD        Review NDA revisions                                    0.30      1450.00          $435.00

 01/27/2023   DMB     AD        Corr to P keane re other assets sale order              0.10      1450.00          $145.00

 01/27/2023   DMB     AD        Call with P Keane re bidder NDA issues                  0.50      1450.00          $725.00

 01/27/2023   DMB     AD        Call with client re sale issues                         0.30      1450.00          $435.00

 01/27/2023   LDJ     AD        Teleconference with PSZJ re: sale issues                0.30      1745.00          $523.50

 01/27/2023   LDJ     AD        Review sale issues                                      0.40      1745.00          $698.00

 01/27/2023   PJK     AD        Attention to bidder and NDA issues (.4), emails with    0.80      1025.00          $820.00
                                T Murphy re same (.2), emails with DMB and T
                                Murphy re APA (.2)

 01/27/2023   PJK     AD        Call with DMB re NDAs (.5), markup bidder NDA           1.30      1025.00         $1,332.50
                                and review issues re same (.5), further markup to
                                NDA (.3)

 01/27/2023   PJK     AD        Review draft cure notice, updates to same, emails       0.90      1025.00          $922.50
                                with client re same

 01/27/2023   PJK     AD        Emails with DMB re sale order for other assets,         0.60      1025.00          $615.00
                                emails with R Branning re same, emails with Jones
                                Day re same

 01/27/2023   PJK     AD        Attention to APA issues for data room, review same,     0.40      1025.00          $410.00
                                emails with N Hong re same
                    Case
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                                                                                        Hours           Rate       Amount

 01/28/2023   PJK     AD        Emails from DMB adn R Branning re Equinix (.2),          0.60      1025.00          $615.00
                                emails from N Hong and DMB re APA for data
                                room and attention to issues re same (.4)

 01/30/2023   DMB     AD        Review potential bidder nda revisions                    0.40      1450.00          $580.00

 01/30/2023   DMB     AD        Corr with Corr with P Keane re potential bidder          0.10      1450.00          $145.00
                                NDA

 01/30/2023   DMB     AD        Corr with potential bidder re NDA                        0.10      1450.00          $145.00

 01/30/2023   DMB     AD        Corr with client re Cigna                                0.20      1450.00          $290.00

 01/30/2023   DMB     AD        Corr with Equinix counsel                                0.20      1450.00          $290.00

 01/30/2023   DMB     AD        Review materials re potential cure issues                0.40      1450.00          $580.00

 01/30/2023   DMB     AD        Review materials re bid procedures issues, questions     0.60      1450.00          $870.00

 01/30/2023   MAM     AD        Email to CLAS regarding names search for Nina L.         0.20        495.00          $99.00
                                Hong.

 01/30/2023   PJK     AD        Review and update cure notice for SH assets, emails      1.30      1025.00         $1,332.50
                                with A Price re same

 01/30/2023   PJK     AD        Continue drafting cure notice re other assets, emails    2.80      1025.00         $2,870.00
                                with I Levy re same, review data room

 01/30/2023   PJK     AD        Review bidder response comments on NDA, emails           0.50      1025.00          $512.50
                                with DMB re same

 01/31/2023   DMB     AD        Call with P Keane re sale issues                         0.40      1450.00          $580.00

 01/31/2023   LDJ     AD        Review open sale issues, tasks                           0.50      1745.00          $872.50

 01/31/2023   LDJ     AD        Review bid procedures comments, issues, develop          0.60      1745.00         $1,047.00
                                response

 01/31/2023   MBL     AD        Review UST comments to bid procedures order;             0.20      1445.00          $289.00
                                emails with team re same.

 01/31/2023   TPC     AD        Work with Cigna and team re resolve issues related       0.30      1125.00          $337.50
                                to bid procedures

 01/31/2023   TPC     AD        Draft NDA for Committee                                  1.80      1125.00         $2,025.00

 01/31/2023   TPC     AD        Work with team (0.3) and revise NDA for                  0.70      1125.00          $787.50
                                Committee (0.4)

 01/31/2023   PJK     AD        Review Cigna language on bid procedures, emails          0.50      1025.00          $512.50
                                with R Branning and DMB re same

 01/31/2023   PJK     AD        Call with DMB re sale issues                             0.20      1025.00          $205.00
                    Case
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 01/31/2023   PJK     AD        Review UST comments re bid procedures, emails              0.50      1025.00           $512.50
                                with PSZJ team re same

 01/31/2023   PJK     AD        Review assignment and bill of sale forms, emails           0.30      1025.00           $307.50
                                with DMB re same

 01/31/2023   PJK     AD        Emails with T Murphy and DMB re NDA and sale               0.80      1025.00           $820.00
                                issues (.4), attention to NDA issues (.4)

 01/31/2023   PJK     AD        Review final APA and related exhibits for data             0.60      1025.00           $615.00
                                room, emails with DMB and N Hong re same,
                                attention to issues re same

 01/31/2023   PJK     AD        Review additional issues for other asset cure notice,      0.60      1025.00           $615.00
                                review documents in data room

 01/31/2023   PJK     AD        Review form NDA, email to potential bidder                 0.20      1025.00           $205.00
                                counsel re same

 01/31/2023   PJK     AD        Review SH cure notice draft                                0.30      1025.00           $307.50

                                                                                          77.30                      $92,168.00

  Bankruptcy Litigation [L430]
 01/17/2023   CAK     BL        Assist in preparation of 1/18/23 hearing                   0.50        495.00          $247.50

 01/17/2023   DMB     BL        Review/analysis re UST first day comments                  0.80      1450.00          $1,160.00

 01/17/2023   DMB     BL        Review materials re first day hearing prep                 0.90      1450.00          $1,305.00

 01/17/2023   DMB     BL        Corr with client re DP issues                              0.20      1450.00           $290.00

 01/17/2023   DMB     BL        Corr with internal team re timing issues                   0.20      1450.00           $290.00

 01/17/2023   DMB     BL        Review motion to shorten re BP                             0.20      1450.00           $290.00

 01/17/2023   DMB     BL        Corr re UST proposed resolutions                           0.30      1450.00           $435.00

 01/17/2023   DMB     BL        Review additional materials, bidding pro re first day      0.60      1450.00           $870.00
                                issues

 01/17/2023   DMB     BL        Call with LDJ re UST comments                              0.20      1450.00           $290.00

 01/17/2023   DMB     BL        Internal corr re first day issues                          0.30      1450.00           $435.00

 01/17/2023   DMB     BL        Call with LDJ re first day issues                          0.30      1450.00           $435.00

 01/17/2023   LDJ     BL        Preparation, negotiations, revision of orders re: first    6.50      1745.00         $11,342.50
                                day hearing

 01/17/2023   MFC     BL        EMails with LDJ, TPC and ID regarding judge                0.40      1350.00           $540.00
                                requirements and first day hearing (.1); review and
                    Case
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                                                                                         Hours           Rate       Amount
                                finalize binders for chambers (.3).

 01/17/2023   MFC     BL        Revise index of first day motions (.2); Conference        0.30      1350.00          $405.00
                                with I. Levy regarding same (.1).

 01/17/2023   MFC     BL        More emails with Kroll regarding service issues.          0.20      1350.00          $270.00

 01/17/2023   MFC     BL        Emails with C. Knotts and D. Bertenthal regarding         0.10      1350.00          $135.00
                                Zoom issues.

 01/17/2023   MFC     BL        Conference with copy center regarding binders for         0.20      1350.00          $270.00
                                judge when assigned.

 01/17/2023   MFC     BL        Review JKS chambers procedures for first day              0.10      1350.00          $135.00
                                process.

 01/17/2023   MBL     BL        Emails with team re first day hearing.                    0.20      1445.00          $289.00

 01/17/2023   TPC     BL        Correspond with team re: finalize agenda for filing       0.80      1125.00          $900.00

 01/17/2023   TPC     BL        Revise and edit orders for first day hearing              2.00      1125.00         $2,250.00

 01/17/2023   TPC     BL        Draft agenda, first day motion notice, and DIP            1.50      1125.00         $1,687.50
                                hearing notice for case

 01/17/2023   TPC     BL        Various preparations for first day hearing                1.50      1125.00         $1,687.50

 01/17/2023   TPC     BL        Further review and revisions to first day motions         1.00      1125.00         $1,125.00
                                prior to filing

 01/17/2023   TPC     BL        Review comments and work with team re: respond            1.50      1125.00         $1,687.50
                                to UST comments to first day orders

 01/17/2023   PJK     BL        Emails with D Potts re filing and issues re bid           0.40      1025.00          $410.00
                                procedures motion, attention to same

 01/17/2023   PJK     BL        Emails with TPC re first day filings                      0.20      1025.00          $205.00

 01/17/2023   PJK     BL        Review docket re first day filings and bid procedures     0.50      1025.00          $512.50
                                motion, emails with Kroll re same

 01/17/2023   PJK     BL        Emails with Kroll re service issues, research re same     0.40      1025.00          $410.00

 01/17/2023   PJK     BL        Review UST comments on first day orders, emails           1.00      1025.00         $1,025.00
                                with TPC re same, emails with client re same, draft
                                responses and revise orders re insurance and cash
                                management

 01/17/2023   PJK     BL        Attention to scheduling issues for bid procedures         1.00      1025.00         $1,025.00
                                motion, emails with PSZJ team re same, edits to
                                motion to shorten

 01/17/2023   PJK     BL        Prep and assist with prep for first day hearing, email    0.50      1025.00          $512.50
                                to LDJ re sale schedule
                    Case
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 01/17/2023   IDD     BL        Update agenda for 1st day hearing (.6); file same        1.70        545.00         $926.50
                                with the Court (.2); update Notice of Hearing on 1st
                                Day Motions (.2); file same with the Court (.2);
                                review 1st day hearing binders with M. Caloway
                                (.2); deliver 1st day hearing binders to Judge's
                                Chambers (.3)

 01/17/2023   IDD     BL        Draft Motion for Admission pro hac vice of David         0.80        545.00         $436.00
                                Bertenthal (.2); file same with the Court (.2); draft
                                Motion for Admission pro hac vice of Max Litvak
                                (.2); file same with the Court (.2)

 01/17/2023   MFC     BL        Emails with Kroll regarding service of notices of        0.20      1350.00          $270.00
                                first day motions and hearing.

 01/17/2023   MFC     BL        Review UST comments to DIP and bid procedures            0.20      1350.00          $270.00
                                motions.

 01/17/2023   MFC     BL        Call with C. Springer regarding hearing on first day     0.10      1350.00          $135.00
                                motions.

 01/17/2023   MFC     BL        Emails to/from chambers regarding first day index        0.10      1350.00          $135.00
                                and binders.

 01/17/2023   MFC     BL        Review and edit draft notices regarding first day        0.40      1350.00          $540.00
                                hearing.

 01/17/2023   MFC     BL        Emails with chambers regarding first day hearing         0.10      1350.00          $135.00
                                and related issues.

 01/17/2023   MFC     BL        Emails with UST regarding first day motions and          0.20      1350.00          $270.00
                                first day hearing.

 01/18/2023   DMB     BL        Review materials re first day hearing                    0.60      1450.00          $870.00

 01/18/2023   DMB     BL        Review new DirecPath proposal                            0.20      1450.00          $290.00

 01/18/2023   DMB     BL        Corr with client re DirecPath                            0.20      1450.00          $290.00

 01/18/2023   DMB     BL        Call with LDJ re first day hearing                       0.10      1450.00          $145.00

 01/18/2023   DMB     BL        Call with client re first day hearing                    0.10      1450.00          $145.00

 01/18/2023   DMB     BL        Attend first day hearing                                 1.20      1450.00         $1,740.00

 01/18/2023   DMB     BL        Call with client re DirecPath                            0.30      1450.00          $435.00

 01/18/2023   DMB     BL        Internal call re post first day next steps               0.20      1450.00          $290.00

 01/18/2023   LDJ     BL        Final preparation for 1/18 hearing                       2.50      1745.00         $4,362.50

 01/18/2023   LDJ     BL        Attend 1/18 hearing                                      1.20      1745.00         $2,094.00
                    Case
                    Case 23-10051-JKS
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                                      Doc 300-1
                                          441 Filed
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 01/18/2023   LDJ     BL        Teleconference with David Bertenthal re: DirecPath       0.20      1745.00          $349.00
                                issues

 01/18/2023   LDJ     BL        Review work in process, scheduling, next steps           1.00      1745.00         $1,745.00

 01/18/2023   LDJ     BL        Post-hearing tasks -- coordinate orders, finalizing      1.80      1745.00         $3,141.00
                                revisions, scheduling, calls

 01/18/2023   MFC     BL        Attend first day hearing.                                1.20      1350.00         $1,620.00

 01/18/2023   MBL     BL        Attend and participate in first day hearing via Zoom.    1.50      1445.00         $2,167.50

 01/18/2023   TPC     BL        Review and revise orders to incorporate comments         1.80      1125.00         $2,025.00
                                from Court at first day hearing

 01/18/2023   TPC     BL        Various hearing preparations                             1.60      1125.00         $1,800.00

 01/18/2023   TPC     BL        Review and revise notices of final hearing re: first     0.60      1125.00          $675.00
                                day hearing orders

 01/18/2023   TPC     BL        Attend first day hearing                                 1.70      1125.00         $1,912.50

 01/18/2023   PJK     BL        Attend first day hearing by Zoom                         1.20      1025.00         $1,230.00

 01/18/2023   PJK     BL        Review first day matters, review bid pro motion for      0.50      1025.00          $512.50
                                sale issues for first day hearing

 01/18/2023   PJK     BL        Revise interim orders re cash mgmt and insurance,        0.40      1025.00          $410.00
                                emails with M Caloway, TPC, and IDD re same

 01/18/2023   PJK     BL        Review correspondence re Dodd/DP, emails with            0.40      1025.00          $410.00
                                DBM re same

 01/18/2023   PJK     BL        Emails from Kroll re filings/notices, emails with        0.30      1025.00          $307.50
                                PSZJ team re DIP order

 01/19/2023   DMB     BL        Corr with client re DirecPath issues                     0.30      1450.00          $435.00

 01/19/2023   LDJ     BL        Review DirecPath issues, strategy                        0.30      1745.00          $523.50

 01/19/2023   MFC     BL        Emails with ID regarding notices and service issues.     0.10      1350.00          $135.00

 01/19/2023   MFC     BL        Review docket for notices to be completed.               0.20      1350.00          $270.00

 01/20/2023   DMB     BL        Corr with Barings re DirecPath                           0.30      1450.00          $435.00

 01/20/2023   DMB     BL        Call with Barings counsel re DirecPath                   0.20      1450.00          $290.00

 01/20/2023   LDJ     BL        Teleconference with Barings, PSZJ re: DirecPath          0.20      1745.00          $349.00
                                issues

 01/20/2023   MFC     BL        Working on notice and service issues.                    0.80      1350.00         $1,080.00

 01/20/2023   MFC     BL        Working on noticing and deadline issues.                 0.50      1350.00          $675.00
                    Case
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 01/20/2023   TPC     BL        Work with team re: various issues related to service      0.40      1125.00          $450.00
                                of notices

 01/20/2023   IDD     BL        Revise Notice of Entry of First Day Orders (.4); file     0.70        545.00         $381.50
                                same with the Court (.2); arrange service of same on
                                required parties (.1)

 01/22/2023   DMB     BL        Corr with P Keane re status, open issues                  0.10      1450.00          $145.00

 01/22/2023   LDJ     BL        Review critical dates memo, work in process               0.30      1745.00          $523.50

 01/23/2023   DMB     BL        Review revisions re DirecPath proposal                    0.40      1450.00          $580.00

 01/23/2023   DMB     BL        Corr to client re DirecPath                               0.10      1450.00          $145.00

 01/23/2023   DMB     BL        Corr to P Keane re DirecPath                              0.10      1450.00          $145.00

 01/23/2023   DMB     BL        Call with P Keane re open issues                          0.40      1450.00          $580.00

 01/23/2023   DMB     BL        Call with client re DirecPath                             0.10      1450.00          $145.00

 01/23/2023   LDJ     BL        Review DirecPath issues, alternatives, strategy           0.30      1745.00          $523.50

 01/23/2023   PJK     BL        Emails with DMB re Dodd/DP settlement, prep               0.30      1025.00          $307.50
                                same and incorporate edits

 01/24/2023   DMB     BL        Corr with client, Barings re Direcpath                    0.20      1450.00          $290.00

 01/24/2023   DMB     BL        Revise DirecPath term sheet                               0.40      1450.00          $580.00

 01/24/2023   PJK     BL        Calls and emails with DMB re Dodd settlement (.3),        1.90      1025.00         $1,947.50
                                revise Dodd settlement and Review comments re
                                same (.8), emails from R Branning and DMB re
                                same (.2), attention to issues re Dodd settlement (.6)

 01/25/2023   DMB     BL        Corr with DirecPath counsel                               0.20      1450.00          $290.00

 01/25/2023   DMB     BL        Call with Direcpath counsel                               0.30      1450.00          $435.00

 01/25/2023   DMB     BL        Call with client re DirecPath                             0.20      1450.00          $290.00

 01/25/2023   TPC     BL        Review docket and previous notices for hearing re:        0.40      1125.00          $450.00
                                evaluate need for action in advance of final hearing

 01/25/2023   TPC     BL        Correspond with team re: issues related to docket         0.20      1125.00          $225.00
                                filings

 01/25/2023   TPC     BL        Work with team re: DIRECTPATH settlement                  0.40      1125.00          $450.00
                                issues

 01/25/2023   PJK     BL        Review Dodd issues list                                   0.20      1025.00          $205.00

 01/26/2023   DMB     BL        Corr with client re potential DP resolution               0.30      1450.00          $435.00
                    Case
                    Case 23-10051-JKS
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 01/26/2023   DMB     BL        Corr to Hogan re DP                                   0.10      1450.00           $145.00

 01/26/2023   DMB     BL        Call with client re DP                                0.10      1450.00           $145.00

 01/27/2023   DMB     BL        Corr with client re DirecPath                         0.10      1450.00           $145.00

 01/29/2023   DMB     BL        Attention to DirecPath issues                         0.30      1450.00           $435.00

 01/29/2023   LDJ     BL        Review work in process, critical dates memo           0.50      1745.00           $872.50

 01/30/2023   DMB     BL        Corr with client re DirecPath                         0.30      1450.00           $435.00

 01/30/2023   DMB     BL        Review/analysis re UCC diligence list                 0.50      1450.00           $725.00

 01/30/2023   DMB     BL        Call with E Brady re DirecPath issues                 0.20      1450.00           $290.00

 01/30/2023   LDJ     BL        Teleconference with David Bertenthal re: DirecPath    0.20      1745.00           $349.00
                                issues

 01/30/2023   LDJ     BL        Correspondence with Committee re: pending issues,     0.30      1745.00           $523.50
                                diligence

 01/31/2023   DMB     BL        Review/comment re UCC issues list, information        0.70      1450.00         $1,015.00
                                request

 01/31/2023   DMB     BL        Call with client re UCC information issues            0.50      1450.00           $725.00

 01/31/2023   DMB     BL        Additional review re materials for UCC requests       0.60      1450.00           $870.00

 01/31/2023   DMB     BL        Call with client, Barings re Direcpath                0.40      1450.00           $580.00

 01/31/2023   LDJ     BL        Review and comment on NDA with Committee              0.40      1745.00           $698.00

 01/31/2023   TPC     BL        Teleconferences with team re UCC initial diligence    0.50      1125.00           $562.50
                                requests

 01/31/2023   TPC     BL        Further teleconferences with team re respond to       0.50      1125.00           $562.50
                                UCC diligence requests

                                                                                     66.40                      $87,749.50

  Case Administration [B110]
 01/17/2023   MFC     CA        Emails with PSZJ group regarding case admin           0.40      1350.00           $540.00
                                issues.

 01/18/2023   KSN     CA        Maintain document control.                            0.50        425.00          $212.50

 01/18/2023   IDD     CA        Draft Critical Dates Memorandum                       0.60        545.00          $327.00

 01/19/2023   KSN     CA        Maintain document control.                            0.30        425.00          $127.50

 01/20/2023   MFC     CA        Call with TPC regarding task list.                    0.10      1350.00           $135.00
                    Case
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 01/20/2023   MBL     CA        Misc. case emails.                                    0.10      1445.00          $144.50

 01/21/2023   MFC     CA        Review and edit draft critical dates memo.            0.40      1350.00          $540.00

 01/24/2023   KSN     CA        Maintain document control.                            0.10        425.00          $42.50

 01/24/2023   IDD     CA        Review docket to update Critical Dates                0.20        545.00         $109.00
                                Memorandum (.1); circulate same to Debtors'
                                professionals (.1)

 01/25/2023   KSN     CA        Maintain document control.                            0.20        425.00          $85.00

 01/25/2023   IDD     CA        Review docket to update Critical Dates                0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 01/26/2023   IDD     CA        Review docket to update Critical Dates                0.20        545.00         $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 01/27/2023   IDD     CA        Review docket to update Critical Dates                0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 01/30/2023   MFC     CA        Review misc. pleadings docketed.                      0.10      1350.00          $135.00

 01/30/2023   IDD     CA        Review docket to update Critical Dates                0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 01/31/2023   KSN     CA        Maintain document control.                            0.10        425.00          $42.50

 01/31/2023   IDD     CA        Review Notice of Appearance of Committee              0.30        545.00         $163.50
                                Counsel (.1); request update for 2002 service list
                                (.1); review draft 2002 service list (.1)

 01/31/2023   IDD     CA        Review docket to update Critical Dates                0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

                                                                                      4.80                      $3,367.00

  Claims Admin/Objections[B310]
 01/20/2023   LDJ     CO        Respond to creditor inquiries                         0.30      1745.00          $523.50

 01/27/2023   LDJ     CO        Respond to creditor inquiries                         0.30      1745.00          $523.50

 01/30/2023   LDJ     CO        Respond to creditor inquiries                         0.20      1745.00          $349.00

 01/31/2023   TPC     CO        Respond to inquiries from various creditors           0.40      1125.00          $450.00

                                                                                      1.20                      $1,846.00
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  Comp. of Prof./Others
 01/19/2023   ECO     CPO       Preparation of motion re interim compensation            2.20        725.00        $1,595.00
                                procedures.

 01/23/2023   MFC     CPO       Review and edit interim comp motion.                     0.20      1350.00          $270.00

 01/30/2023   MFC     CPO       Emails with TPC and ID regarding interim comp            0.30      1350.00          $405.00
                                motion (.1); revise and finalize same for filing (.2).

 01/30/2023   TPC     CPO       Review interim comp motion for filing                    0.60      1125.00          $675.00

 01/30/2023   TPC     CPO       Work with team re filing of interim comp                 0.50      1125.00          $562.50
                                motion/OCP motion

 01/30/2023   ECO     CPO       Review e-mail from Mary Caloway re additional            0.10        725.00          $72.50
                                information to be added to interim compensation and
                                ordinary course professionals motions.

 01/30/2023   IDD     CPO       Draft Notice of Hearing on Motion to Approve             0.60        545.00         $327.00
                                Interim Compensation Procedures (.3); file Motion
                                with the Court (.2); arrange for service of same on
                                required parties (.1)

                                                                                         4.50                      $3,907.00

  Employee Benefit/Pension-B220
 01/18/2023   IDD     EB        Upload proposed Interim Order re Wages Motion            0.10        545.00          $54.50

 01/19/2023   PJK     EB        Research re retention bonus issues                       0.70      1025.00          $717.50

 01/19/2023   DMB     EB        Corr with client re KERP issues                          0.20      1450.00          $290.00

 01/19/2023   DMB     EB        Review materials re Costa Rica issues                    0.30      1450.00          $435.00

 01/23/2023   PJK     EB        Emails with DMB and R Branning re retention              0.30      1025.00          $307.50
                                bonuses, attention to same

 01/24/2023   PJK     EB        Attention to retention bonus issues, emails with         0.50      1025.00          $512.50
                                client and DMB re same

 01/24/2023   DMB     EB        Call with LDJ re employee issues                         0.20      1450.00          $290.00

 01/26/2023   PJK     EB        Emails with PSZJ team re retention bonuses,              0.50      1025.00          $512.50
                                research re same

 01/26/2023   DMB     EB        Corr with P Keane re potential KERP                      0.20      1450.00          $290.00

 01/26/2023   DMB     EB        Review draft KERP                                        0.40      1450.00          $580.00

 01/26/2023   DMB     EB        Call with LDJ, P Keane re potential KERP issue           0.20      1450.00          $290.00

 01/26/2023   DMB     EB        Call with client re potential KERP                       0.30      1450.00          $435.00
                    Case
                    Case 23-10051-JKS
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 01/26/2023   LDJ     EB        Teleconference with PSZJ re: KERP                      0.20      1745.00           $349.00

 01/26/2023   LDJ     EB        Correspondence with PSZJ re: KERP                      0.30      1745.00           $523.50

 01/26/2023   LDJ     EB        Review KERP issues, precedent, strategy                1.50      1745.00         $2,617.50

 01/26/2023   PJK     EB        Draft KERP motion, email to DMB re same                1.80      1025.00         $1,845.00

 01/26/2023   PJK     EB        Research KERP points for client, email to R            0.50      1025.00           $512.50
                                Branning re same

 01/27/2023   PJK     EB        Research re retention bonus issues, emails with        0.40      1025.00           $410.00
                                DMB re same

 01/27/2023   DMB     EB        Corr with P Keane re employee issues                   0.10      1450.00           $145.00

 01/29/2023   DMB     EB        Review KERP motion draft                               0.40      1450.00           $580.00

 01/29/2023   DMB     EB        Corr with P Keane re KERP issues                       0.20      1450.00           $290.00

 01/29/2023   PJK     EB        Attention to retention bonus and KERP issues emails    0.50      1025.00           $512.50
                                with DMB re same, email to R Branning re same

 01/30/2023   DMB     EB        Review materials re potential KERP                     0.30      1450.00           $435.00

 01/30/2023   MBL     EB        Review and comment on draft KERP and related           1.20      1445.00         $1,734.00
                                motion and order; emails with team re same.

 01/30/2023   PJK     EB        Revise KERP motion, emails with DMB re same,           0.90      1025.00           $922.50
                                emails with MBL re same

 01/31/2023   DMB     EB        Review potential employee motion                       0.50      1450.00           $725.00

 01/31/2023   LDJ     EB        Review KERP draft, issues                              0.50      1745.00           $872.50

 01/31/2023   PJK     EB        Emails with LDJ re retention bonuses                   0.20      1025.00           $205.00

                                                                                      13.40                      $17,393.50

  Executory Contracts [B185]
 01/19/2023   DMB     EC        Corr with client re cure issues                        0.30      1450.00           $435.00

 01/19/2023   DMB     EC        Internal corr re cure notices                          0.20      1450.00           $290.00

 01/19/2023   LDJ     EC        Review cure issues, strategy                           0.60      1745.00         $1,047.00

 01/20/2023   LDJ     EC        Review cure issues, tasks                              0.30      1745.00           $523.50

 01/25/2023   DMB     EC        Review materials re cure issues                        0.50      1450.00           $725.00

 01/26/2023   DMB     EC        Review materials from client re contract issues        0.30      1450.00           $435.00

 01/27/2023   DMB     EC        Corr with client re Cigna                              0.20      1450.00           $290.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
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                                                                                       Hours           Rate       Amount

 01/27/2023   DMB     EC        Internal call re cure, sale issues                      0.30      1450.00          $435.00

 01/30/2023   DMB     EC        Work on cure issues                                     0.50      1450.00          $725.00

 01/31/2023   PJK     EC        Emails with TPC re HQ lease, emails with R              0.20      1025.00          $205.00
                                Branning re same

 01/31/2023   TPC     EC        Discuss with team various issues related to             0.40      1125.00          $450.00
                                assumption of leases

                                                                                        3.80                      $5,560.50

  Financial Filings [B110]
 01/18/2023   TPC     FF        Work with team and respond to UST re: potential         0.30      1125.00          $337.50
                                schedule in case

 01/19/2023   LDJ     FF        Teleconference with Tim Cairns re: schedules/sofas      0.20      1745.00          $349.00

 01/19/2023   LDJ     FF        Correspondence with client re: IDI, MORs                0.20      1745.00          $349.00

 01/19/2023   PJJ     FF        Telephone conference with TPC regarding                 0.30        545.00         $163.50
                                preparation of Schedules & Statements.

 01/19/2023   TPC     FF        Work with PSZJ team re: drafting Schedules/SOFAs        0.30      1125.00          $337.50

 01/19/2023   TPC     FF        Review UST IDI document requests                        0.20      1125.00          $225.00

 01/19/2023   TPC     FF        Teleconference with Novo team re: schedules             0.30      1125.00          $337.50
                                preparations

 01/19/2023   TPC     FF        Respond to various client inquiries related to IDI      0.40      1125.00          $450.00
                                document production

 01/20/2023   TPC     FF        Work with team and Novo re: assist Novo in              0.60      1125.00          $675.00
                                obtaining documents to provide to UST prior to IDI

 01/23/2023   TPC     FF        Review IDI documents and forward to UST                 1.60      1125.00         $1,800.00

 01/24/2023   TPC     FF        Correspond with team re: IDI preparation                0.20      1125.00          $225.00

 01/24/2023   TPC     FF        Review UST comments and work with team or               0.50      1125.00          $562.50
                                response re: IDI document production

 01/25/2023   TPC     FF        Correspond with client and team re: schedules issues    0.50      1125.00          $562.50

 01/25/2023   TPC     FF        Respond to client questions related to MOR forms        0.30      1125.00          $337.50

 01/26/2023   TPC     FF        Correspond with team re: scheduling of IDI              0.20      1125.00          $225.00

 01/30/2023   LDJ     FF        Teleconference with Rian Branning re: IDI               0.20      1745.00          $349.00
                                preparation
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 01/30/2023   LDJ     FF        Preparation for IDI                                    0.30      1745.00           $523.50

 01/31/2023   LDJ     FF        Preparation for IDI                                    0.70      1745.00         $1,221.50

 01/31/2023   LDJ     FF        Attend IDI                                             0.30      1745.00           $523.50

 01/31/2023   TPC     FF        Work with team re: prepare for IDI meeting             0.40      1125.00           $450.00

 01/31/2023   TPC     FF        Attend IDI                                             0.50      1125.00           $562.50

                                                                                       8.50                      $10,566.50

  Financing [B230]
 01/17/2023   DMB     FN        Corr with lender re DIP                                0.20      1450.00           $290.00

 01/17/2023   PJJ     FN        Compile documents to DIP facility officer              1.00        545.00          $545.00
                                certificate.

 01/17/2023   MFC     FN        Multiple emails email UST and other DIP issues.        0.30      1350.00           $405.00

 01/17/2023   MBL     FN        Review and finalize ancillary and closing documents    1.10      1445.00         $1,589.50
                                (0.8); coordinate with client and lender counsel re
                                same (0.3).

 01/17/2023   MBL     FN        Review filed DIP motion; prep for hearing.             0.90      1445.00         $1,300.50

 01/17/2023   MBL     FN        Review UST comments to DIP and milestones (0.2);       0.70      1445.00         $1,011.50
                                coordinate same with lender counsel and respond to
                                UST (0.5).

 01/17/2023   MBL     FN        Review revised final DIP order incorporating UST       0.30      1445.00           $433.50
                                comments; emails with lender counsel and UST re
                                same.

 01/17/2023   MBL     FN        Emails with lender counsel re DIP closing issues.      0.40      1445.00           $578.00

 01/17/2023   PJK     FN        Emails with Z Shapiro re DIP order, emails with        0.20      1025.00           $205.00
                                PSZJ team re same

 01/18/2023   PJJ     FN        Prepare DIP facility officer certificate for           0.50        545.00          $272.50
                                circulation.

 01/18/2023   MFC     FN        Call with UST and DIP lender regarding interim DIP     0.20      1350.00           $270.00
                                order.

 01/18/2023   MFC     FN        Emails regarding blackline DIP order for chambers.     0.20      1350.00           $270.00

 01/18/2023   MFC     FN        Emails regarding DIP blackline for chambers.           0.10      1350.00           $135.00

 01/18/2023   MFC     FN        EMails and call with Kroll regarding DIP motion        0.20      1350.00           $270.00
                                and order.
                    Case
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 01/18/2023   MFC     FN        Multiple emails regarding revised DIP order,              0.40      1350.00          $540.00
                                documents and COC.

 01/18/2023   MFC     FN        Emails with ID and chambers regarding COC for             0.20      1350.00          $270.00
                                DIP order and order upload.

 01/18/2023   MFC     FN        Emails regarding DIP closing and funding.                 0.30      1350.00          $405.00

 01/18/2023   MFC     FN        Emails regarding resolution of UST DIP comments.          0.20      1350.00          $270.00

 01/18/2023   MFC     FN        Prepare COC for DIP order.                                0.40      1350.00          $540.00

 01/18/2023   MFC     FN        Additional emails regarding revised DIP order and         0.10      1350.00          $135.00
                                COC.

 01/18/2023   MFC     FN        Emails regarding DIP documents and closing.               0.20      1350.00          $270.00

 01/18/2023   MBL     FN        Revise DIP order following first day hearing;             0.90      1445.00         $1,300.50
                                coordinate same with opposing counsel.

 01/18/2023   MBL     FN        Review COC re interim DIP order; coordinate with          0.30      1445.00          $433.50
                                team re filing.

 01/18/2023   MBL     FN        Calls with R. Branning and T. Wearsch re DIP              0.30      1445.00          $433.50
                                funding.

 01/18/2023   MBL     FN        Emails pre-hearing with opposing counsel and team         0.30      1445.00          $433.50
                                re DIP order issues.

 01/18/2023   MBL     FN        Prepare form of variance report for client; coordinate    0.20      1445.00          $289.00
                                re same.

 01/18/2023   MBL     FN        Review entered interim DIP order and coordinate           0.20      1445.00          $289.00
                                with client re reporting obligations.

 01/18/2023   MBL     FN        Review and comment on updated DIP credit                  2.50      1445.00         $3,612.50
                                agreement and ancillary documents and schedules
                                (2.0); emails with lender counsel, client, and team re
                                final DIP documents and coordinate closing (0.5).

 01/18/2023   MBL     FN        Prep for DIP hearing; review DIP-related filings.         0.70      1445.00         $1,011.50

 01/18/2023   MBL     FN        Call with UST and lender counsel re DIP order             0.20      1445.00          $289.00
                                issues.

 01/18/2023   TPC     FN        Work with team re: submit interim DIP order to            0.40      1125.00          $450.00
                                court

 01/18/2023   IDD     FN        Upload proposed Interim Order re Cash                     0.60        545.00         $327.00
                                Management Motion (.1); draft Notice of Final
                                Hearing re same (.3); upload proposed Order re
                                Consolidated Creditor Matrix Motion (.1); upload
                                proposed Order re Joint Administration Motion (.1)
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 01/19/2023   DMB     FN        Call with P Keane re cash management                       0.10      1450.00           $145.00

 01/19/2023   MFC     FN        Review and edit notice of DIP motion and order.            0.20      1350.00           $270.00

 01/19/2023   MBL     FN        Follow-up emails with client re DIP funding issues         0.30      1445.00           $433.50
                                and post-closing deliverables.

 01/19/2023   PJK     FN        Attention to cash management issues, emails with           0.70      1025.00           $717.50
                                DMB re same, review CM motion

 01/19/2023   IDD     FN        Draft Notice of Hearing for DIP Financing Motion           0.50        545.00          $272.50
                                (.2); file same with the Court (.2); arrange service of
                                same on required parties (.1)

 01/20/2023   MBL     FN        Emails with Barings counsel re filed loan                  0.10      1445.00           $144.50
                                documents.

 01/23/2023   DMB     FN        Review potential cash management supplement                0.20      1450.00           $290.00

 01/23/2023   MBL     FN        Follow-up with client re post-closing DIP                  0.10      1445.00           $144.50
                                deliverables.

 01/23/2023   PJK     FN        Draft supplement to cash mgmt motion, research re          1.00      1025.00         $1,025.00
                                same

 01/24/2023   MBL     FN        Follow-up with client re DIP post-closing                  0.20      1445.00           $289.00
                                obligations and deliver insurance endorsement to
                                lender counsel.

 01/24/2023   MBL     FN        Emails with team re DIP requirements for non-core          0.40      1445.00           $578.00
                                sales; review applicable DIP documents.

 01/26/2023   MBL     FN        Emails with client and lender counsel re DIP               0.20      1445.00           $289.00
                                post-closing obligations and insurance status.

 01/30/2023   MBL     FN        Emails with client and lender counsel re post-closing      0.10      1445.00           $144.50
                                insurance certs; review same.

 01/31/2023   MBL     FN        Review UCC DIP and bid pro issues list; emails             0.20      1445.00           $289.00
                                with team re same.

                                                                                          19.00                      $23,906.50

  General Creditors Comm. [B150]
 01/30/2023   MBL     GC        Attention to committee formation notice.                   0.10      1445.00           $144.50

 01/31/2023   MBL     GC        Attention to committee counsel appearance.                 0.10      1445.00           $144.50

                                                                                           0.20                        $289.00
                    Case
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  Insurance Coverage
 01/18/2023   IDD     IC        Upload proposed Interim Order re Insurance Motion        0.10        545.00          $54.50

                                                                                         0.10                        $54.50

  Meeting of Creditors [B150]
 01/19/2023   MFC     MC        Emails with TPC and ID regarding 341 notice              0.20      1350.00          $270.00
                                issues.

 01/19/2023   MFC     MC        Emails with group regarding notice of 341 meeting.       0.10      1350.00          $135.00

 01/19/2023   MFC     MC        Emails regarding 341 meeting.                            0.10      1350.00          $135.00

 01/19/2023   TPC     MC        Review and comment on 341 meeting notice                 0.70      1125.00          $787.50

 01/19/2023   IDD     MC        Draft Notice of Commencement of Case with 341            0.40        545.00         $218.00
                                Hearing

 01/20/2023   MFC     MC        Additional emails regarding 341 notice issues and        0.30      1350.00          $405.00
                                correction of UST notice of same.

 01/20/2023   MFC     MC        Emails with Kroll and ID regarding 341 notice.           0.10      1350.00          $135.00

 01/20/2023   MFC     MC        Call with ID regarding noticing and 341 issues.          0.10      1350.00          $135.00

 01/20/2023   TPC     MC        Review 341 meeting notice for filing; correspond         0.80      1125.00          $900.00
                                with UST and team to discuss revision of UST
                                notice to accompany 341 notice

 01/20/2023   IDD     MC        Revise 341 Notice per attorney comments (.2); file       0.40        545.00         $218.00
                                same with the Court (.1); arrange for service of same
                                (.1)

 01/23/2023   TPC     MC        Correspond with team re: service of 341 meeting          0.30      1125.00          $337.50
                                notice

                                                                                         3.50                      $3,676.00

  Operations [B210]
 01/18/2023   IDD     OP        Upload proposed Interim Order re Utilities Motion        0.10        545.00          $54.50

 01/31/2023   TPC     OP        Assist client with issues related to suppliers           0.40      1125.00          $450.00

                                                                                         0.50                       $504.50

  Retention of Prof. [B160]
 01/20/2023   TPC     RP        Draft PSZJ retention application                         1.70      1125.00         $1,912.50
                    Case
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 01/22/2023   LDJ     RP        Review and revise PSZJ retention application            0.30      1745.00          $523.50

 01/23/2023   LDJ     RP        Review and finalize PSZJ retention application          0.20      1745.00          $349.00

 01/23/2023   TPC     RP        Further review of conflicts for disclosure re PSZJ      1.20      1125.00         $1,350.00
                                retention application

 01/23/2023   TPC     RP        Revise and edit PSZJ retention application              0.70      1125.00          $787.50

 01/23/2023   IDD     RP        Draft Notice for PSZJ Retention Application (.3);       0.60        545.00         $327.00
                                file PSZJ Retention Application with the Court (.2);
                                arrange for service of same (.1)

 01/31/2023   TPC     RP        Further investigation of potential disclosures for      0.70      1125.00          $787.50
                                PSZJ

                                                                                        5.40                      $6,037.00

  Ret. of Prof./Other
 01/17/2023   TPC     RPO       Correspond with Kroll and UST re: respond to UST        0.70      1125.00          $787.50
                                comments related to Kroll retention

 01/18/2023   MFC     RPO       Emails and call with TPC regarding retention            0.10      1350.00          $135.00
                                applications to be drafted.

 01/18/2023   TPC     RPO       Draft application to retain Bank Street                 0.90      1125.00         $1,012.50

 01/18/2023   TPC     RPO       Work with team re: draft applications for retention     0.30      1125.00          $337.50
                                of professionals

 01/18/2023   ECO     RPO       E-mails with Laura Davis Jones/Timothy                  0.30        725.00         $217.50
                                Cairns/Mary Caloway re retention applications and
                                other motions to be prepared.

 01/18/2023   IDD     RPO       Upload proposed Order re Claims Agent Retention         0.10        545.00          $54.50
                                Application

 01/19/2023   ECO     RPO       Prepare motion for authority to pay ordinary course     1.90        725.00        $1,377.50
                                professionals.

 01/19/2023   LDJ     RPO       Conference with Tim Cairns re: Bank Street              0.20      1745.00          $349.00
                                retention

 01/19/2023   MFC     RPO       Draft Kroll 327 retention application.                  1.30      1350.00         $1,755.00

 01/19/2023   MFC     RPO       Begin drafting Novo retention application.              0.30      1350.00          $405.00

 01/19/2023   TPC     RPO       Draft application to retain Bank Street                 1.80      1125.00         $2,025.00

 01/19/2023   ECO     RPO       E-mails with Timothy Cairns and Mary Caloway re         0.20        725.00         $145.00
                                Bank Street retention application/engagement letter.
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 01/20/2023   MFC     RPO       Revise Kroll retention application.                     0.20      1350.00          $270.00

 01/20/2023   MFC     RPO       Emails and call with C. Springer regarding Novo         0.20      1350.00          $270.00
                                retention motion.

 01/20/2023   MFC     RPO       Call with C. Springer regarding Novo retention.         0.20      1350.00          $270.00

 01/20/2023   MFC     RPO       Review Kroll comments to retention application.         0.10      1350.00          $135.00

 01/20/2023   MFC     RPO       Drafting Novo retention motion.                         2.60      1350.00         $3,510.00

 01/20/2023   MFC     RPO       Additional emails regarding Novo retention              0.20      1350.00          $270.00
                                application issues.

 01/20/2023   TPC     RPO       Draft Bank Street retention application                 2.40      1125.00         $2,700.00

 01/20/2023   TPC     RPO       Review of Novo retention application                    0.80      1125.00          $900.00

 01/20/2023   ECO     RPO       Continue to prepare ordinary course professionals       1.80        725.00        $1,305.00
                                motion and proposed order.

 01/20/2023   ECO     RPO       E-mails with Timothy Cairns re information for          0.20        725.00         $145.00
                                Bank Street investment banker retention application.

 01/20/2023   ECO     RPO       Continue to prepare interim compensation                1.50        725.00        $1,087.50
                                procedures motion and proposed order.

 01/21/2023   MFC     RPO       Revisions to Nove CRO retention motion and              1.00      1350.00         $1,350.00
                                exhibits.

 01/21/2023   MFC     RPO       Emails regarding Novo CRO retention motion.             0.20      1350.00          $270.00

 01/21/2023   TPC     RPO       Correspond with Bank Street (0.4) and revise Bank       1.50      1125.00         $1,687.50
                                Street retention application (1.1)

 01/22/2023   MFC     RPO       Emails regarding updates to Novo CRO motion.            0.10      1350.00          $135.00

 01/22/2023   MFC     RPO       Revisions to Novo CRO motion.                           0.50      1350.00          $675.00

 01/22/2023   TPC     RPO       Review and revise retention applications                0.40      1125.00          $450.00

 01/23/2023   DMB     RPO       Review draft consulting agreement                       0.40      1450.00          $580.00

 01/23/2023   DMB     RPO       Call with TPC re consulting agreement                   0.20      1450.00          $290.00

 01/23/2023   MFC     RPO       Emails regarding consulting agreement.                  0.10      1350.00          $135.00

 01/23/2023   LDJ     RPO       Conference with Tim Cairns re: Bank Street              0.30      1745.00          $523.50
                                retention app

 01/23/2023   MFC     RPO       Emails with Novo regarding CRO motion (.2);             1.60      1350.00         $2,160.00
                                revise and finalize motion (1.1) Calls with C.
                                Springer re same (.2); emails with ID regarding
                                notice of same and review draft notice (.1).
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 01/23/2023   MFC     RPO       Finalize Kroll retention application.                    0.30      1350.00          $405.00

 01/23/2023   MFC     RPO       Email to CRO regarding OCP motion.                       0.10      1350.00          $135.00

 01/23/2023   MFC     RPO       Review and edit draft OCP motion.                        0.10      1350.00          $135.00

 01/23/2023   TPC     RPO       Draft Bank Street retention application; work with       0.80      1125.00          $900.00
                                Bank Street re: same

 01/23/2023   TPC     RPO       Review consulting agreement and work with                1.40      1125.00         $1,575.00
                                team/client re: retention of IT consultant

 01/23/2023   TPC     RPO       Further revisions to Bank Street app for filing          0.70      1125.00          $787.50

 01/23/2023   TPC     RPO       Further correspondence with team re: hiring of IT        0.40      1125.00          $450.00
                                consultant

 01/23/2023   TPC     RPO       Review Noro retention motion for filing                  0.40      1125.00          $450.00

 01/23/2023   ECO     RPO       Review and reply to e-mail from Claudia Springer re      0.20        725.00         $145.00
                                information for ordinary course professionals
                                motion.

 01/23/2023   ECO     RPO       Review and analysis of client documents and              1.90        725.00        $1,377.50
                                records; prepare notes re company's ordinary course
                                professionals.

 01/23/2023   ECO     RPO       Review and revise interim compensation and               0.40        725.00         $290.00
                                ordinary course professionals motion drafts; prepare
                                e-mail to Timothy Cairns forwarding drafts.

 01/23/2023   ECO     RPO       Prepare e-mail to Claudia Springer re request for        0.20        725.00         $145.00
                                information on ordinary course profesisonals.

 01/23/2023   IDD     RPO       Draft Notice for Novo Advisors Retention                 1.80        545.00         $981.00
                                Application (.3); file Novo Advisors Retention
                                Application with the Court (.2); arrange for service
                                of same (.1); draft Notice for Bank Street Retention
                                Application (.3); file Bank Street Retention
                                Application with the Court (.2); arrange for service
                                of same (.1); draft Notice for Kroll Retention
                                Application (.3); file Kroll Retention Application
                                with the Court (.2); arrange for service of same (.1)

 01/24/2023   MFC     RPO       Call with Novo group regarding consulting                0.50      1350.00          $675.00
                                agreement and other open issues.

 01/24/2023   TPC     RPO       Review OCP motion and work with team re: revise          0.80      1125.00          $900.00
                                and edit motion

 01/24/2023   TPC     RPO       Teleconference with team re: OCP Issues                  0.30      1125.00          $337.50

 01/24/2023   TPC     RPO       Review revisions to agreement and work with team         1.30      1125.00         $1,462.50
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                                re: IT consulting agreements

 01/24/2023   TPC     RPO       Further review to revisions to IT consulting           0.90      1125.00         $1,012.50
                                agreement

 01/24/2023   ECO     RPO       Conference call with Timothy Cairns and Claudia        0.20        725.00         $145.00
                                Springer re coordinating on ordinary course
                                professionals list/finalizing motion.

 01/24/2023   ECO     RPO       E-mails with Timothy Cairns and Claudia Springer       0.10        725.00          $72.50
                                re information for ordinary course professionals
                                motion.

 01/25/2023   TPC     RPO       Correspond with team and client re: IT consultant      0.40      1125.00          $450.00
                                retention issues

 01/25/2023   TPC     RPO       Further review and comment re: OCP motion              0.60      1125.00          $675.00

 01/25/2023   ECO     RPO       Prepare e-mail to Claudia Springer re followup         0.30        725.00         $217.50
                                questions for ordinary course professionals motion.

 01/25/2023   ECO     RPO       Prepare e-mail to Timothy Cairns forwarding            0.10        725.00          $72.50
                                comments to ordinary course professionals motion
                                and revised draft of motion.

 01/25/2023   ECO     RPO       Review e-mail from Claudia Springer and additional     0.20        725.00         $145.00
                                notes re ordinary course professionals.

 01/25/2023   ECO     RPO       Review and reply to e-mail from Timothy Cairns re      0.20        725.00         $145.00
                                comments to ordinary course professionals motion.

 01/25/2023   ECO     RPO       Review and reply to e-mail from Claudia Springer re    0.10        725.00          $72.50
                                status of ordinary course professionals list.

 01/25/2023   ECO     RPO       Revise ordinary course professionals motion per        0.30        725.00         $217.50
                                information and comments received from
                                client/Novo.

 01/26/2023   MFC     RPO       Multiple emails to/from clients regarding OCP          0.20      1350.00          $270.00
                                motion and issues.

 01/26/2023   TPC     RPO       Review correspondence and work with team/client        0.70      1125.00          $787.50
                                re: draft OCP motion

 01/26/2023   ECO     RPO       Prepare e-mail response to Rian Branning re details    0.30        725.00         $217.50
                                for ordinary course professionals/information to be
                                included in motion.

 01/26/2023   ECO     RPO       Review e-mail from Claudia Springer re information     0.10        725.00          $72.50
                                on ordinary course professionals.

 01/26/2023   ECO     RPO       Make revisions to ordinary course professionals        0.10        725.00          $72.50
                                chart for motion.
                    Case
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                                      Doc 300-1
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                                                                                       Hours           Rate       Amount

 01/26/2023   ECO     RPO       E-mails with Timothy Cairns and Mary Caloway re         0.10        725.00         $72.50
                                updated information for ordinary course
                                professionals motion.

 01/26/2023   ECO     RPO       E-mails with Claudia Springer/Rian                      0.20        725.00        $145.00
                                Branning/Steven Mutton re additional details for
                                ordinary course professionals.

 01/26/2023   ECO     RPO       Telephone conference with Claudia Springer re           0.10        725.00         $72.50
                                reviewing information for ordinary course
                                professionals motion.

 01/26/2023   ECO     RPO       Telephone conference with Timothy Cairns re             0.10        725.00         $72.50
                                update on ordinary course professionals list and
                                motion.

 01/27/2023   TPC     RPO       Further correspondence with team re retention of IT     0.40      1125.00         $450.00
                                consultant

 01/30/2023   MFC     RPO       Emails with D. Potts regarding filing and service of    0.10      1350.00         $135.00
                                OCP motion.

 01/30/2023   MFC     RPO       Emails with TPC and EC regarding OCP motion.            0.10      1350.00         $135.00

 01/30/2023   ECO     RPO       Review information for ordinary course                  0.20        725.00        $145.00
                                professionals motion and prepare e-mail to Claudia
                                Springer re remaining items.

 01/30/2023   ECO     RPO       Review e-mail from Claudia Springer re information      0.10        725.00         $72.50
                                on accountants/ordinary course professionals
                                motion.

 01/30/2023   ECO     RPO       E-mails with Timothy Cairns/Claudia Springer re         0.10        725.00         $72.50
                                finalizing information for motion re ordinary course
                                professionals.

 01/30/2023   ECO     RPO       Review and revise ordinary course professionals         0.20        725.00        $145.00
                                motion to finalize for filing.

 01/30/2023   ECO     RPO       Prepare e-mail to Claudia Springer and Rian             0.10        725.00         $72.50
                                Branning circulating ordinary course professionals
                                motion for review and comment.

 01/30/2023   ECO     RPO       Make additional changes to ordinary course              0.20        725.00        $145.00
                                professionals motion per comments from Mary
                                Caloway.

 01/30/2023   ECO     RPO       Review e-mail from Claudia Springer re final            0.10        725.00         $72.50
                                changes to ordinary course professionals motion.

 01/30/2023   ECO     RPO       Prepare e-mail to Claudia Springer/Rian Branning re     0.10        725.00         $72.50
                                ordinary course professionals motion
                    Case
                    Case 23-10051-JKS
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                                                                                     Hours           Rate        Amount
                                changes/confirmation for filing.

 01/30/2023   ECO     RPO       E-mails with Timothy Cairns re ordinary course        0.10        725.00           $72.50
                                professionals motion and finalizing motion/notice.

 01/30/2023   ECO     RPO       Review and revise notice of motion re ordinary        0.20        725.00          $145.00
                                course professionals, and e-mails with Timothy
                                Cairns and Mary Caloway re finalizing same for
                                filing.

 01/30/2023   ECO     RPO       E-mails with Claudia Springer re approval of          0.20        725.00          $145.00
                                ordinary course professionals motion/coordinate
                                filing and service.

 01/30/2023   IDD     RPO       Draft Notice of Hearing on Motion to Retain           0.30        545.00          $163.50
                                Ordinary Course professionals

 01/31/2023   TPC     RPO       Work with Committee re: parties in interest           0.20      1125.00           $225.00

 01/31/2023   TPC     RPO       Work with OCP re: filing of declaration to support    0.40      1125.00           $450.00
                                retention

                                                                                     44.60                      $46,596.50

  Tax Issues [B240]
 01/18/2023   IDD     TI        Upload proposed Interim Order re Tax Motion           0.10        545.00           $54.50

 01/25/2023   TPC     TI        Correspond with team and client re: tax motion        0.30      1125.00           $337.50
                                issues

                                                                                      0.40                        $392.00

  TOTAL SERVICES FOR THIS MATTER:                                                                           $304,014.00
                    Case
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 Expenses
 01/17/2023   FF        Filing Fee [E112]USBC, District of Delaware, LDJ     8,878.00
 01/17/2023   FF        Filing Fee [E112] USDC, District of Delaware, LDJ      50.00
 01/17/2023   RE        ( 140 @0.10 PER PG)                                    14.00
 01/17/2023   RE        ( 160 @0.10 PER PG)                                    16.00
 01/17/2023   RE        ( 64 @0.10 PER PG)                                       6.40
 01/17/2023   RE        ( 172 @0.10 PER PG)                                    17.20
 01/17/2023   RE        ( 308 @0.10 PER PG)                                    30.80
 01/17/2023   RE        ( 96 @0.10 PER PG)                                       9.60
 01/17/2023   RE        ( 120 @0.10 PER PG)                                    12.00
 01/17/2023   RE        ( 604 @0.10 PER PG)                                    60.40
 01/17/2023   RE        ( 2 @0.10 PER PG)                                        0.20
 01/17/2023   RE        ( 8 @0.10 PER PG)                                        0.80
 01/17/2023   RE        ( 88 @0.10 PER PG)                                       8.80
 01/17/2023   RE        ( 264 @0.10 PER PG)                                    26.40
 01/17/2023   RE        ( 48 @0.10 PER PG)                                       4.80
 01/17/2023   RE        ( 152 @0.10 PER PG)                                    15.20
 01/17/2023   RE        ( 144 @0.10 PER PG)                                    14.40
 01/17/2023   RE        ( 640 @0.10 PER PG)                                    64.00
 01/17/2023   RE        ( 260 @0.10 PER PG)                                    26.00
 01/17/2023   RE        ( 84 @0.10 PER PG)                                       8.40
 01/17/2023   RE        ( 104 @0.10 PER PG)                                    10.40
 01/17/2023   RE        ( 128 @0.10 PER PG)                                    12.80
 01/17/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 01/17/2023   RE2       SCAN/COPY ( 35 @0.10 PER PG)                             3.50
 01/17/2023   RE2       SCAN/COPY ( 151 @0.10 PER PG)                          15.10
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20
 01/17/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 01/17/2023   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00
 01/17/2023   RE2       SCAN/COPY ( 65 @0.10 PER PG)                             6.50
 01/17/2023   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20
 01/17/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40
                    Case
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 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                           2.20
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                           2.20
 01/17/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                            0.20
 01/17/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                           2.10
 01/17/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                           1.60
 01/17/2023   RE2       SCAN/COPY ( 43 @0.10 PER PG)                           4.30
 01/17/2023   RE2       SCAN/COPY ( 40 @0.10 PER PG)                           4.00
 01/17/2023   RE2       SCAN/COPY ( 38 @0.10 PER PG)                           3.80
 01/17/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                           3.60
 01/17/2023   RE2       SCAN/COPY ( 160 @0.10 PER PG)                        16.00
 01/17/2023   RE2       SCAN/COPY ( 77 @0.10 PER PG)                           7.70
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                           2.20
 01/17/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                           3.60
 01/17/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                            0.40
 01/17/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                            0.20
 01/17/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                           6.00
 01/17/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                            0.60
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                           2.20
 01/17/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                           1.00
 01/17/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                           1.20
 01/17/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                           1.60
 01/17/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                           4.40
 01/17/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                           1.40
 01/17/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                           1.00
 01/17/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                           1.40
 01/17/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                           1.40
 01/17/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                            0.80
 01/17/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                            0.20
 01/17/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                            0.40
 01/17/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                            0.10
 01/17/2023   RE2       SCAN/COPY ( 64 @0.10 PER PG)                           6.40
 01/17/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                            0.40
 01/17/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                            0.20
 01/17/2023   RE2       SCAN/COPY ( 326 @0.10 PER PG)                        32.60
                    Case
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 01/17/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                            4.40
 01/17/2023   RE2       SCAN/COPY ( 48 @0.10 PER PG)                            4.80
 01/17/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                            4.40
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20
 01/17/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
 01/17/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20
 01/17/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60
 01/17/2023   RE2       SCAN/COPY ( 52 @0.10 PER PG)                            5.20
 01/17/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20
 01/17/2023   RE2       SCAN/COPY ( 38 @0.10 PER PG)                            3.80
 01/17/2023   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90
 01/17/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60
 01/17/2023   RE2       SCAN/COPY ( 122 @0.10 PER PG)                         12.20
 01/17/2023   RE2       SCAN/COPY ( 194 @0.10 PER PG)                         19.40
 01/17/2023   RE2       SCAN/COPY ( 130 @0.10 PER PG)                         13.00
 01/17/2023   RE2       SCAN/COPY ( 238 @0.10 PER PG)                         23.80
 01/17/2023   RE2       SCAN/COPY ( 119 @0.10 PER PG)                         11.90
 01/17/2023   RE2       SCAN/COPY ( 62 @0.10 PER PG)                            6.20
 01/17/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40
 01/17/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                            4.40
 01/17/2023   RE2       SCAN/COPY ( 42 @0.10 PER PG)                            4.20
 01/17/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                            2.20
 01/17/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00
 01/17/2023   RE2       SCAN/COPY ( 38 @0.10 PER PG)                            3.80
 01/17/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
 01/17/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
 01/17/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 01/17/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                            6.00
 01/17/2023   RE2       SCAN/COPY ( 92 @0.10 PER PG)                            9.20
 01/17/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 01/18/2023   CC        Conference Call [E105] AT&T Conference Call, MBL        3.13
                    Case
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 01/18/2023   RE        ( 114 @0.10 PER PG)                                   11.40
 01/18/2023   RE        ( 3 @0.10 PER PG)                                       0.30
 01/18/2023   RE2       SCAN/COPY ( 32 @0.10 PER PG)                            3.20
 01/18/2023   RE2       SCAN/COPY ( 72 @0.10 PER PG)                            7.20
 01/18/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10
 01/18/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 01/18/2023   RE2       SCAN/COPY ( 92 @0.10 PER PG)                            9.20
 01/18/2023   RE2       SCAN/COPY ( 97 @0.10 PER PG)                            9.70
 01/18/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60
 01/18/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                            1.30
 01/18/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                            1.30
 01/18/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 01/18/2023   RE2       SCAN/COPY ( 102 @0.10 PER PG)                         10.20
 01/18/2023   RE2       SCAN/COPY ( 72 @0.10 PER PG)                            7.20
 01/18/2023   RE2       SCAN/COPY ( 94 @0.10 PER PG)                            9.40
 01/18/2023   RE2       SCAN/COPY ( 59 @0.10 PER PG)                            5.90
 01/18/2023   RE2       SCAN/COPY ( 656 @0.10 PER PG)                         65.60
 01/18/2023   RE2       SCAN/COPY ( 114 @0.10 PER PG)                         11.40
 01/18/2023   RS        Research [E106]Cl@s Information Services, Inv.       979.00
                        457093-0000, PJ
 01/18/2023   TR        Transcript [E116] Reliable, Inv. WL109024,LDJ        384.25
 01/19/2023   CC        Conference Call [E105] AT&T Conference Call, PJK        1.15
 01/19/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 01/19/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90
 01/20/2023   RE2       SCAN/COPY ( 172 @0.10 PER PG)                         17.20
 01/20/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 01/21/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10
 01/23/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        1.83
 01/23/2023   RE2       SCAN/COPY ( 96 @0.10 PER PG)                            9.60
 01/24/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        4.61
 01/24/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        7.58
 01/24/2023   RE        ( 1 @0.10 PER PG)                                       0.10
 01/24/2023   RE        ( 282 @0.10 PER PG)                                   28.20
 01/24/2023   RE        ( 286 @0.10 PER PG)                                   28.60
                    Case
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                                                Filed07/13/23
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 01/24/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                               5.30
 01/24/2023   RE2       SCAN/COPY ( 126 @0.10 PER PG)                             12.60
 01/24/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 01/24/2023   RE2       SCAN/COPY ( 118 @0.10 PER PG)                             11.80
 01/24/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 01/24/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 01/24/2023   RE2       SCAN/COPY ( 100 @0.10 PER PG)                             10.00
 01/25/2023   CC        Conference Call [E105] AT&T Conference Call, DMB           1.30
 01/25/2023   CC        Conference Call [E105] AT&T Conference Call, DMB           2.23
 01/25/2023   RE2       SCAN/COPY ( 49 @0.10 PER PG)                               4.90
 01/25/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 01/25/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 01/25/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                               1.00
 01/26/2023   CC        Conference Call [E105] AT&T Conference Call, DMB           0.97
 01/26/2023   CC        Conference Call [E105] AT&T Conference Call, DMB           2.29
 01/26/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20
 01/26/2023   RE2       SCAN/COPY ( 98 @0.10 PER PG)                               9.80
 01/27/2023   RE2       SCAN/COPY ( 31 @0.10 PER PG)                               3.10
 01/27/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                               1.20
 01/30/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10
 01/30/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                               1.10
 01/30/2023   RE2       SCAN/COPY ( 58 @0.10 PER PG)                               5.80
 01/31/2023   BB        31213.00001 Bloomberg Charges through 01-31-23            20.00
 01/31/2023   CC        Conference Call [E105] AT&T Conference Call, PJK           5.36
 01/31/2023   CC        Conference Call [E105] AT&T Conference Call, TPC           4.27
 01/31/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 01/31/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 01/31/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 01/31/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 01/31/2023   RE2       SCAN/COPY ( 52 @0.10 PER PG)                               5.20
 01/31/2023   RS        Research [E106] Cl@s Information Services, Inv.          105.00
                        458322-0000, M. Matteo
 01/31/2023   PAC       Pacer - Court Research                                   177.90

   Total Expenses for this Matter                                          $11,622.17
                   Case
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        01/31/2023

Total Fees                                                                                            $304,014.00

Total Expenses                                                                                          11,622.17

Total Due on Current Invoice                                                                          $315,636.17

  Outstanding Balance from prior invoices as of        01/31/2023          (May not include recent payments)

A/R Bill Number          Invoice Date               Fees Billed         Expenses Billed              Balance Due



             Total Amount Due on Current and Prior Invoices:                                          $315,636.17
              Case
               Case23-10051-JKS
                    23-10051-JKS Doc
                                  Doc441
                                      300-2Filed
                                              Filed
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      ) Chapter 11
                                                            )
GIGAMONSTER NETWORKS, LLC, et al.,1                         ) Case No. 23-10051 (JKS)
                                                            )
                                    Debtors.                ) (Jointly Administered)
                                                            )
                                                            )
                                                             Objection Deadline: May 2, 2023 at 4:00 p.m.
                                                             Hearing Date: To be scheduled if necessary


                          NOTICE OF FILING OF FEE APPLICATION

                  PLEASE TAKE NOTICE that Pachulski Stang Ziehl & Jones, LLP, Counsel for

the the above-captioned debtors and debtors in possession (“PSZ&J”), has filed its First Monthly

Application for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones

LLP, as Counsel for the Debtors and Debtors in Possession, for the Period from January 17k

2023 through January 31, 2023 (the “Application”) seeking fees in the amount of $304,014.00

and reimbursement of actual and necessary expenses in the amount of $11,622.17 for the period

from January 16, 2023 through March 14, 2023.

                  PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing and be filed with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”), 824 N. Market Street, 3rd Floor, Wilmington,

Delaware 19801, on or before May 2, 2023 at 4:00 p.m. prevailing Eastern Time.

                  PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the objection or response, if any, by email upon the following: (i) counsel to the


1 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: GigaMonster
Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere Communications
LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business address is 350
Franklin Gateway, Suite 300, Marietta, GA 30067.


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Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington,

Delaware 19801 (Attn: Laura Davis Jones, Esq. (ljones@pszjlaw.com), David M. Bertenthal,

Esq. (dbertenthal@pszjlaw.com), and Timothy P. Cairns, Esq. (tcairns@pszjlaw.com)); (ii) the

Office of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,

Lockbox 35, Wilmington, DE 19801 (Attn: Timothy J. Fox (timothy.fox@usdoj.gov); (iii)

counsel to the Official Committee of Unsecured Creditors, Faegre Drinker Biddle & Reath LLP,

222 Delaware Avenue, Suite 1400, Wilmington, Delaware 19801 (Attn: Patrick A. Jackson

(patrick.jackson@faegredrinker.com), Jaclyn C. Marasco (jaclyn.marasco@faegredrinker.com),

and Richard J. Bernard (richard.bernard@faegredrinker.com)); and (iv) any party that has

requested notice pursuant to Bankruptcy Rule 2002.

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON A DATE TO BE

DETERMINED BEFORE THE HONORABLE J. KATE STICKLES, UNITED STATES

BANKRUPTCY JUDGE FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET,

FIFTH FLOOR, COURTROOM NO. 6, WILMINGTON, DELAWARE 19801.




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Dated: April 11, 2023                    PACHULSKI STANG ZIEHL & JONES LLP


                                         /s/ Laura Davis Jones
                                         Laura Davis Jones (DE Bar No. 2436)
                                         David M. Bertenthal (CA Bar No. 167624)
                                         Timothy P. Cairns (DE Bar No. 4228)
                                         919 North Market Street, 17th Floor
                                         P.O. Box 8705
                                         Wilmington, Delaware 19899-8705 (Courier 19801)
                                         Telephone: 302-652-4100
                                         Facsimile: 302-652-4400
                                         email: ljones@pszjlaw.com
                                                 dbertenthal@pszjlaw.com
                                                 tcairns@pszjlaw.com

                                         Counsel for the Debtors and Debtors-in-Possession




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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  ) Chapter 11
                                                        )
GIGAMONSTER NETWORKS, LLC, et al.,1                     ) Case No. 23-10051 (JKS)
                                                        )
                                 Debtors.               ) (Jointly Administered)
                                                        )
                                                         Objection Deadline: May 9, 2023 at 4:00 p.m.
                                                         Hearing Date: To be scheduled if necessary



                SECOND MONTHLY APPLICATION FOR COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES OF
                 PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
              FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
             PERIOD FROM FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

 Name of Applicant:                                   Pachulski Stang Ziehl & Jones LLP
 Authorized to Provide Professional Services
                                                      Debtors and Debtors in Possession
 to:
                                                      Effective as of January 16, 2023 by order
 Date of Retention:
                                                      signed February 9, 2023
 Period for which Compensation and
                                                      February 1, 2023 through February 28, 20232
 Reimbursement is Sought:
 Amount of Compensation Sought as Actual,
                                                      $991,725.50
 Reasonable and Necessary:
 Amount of Expense Reimbursement Sought
                                                      $ 11,753.08
 as Actual, Reasonable and Necessary:

This is a:       ☒monthly        ☐ interim        ☐final application.

                 The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,000.00.



1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
2
  The applicant reserves the right to include any time expended in the time period indicated above in future
application(s) if it is not included herein.


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                                 PRIOR APPLICATIONS FILED

   Date          Period Covered        Requested      Requested       Approved        Approved
  Filed                                  Fees         Expenses          Fees          Expenses
 04/11/23      01/17/23 – 01/31/23     $304,014.00     $11,622.17        Pending         Pending



                                     PSZ&J PROFESSIONALS

         Name of                 Position of the Applicant,      Hourly   Total         Total
       Professional              Number of Years in that         Billing  Hours      Compensation
        Individual               Position, Prior Relevant         Rate    Billed
                              Experience, Year of Obtaining    (including
                                License to Practice, Area of    Changes)
                                         Expertise
 Laura Davis Jones           Partner 2000; Joined Firm 2000;   $1,745.00     88.80     $154,956.00
                             Member of DE Bar since 1986
 David J. Barton             Partner 2000; Member of CA Bar    $1,645.00     44.50     $ 73,202.50
                             since 1981
 David M. Bertenthal         Partner 1999; Member of CA Bar    $1,450.00    129.50     $187,775.00
                             since 1993                        $ 725.00       5.40     $ 3,915.00
 Maxim B. Litvak             Partner 2004; Member of TX Bar    $1,445.00     26.70     $ 38,581.50
                             since 1997; Member of CA Bar
                             since 2001
 Mary F. Caloway             Of Counsel 2020; Member of DE     $1,350.00     28.80     $ 38,880.00
                             Bar since 1992
 Joshua M. Fried             Partner 2006; Member of CA Bar    $1,275.00     79.20     $100,980.00
                             since 1995; Member of NY Bar      $ 637.50       6.80     $ 4,335.00
                             since 1999; Member of NJ Bar
                             since 2000
 Timothy P. Cairns           Partner 2012; Member of DE Bar    $1,125.00     99.20     $111,600.00
                             2002-2014; 2017-Present
 Peter J. Keane              Of Counsel 2018; Member of PA     $1,025.00    210.00     $215,250.00
                             Bar since 2008; Member of DE &
                             NH Bars since 2010
 Edward A. Corma             Associate 2022; Member of NJ      $ 725.00      31.70     $ 22,982.50
                             Bar since 2018; Member of PA
                             Bar since 2019; Member of DE
                             Bar since 2020
 Patricia J. Jeffries        Paralegal                         $   545.00    35.90     $ 19,565.50
 Patricia E. Cuniff          Paralegal                         $   545.00     0.40     $    218.00
 Ian Densmore                Paralegal                         $   545.00    26.20     $ 14,279.00
 Mike A. Matteo              Paralegal                         $   495.00     0.90     $    445.50




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         Name of                Position of the Applicant,      Hourly   Total       Total
       Professional             Number of Years in that         Billing  Hours    Compensation
        Individual               Position, Prior Relevant        Rate    Billed
                              Experience, Year of Obtaining   (including
                               License to Practice, Area of    Changes)
                                        Expertise
 Andrea R. Paul              Case Management Assistant        $ 425.00     0.50     $     212.50
 Charles J. Bouzoukis        Case Management Assistant        $ 425.00     1.10     $     467.50
 Karen S. Neil               Case Management Assistant        $ 425.00     9.60     $   4,080.00

                                    Grand Total:    $991,725.50
                                    Total Hours:         825.20
                                    Blended Rate:     $1,201.80




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                                 COMPENSATION BY CATEGORY

                 Project Categories                          Total Hours                    Total Fees
    Asset Disposition                                                 527.90                   $684,234.50
    Bankruptcy Litigation                                             144.10                   $159,759.50
    Case Administration                                                  9.30                  $ 5,075.00
    Claims Admin./Objections                                             0.90                  $ 1,308.00
    Compensation of Prof./Others                                         0.60                  $     742.50
    Employee Benefit/Pension                                            25.20                  $ 27,453.00
    Executory Contracts                                                  6.20                  $ 7,877.00
    Financial Filings                                                   55.30                  $ 44,399.50
    Financing                                                           18.10                  $ 23,820.00
    General Creditors Committee                                          0.90                  $     445.50
    Insurance Coverage                                                   0.60                  $     327.00
    Meeting of Creditors                                                 5.80                  $ 7,951.00
    Operations                                                           0.60                  $     327.00
    Retention of Professional                                            2.90                  $ 2,740.50
    Retention of Prof./Others                                           14.30                  $ 16,852.00
    Tax Issues                                                           0.30                  $     163.50
    Travel                                                              12.20                  $ 8,250.00


                                         EXPENSE SUMMARY

          Expense Category                           Service Provider3                            Total
                                                       (if applicable)                           Expenses
    Air Fare                             American Airlines; United Airlines                       $5,496.60
    Auto Travel Expense                  Verifone Transportation                                  $ 59.45
    Working Meals                        Gotts Roadside; Bistrot; Olympic Steaks;                 $ 90.49
                                         Spark’d
    Conference Call                      AT&T Conference Call                                      $ 236.89
    Delivery/Courier Service             Advita                                                    $1,396.44
    Express Mail                         Federal Express                                           $ 39.49
    Legal Research                       Lexis/Nexis                                               $ 369.52
    Court Research                       Pacer                                                     $ 513.40
    Postage                              US Mail                                                   $    0.60
    Reproduction Expense                                                                           $ 315.20
    Reproduction/ Scan Copy                                                                        $2,368.00
    Travel Expense                       Travel Agency Fee; Amtrak; Inflight Wifi                  $ 316.00
                                         Fee
    Transcript                           Reliable Companies                                        $ 551.00



3
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 ) Chapter 11
                                                       )
GIGAMONSTER NETWORKS, LLC, et al.,1                    ) Case No. 23-10051 (JKS)
                                                       )
                                 Debtors.              ) (Jointly Administered)
                                                       )
                                                        Objection Deadline: May 9, 2023 at 4:00 p.m.
                                                        Hearing Date: To be scheduled if necessary




              SECOND MONTHLY APPLICATION FOR COMPENSATION
                    AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
            FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
           PERIOD FROM FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

                 Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”) and the Court’s “Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals,” signed on or about February 9, 2023 (the

“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), counsel

for the debtors and debtors in possession (“Debtors”), hereby submits its Second Monthly

Application for Compensation and for Reimbursement of Expenses for the Period from February

1, 2023 through February 28, 2023 (the “Application”).

                 By this Application PSZ&J seeks a monthly interim allowance of compensation

in the amount of $991,725.50 and actual and necessary expenses in the amount of $11,753.08 for

1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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a total allowance of $1,003,478.58 and payment of $793,380.40 (80% of the allowed fees) and

reimbursement of $11,753.08 (100% of the allowed expenses) for a total payment of

$805,133.48 for the period February 1, 2023 through February 28, 2023 (the “Fee Period”):

                                                Background

                 1.          On January 16, 2023, the Debtors commenced these cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in

possession of their property and continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the Debtors’ chapter 11 cases. An official committee of

unsecured creditors (the “Committee”) was appointed in these cases on or about January 30,

2023.

                 2.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                 3.          On or about February 9, 2023, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within twenty-one (21) days after service of the

monthly fee application the Debtors are authorized to pay the Professional eighty percent (80%)

of the requested fees and one hundred percent (100%) of the requested expenses. Beginning

with the period ending March 31, 2023, and at three-month intervals or such other intervals



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convenient to the Court, each of the Professionals may file and serve an interim application for

allowance of the amounts sought in its monthly fee applications for that period. All fees and

expenses paid are on an interim basis until final allowance by the Court.

                 4.          The retention of PSZ&J, as counsel for the Debtors, was approved

effective as of January 16, 2023 by this Court’s “Order Authorizing the Employment and

Retention of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the

Petition Date,” signed on or about February 9, 2023 (the “Retention Order”). The Retention

Order authorized PSZ&J to be compensated on an hourly basis and to be reimbursed for actual

and necessary out-of-pocket expenses.

                      PSZ&J’s APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                 5.          All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtors, and not on behalf of any committee, creditor or other person.

                 6.          PSZ&J, and any partner, of counsel, or associate thereof, have received no

payment and no promises for payment from any source other than from the Debtors for services

rendered or to be rendered in any capacity whatsoever in connection with the matters covered by

this Application. There is no agreement or understanding between PSZ&J and any other person

other than among the partners, of counsel, or associates of PSZ&J for the sharing of

compensation to be received for services rendered in these cases. PSZ&J has received payments

from the Debtors during the year prior to the Petition Date in the amount of $850,000 in

connection with the preparation of initial documents and its prepetition representation of the


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Debtors. Upon final reconciliation of the amount actually expended prepetition, any balance

remaining from the prepetition payments to PSZ&J was credited to the Debtors and utilized as

PSZ&J’s retainer to apply to postpetition fees and expenses pursuant to the compensation

procedures approved by this Court in accordance with the Bankruptcy Code.

                 7.          The professional services and related expenses for which PSZ&J requests

interim allowance of compensation and reimbursement of expenses were rendered and incurred

in connection with these cases in the discharge of PSZ&J’s professional responsibilities as

attorneys for the Debtors in these chapter 11 cases. PSZ&J’s services have been necessary and

beneficial to the Debtors and their estates, creditors and other parties in interest.

                                               Fee Statements

                 8.          The fee statements for the Fee Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Fee Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code and the Bankruptcy Rules.

PSZ&J’s time reports are initially handwritten by the attorney or paralegal performing the

described services. The time reports are organized on a daily basis. PSZ&J is particularly

sensitive to issues of “lumping” and, unless time was spent in one time frame on a variety of

different matters for a particular client, separate time entries are set forth in the time reports.

PSZ&J’s charges for its professional services are based upon the time, nature, extent and value

of such services and the cost of comparable services other than in a case under the Bankruptcy

Code. PSZ&J has reduced its charges related to any non-working “travel time” to fifty percent



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(50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J professionals attempt

to work during travel.

                                      Actual and Necessary Expenses

                 9.          A summary of actual and necessary expenses incurred by PSZ&J for the

Fee Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per page

for photocopying expenses related to cases, such as this one, arising in Delaware. PSZ&J’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                 10.         PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtors for the receipt of faxes in these cases.

                 11.         With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                 12.         PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are



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in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered

                 13.         The names of the partners and associates of PSZ&J who have rendered

professional services in these cases during the Fee Period, and the paralegals and case

management assistants of PSZ&J who provided services to these attorneys during the Fee Period,

are set forth in the attached Exhibit A.

                 14.         PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Debtors on a regular basis with respect to various matters in connection with the Debtors’

bankruptcy cases, and performed all necessary professional services which are described and

narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of

the Debtors’ bankruptcy cases.

                                     Summary of Services by Project

                 15.         The services rendered by PSZ&J during the Fee Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit



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A identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.

             A.         Asset Disposition

                  16.        This category relates to work regarding sales and other asset disposition

issues. During the Fee Period, the Firm, among other things: (1) reviewed and analyzed United

States Trustee and Committee comments regarding a bid procedures motion; (2) reviewed and

analyzed bid procedure precedent issues; (3) reviewed and analyzed cure notice issues;

(4) reviewed and analyzed non-disclosure agreement issues; (5) performed work regarding the

sharing of Asset Purchase Agreement documents with the Committee; (6) reviewed and analyzed

sale notice issues; (7) performed work regarding non-disclosure agreements from interested

parties; (8) performed work regarding a stalking horse Asset Purchase Agreement; (9) performed

work regarding cure notice charts; (10) performed research; (11) reviewed and analyzed issues

regarding Cigna; (12) reviewed and responded to Committee comments regarding bid

procedures; (13) performed work regarding revisions to a bid procedures order; (14) prepared for

and attended a telephonic conference with Committee counsel on February 2, 2023 regarding

sale and timeline issues; (15) reviewed and revised bidder non-disclosure agreements;

(16) performed work regarding a motion for leave to file late reply relating to a bid procedures

motion; (17) reviewed and analyzed Committee and United States Trustee bid procedures motion

objections; (18) reviewed and analyzed marketing issues; (19) performed work regarding a reply

and proffers in support of bid procedures motion; (20) performed work regarding cure notices,



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including publication cure notices; (21) performed work regarding hearing witnesses and

exhibits; (22) performed work regarding witness and exhibit lists; (23) performed work regarding

negotiations relating to bid procedures issues; (24) prepared for and attended a telephonic

conference with Committee and lender counsel on February 6, 2023 regarding bid procedures

and loan issues; (25) performed work regarding Hearing Agendas; (26) prepared for and attended

a bid procedures hearing on February 7, 2023; (27) performed work regarding post-hearing

revisions to a bid procedures order; (28) performed work regarding updated cure notices;

(29) performed work regarding Asset Purchase Agreement amendment issues; (30) performed

work regarding a revised sale notice; (31) performed work regarding an amendment to the Bel

Air Asset Purchase Agreement; (32) reviewed and analyzed auction issues; (33) attended to

issues regarding potential bidders; (34) attended to due diligence issues; (35) reviewed and

responded to bidder information requests; (36) reviewed and analyzed cure deadline issues;

(37) performed work regarding a sale-related data room and due diligence documents;

(38) reviewed and analyzed the Sanders Asset Purchase Agreement; (39) performed work

regarding a bill of sale; (40) reviewed and analyzed issues regarding the Lincoln Crossing draft

Asset Purchase Agreement; (41) reviewed and analyzed issues regarding a sale order form;

(42) reviewed and analyzed transitional support agreement issues; (43) performed work

regarding a cure analysis; (44) performed work regarding resolution of cure objections;

(45) reviewed and analyzed Kromer cure issues; (46) performed wok regarding an “other assets”

sale order; (47) reviewed and analyzed bid information; (48) reviewed and analyzed sale

documents and pleadings related to core and non-core assets; (49) performed work regarding



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auction preparations; (50) performed work regarding supplemental cure notice issues;

(51) reviewed and revised bidder markups to non-disclosure agreements; (52) reviewed and

responded to bidder diligence requests, and reviewed and obtained related documents;

(53) performed work regarding auction logistics; (54) reviewed and analyzed sale orders

regarding potential asset sales; (55) performed work regarding a chart of Kromer agreements;

(56) performed work regarding a list relating to equipment; (57) attended to intellectual property

adjustment issues; (58) reviewed and analyzed the East Cobb objection; (59) attended to issues

relating to Costa Rica; (60) reviewed and analyzed “other assets” bids; (61) reviewed and

analyzed Lincoln and Reno bid packages; (62) performed work regarding a summary of cure

issues; (63) reviewed and analyzed issues regarding the structure and timing of the sale of a

Costa Rica subsidiary; (64) performed work regarding bidder disclosure schedule issues;

(65) performed work regarding a notice of successful bidder for stalking horse assets;

(66) performed work regarding a Reno Asset Purchase Agreement comparison; (67) reviewed

and analyzed draft schedules regarding a stalking horse potential competing bid; (68) reviewed

and analyzed Skywire bidder information (69) reviewed and analyzed the Hotwire bill of sale

and Asset Purchase Agreement; (70) reviewed and analyzed issues regarding a second competing

stalking horse bid; (71) reviewed and analyzed core and non-core Asset Purchase Agreements;

(72) reviewed and analyzed sale orders regarding stalking horse assets; (73) performed work

regarding a summary of filed cure objections; (74) performed work regarding the Hotwire and

Skywire transition service agreements; (75) reviewed and analyzed issues regarding Gigabiter;

(76) reviewed and analyzed issues regarding the standard for finding good faith in connection



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with the sale process; (77) performed work regarding revisions to the Gigabiter sale order;

(78) performed work regarding a sale reply and related declarations; (79) performed work

regarding finalization of the Skywire and Gigabiter bids; (80) reviewed and analyzed bids in

preparation for an auction; (81) reviewed and analyzed a sale objection from Texas tax

authorities; (82) performed work regarding replies to cure and sale objections; (83) performed

work regarding qualified bid documents; (84) performed work regarding sale declarations;

(85) performed work regarding a motion for leave to file late reply in support of a sale motion;

(86) prepared for and participated in an auction on February 28, 2023, including negotiations and

attending to document, contract and cure issues; and (87) corresponded and conferred regarding

asset disposition issues.

                             Fees: $684,234.50;   Hours: 527.90

             B.         Bankruptcy Litigation

                  17.        This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Fee Period, the Firm, among other things: (1) performed

work regarding Agenda Notices and Hearing Binders; (2) reviewed and analyzed issues

regarding the DirecPath matter; (3) reviewed and analyzed, and responded, to Committee

diligence requests, including work responding to Committee document requests; (4) performed

work regarding First Day Orders; (5) reviewed and analyzed documents produced to the

Committee; (6) performed work regarding a Committee non-disclosure agreement; (7) prepared

for and attended a hearing on February 7, 2023; (8) attended to scheduling issues; (9) reviewed

and analyzed Second Day hearing issues; (10) attended to timing issues; (11) performed work




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regarding settlement issues relating to DirecPath, including work on a settlement agreement;

(12) performed research; (13) performed work regarding a scheduling order; (14) performed

work regarding a Bankruptcy Rule 9019 motion for approval of the DirecPath settlement

agreement; (15) attended to issues relating to Kromer; (16) performed work regarding surety

bond issues, including reviewing and analyzing cancellation and automatic stay issues; and

(17) corresponded and conferred regarding bankruptcy litigation issues.

                             Fees: $159,759.50;    Hours: 144.10

             C.         Case Administration

                  18.        This category relates to work regarding administration of these cases.

During the Fee Period, the Firm, among other things: (1) maintained a memorandum of critical

dates; (2) maintained document control; and (3) corresponded regarding case administration

issues.

                             Fees: $5,075.00;      Hours: 9.30

             D.         Claims Administration and Objections

                  19.        This category relates to work regarding claims administration and claims

objections. During the Fee Period, the Firm, among other things, responded to creditor inquiries.

                             Fees: $1,308.00;      Hours: 0.90

             E.         Compensation of Professionals--Others

                  20.        This category relates to issues regarding the compensation of

professionals, other than the Firm. During the Fee Period, the Firm, among other things,

performed work regarding an interim compensation procedures motion and order.

                             Fees: $742.50;        Hours: 0.60


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             F.         Employee Benefits and Pensions

                  21.        This category relates to issues regarding employee benefits and pension

plans, and other employee issues. During the Fee Period, the Firm, among other things:

(1) performed work regarding a Key Employee Retention Program (“KERP”) motion and order;

(2) performed work regarding a motion to file the KERP motion under seal; (3) performed work

regarding a wage order; (4) performed research; (5) reviewed and analyzed employee payment

issues; (6) reviewed and responded to Committee and United States Trustee issues regarding the

KERP motion; and (7) corresponded and conferred regarding employee issues.

                             Fees: $27,453.00;     Hours: 25.20

             G.         Executory Contracts

                  22.        This category relates to issues regarding executory contracts and

unexpired leases of real property. During the Fee Period, the Firm, among other things:

(1) reviewed and analyzed cure issues and performed work regarding cure notices; (2) reviewed

and analyzed lease assumption and lease rejection issues; (3) performed work regarding cure

objections; and (4) corresponded and conferred regarding lease and contract issues.

                             Fees: $7,877.00;      Hours: 6.20

             H.         Financial Filings

                  23.        This category relates to issues regarding compliance with reporting

requirements. During the Fee Period, the Firm, among other things: (1) performed work

regarding Monthly Operating Reports; (2) performed work regarding Schedules and Statements;




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(3) performed work regarding Form 426 issues; and (4) corresponded and conferred regarding

financial filings issues.

                             Fees: $44,399.50;     Hours: 55.30

             I.         Financing

                  24.        This category relates to issues regarding Debtor in Possession (“DIP”)

financing and use of cash collateral. During the Fee Period, the Firm, among other things:

(1) performed work regarding a cash management order; (2) reviewed and responded to

Committee issues regarding financing; (3) performed work regarding notice of a final DIP

financing hearing; (4) performed research; (5) performed work regarding a final DIP financing

order; (6) attended to budget issues; (7) performed work regarding a Committee reservation of

rights relating to DIP financing issues; (8) performed work regarding a proposed DIP financing

amendment; and (9) corresponded and conferred regarding financing issues.

                             Fees: $23,820.00;     Hours: 18.10

             J.         General Business

                  25.        This category relates to general business issues. During the Fee Period,

the Firm, among other things, performed work regarding an annual report for RPH Innovations.

                             Fees: $445.50;        Hours: 0.90

             K.         Insurance Coverage

                  26.        This category relates to insurance coverage issues. During the Fee

Period, the Firm, among other things, performed work regarding an insurance motion and order.

                             Fees: $327.00;        Hours: 0.60




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             L.         Meeting of Creditors

                  27.        This category relates to meeting of creditors issues. During the Fee

Period, the Firm, among other things, prepared for and attended a Section 341 meeting of

creditors on February 23, 2023, and reviewed and responded to issues raised by the United States

Trustee at the Section 341 meeting.

                             Fees: $7,951.00;       Hours: 5.80

             M.         Operations

                  28.        This category relates to issues regarding operations. During the Fee

Period, the Firm, among other things, performed work regarding a utility motion and order.

                             Fees: $327.00;         Hours: 0.60

             N.         Retention of Professionals

                  29.        This category relates to issues regarding retention of the Firm. During the

Fee Period, the Firm, among other things, performed work regarding a supplemental declaration

in support of the Firm’s retention application.

                             Fees: $2,740.50;       Hours: 2.90

             O.         Retention of Professionals--Others

                  30.        This category relates to issues regarding the retention of professionals,

other than the Firm. During the Fee Period, the Firm, among other things: (1) reviewed and

responded to United States Trustee comments regarding the Kroll retention application, and

performed work regarding a supplemental declaration in support of the Kroll retention

application; (2) performed work regarding the Bank Street, Kroll and Novo retention

applications; (3) performed work regarding retention orders; (4) performed work regarding an


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Ordinary Course Professionals motion and order; and (5) corresponded and conferred regarding

retention issues.

                             Fees: $16,852.00;     Hours: 14.30

             P.         Tax Issues

                  31.        This category relates to work regarding tax issues. During the Fee Period,

the Firm, among other things, performed work regarding a tax motion and order.

                             Fees: $163.50;        Hours: 0.30

             Q.         Travel

                  32.        During the Fee Period, the Firm incurred non-working time while

traveling on case matters. Such time is billed at one-half the normal rate.

                             Fees: $8,250.00;      Hours: 12.20

                                           Valuation of Services

                  33.        Attorneys and paraprofessionals of PSZ&J expended a total 825.20 hours

in connection with their representation of the Debtors during the Fee Period, as follows:

         Name of                     Position of the Applicant,        Hourly   Total         Total
       Professional                  Number of Years in that           Billing  Hours      Compensation
        Individual                   Position, Prior Relevant           Rate    Billed
                                  Experience, Year of Obtaining      (including
                                    License to Practice, Area of      Changes)
                                             Expertise
 Laura Davis Jones               Partner 2000; Joined Firm 2000;      $1,745.00    88.80       $154,956.00
                                 Member of DE Bar since 1986
 David J. Barton                 Partner 2000; Member of CA Bar       $1,645.00    44.50       $ 73,202.50
                                 since 1981
 David M. Bertenthal             Partner 1999; Member of CA Bar       $1,450.00   129.50       $187,775.00
                                 since 1993                           $ 725.00      5.40       $ 3,915.00
 Maxim B. Litvak                 Partner 2004; Member of TX Bar       $1,445.00    26.70       $ 38,581.50
                                 since 1997; Member of CA Bar
                                 since 2001



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         Name of                    Position of the Applicant,         Hourly   Total          Total
       Professional                 Number of Years in that            Billing  Hours       Compensation
        Individual                  Position, Prior Relevant            Rate    Billed
                                 Experience, Year of Obtaining       (including
                                   License to Practice, Area of       Changes)
                                            Expertise
 Mary F. Caloway                Of Counsel 2020; Member of DE         $1,350.00     28.80      $ 38,880.00
                                Bar since 1992
 Joshua M. Fried                Partner 2006; Member of CA Bar        $1,275.00     79.20      $100,980.00
                                since 1995; Member of NY Bar          $ 637.50       6.80      $ 4,335.00
                                since 1999; Member of NJ Bar
                                since 2000
 Timothy P. Cairns              Partner 2012; Member of DE Bar        $1,125.00     99.20      $111,600.00
                                2002-2014; 2017-Present
 Peter J. Keane                 Of Counsel 2018; Member of PA         $1,025.00    210.00      $215,250.00
                                Bar since 2008; Member of DE &
                                NH Bars since 2010
 Edward A. Corma                Associate 2022; Member of NJ          $ 725.00      31.70      $ 22,982.50
                                Bar since 2018; Member of PA
                                Bar since 2019; Member of DE
                                Bar since 2020
 Patricia J. Jeffries           Paralegal                             $   545.00    35.90      $ 19,565.50
 Patricia E. Cuniff             Paralegal                             $   545.00     0.40      $    218.00
 Ian Densmore                   Paralegal                             $   545.00    26.20      $ 14,279.00
 Mike A. Matteo                 Paralegal                             $   495.00     0.90      $    445.50
 Andrea R. Paul                 Case Management Assistant             $   425.00     0.50      $    212.50
 Charles J. Bouzoukis           Case Management Assistant             $   425.00     1.10      $    467.50
 Karen S. Neil                  Case Management Assistant             $   425.00     9.60      $ 4,080.00

                                         Grand Total:      $991,725.50
                                         Total Hours:           825.20
                                         Blended Rate:       $1,201.80

                 34.         The nature of work performed by these persons is fully set forth in Exhibit

A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtors during the Fee Period is

$991,725.50.

                 35.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and



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reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order signed on or about

February 9, 2023 and believes that this Application complies with such Rule and Order.

                 WHEREFORE, PSZ&J respectfully requests that the Court enter an order

providing that, for the period of February 1, 2023 through February 28, 2023, an interim

allowance be made to PSZ&J for compensation in the amount of $991,725.50 and actual and

necessary expenses in the amount of $11,753.08 for a total allowance of $1,003,478.58 and

payment of $793,380.40 (80% of the allowed fees) and reimbursement of $11,753.08 (100% of

the allowed expenses) be authorized for a total payment of $805,133.48; and for such other and

further relief as this Court deems proper.

Dated: April 18, 2023                 PACHULSKI STANG ZIEHL & JONES LLP


                                      /s/ Laura Davis Jones____________________
                                      Laura Davis Jones (DE Bar No. 2436)
                                      David M. Bertenthal (CA Bar No. 167624)
                                      Timothy P. Cairns (DE Bar No. 4228)
                                      919 North Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, Delaware 19899 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
                                      Email: ljones@pszjlaw.com
                                              dbertenthal@pszjlaw.com
                                              tcairns@pszjlaw.com

                                      Counsel for the Debtors and Debtors in Possession




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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                 Laura Davis Jones, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                 b)          I am familiar with the work performed on behalf of the debtors and

debtors in possession by the lawyers and paraprofessionals of PSZ&J.

                 c)          I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about February 9,

2023 and submit that the Application substantially complies with such Rule and Order.



                                                /s/ Laura Davis Jones
                                                Laura Davis Jones




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                                   Pachulski Stang Ziehl & Jones LLP
                                           919 North Market Street
                                                 17th Floor
                                           Wilmington, DE 19801
                                                                      February 28, 2023
Rian Branning                                                         Invoice 132223
GigaMonster Networks, LLC                                             Client   31213
350 Franklin Gateway SE ste. 300                                      Matter   00001
Marietta , GA 30067
                                                                               LDJ

RE: Debtor Representation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2023
                FEES                                                  $991,725.50
                EXPENSES                                               $11,753.08
                TOTAL CURRENT CHARGES                                $1,003,478.58

                BALANCE FORWARD                                       $315,636.17
                TOTAL BALANCE DUE                                    $1,319,114.75
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GigaMonster Networks LLC                                                    Invoice 132223
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  Summary of Services by Professional
  ID        Name                             Title                Rate       Hours              Amount

 ARP        Paul, Andrea R.                  Case Man. Asst.     425.00       0.50              $212.50

 CJB        Bouzoukis, Charles J.            Case Man. Asst.     425.00       1.10              $467.50

                                                                             44.50         $73,202.50
 DJB        Barton, David J.                 Partner            1645.00
                                                                              5.40          $3,915.00
 DMB        Bertenthal, David M.             Partner             725.00
                                                                            129.50        $187,775.00
 DMB        Bertenthal, David M.             Partner            1450.00
                                                                             31.70         $22,982.50
 ECO        Corma, Edward A.                 Associate           725.00
                                                                             26.20         $14,279.00
 IDD        Densmore, Ian                    Paralegal           545.00
 JMF        Fried, Joshua M.                 Partner             637.50       6.80          $4,335.00

 JMF        Fried, Joshua M.                 Partner            1275.00      79.20        $100,980.00

 KSN        Neil, Karen S.                   Case Man. Asst.     425.00       9.60          $4,080.00

 LDJ        Jones, Laura Davis               Partner            1745.00      88.80        $154,956.00

 MAM        Matteo, Mike A.                  Paralegal           495.00       0.90              $445.50

 MBL        Litvak, Maxim B.                 Partner            1445.00      26.70         $38,581.50

 MFC        Caloway, Mary F.                 Counsel            1350.00      28.80         $38,880.00

 PEC        Cuniff, Patricia E.              Paralegal           545.00       0.40              $218.00

 PJJ        Jeffries, Patricia J.            Paralegal           545.00      35.90         $19,565.50

 PJK        Keane, Peter J.                  Counsel            1025.00     210.00        $215,250.00

 TPC        Cairns, Timothy P.               Partner            1125.00      99.20        $111,600.00

                                                                           825.20          $991,725.50
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GigaMonster Networks LLC                                                       Invoice 132223
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  Summary of Services by Task Code
  Task Code         Description                                       Hours                         Amount

 AD                 Asset Disposition [B130]                          527.90                  $684,234.50

 BL                 Bankruptcy Litigation [L430]                      144.10                  $159,759.50

 CA                 Case Administration [B110]                          9.30                       $5,075.00

 CO                 Claims Admin/Objections[B310]                       0.90                       $1,308.00

 CPO                Comp. of Prof./Others                               0.60                        $742.50

 EB                 Employee Benefit/Pension-B220                      25.20                   $27,453.00

 EC                 Executory Contracts [B185]                          6.20                       $7,877.00

 FF                 Financial Filings [B110]                           55.30                   $44,399.50

 FN                 Financing [B230]                                   18.10                   $23,820.00

 GB                 General Business Advice [B410]                      0.90                        $445.50

 IC                 Insurance Coverage                                  0.60                        $327.00

 MC                 Meeting of Creditors [B150]                         5.80                       $7,951.00

 OP                 Operations [B210]                                   0.60                        $327.00

 RP                 Retention of Prof. [B160]                           2.90                       $2,740.50

 RPO                Ret. of Prof./Other                                14.30                   $16,852.00

 TI                 Tax Issues [B240]                                   0.30                        $163.50

 TR                 Travel                                             12.20                       $8,250.00

                                                                      825.20                  $991,725.50
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GigaMonster Networks LLC                                                    Invoice 132223
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  Summary of Expenses
  Description                                                                             Amount
Air Fare [E110]                                                                        $5,496.60
Auto Travel Expense [E109]                                                                $59.45
Working Meals [E111]                                                                      $90.49
Conference Call [E105]                                                                   $236.89
Delivery/Courier Service                                                               $1,396.44
Federal Express [E108]                                                                    $39.49
Lexis/Nexis- Legal Research [E                                                           $369.52
Pacer - Court Research                                                                   $513.40
Postage [E108]                                                                             $0.60
Reproduction Expense [E101]                                                              $315.20

Reproduction/ Scan Copy                                                                $2,368.00
Travel Expense [E110]                                                                    $316.00
Transcript [E116]                                                                        $551.00

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GigaMonster Networks LLC                                                                        Invoice 132223
31213 - 00001                                                                                   February 28, 2023


                                                                                        Hours           Rate        Amount

  Asset Disposition [B130]
 02/01/2023   DMB     AD        Call with Investment banker re sale issues               0.20      1450.00           $290.00

 02/01/2023   DMB     AD        Call with P Keane re sale issues                         0.10      1450.00           $145.00

 02/01/2023   LDJ     AD        Review sale issues                                       0.40      1745.00           $698.00

 02/01/2023   LDJ     AD        Teleconference with Jones Day, PSZJ re: bid              0.40      1745.00           $698.00
                                procedures, UST comments, UCC comments

 02/01/2023   LDJ     AD        Review bid procedures issues, precedent                  1.00      1745.00          $1,745.00

 02/01/2023   TPC     AD        Teleconference with lenders/buyers re: comments to       0.50      1125.00           $562.50
                                bid procedures motion from UCC and UST

 02/01/2023   PJK     AD        Call with PSZJ team and Jones Day re UCC and             0.40      1025.00           $410.00
                                UST comments on bid procedures

 02/01/2023   PJK     AD        Review APA re employee issues, emails with TPC           0.40      1025.00           $410.00
                                re same

 02/01/2023   PJK     AD        Review prepetition sale and APA and schedules,           0.50      1025.00           $512.50
                                obtain schedules, emails with DMB re same

 02/01/2023   PJK     AD        Review and revise bid pro order and bid procedures,      0.80      1025.00           $820.00
                                emails with PSZJ team re same

 02/01/2023   PJK     AD        Review and update "other assets" cure notice,            1.00      1025.00          $1,025.00
                                attention to issues re same (.8) email to client re
                                same (.2)

 02/01/2023   PJK     AD        Call with DMB and T Murphy re NDA and sale               0.20      1025.00           $205.00
                                issues

 02/01/2023   PJK     AD        Prep APA docs for sharing with UCC per call with         0.30      1025.00           $307.50
                                UCC, emails with PSZJ team re same

 02/01/2023   PJK     AD        Attention to sale notice issues and                      0.70      1025.00           $717.50
                                publication/service issues, emails with Kroll re same

 02/01/2023   PJK     AD        Edits to draft NDAs from interested parties, review      1.00      1025.00          $1,025.00
                                issues re same, emails with DMB re same

 02/01/2023   PJK     AD        Work on final versions of SH APA and schedules           1.40      1025.00          $1,435.00
                                for data room files (.4), emails with N Hong re same,
                                emails with DMB re same (.3), calls with DMB re
                                same (.2), attention to issues re same (.3), emails
                                with client re same (.2)

 02/01/2023   PJK     AD        Attention to various bid procedures issues, emails       0.50      1025.00           $512.50
                                with T Murphy re same
                    Case
                     Case23-10051-JKS
                          23-10051-JKS Doc
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 02/01/2023   PJK     AD        Review draft cure notice charts, research issues re       1.70      1025.00          $1,742.50
                                same (.8), emails with A Price re same (.2), review
                                other assets cure chart and updates to same (.5),
                                emails with R Branning and A Price re same (.2)

 02/01/2023   PJK     AD        Call and emails with J Wiseler re Cigna (.2), revise      0.40      1025.00           $410.00
                                BP order re same (.2)

 02/01/2023   PJK     AD        Attention to Kromer issues, emails from Kromer            0.30      1025.00           $307.50
                                counsel, email to R Branning re same

 02/02/2023   DJB     AD        Respond to P Keane re NDA issues.                         0.40      1645.00           $658.00

 02/02/2023   DMB     AD        Call with UCC re sale issues                              0.80      1450.00          $1,160.00

 02/02/2023   LDJ     AD        Preparation for call with Committee re: sale issues       0.40      1745.00           $698.00

 02/02/2023   LDJ     AD        Teleconference with Committee counsel, PSZJ re:           0.80      1745.00          $1,396.00
                                sale issues, timeline

 02/02/2023   LDJ     AD        Numerous emails with PSZJ re: bid procedures,             0.40      1745.00           $698.00
                                order

 02/02/2023   MBL     AD        Emails with team, client, and Bank Street re bid          0.20      1445.00           $289.00
                                procedures and committee issues.

 02/02/2023   TPC     AD        Teleconferences with team re: issues related to bid       0.50      1125.00           $562.50
                                procedures orders

 02/02/2023   TPC     AD        Review correspondence re: revisions to bid                0.60      1125.00           $675.00
                                procedures order

 02/02/2023   PJK     AD        Call with PSZJ, Jones Day, UCC counsel re bid             0.80      1025.00           $820.00
                                procedures

 02/02/2023   PJK     AD        Review issues list re UST questions on bid                0.80      1025.00           $820.00
                                procedures, emails with Jones Day re same, emails
                                with PSZJ team re same, research issues re same

 02/02/2023   PJK     AD        Review outstanding NDA issues, markup bidder              1.70      1025.00          $1,742.50
                                NDAs, emails with DMB re same, calls with DMB
                                re same, emails with D Barton re same

 02/02/2023   PJK     AD        Research re cure notice chart issues and various cure     1.20      1025.00          $1,230.00
                                issues (.6), emails with client re same (.2), edits to
                                other assets cure chart (.4)

 02/02/2023   PJK     AD        Emails with T Murphy re NDAs                              0.30      1025.00           $307.50

 02/02/2023   PJK     AD        Attention to issues re publication notice and sale        0.50      1025.00           $512.50
                                notice/service issues

 02/03/2023   DMB     AD        Review materials re sale, bid pro issues                  0.60      1450.00           $870.00
                    Case
                     Case23-10051-JKS
                          23-10051-JKS Doc
                                        Doc441
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 02/03/2023   MFC     AD        Review Committee and UST objections to bid                0.10      1350.00           $135.00
                                procedures motion.

 02/03/2023   MBL     AD        Review bid procedures and marketing background;           0.50      1445.00           $722.50
                                begin prep for bid pro hearing.

 02/03/2023   MBL     AD        Call with R. Branning re bid pro objections and           0.20      1445.00           $289.00
                                hearing prep.

 02/03/2023   MBL     AD        Review UST and committee bid pro objections;              0.80      1445.00          $1,156.00
                                coordinate with team and client re same.

 02/03/2023   MBL     AD        Emails with team and opposing counsel re status of        0.30      1445.00           $433.50
                                pending bid pro objections.

 02/03/2023   MBL     AD        Review and comment on draft reply re bid                  0.50      1445.00           $722.50
                                procedures (0.4); emails with P. Keane re same
                                (0.1).

 02/03/2023   MBL     AD        Begin drafting proffers for bid pro hearing.              0.40      1445.00           $578.00

 02/03/2023   TPC     AD        Review proposed NDA revisions from Committee              0.40      1125.00           $450.00

 02/03/2023   TPC     AD        Review and revised NDA and correspond with client         0.70      1125.00           $787.50
                                re: same

 02/03/2023   PJK     AD        Review BP objections, draft reply re bid procedures       3.40      1025.00          $3,485.00
                                (2.4), emails with MBL re same and review MBL
                                comments (.3), further edits to BP reply and research
                                re same (.7)

 02/03/2023   PJK     AD        Attention to data room issues and stalking horse          0.50      1025.00           $512.50
                                documents, email to client re same

 02/03/2023   PJK     AD        Review and update cure notice for SH assets, emails       1.40      1025.00          $1,435.00
                                with client re same (.4), research issues re SH cure
                                notice (.8), email to SH counsel re same (.2)

 02/03/2023   PJK     AD        Attention to issues re cure notices and service,          0.50      1025.00           $512.50
                                review draft cure notice chart, emails with Kroll re
                                same

 02/03/2023   PJK     AD        Attention to publication notice issues, research re       0.50      1025.00           $512.50
                                same, email to client re same, review BPs and order
                                re same

 02/03/2023   ECO     AD        E-mails with Peter Keane re filing of late reply/tasks    0.10        725.00           $72.50
                                needed.

 02/03/2023   ECO     AD        Prepare motion for leave to file late reply for bid       1.90        725.00         $1,377.50
                                procedures motion.

 02/03/2023   ECO     AD        Prepare e-mail to Peter Keane forwarding late reply       0.10        725.00           $72.50
                    Case
                     Case23-10051-JKS
                          23-10051-JKS Doc
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                                                                                        Hours           Rate        Amount
                                motion.

 02/03/2023   PJK     AD        Emails with E Corma re motion re late reply for BP       0.20      1025.00           $205.00
                                reply

 02/03/2023   PJK     AD        Emails with Barings counsel re BP order language         0.40      1025.00           $410.00
                                changes, research issues re same

 02/03/2023   PJK     AD        Further research re BP order changes and updates on      0.50      1025.00           $512.50
                                same, review Cigna language, emails with MBL re
                                BP order updates

 02/04/2023   DMB     AD        Initial review re bid procedures reply                   0.50      1450.00           $725.00

 02/04/2023   MBL     AD        Revise reply in support of bid procedures.               1.00      1445.00          $1,445.00

 02/04/2023   MBL     AD        Call with R. Branning and Bank Street re bid pro         0.50      1445.00           $722.50
                                hearing prep.

 02/04/2023   MBL     AD        Review proposed bid pro order and bid procedures,        0.60      1445.00           $867.00
                                including proposed revisions (0.4); emails with P.
                                Keane re same (0.2).

 02/04/2023   MBL     AD        Emails with team, client, and lender counsel re          0.10      1445.00           $144.50
                                status of pending bid pro order and objections.

 02/04/2023   MBL     AD        Review draft response to UST informal issues.            0.10      1445.00           $144.50

 02/04/2023   MBL     AD        Review Bank Street comments to reply re bid              0.10      1445.00           $144.50
                                procedures.

 02/04/2023   MBL     AD        Coordinate with team re witnesses and exhibits for       0.20      1445.00           $289.00
                                hearing.

 02/04/2023   PJK     AD        Review MBL comments on BP reply, revise reply            1.60      1025.00          $1,640.00
                                (.5), emails with buyer counsel re same (.2), emails
                                with client re same (.2), emails with DMB re same
                                (.2), research re bid procedures issues (.5)

 02/04/2023   PJK     AD        Attention to various issues on bid procedures (.8),      1.00      1025.00          $1,025.00
                                emails with DMB re same (.2)

 02/04/2023   PJK     AD        Attention to cure issues (.3), emails with A Price re    0.50      1025.00           $512.50
                                updated other assets cure notice (.2)

 02/04/2023   PJK     AD        Emails with PSZJ team re response to UST on BPs,         0.40      1025.00           $410.00
                                update responses

 02/04/2023   PJK     AD        Emails with Kroll re cure notice and service issues,     0.40      1025.00           $410.00
                                attention to same

 02/05/2023   DMB     AD        Corr to P Keane re NDA's                                 0.10      1450.00           $145.00

 02/05/2023   DMB     AD        Prep for call with client re sale, case issues           0.30      1450.00           $435.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
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 02/05/2023   DMB     AD        Attend client call re case, sale issues                  0.60      1450.00           $870.00

 02/05/2023   DMB     AD        Review bid procedures reply                              0.50      1450.00           $725.00

 02/05/2023   DMB     AD        Call with P Keane re sale issues                         0.10      1450.00           $145.00

 02/05/2023   DMB     AD        Call with internal team re bid procedures issues         0.40      1450.00           $580.00

 02/05/2023   DMB     AD        Review revised bid pro order                             0.40      1450.00           $580.00

 02/05/2023   LDJ     AD        Teleconference with client, PSZJ re: sale issues         0.60      1745.00          $1,047.00

 02/05/2023   LDJ     AD        Teleconference with PSZJ re: bid procedures              0.40      1745.00           $698.00

 02/05/2023   LDJ     AD        Review reply to bid procedures objections                0.70      1745.00          $1,221.50

 02/05/2023   MFC     AD        Emails with client group regarding reply ISO bid         0.10      1350.00           $135.00
                                procedures motion.

 02/05/2023   MFC     AD        Group call (LDJ, DB and ML) regarding bid                0.50      1350.00           $675.00
                                procedures hearing issues.

 02/05/2023   MFC     AD        Email to TPC regarding bid procedures hearing            0.10      1350.00           $135.00
                                issue.

 02/05/2023   MBL     AD        Review revised witness/exhibit list; emails with         0.10      1445.00           $144.50
                                team re same.

 02/05/2023   MBL     AD        Review and update revised reply re bid procedures.       1.40      1445.00          $2,023.00

 02/05/2023   MBL     AD        Call with team re bid pro prep.                          0.40      1445.00           $578.00

 02/05/2023   MBL     AD        Draft response to UCC issues list with lender            0.40      1445.00           $578.00
                                comments.

 02/05/2023   PJK     AD        Call with DMB and R Branning re open issues re           0.50      1025.00           $512.50
                                sale

 02/05/2023   PJK     AD        Review and edit revised NDAs from two parties (.5),      1.10      1025.00          $1,127.50
                                call with DMB re same (.2), emails with DMB re
                                same (.2), emails with T Murphy re same (.2)

 02/05/2023   PJK     AD        Emails with TPC re data room                             0.20      1025.00           $205.00

 02/05/2023   PJK     AD        Edits to BP reply, emails with MBL re same               0.30      1025.00           $307.50

 02/05/2023   PJK     AD        Call with PSZJ team re sale issues and BP issues for     0.50      1025.00           $512.50
                                2/7 hearing

 02/05/2023   PJK     AD        Email to Cigna counsel re revised BP order               0.20      1025.00           $205.00

 02/05/2023   PJK     AD        Attention to issues re objections to BPs, research re    0.80      1025.00           $820.00
                                reply, emails with PSZJ team re same
                    Case
                    Case 23-10051-JKS
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 02/06/2023   DMB     AD        Call with LDJ re sale issues                             0.20      1450.00           $290.00

 02/06/2023   LDJ     AD        Teleconference with Committee, PSZJ re: sale             1.10      1745.00          $1,919.50
                                issues, DIP financing

 02/06/2023   MFC     AD        Review/comment to revised motion for leave to file       0.10      1350.00           $135.00
                                reply ISO bid procedures.

 02/06/2023   MFC     AD        Emails regarding bid procedures negotiations and         0.10      1350.00           $135.00
                                changes.

 02/06/2023   MFC     AD        EMails with Committee and Lender counsel                 0.20      1350.00           $270.00
                                regarding bid procedures issues.

 02/06/2023   MFC     AD        Group call regarding open issues for tomorrow's          0.40      1350.00           $540.00
                                hearing and next steps.

 02/06/2023   MBL     AD        Review motion to extend time to file bid pro reply.      0.20      1445.00           $289.00

 02/06/2023   MBL     AD        Call with UCC and lender counsel and team re bid         1.10      1445.00          $1,589.50
                                pro and DIP loan issues.

 02/06/2023   MBL     AD        Follow-up emails with lender and committee               0.70      1445.00          $1,011.50
                                counsel re bid procedures issues.

 02/06/2023   MBL     AD        Review and finalize proffers for bid pro hearing.        0.50      1445.00           $722.50

 02/06/2023   MBL     AD        Call with team re bid pro prep.                          0.30      1445.00           $433.50

 02/06/2023   PJK     AD        Review various bid procedures documents and              2.00      1025.00          $2,050.00
                                pleadings, prep for hearing

 02/06/2023   PJK     AD        Coordinate and review documents for other assets         0.80      1025.00           $820.00
                                and SH bidding data room, emails with T Murphy re
                                same

 02/06/2023   PJK     AD        Emails with client re various bidding issues, emails     0.60      1025.00           $615.00
                                with PSZJ team re same, research re same

 02/06/2023   PJK     AD        Attention to cure notices for other assets and SH        1.60      1025.00          $1,640.00
                                assets (.4), review documents re same, review draft
                                notices (.4), update draft notices (.4), emails with
                                client re same (.4)

 02/06/2023   PJK     AD        Call with PSZJ re various bid procedures issues for      0.50      1025.00           $512.50
                                hearing

 02/06/2023   PJK     AD        Attention to open issues list re Novo questions on       0.30      1025.00           $307.50
                                properties

 02/06/2023   PJK     AD        Edits to other assets cure notice, emails with client    0.40      1025.00           $410.00
                                re same
                    Case
                    Case 23-10051-JKS
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 02/06/2023   IDD     AD        File witness/exhibit list for hearing on 2/7/2023 with    0.80        545.00          $436.00
                                the Court (.2); draft 2nd amended agenda for hearing
                                on 2/7/2023 (.3); file same with the Court (.2);
                                arrange for service of same on required parties (.1)

 02/06/2023   IDD     AD        File Motion for Late Reply in Support of Bid              0.30        545.00          $163.50
                                Procedures Motion with the Court (.2); arrange for
                                service of same on required parties (.1)

 02/06/2023   PJK     AD        Review and finalize reply re BPs (.8), emails with        1.00      1025.00          $1,025.00
                                MBL re same (.2)

 02/07/2023   DMB     AD        Corr from P Keane re bidder NDA                           0.20      1450.00           $290.00

 02/07/2023   DMB     AD        Call with LDJ re bid procedures                           0.20      1450.00           $290.00

 02/07/2023   DMB     AD        Review Bid Pro revisions                                  0.50      1450.00           $725.00

 02/07/2023   LDJ     AD        Review sale issues                                        0.30      1745.00           $523.50

 02/07/2023   PJJ     AD        Telephone conference with Peter Keane regarding           0.60        545.00          $327.00
                                contracts/cure notices (.2); create Excel files
                                regarding same.

 02/07/2023   MFC     AD        Emails regarding status of bid procedures open            0.10      1350.00           $135.00
                                issues.

 02/07/2023   MFC     AD        Call with ML regarding today's meetings and               0.20      1350.00           $270.00
                                hearing.

 02/07/2023   MFC     AD        Attend portion of bid procedures hearing.                 0.80      1350.00          $1,080.00

 02/07/2023   MFC     AD        Call with DB regarding bid procedures issue.              0.10      1350.00           $135.00

 02/07/2023   MFC     AD        Review and comment to post-hearing changes to bid         0.20      1350.00           $270.00
                                procedures order and bid procedures.

 02/07/2023   MBL     AD        Review/comment on revised bid pro order.                  0.30      1445.00           $433.50

 02/07/2023   MBL     AD        Emails with team and opposing counsel re open bid         0.20      1445.00           $289.00
                                pro issues with UCC.

 02/07/2023   MBL     AD        Call with M. Caloway re bid pro status and hearing        0.10      1445.00           $144.50
                                prep.

 02/07/2023   MBL     AD        Calls with team, client, and UCC counsel re sale and      1.30      1445.00          $1,878.50
                                bid procedures issues.

 02/07/2023   MBL     AD        Review revised bid pro order and exhibits after           0.20      1445.00           $289.00
                                hearing.

 02/07/2023   MBL     AD        Attend bid procedures hearing (via Zoom).                 1.50      1445.00          $2,167.50
                    Case
                    Case 23-10051-JKS
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 02/07/2023   PJK     AD        Prep for bid procedures hearing                            1.50      1025.00          $1,537.50

 02/07/2023   PJK     AD        Further edits to bid pro order and BPs post-hearing,       0.80      1025.00           $820.00
                                emails with PSZJ team and emails to
                                objecting/responding parties re same

 02/07/2023   PJK     AD        Attend bid procedures hearing                              2.50      1025.00          $2,562.50

 02/07/2023   PJK     AD        Updates to cure notices for SH assets and other            3.30      1025.00          $3,382.50
                                assets, research issues re same (1.2), emails and calls
                                with Jones Day re same (.3), emails with DMB re
                                same and calls with DMB re same (.3), emails with
                                Kroll and calls with Kroll re cure notice issues (.3),
                                attention to various issues on cure notices (.5),
                                emails and calls with client re same (.4), emails with
                                P Jeffries re same and call with P Jeffries re same,
                                review Excel files from P Jeffries (.3)

 02/07/2023   PJK     AD        Review additional NDA, email to DMB re same,               0.40      1025.00           $410.00
                                email from T Murphy re same

 02/07/2023   PJK     AD        Emails from T Murphy and NDA party re changes              0.50      1025.00           $512.50
                                on NDA, review same, email to DMB re same

 02/07/2023   PJK     AD        Edits to bid pro order, create redline, circulate same     0.70      1025.00           $717.50
                                to PSZJ team, UCC, other parties (.6), emails with
                                JKS chambers re same (.1)

 02/07/2023   PJK     AD        Emails with UST re revised BP order                        0.20      1025.00           $205.00

 02/07/2023   PJK     AD        Email to I Densmore re COC re BP order                     0.10      1025.00           $102.50

 02/08/2023   DMB     AD        Corr with R Branning re Lincoln Crossing                   0.30      1450.00           $435.00

 02/08/2023   DMB     AD        Corr with stalking horse, UCC re APA amendment             0.30      1450.00           $435.00

 02/08/2023   DMB     AD        Review APA amendment revisions                             0.30      1450.00           $435.00

 02/08/2023   DMB     AD        Calls with LDJ re sale issues                              0.30      1450.00           $435.00

 02/08/2023   LDJ     AD        Review sale issues, next steps                             0.80      1745.00          $1,396.00

 02/08/2023   LDJ     AD        Teleconference with David Bertenthal re: Lincoln           0.20      1745.00           $349.00
                                Crossing, sale

 02/08/2023   MFC     AD        Emails with Committee, lenders and UST regarding           0.30      1350.00           $405.00
                                revised bid procedures order.

 02/08/2023   MFC     AD        Call with PJK regarding Sale Notice.                       0.10      1350.00           $135.00

 02/08/2023   MBL     AD        Review comments from opposing parties to bid pro           0.10      1445.00           $144.50
                                order.
                    Case
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 02/08/2023   MBL     AD        Review APA revisions; emails with team and                0.30      1445.00           $433.50
                                opposing counsel re same.

 02/08/2023   MBL     AD        Call with D. Bertenthal re APA revisions.                 0.10      1445.00           $144.50

 02/08/2023   PJK     AD        Various emails with UCC, Stalking Horse, and              1.80      1025.00          $1,845.00
                                Barings, and UST re bid procedures and APA issues,
                                review comments re same, updates to bid pro order
                                and exhiibts (.8), edits to COC re same (.2), emails
                                with I Densmore re same (.2), finalize BP order and
                                exhibits for filing (.4), emails with client re APA
                                edits (.2)

 02/08/2023   PJK     AD        Emails with I Densmore re COC and bid procedures          0.40      1025.00           $410.00
                                order (.2), email to JKS chambers re same (.1),
                                review docket re BP order (.1)

 02/08/2023   PJK     AD        Research issues re cure notices, review draft notices     0.80      1025.00           $820.00

 02/08/2023   PJK     AD        Attention to various issues on cure notices, research     3.00      1025.00          $3,075.00
                                re same (.8), emails with A Price and client re cure
                                issues (.4), calls and emails with SH re cure notice
                                (.4), calls and emails with Kroll re cure notice
                                service issues and attention to same (.6), emails with
                                D Potts re cure notices (.3), finalize sale notice and
                                emails with D Potts re same (.5)

 02/08/2023   PJK     AD        Emails with T Murphy re NDAs                              0.20      1025.00           $205.00

 02/08/2023   PJK     AD        Emails with R James re sale process                       0.20      1025.00           $205.00

 02/08/2023   IDD     AD        Draft Certification of Counsel re Bid Procedures          0.60        545.00          $327.00
                                Order with the Court (.3); file same with the Court
                                (.2); upload proposed Order re same to Judge's
                                Chambers for approval (.1)

 02/09/2023   DJB     AD        Prepare amendment to Bel Air asset purchase               1.50      1645.00          $2,467.50
                                agreement.

 02/09/2023   DMB     AD        Corr with Stalking Horse re APA amendment                 0.20      1450.00           $290.00

 02/09/2023   DMB     AD        Call with client re NDA issues                            0.20      1450.00           $290.00

 02/09/2023   DMB     AD        Call with LDJ re sale, status issues                      0.20      1450.00           $290.00

 02/09/2023   MFC     AD        Emails with PJK regarding auction issues.                 0.10      1350.00           $135.00

 02/09/2023   MFC     AD        EMails regarding sale notices, service and                0.10      1350.00           $135.00
                                publication.

 02/09/2023   MBL     AD        Emails with team re UST customer issues and               0.10      1445.00           $144.50
                                general status.
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 02/09/2023   PJK     AD        Finalize sale notice for publication, emails with         0.50      1025.00           $512.50
                                Kroll re same, coordinate publication issues for sale

 02/09/2023   PJK     AD        Attention to issues for auction, coordinate               0.40      1025.00           $410.00
                                transcriber, emails with PSZJ team re same

 02/09/2023   PJK     AD        Emails with T Murphy re data room updates, obtain         0.50      1025.00           $512.50
                                various documents re same

 02/09/2023   PJK     AD        Attention to CPO issues, emails with PSZJ team re         0.40      1025.00           $410.00
                                same

 02/09/2023   PJK     AD        Emails with R James re sale process questions, call       0.20      1025.00           $205.00
                                with R James re same

 02/09/2023   PJK     AD        Research re NDA employee issues, emails with              0.60      1025.00           $615.00
                                DMB re same

 02/09/2023   PJK     AD        Emails with DMB and SH counsel re APA                     0.80      1025.00           $820.00
                                amendment, review amended APA language (.4),
                                emails with D Barton and N Hong re same (.2), call
                                with DMB re same (.2)

 02/09/2023   DMB     AD        Corr with buyer re NDA issues                             0.20      1450.00           $290.00

 02/10/2023   DMB     AD        Internal call re CPO issues                               0.20      1450.00           $290.00

 02/10/2023   DMB     AD        Call with Bank Street re sale                             0.30      1450.00           $435.00

 02/10/2023   DMB     AD        Review NDA revisions                                      0.40      1450.00           $580.00

 02/10/2023   DMB     AD        Call with client re sale issues, status                   0.40      1450.00           $580.00

 02/10/2023   LDJ     AD        Teleconference with Bank Street, PSZJ re: sale            0.30      1745.00           $523.50
                                issues

 02/10/2023   LDJ     AD        Review sale issues, next steps                            1.20      1745.00          $2,094.00

 02/10/2023   PJK     AD        Emails with ID re bid pro order service                   0.20      1025.00           $205.00

 02/10/2023   PJK     AD        Review most recent NDA markups from interested            0.70      1025.00           $717.50
                                bidders, revise same, emails with DMB re same

 02/10/2023   PJK     AD        Call with R James re sale process, attention to           0.40      1025.00           $410.00
                                interested party sale issues

 02/10/2023   PJK     AD        Calls and emails with Kromer counsel re cure and          0.90      1025.00           $922.50
                                sale issues, research issues re same (.5), review cure
                                info from Kromer counsel, emails with client re
                                same (.4)

 02/10/2023   PJK     AD        Attention to CPO issues and UST request and               0.80      1025.00           $820.00
                                research re same (.4), emails with PSZJ team re
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                                same (.2), emails with SH counsel re same (.2)

 02/10/2023   PJK     AD        Review data room docs submitted, emails with T            0.40      1025.00           $410.00
                                Murphy re same

 02/10/2023   PJK     AD        Review first amendment to APA, emails with DMB            0.40      1025.00           $410.00
                                re same, emails with R Branning re same

 02/10/2023   PJK     AD        Call with J Grall re open issues on certain properties    0.80      1025.00           $820.00
                                (.3), attention to same (.3), email to DMB re same
                                (.2)

 02/11/2023   DMB     AD        Corr with P Keane, buyer re CPO                           0.20      1450.00           $290.00

 02/11/2023   LDJ     AD        Review bid issue                                          0.20      1745.00           $349.00

 02/11/2023   PJK     AD        Attention to auction logistics, email to I Densmore       0.40      1025.00           $410.00
                                re transcriber

 02/12/2023   DMB     AD        Follow up call with LDJ re potential bidder issues        0.10      1450.00           $145.00

 02/12/2023   DMB     AD        Corr with potential bidder, P Keane re potential bid      0.20      1450.00           $290.00

 02/12/2023   DMB     AD        Review bid procedures for call with potential bidder      0.30      1450.00           $435.00

 02/12/2023   DMB     AD        Call with potential bidder                                0.30      1450.00           $435.00

 02/12/2023   PJK     AD        Review APA amendment, email to buyer counsel re           0.30      1025.00           $307.50
                                same, emails with PSZJ team re same

 02/12/2023   PJK     AD        Emails with C Ward re other assets sale documents,        0.30      1025.00           $307.50
                                attention to issues re same

 02/13/2023   DMB     AD        Corr with P Keane re CPO                                  0.20      1450.00           $290.00

 02/13/2023   DMB     AD        Corr with potential Lincoln buyer                         0.20      1450.00           $290.00

 02/13/2023   DMB     AD        Corr with potential bidder counsel, P keane               0.30      1450.00           $435.00

 02/13/2023   DMB     AD        Review materials re bidder info requests                  0.80      1450.00          $1,160.00

 02/13/2023   DMB     AD        Review revisions re draft Lincoln agreement               0.40      1450.00           $580.00

 02/13/2023   DMB     AD        Call with client re sale, open issues                     0.20      1450.00           $290.00

 02/13/2023   LDJ     AD        Review bidder issues                                      0.40      1745.00           $698.00

 02/13/2023   PJK     AD        Review final sale notice publication proof, emails        0.30      1025.00           $307.50
                                with client and Kroll re same

 02/13/2023   PJK     AD        Emails with ID re auction transcriber                     0.20      1025.00           $205.00

 02/13/2023   PJK     AD        Call with SH counsel re CPO issues (.2), emails with      0.80      1025.00           $820.00
                                PSZJ team re same (.2), email to UST re same (.2),
                                call with LDJ and DMB re same (.2)
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 02/13/2023   PJK     AD        Call with Polsinelli re bid issues and due diligence    0.80      1025.00           $820.00
                                (.5), emails with Novo re info request (.3)

 02/13/2023   PJK     AD        Calls and emails with DMB re various bid                0.40      1025.00           $410.00
                                procedures/sale issues

 02/13/2023   IDD     AD        Request Court Reporter for upcoming Auction on          0.20        545.00          $109.00
                                2/28/2023

 02/14/2023   DMB     AD        Work on sale/bidder issues                              0.80      1450.00          $1,160.00

 02/14/2023   DMB     AD        Corr with client re bid issues                          0.20      1450.00           $290.00

 02/14/2023   DMB     AD        Corr with P Keane re bidder info requests               0.20      1450.00           $290.00

 02/14/2023   DMB     AD        Corr with S Beatty                                      0.10      1450.00           $145.00

 02/14/2023   DMB     AD        Call with client re sale issues                         0.20      1450.00           $290.00

 02/14/2023   TPC     AD        Review bid procedures order, cure deadlines, notices    1.50      1125.00          $1,687.50
                                re: review deadlines for action and response

 02/14/2023   PJK     AD        Review Sanders APA and markup, calls and emails         0.50      1025.00           $512.50
                                with DMB re same, emails with N Hong re same,
                                attention to issues re same

 02/14/2023   PJK     AD        Call with DMB re open issues re sale and related        0.50      1025.00           $512.50
                                items

 02/14/2023   PJK     AD        Attention to issues re data room/due diligence          0.40      1025.00           $410.00
                                documents, emails with DMB re same, email to T
                                Murphy re same

 02/15/2023   DJB     AD        Consider final draft of bill of sale.                   0.30      1645.00           $493.50

 02/15/2023   DJB     AD        Interoffice conference with N Hong re bill of sale      0.40      1645.00           $658.00
                                and TSA.

 02/15/2023   DMB     AD        Prep for client call re sale issues                     0.20      1450.00           $290.00

 02/15/2023   DMB     AD        Attend client call re sale issues                       0.40      1450.00           $580.00

 02/15/2023   DMB     AD        Prep for call with potential bidder                     0.30      1450.00           $435.00

 02/15/2023   DMB     AD        Attend call with potential bidder                       0.30      1450.00           $435.00

 02/15/2023   DMB     AD        Follow up call with P Keane re potential bidder         0.10      1450.00           $145.00

 02/15/2023   DMB     AD        Follow up corr with N Hong re other assets APA          0.20      1450.00           $290.00

 02/15/2023   DMB     AD        Corr with internal team re other assets sale docs       0.30      1450.00           $435.00

 02/15/2023   DMB     AD        Corr with N Hong re TSA                                 0.20      1450.00           $290.00
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 02/15/2023   DMB     AD        Corr with bidder, client re diligence issues             0.30      1450.00           $435.00

 02/15/2023   DMB     AD        Corr from P Keane re other assets sale order             0.10      1450.00           $145.00

 02/15/2023   DMB     AD        Review/comment re Lincoln Crossing draft APA             0.70      1450.00          $1,015.00

 02/15/2023   DMB     AD        Review materials re Kromer issues                        0.40      1450.00           $580.00

 02/15/2023   DMB     AD        Review sale order form                                   0.40      1450.00           $580.00

 02/15/2023   DMB     AD        Review CPO order                                         0.20      1450.00           $290.00

 02/15/2023   DMB     AD        Call with P Keane re sale issues                         0.20      1450.00           $290.00

 02/15/2023   LDJ     AD        Teleconference with client, PSZJ re: sale issues         0.40      1745.00           $698.00

 02/15/2023   LDJ     AD        Teleconference with bidder, PSZJ re: sale issues         0.30      1745.00           $523.50

 02/15/2023   LDJ     AD        Review bid, sale issues                                  1.30      1745.00          $2,268.50

 02/15/2023   TPC     AD        Review objections and data provided by team re:          1.70      1125.00          $1,912.50
                                cure analysis

 02/15/2023   TPC     AD        Review multiple items of correspondence re: resolve      0.70      1125.00           $787.50
                                cure objections

 02/15/2023   PJK     AD        Call with DMB re notice of form of other assets sale     0.60      1025.00           $615.00
                                order, draft notice, emails with DMB re same,
                                emails with D Potts re same

 02/15/2023   PJK     AD        Attention to SH amendment issues, emails with            0.80      1025.00           $820.00
                                Jones Day re same, emails with client re same,
                                coordinate signatures on same, fix technical issue on
                                amendment

 02/15/2023   PJK     AD        Attention to issues re data room documents and           0.50      1025.00           $512.50
                                TSA, emails with PSZJ team re same, emails with T
                                Murphy re same

 02/15/2023   PJK     AD        Emails with Polsinelli re outstanding contract issues    0.20      1025.00           $205.00
                                for due diligence

 02/15/2023   PJK     AD        Emails with TPC re cure issues                           0.20      1025.00           $205.00

 02/15/2023   PJK     AD        Review Kromer cure info, email to TPC re same            0.20      1025.00           $205.00

 02/15/2023   PJK     AD        Call (partial) with DMB and S Beatty re Lincoln          0.20      1025.00           $205.00
                                Crossing

 02/15/2023   PJK     AD        Review Kromer settlement communciations and              0.80      1025.00           $820.00
                                correspondence for redactions, markup same,
                                coordinate issues for data room, emails with PSZJ
                                team re same
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 02/16/2023   DMB     AD        Further review/comment re other assets APA             0.60      1450.00           $870.00

 02/16/2023   DMB     AD        Work on NDA revisions                                  0.40      1450.00           $580.00

 02/16/2023   DMB     AD        Corr with bidder re NDA                                0.20      1450.00           $290.00

 02/16/2023   DMB     AD        Corr from potential bidder .1; corr to client re       0.20      1450.00           $290.00
                                potential bidder .1

 02/16/2023   DMB     AD        Call with client re bid issues                         0.50      1450.00           $725.00

 02/16/2023   DMB     AD        Review materials re bidding issues                     0.70      1450.00          $1,015.00

 02/16/2023   DMB     AD        Call with N Hong, P Keane re APA issues                0.20      1450.00           $290.00

 02/16/2023   DMB     AD        Review revisions to potential Lincoln Crossing APA     0.80      1450.00          $1,160.00

 02/16/2023   LDJ     AD        Teleconference with client, PSZJ re: bid issues        0.50      1745.00           $872.50

 02/16/2023   TPC     AD        Correspond with team re: potential cure issues         0.40      1125.00           $450.00

 02/16/2023   PJK     AD        Attention to various bid procedures issues, emails     0.50      1025.00           $512.50
                                and calls with DMB re same, review 2/7 transcript

 02/16/2023   PJK     AD        Call with Polsinelli team and company re diligence     0.50      1025.00           $512.50
                                info

 02/16/2023   PJK     AD        Finalize SH APA amendment, emails with SH              0.30      1025.00           $307.50
                                counsel and client re same

 02/16/2023   PJK     AD        Attention to data room issues and documents for        0.40      1025.00           $410.00
                                data room, emails with A Price re same, emails with
                                DMB and T Murphy re same

 02/16/2023   PJK     AD        Emails with N Hong re other assets APA, review         0.20      1025.00           $205.00
                                same

 02/16/2023   PJK     AD        Emails and calls with DMB re various bid               0.50      1025.00           $512.50
                                procedures issues for potential bids, research re
                                same

 02/16/2023   PJK     AD        Various emails with PSZJ team and interested bidder    0.30      1025.00           $307.50
                                counsel re status call re bid package logistics

 02/16/2023   PJK     AD        Review markups to NDAs re pending issues (.6),         0.80      1025.00           $820.00
                                emails with DMB re NDA from interested bidder
                                and email to counsel re same (.2)

 02/17/2023   DMB     AD        Prep for call with potential bidder                    0.20      1450.00           $290.00

 02/17/2023   DMB     AD        Attend call with potential bidder                      0.40      1450.00           $580.00

 02/17/2023   DMB     AD        Attend potential bidder call                           0.30      1450.00           $435.00
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 02/17/2023   DMB     AD        Revise bidder nda                                        0.40      1450.00           $580.00

 02/17/2023   DMB     AD        Internal corr re diligence issues re sale                0.30      1450.00           $435.00

 02/17/2023   DMB     AD        Internal corr re Lincoln APA                             0.20      1450.00           $290.00

 02/17/2023   DMB     AD        Internal call re CPO issues                              0.20      1450.00           $290.00

 02/17/2023   DMB     AD        Corr from potential bidder re sale issues                0.20      1450.00           $290.00

 02/17/2023   DMB     AD        Corr with bidder counsel re nda                          0.20      1450.00           $290.00

 02/17/2023   DMB     AD        Call with R Branning re sale issues                      0.30      1450.00           $435.00

 02/17/2023   DMB     AD        Review other assets apa form revision                    0.40      1450.00           $580.00

 02/17/2023   DMB     AD        Review potential Lincoln APA revisions                   0.50      1450.00           $725.00

 02/17/2023   DMB     AD        Review preliminary bid info                              0.50      1450.00           $725.00

 02/17/2023   MBL     AD        Confer with J. Fried re auction and status.              0.10      1445.00           $144.50

 02/17/2023   JMF     AD        Review APA, objections and Sale documents re core        4.80      1275.00          $6,120.00
                                and non core assets (4.1); telephone call with L.
                                Jones (.4) and D. Bertenthal (.3) re background re
                                same;

 02/17/2023   TPC     AD        Conferences with team re: auction preparation            0.70      1125.00           $787.50

 02/17/2023   PJK     AD        Attention to auction logistics and related issues        0.40      1025.00           $410.00

 02/17/2023   PJK     AD        Emails with N Hong and DMB re ancilary sale              0.30      1025.00           $307.50
                                forms, obtain same

 02/17/2023   PJK     AD        Review bidder NDA, emails with counsel re same,          0.30      1025.00           $307.50
                                emails with DMB re same

 02/17/2023   PJK     AD        Review Sanders markup to APA, email to client re         0.40      1025.00           $410.00
                                same

 02/17/2023   PJK     AD        Attention to Kromer document issues from data            0.40      1025.00           $410.00
                                room, emails with client and T Murphy re same

 02/17/2023   PJK     AD        Review edits to other assets APA, emails with DMB        0.40      1025.00           $410.00
                                re same, emails with client re same

 02/17/2023   PJK     AD        Attention to DP issues re cure notices, research re      1.80      1025.00          $1,845.00
                                same (.5), draft supplemental cure notice (.4), calls
                                and emails with client re same (.2), calls and emails
                                with Jones Day re same (.2), finalize supplemental
                                notice, emails with ID re same (.3), emails with
                                Kroll re service (.2)
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 02/17/2023   PJK     AD        Edits to bidder markups to NDAs, attention to issues     0.70      1025.00           $717.50
                                re same, emails with DMB re same

 02/17/2023   PJK     AD        Call with counsel to interested bidder re bid process    0.70      1025.00           $717.50
                                (.5), email to client re same (.2)

 02/17/2023   PJK     AD        Responses to bidder info requests for diligence,         1.50      1025.00          $1,537.50
                                review and obtain documents re same, emails with
                                PSZJ team re same, emails with client re same

 02/18/2023   DJB     AD        Interoffice conference re staffing for anticipated       0.70      1645.00          $1,151.50
                                bids.

 02/18/2023   LDJ     AD        Teleconference with PSZJ re: sale issues, auction,       1.00      1745.00          $1,745.00
                                pending tasks, next steps

 02/18/2023   MBL     AD        Update call with team re sale status and financing       0.70      1445.00          $1,011.50
                                hearing.

 02/18/2023   JMF     AD        Telephone call with L. Jones, T. Cairns, P. Keane,       2.00      1275.00          $2,550.00
                                D. Bertenthal and N. Hong re sale and auction issues
                                (.8) review bid procedures and order re core/non
                                core assets (1.2).

 02/18/2023   TPC     AD        Teleconferences with team re: sale status;               1.00      1125.00          $1,125.00
                                preparations for auction

 02/18/2023   PJK     AD        Call with PSZJ team re auction and sale prep             0.70      1025.00           $717.50

 02/18/2023   PJK     AD        Review bid procedures, email to PSZJ team re same        0.30      1025.00           $307.50

 02/18/2023   PJK     AD        Emails with PSZJ team re bid documents and data          0.50      1025.00           $512.50
                                room (.3), emails with T Murphy re data room
                                documents and access (.2)

 02/18/2023   PJK     AD        Attention to Kromer issues and bid issues, emails        0.40      1025.00           $410.00
                                with PSZJ team re same

 02/18/2023   PJK     AD        Various emails from DMB and N Hong re pending            0.30      1025.00           $307.50
                                APAs

 02/19/2023   DMB     AD        Corr to P Keane re sale issues                           0.10      1450.00           $145.00

 02/19/2023   DMB     AD        Corr with internal team re other assets bids             0.30      1450.00           $435.00

 02/19/2023   DMB     AD        Call with client re sale issues                          0.50      1450.00           $725.00

 02/19/2023   DMB     AD        Review other assets bid materials                        0.50      1450.00           $725.00

 02/19/2023   LDJ     AD        Teleconference with client, PSZJ re: sale issues         0.50      1745.00           $872.50

 02/19/2023   LDJ     AD        Teleconference with PSZJ re:other asset sale             0.50      1745.00           $872.50
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 02/19/2023   JMF     AD        Telephone call with L. Jones, T. Cairns, D.              1.60      1275.00          $2,040.00
                                Bertenthal, Novo team re auction issues (.5); review
                                sale orders re potential asset sales (1.1).

 02/19/2023   TPC     AD        Teleconference with team re: sale issues                 0.70      1125.00           $787.50

 02/19/2023   PJK     AD        Call with client, T Murphy, and PSZJ team re             0.50      1025.00           $512.50
                                auction and sale prep

 02/19/2023   PJK     AD        Email to PSZJ team re sale orders and APAs               0.20      1025.00           $205.00

 02/19/2023   PJK     AD        Attention to KRomer issues (.4), emails with N           1.20      1025.00          $1,230.00
                                Hong re Kromer bid and docs re same, review docs,
                                prep chart re Kromer agreements (.5), review asset
                                list re equipment, emails with Kromer counsel (.3)

 02/19/2023   PJK     AD        Emails with PSZJ team re bid info and bid prep (.2),     0.50      1025.00           $512.50
                                attention to issues re same (.3)

 02/20/2023   DMB     AD        Further review TSA re buyer question                     0.30      1450.00           $435.00

 02/20/2023   DMB     AD        Work on prep for bidding analysis/sale issues            1.20      1450.00          $1,740.00

 02/20/2023   DMB     AD        Corr with client, bidder re TSA                          0.20      1450.00           $290.00

 02/20/2023   DMB     AD        Corr with N Hong re APA schedules issues                 0.20      1450.00           $290.00

 02/20/2023   DMB     AD        Review proposed bidding procedures revision              0.20      1450.00           $290.00

 02/20/2023   DMB     AD        Call with client re BP revision proposal from lender     0.30      1450.00           $435.00

 02/20/2023   DMB     AD        Call with JMF re sale issues                             0.10      1450.00           $145.00

 02/20/2023   DMB     AD        Call with client re bidder issues                        0.20      1450.00           $290.00

 02/20/2023   DMB     AD        Review TSA re bidder question                            0.30      1450.00           $435.00

 02/20/2023   JMF     AD        Review draft schedules to APA.                           0.70      1275.00           $892.50

 02/20/2023   JMF     AD        Review bid procedures and issues re IP adjustment        0.60      1275.00           $765.00
                                (.5); telephone call with D. Bertenthal re same (.1).

 02/20/2023   JMF     AD        Review main asset APA.                                   0.60      1275.00           $765.00

 02/20/2023   PJK     AD        Review Enterprise agreement issues, emails with          0.30      1025.00           $307.50
                                TPC re same

 02/20/2023   PJK     AD        Calls and emails wtih DMB re bid issues (.4), emails     1.40      1025.00          $1,435.00
                                with client and T Murphy re same (.2), attention to
                                various bid procedures issues for upcoming
                                deadlines and bidding logistics (.8)

 02/21/2023   DMB     AD        Follow up call with potential bidder counsel             0.20      1450.00           $290.00
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 02/21/2023   DMB     AD        Work on responses re bidder issues                     0.80      1450.00          $1,160.00

 02/21/2023   DMB     AD        Corr to N Hong re Kromer schedules                     0.10      1450.00           $145.00

 02/21/2023   DMB     AD        Corr with client re NY bid                             0.20      1450.00           $290.00

 02/21/2023   DMB     AD        Review materials from GigStreem                        0.50      1450.00           $725.00

 02/21/2023   DMB     AD        Call with bidder counsel                               0.50      1450.00           $725.00

 02/21/2023   DMB     AD        Call with Kromer counsel                               0.30      1450.00           $435.00

 02/21/2023   DMB     AD        Review other assets APA                                0.60      1450.00           $870.00

 02/21/2023   DMB     AD        Review CPO issues                                      0.30      1450.00           $435.00

 02/21/2023   JMF     AD        Review other assets APA re TSA and collateral          1.80      1275.00          $2,295.00
                                documents (1.5) and internal emails re issues re
                                same (.3).

 02/21/2023   JMF     AD        Review East Cobb objection (.3) and sale motion re     0.70      1275.00           $892.50
                                cure issues (.4).

 02/21/2023   JMF     AD        Review dataroom documents and sale decks re asset      1.60      1275.00          $2,040.00
                                sales.

 02/21/2023   TPC     AD        Correspond with multiple property owners re: work      1.30      1125.00          $1,462.50
                                to resolve various cure objections prior to auction

 02/21/2023   TPC     AD        Review documents and data related to Kromer cure       1.80      1125.00          $2,025.00
                                objection

 02/21/2023   TPC     AD        Further correspondence with property owners re:        0.40      1125.00           $450.00
                                cure issues

 02/21/2023   PJK     AD        Calls with DMB re sale issues                          0.50      1025.00           $512.50

 02/21/2023   PJK     AD        Call with bidder counsel and R Branning re             0.80      1025.00           $820.00
                                operational questions

 02/21/2023   PJK     AD        Review signed bidder NDA, emails with T Murphy         0.20      1025.00           $205.00
                                and client re same

 02/21/2023   PJK     AD        Review East Cobb objection, emails with A Price re     0.40      1025.00           $410.00
                                agreement and review same

 02/21/2023   PJK     AD        Research re Kromer issues and other assets             0.80      1025.00           $820.00
                                APA/schedules draft (.4), emails with PSZJ team re
                                various issues re same (.4)

 02/21/2023   PJK     AD        Emails with Kromer counsel re bid info                 0.20      1025.00           $205.00

 02/21/2023   PJK     AD        Review Kromer cure info, email to TPC re update        0.30      1025.00           $307.50
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 02/21/2023   PJK     AD        Review and respond to bidder information/due              0.50      1025.00           $512.50
                                diligence inquiries re bids

 02/21/2023   PJK     AD        Review preliminary info re bid package from               0.40      1025.00           $410.00
                                Polsinelli

 02/21/2023   PJK     AD        Various emails from PSZJ team re APA and sale             0.50      1025.00           $512.50
                                issues

 02/22/2023   DJB     AD        Conference call with D Bertenthal re Costa Rica bid       0.80      1645.00          $1,316.00
                                (.2); conference call with CR counsel re sale
                                transaction (.2); Conference call with D Bertenthal
                                re potential CR subsidiary sale structure (.2); E-mail
                                to R Branning re due diligence request re CR sub
                                (.2).

 02/22/2023   DJB     AD        Review status of bid reviews.                             0.30      1645.00           $493.50

 02/22/2023   DMB     AD        Further review materials re other assets bids             0.50      1450.00           $725.00

 02/22/2023   DMB     AD        Internal calls re sale issues, bidding                    0.40      1450.00           $580.00

 02/22/2023   DMB     AD        Work on sale issues, bidder information requests          0.80      1450.00          $1,160.00

 02/22/2023   DMB     AD        Corr with bidder, client re Costa Rica                    0.30      1450.00           $435.00

 02/22/2023   DMB     AD        Corr from Wearsch, P Keane re CPO                         0.20      1450.00           $290.00

 02/22/2023   DMB     AD        Review/analysis re other assets bids                      1.20      1450.00          $1,740.00

 02/22/2023   DMB     AD        Calls with client re other asset bids                     0.50      1450.00           $725.00

 02/22/2023   DMB     AD        Call with bidder re sale issues                           0.20      1450.00           $290.00

 02/22/2023   DMB     AD        Call with DJB re Costa Rica                               0.20      1450.00           $290.00

 02/22/2023   LDJ     AD        Teleconference with PSZJ re: sale issues                  0.50      1745.00           $872.50

 02/22/2023   LDJ     AD        Review sale issues, bid issues, preparation for           2.00      1745.00          $3,490.00
                                auction

 02/22/2023   MFC     AD        Review other assets bids received.                        0.20      1350.00           $270.00

 02/22/2023   MFC     AD        Emails with group regarding bids received.                0.20      1350.00           $270.00

 02/22/2023   JMF     AD        Review Lincoln and Reno bid packages and APA              4.30      1275.00          $5,482.50
                                and analyze changes re same (2.2) review main APA
                                (1.3) and multiple telephone calls with D. Bertenthal
                                re issues re same (.8).

 02/22/2023   JMF     AD        Review open issues re CPO and information                 0.40      1275.00           $510.00
                                requests re same.
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 02/22/2023   JMF     AD        Review diligence request and issues re Costa Rica         0.40      1275.00           $510.00
                                sale.

 02/22/2023   JMF     AD        Review schedules to other non core asset sales.           0.50      1275.00           $637.50

 02/22/2023   TPC     AD        Review cure objection and investigate issues related      2.20      1125.00          $2,475.00
                                to same

 02/22/2023   TPC     AD        Draft summary of cure issues                              1.10      1125.00          $1,237.50

 02/22/2023   PJK     AD        Research re various bidder and sale issues (1.8),         2.70      1025.00          $2,767.50
                                emails with DMB re various responses to open
                                bidding issues (.5), emails with bidders counsel re
                                issues (.4)

 02/22/2023   PJK     AD        Research re MSA issues re sale                            0.50      1025.00           $512.50

 02/22/2023   PJK     AD        Emails with DMB re CPO                                    0.20      1025.00           $205.00

 02/22/2023   PJK     AD        Emails with client and CPO re update call (.3), call      1.90      1025.00          $1,947.50
                                with CPO re update (.3), attention to CPO issues
                                (.5), emails with DMB re SH issues on CPO,
                                research re CPO issues (.8)

 02/23/2023   DJB     AD        Scheduling for internal conference call re bids.          0.10      1645.00           $164.50

 02/23/2023   DJB     AD        Group call re bids.                                       0.90      1645.00          $1,480.50

 02/23/2023   DJB     AD        Respond to Costa Rica counsel re authority to speak.      0.30      1645.00           $493.50

 02/23/2023   DJB     AD        Interoffice conference with N Hong re small asset         0.30      1645.00           $493.50
                                sale transactions.

 02/23/2023   DJB     AD        Telephone conference with Costa Rica counsel re           0.30      1645.00           $493.50
                                structure and timing of sale of Costa Rica subsidiary.

 02/23/2023   DJB     AD        Interoffice conferences with D Bertenthal re buyer        0.30      1645.00           $493.50
                                schedule requests.

 02/23/2023   DMB     AD        Prep for client call re bids                              0.30      1450.00           $435.00

 02/23/2023   DMB     AD        Attend client call re bid issues                          1.00      1450.00          $1,450.00

 02/23/2023   DMB     AD        Work on bidder disclosure schedules issues                1.10      1450.00          $1,595.00

 02/23/2023   DMB     AD        Work on responses to bidder info requests                 0.70      1450.00          $1,015.00

 02/23/2023   DMB     AD        Work on potential other assets sale                       0.50      1450.00           $725.00

 02/23/2023   DMB     AD        Corr with N Hong re disclosure schedules                  0.30      1450.00           $435.00

 02/23/2023   DMB     AD        Corr with client re bidder issues                         0.20      1450.00           $290.00

 02/23/2023   DMB     AD        Corr re Costa Rica issues                                 0.30      1450.00           $435.00
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 02/23/2023   DMB     AD        Review/analysis re sale objections                        0.90      1450.00          $1,305.00

 02/23/2023   DMB     AD        Calls with client re sale issues                          0.50      1450.00           $725.00

 02/23/2023   DMB     AD        Review sale papers re bidder questions                    0.60      1450.00           $870.00

 02/23/2023   DMB     AD        Call with Barings counsel re bid issues                   0.20      1450.00           $290.00

 02/23/2023   DMB     AD        Call with DJB re Costa Rica                               0.20      1450.00           $290.00

 02/23/2023   LDJ     AD        Teleconference with client, PSZJ re: sale                 1.00      1745.00          $1,745.00

 02/23/2023   LDJ     AD        Continued work on sale issues, objections, bidders'       2.50      1745.00          $4,362.50
                                issues

 02/23/2023   LDJ     AD        Additional call with client, PSZJ re: sale issues         0.50      1745.00           $872.50

 02/23/2023   PJJ     AD        Prepare notice of successful bidder for stalking horse    1.00        545.00          $545.00
                                assets (.5) and other assets (.5).

 02/23/2023   MFC     AD        Review cure notices filed.                                0.20      1350.00           $270.00

 02/23/2023   MBL     AD        Emails with team re sale status.                          0.10      1445.00           $144.50

 02/23/2023   JMF     AD        Telephone call with D. Bertenthal, N. Hong, P.            4.40      1275.00          $5,610.00
                                Keane, R. Branning and T. Murphy re sale/auction
                                issues (1.0); review and draft Reno APA comparison
                                (2.2); review Costa Rican documents re potential
                                bidder diligence request (1.2).

 02/23/2023   JMF     AD        Review issues re assumed contracts and asserted           0.80      1275.00          $1,020.00
                                breaches of same.

 02/23/2023   JMF     AD        Review draft schedules re stalking horse potential        1.30      1275.00          $1,657.50
                                competing bid.

 02/23/2023   TPC     AD        Multiple items of correspondence with                     1.40      1125.00          $1,575.00
                                counterparties re: resolution of cure issues

 02/23/2023   PJK     AD        Emails with Kroll re affidavits (.2) attention to sale    0.70      1025.00           $717.50
                                issues re service (.5)

 02/23/2023   PJK     AD        Status call with PSZJ team (.3), research re sale         0.50      1025.00           $512.50
                                notice and auction issues (.2)

 02/23/2023   PJK     AD        Review filed objections to sale / cure objections,        1.60      1025.00          $1,640.00
                                research re same, emails with PSZJ team re same

 02/23/2023   PJK     AD        Research re auction issues and sale issues, emails        1.20      1025.00          $1,230.00
                                with DMB re same

 02/23/2023   PJK     AD        Various calls with DMB re auction and bidding             0.80      1025.00           $820.00
                                issues
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 02/23/2023   PJK     AD        Review other assets bid info, research re same,        1.40      1025.00          $1,435.00
                                emails with DMB re same, emails with LDJ re same

 02/23/2023   PJK     AD        Review Skywire bidder info (.4), emails with PSZJ      1.60      1025.00          $1,640.00
                                team re same (.4), emails with client re same (.3),
                                research sale and bid issues (.5)

 02/23/2023   PJK     AD        Research re Kromer issues, emails with PSZJ team       0.60      1025.00           $615.00
                                re same

 02/23/2023   PJK     AD        Review CPO report, emails with PSZJ team and           0.80      1025.00           $820.00
                                client re same, research issues re same

 02/23/2023   PJK     AD        Research re sale related notices, emails with P        0.50      1025.00           $512.50
                                Jeffries re same

 02/23/2023   PJK     AD        Further edits to DP settlement agreement, email to     0.50      1025.00           $512.50
                                DMB re same

 02/23/2023   PJK     AD        Assist with sale diligence issues, emails with PSZJ    0.40      1025.00           $410.00
                                team and client re same

 02/24/2023   DJB     AD        Review status of matter.                               0.30      1645.00           $493.50

 02/24/2023   DJB     AD        Review and comment on Hotwire bill of sale (.3);       2.90      1645.00          $4,770.50
                                Review and comment on Hotwire assignment and
                                assumption (.4); Participate in internal conference
                                call re bids (.5); Review and comment on Hotwire
                                APA (1.7).

 02/24/2023   DMB     AD        Initial review/comment re competing stalking horse     1.80      1450.00          $2,610.00
                                bid

 02/24/2023   DMB     AD        Initial review/comment re second competing             2.30      1450.00          $3,335.00
                                stalking horse bid

 02/24/2023   DMB     AD        Prep for internal team call re sale issues             0.40      1450.00           $580.00

 02/24/2023   DMB     AD        Internal team call re sale issues                      0.60      1450.00           $870.00

 02/24/2023   DMB     AD        Client call re sale issues                             0.30      1450.00           $435.00

 02/24/2023   DMB     AD        Further review/analysis re bids received               2.10      1450.00          $3,045.00

 02/24/2023   DMB     AD        Corr with stalking horse re bids                       0.20      1450.00           $290.00

 02/24/2023   DMB     AD        Corr with client re sale issues                        0.30      1450.00           $435.00

 02/24/2023   DMB     AD        Review/analysis re filed sale objections               1.30      1450.00          $1,885.00

 02/24/2023   DMB     AD        Call with R Branning re sale issues                    0.20      1450.00           $290.00

 02/24/2023   DMB     AD        Call with bidder counsel                               0.10      1450.00           $145.00
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 02/24/2023   DMB     AD        Call with LDJ re sale issues                               0.20      1450.00           $290.00

 02/24/2023   LDJ     AD        Review bids                                                2.00      1745.00          $3,490.00

 02/24/2023   LDJ     AD        Teleconference with PSZJ re: sale                          0.60      1745.00          $1,047.00

 02/24/2023   MFC     AD        Review additional cure objections filed.                   0.10      1350.00           $135.00

 02/24/2023   MFC     AD        Group call regarding bids received.                        0.50      1350.00           $675.00

 02/24/2023   JMF     AD        Review and markup core and non core APAs (3.7);            4.10      1275.00          $5,227.50
                                multiple telephone calls with D. Bertenthal re same
                                (.4).

 02/24/2023   JMF     AD        Telephone call with L. Jones, D. Bertenthal, P.            0.50      1275.00           $637.50
                                Keane, N. Hong re APA markups and sale issues.

 02/24/2023   JMF     AD        Review bid procedures re requirements on non core          0.70      1275.00           $892.50
                                and main asset sales.

 02/24/2023   JMF     AD        Review CPO report and issues re sale order.                0.80      1275.00          $1,020.00

 02/24/2023   JMF     AD        Review TSA documents and bid packages.                     1.20      1275.00          $1,530.00

 02/24/2023   JMF     AD        Review sale orders re stalking horse assets.               0.80      1275.00          $1,020.00

 02/24/2023   TPC     AD        Teleconferences with team re: cure issues related to       1.20      1125.00          $1,350.00
                                sales

 02/24/2023   TPC     AD        Correspond with counterparties re: cure issues             1.50      1125.00          $1,687.50

 02/24/2023   TPC     AD        Review cure objections filed (1.6) and draft               2.40      1125.00          $2,700.00
                                summary for client (0.8)

 02/24/2023   TPC     AD        Additional research and analysis related to cure           1.70      1125.00          $1,912.50
                                objections

 02/24/2023   TPC     AD        Teleconference with team re: auction preparations          0.80      1125.00           $900.00

 02/24/2023   PJK     AD        Call with client and PSZJ team re Dodd and sale            0.30      1025.00           $307.50
                                objection issues

 02/24/2023   PJK     AD        Emails with DMB re CPO report, email to bidders re         1.10      1025.00          $1,127.50
                                same (.3), research re CPO sale order issues and
                                prep sale order language (.8)

 02/24/2023   PJK     AD        Call with PSZJ team re bids                                0.70      1025.00           $717.50

 02/24/2023   PJK     AD        Review bid packages and analyze issues re same             4.30      1025.00          $4,407.50
                                (3.2), various emails with PSZJ team re same (.5),
                                emails to consultation parties re bids (.3), calls with
                                DMB re same (.3)
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 02/24/2023   PJK     AD        Review markups to sale order re Skywire, emails           0.60      1025.00           $615.00
                                with PSZJ team re comments on same

 02/24/2023   PJK     AD        Emails with Jones Day re additional contract              0.20      1025.00           $205.00

 02/24/2023   PJK     AD        Review PSZJ team markups to bidder APAs and               0.40      1025.00           $410.00
                                issues re same

 02/25/2023   DJB     AD        Review and comment on Skywire APA and ancillary           3.50      1645.00          $5,757.50
                                agreements.

 02/25/2023   DJB     AD        Conference call with client re Hotwire and Skywire        2.30      1645.00          $3,783.50
                                TSAs; Forward Skywire TSA comments to client.

 02/25/2023   DJB     AD        Discuss schedule for turning around TSAs' provide         2.30      1645.00          $3,783.50
                                comments to Skywire and Giga Biter TSAs;
                                Forward to client.

 02/25/2023   DJB     AD        Forward draft TSAs to bidders.                            0.50      1645.00           $822.50

 02/25/2023   DMB     AD        Prep for client call re competing bids                    0.50      1450.00           $725.00

 02/25/2023   DMB     AD        Attend client call re competing bids                      2.00      1450.00          $2,900.00

 02/25/2023   DMB     AD        Further review/comment re bidder APA                      1.40      1450.00          $2,030.00

 02/25/2023   DMB     AD        Corr with client re bid issues                            0.30      1450.00           $435.00

 02/25/2023   DMB     AD        Corr with stalking horse re bids                          0.10      1450.00           $145.00

 02/25/2023   DMB     AD        Call with JMF re competing bids                           0.30      1450.00           $435.00

 02/25/2023   DMB     AD        Review/comment re revised bidder TSA                      0.80      1450.00          $1,160.00

 02/25/2023   DMB     AD        Review/comment re bidder proposed sale order              0.90      1450.00          $1,305.00

 02/25/2023   DMB     AD        Calls with LDJ re sale issues                             0.40      1450.00           $580.00

 02/25/2023   LDJ     AD        Teleconference with client, PSZJ re: bids                 2.00      1745.00          $3,490.00

 02/25/2023   LDJ     AD        Continued review of bids, open issues                     2.50      1745.00          $4,362.50

 02/25/2023   LDJ     AD        Teleconference with PSZJ re: auction preparation,         1.00      1745.00          $1,745.00
                                sale

 02/25/2023   JMF     AD        Telephone call with R. Branning, T. Murphy, D.           10.10      1275.00      $12,877.50
                                Bertenthal, L. Jones, D. Barton re markups to
                                competing bidder APAs (2.0); draft APA Markups
                                (5.8); review TSA and ancillary documents re
                                auction issues (1.7); multiple telephone calls with D.
                                Bertenthal re APA and TSA issues (.6).

 02/25/2023   TPC     AD        Teleconferences with team re: various auction             1.00      1125.00          $1,125.00
                                preparations
                    Case
                    Case 23-10051-JKS
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 02/25/2023   PJK     AD        Call with PSZJ team, T Murphy, client re SH bid          2.00      1025.00          $2,050.00
                                packages

 02/25/2023   PJK     AD        Prep email for notice re other assets bid packages       1.30      1025.00          $1,332.50
                                (.3), emails with PSZJ team re same (.3), emails with
                                client re same (.2), review other assets bid
                                documents (.3), emails to consultation parties re
                                same (.2)

 02/25/2023   PJK     AD        Review Gigabiter markup to sale order, emails with       0.40      1025.00           $410.00
                                PSZJ team re same, emails with CWT re same

 02/25/2023   PJK     AD        Emails with client and PSZJ team re Gigabiter            0.20      1025.00           $205.00
                                properties

 02/26/2023   DJB     AD        Conference call with client re status of bids.           0.30      1645.00           $493.50

 02/26/2023   DJB     AD        Transmit Word versions to Hotwire.                       0.30      1645.00           $493.50

 02/26/2023   DJB     AD        Telephone conference with Hotwire counsel re             0.70      1645.00          $1,151.50
                                comments to APA and TSA.

 02/26/2023   DJB     AD        Check TSA schedule; Telephone conference with R          0.50      1645.00           $822.50
                                Branning re same; E-mail to CWT re status; E-mail
                                to J Fried re same.

 02/26/2023   DMB     AD        Follow up Call with JMF re sale issues                   0.10      1450.00           $145.00

 02/26/2023   DMB     AD        Corr with stalking horse counsel re auction              0.30      1450.00           $435.00

 02/26/2023   DMB     AD        Corr with client re sale issues                          0.40      1450.00           $580.00

 02/26/2023   DMB     AD        Call with bidder counsel re auction                      0.30      1450.00           $435.00

 02/26/2023   DMB     AD        Call with client re sale issues                          0.30      1450.00           $435.00

 02/26/2023   DMB     AD        Call with bidder re APA issues                           0.70      1450.00          $1,015.00

 02/26/2023   DMB     AD        Call with JMF re sale issues                             0.10      1450.00           $145.00

 02/26/2023   DMB     AD        Call with LDJ re auction                                 0.20      1450.00           $290.00

 02/26/2023   DMB     AD        Call with P Keane re BP issues                           0.10      1450.00           $145.00

 02/26/2023   DMB     AD        Review APA revisions re bidder issues                    0.80      1450.00          $1,160.00

 02/26/2023   DMB     AD        Review bidding procedures re auction/bid issues          0.50      1450.00           $725.00

 02/26/2023   DMB     AD        Review materials from client re sale issues              0.60      1450.00           $870.00

 02/26/2023   DMB     AD        Review further revised bid materials                     0.80      1450.00          $1,160.00

 02/26/2023   DMB     AD        Review research re sale issue                            0.40      1450.00           $580.00
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 02/26/2023   DMB     AD        Conf with LDJ re bid, sale issues                          1.00      1450.00          $1,450.00

 02/26/2023   LDJ     AD        Continued review of bids, open issues, preparation         3.90      1745.00          $6,805.50
                                for auction

 02/26/2023   LDJ     AD        Conference with David Bertenthal re: sale issues           1.00      1745.00          $1,745.00

 02/26/2023   LDJ     AD        Teleconference with PSZJ re: sale issues, next steps       1.00      1745.00          $1,745.00

 02/26/2023   LDJ     AD        Teleconference with Cadwalader, PSZJ re: bid               0.60      1745.00          $1,047.00
                                issues

 02/26/2023   JMF     AD        Multiple telephone calls with D. Bertenthal re APA         7.50      1275.00          $9,562.50
                                issues (.8); review competing bidder APAs (2.8);
                                telephone call with competing bidder D. Barton and
                                D. Bertenthal re open issues re APA (.5); telephone
                                call with D. Bertenthal and competing bidder re
                                APA issues (.3); review other assets bid procedures
                                and issues re miscellaneous asset sales (.8); review
                                sale order re competing bidder and emails re issues
                                re same (.9); research re sale issues (1.1) telephone
                                call with E. Cormier re same (.3).

 02/26/2023   TPC     AD        Teleconferences with team re: various auction              1.00      1125.00          $1,125.00
                                preparations

 02/26/2023   TPC     AD        Review and analysis of cure objections re: seek to         2.50      1125.00          $2,812.50
                                resolve cure issues in advance of auction

 02/26/2023   PJK     AD        Calls and emails with DMB re other assets bid              2.00      1025.00          $2,050.00
                                packages (.4), attention to various issues re same and
                                review other assets bids, research re same (1.2),
                                emails to consultation parties re other assets (.4)

 02/26/2023   PJK     AD        Begin drafting sale reply and declarations re sale,        0.80      1025.00           $820.00
                                research re same

 02/26/2023   PJK     AD        Call with CWT and PSZJ teams re bid and APA                0.60      1025.00           $615.00
                                docs

 02/26/2023   PJK     AD        Research re various bid procedures issues (1.6),           2.60      1025.00          $2,665.00
                                emails with DMB and PSZJ team re same (.5),
                                emails with client and T Murphy re same (.5)

 02/26/2023   PJK     AD        Review SH bid packages from other bidders,                 2.60      1025.00          $2,665.00
                                attention to issues re qualifying bids (1.8), markup to
                                Gigabiter sale order and review issues re same,
                                email to Gigabiter counsel re same (.8)

 02/26/2023   ECO     AD        Review e-mails from Joshua Fried/stalking horse            0.30        725.00          $217.50
                                counsel re issues with bidding/Debtor personnel.
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 02/26/2023   ECO     AD        Telephone conference with Joshua Fried re bid            0.20        725.00          $145.00
                                issues/research needed.

 02/26/2023   ECO     AD        Conduct legal research re authorities from Third         2.20        725.00         $1,595.00
                                Circuit and elsewhere on issues with asset sales,
                                bidding, and standard for obtaining a finding of good
                                faith in connection with the sale process.

 02/27/2023   DJB     AD        Conference call with Skywire re APA, TSA and             2.50      1645.00          $4,112.50
                                auction procedures (.3); Review Hotwire APA (.8);
                                Interoffice conference with D Bertenthal re same
                                (.2); Forward APA to R Branning (.2); Review TSA
                                (.8); Forward TSA to R Branning (.2).

 02/27/2023   DJB     AD        Forward Hotwire TSA to R Branning.                       0.20      1645.00           $329.00

 02/27/2023   DJB     AD        Interoffice conference with D Bertenthal re status.      0.30      1645.00           $493.50

 02/27/2023   DJB     AD        Revise APAs and TSAs (1.8); Conference calls with        4.50      1645.00          $7,402.50
                                R Branning re same (.4); Interoffice conferences
                                with D Bertenthal re same (.5); Forward core bid
                                documents (.5); Prepare for conference call with
                                Skywire (1.3).

 02/27/2023   DJB     AD        Telephone conference with Polsinelli re TSA (.3);        1.50      1645.00          $2,467.50
                                Revise TSA (1.0); Transmit TSA to team Polsinelli
                                (.2).

 02/27/2023   DJB     AD        Respond to J Fried re TSA schedules for bid              0.20      1645.00           $329.00
                                package.

 02/27/2023   DMB     AD        Work on revisions re SkyWire bid, finalizing same        3.40      1450.00          $4,930.00

 02/27/2023   DMB     AD        Work on GigaBiter bid, finalizing same                   3.50      1450.00          $5,075.00

 02/27/2023   DMB     AD        Internal team call re bid/auction status                 0.50      1450.00           $725.00

 02/27/2023   DMB     AD        Review/analysis re sale objections/response              3.30      1450.00          $4,785.00

 02/27/2023   DMB     AD        Calls with Polsinelli re SkyWire bid                     0.70      1450.00          $1,015.00

 02/27/2023   DMB     AD        Calls with GigaBiter counsel re bid                      0.50      1450.00           $725.00

 02/27/2023   DMB     AD        Calls with client re bid issues, status                  0.70      1450.00          $1,015.00

 02/27/2023   DMB     AD        Call with stalking horse counsel                         0.30      1450.00           $435.00

 02/27/2023   DMB     AD        Calls with consultation parties re bids                  0.50      1450.00           $725.00

 02/27/2023   LDJ     AD        Analyze and clarify bids in preparation for auction      5.50      1745.00          $9,597.50

 02/27/2023   LDJ     AD        Preparation for 2/28 auction                             2.80      1745.00          $4,886.00
                    Case
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 02/27/2023   LDJ     AD        Review sale order revisions, issues                       1.70      1745.00          $2,966.50

 02/27/2023   LDJ     AD        Teleconference with Polsinelli, PSZJ re: Skywire bid      0.70      1745.00          $1,221.50

 02/27/2023   LDJ     AD        Teleconference with Cadwalader, PSZJ re: bid              0.50      1745.00           $872.50

 02/27/2023   LDJ     AD        Teleconference with PSZJ re: bids, pending issues,        0.50      1745.00           $872.50
                                tasks

 02/27/2023   LDJ     AD        Teleconference with Committee counsel re: bids,           0.30      1745.00           $523.50
                                pending issues

 02/27/2023   JMF     AD        Review revisions and edits to APA, TSA and related        7.50      1275.00          $9,562.50
                                documents re qualified bids re preparation for
                                auction.

 02/27/2023   JMF     AD        Review declarations and sale orders re 3/1 hearing.       1.80      1275.00          $2,295.00

 02/27/2023   TPC     AD        Review correspondence/data/objections and work            2.80      1125.00          $3,150.00
                                with team re: analyze and respond to cure objections

 02/27/2023   TPC     AD        Review sale objection from Texas tax authorities          1.00      1125.00          $1,125.00
                                (0.6) and correspond re same (0.4)

 02/27/2023   TPC     AD        Revise and update cure issues summary                     0.90      1125.00          $1,012.50

 02/27/2023   TPC     AD        Various auction preparations                              1.30      1125.00          $1,462.50

 02/27/2023   TPC     AD        Draft reply to cure objections                            1.30      1125.00          $1,462.50

 02/27/2023   TPC     AD        Review reply to sale objections                           0.70      1125.00           $787.50

 02/27/2023   PJK     AD        Call with N Morin re sale issues for cure objections      0.20      1025.00           $205.00

 02/27/2023   PJK     AD        Review sale order form and research issues re same        1.40      1025.00          $1,435.00
                                (.5), emails with PSZJ team re same (.3), attention to
                                sale order issues for auction and bidders, review
                                bidder mark ups to sale order (.6)

 02/27/2023   PJK     AD        Emails with client re Cigna, emails with Cigna            0.40      1025.00           $410.00
                                counsel re same, attention to issues re Cigna and sale
                                order language to address objection

 02/27/2023   PJK     AD        Call with CPO re CPO report, attention to issues re       0.70      1025.00           $717.50
                                same, emails with client re same, markup to sale
                                order

 02/27/2023   PJK     AD        Research and draft reply in support of sale (2.0),        2.20      1025.00          $2,255.00
                                email to PSZJ team re same (.2)

 02/27/2023   PJK     AD        Emails with E Corma re motion for leave re late           0.20      1025.00           $205.00
                                reply for sale
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 02/27/2023   PJK     AD        Call with Polsinelli team re bid                           0.30      1025.00           $307.50

 02/27/2023   PJK     AD        Call with Jones Day re bid issues                          0.30      1025.00           $307.50

 02/27/2023   PJK     AD        Call with Polsinelli and PSZJ team re bid documents        0.50      1025.00           $512.50

 02/27/2023   PJK     AD        Prep for auction                                           3.50      1025.00          $3,587.50

 02/27/2023   PJK     AD        Review finalized qualified bid documents,                  2.40      1025.00          $2,460.00
                                coordinate same for delivery (1.2), various emails
                                with PSZJ team re same (.6) calls with DMB re
                                same (.3), emails to qualified bidders re same (.3)

 02/27/2023   PJK     AD        Draft sale declarations for R Branning and T               1.00      1025.00          $1,025.00
                                Murphy, email to PSZJ team

 02/27/2023   PJK     AD        Call with N Morin re AA to counterparties, email to        0.30      1025.00           $307.50
                                PSZJ team re same, attention to issues re same

 02/27/2023   ECO     AD        Preparation of research memo summarizing                   3.10        725.00         $2,247.50
                                applicable case law relating to asset sales and "good
                                faith" findings in connection with such sales.

 02/27/2023   ECO     AD        Prepare e-mail to Laura Davis Jones and Joshua             0.10        725.00           $72.50
                                Fried forwarding memo on stalking horse/good faith
                                issues.

 02/27/2023   ECO     AD        E-mails with Peter Keane re sale motion                    0.10        725.00           $72.50
                                reply/deadline.

 02/28/2023   DJB     AD        Participate in auction; Revise APAs for bidders;          15.10      1645.00      $24,839.50
                                Review APAs and TSAs for outstanding issues.

 02/28/2023   DMB     AD        Prepare for auction                                        1.80      1450.00          $2,610.00

 02/28/2023   DMB     AD        Attend auction including numerous meetings with           13.30      1450.00      $19,285.00
                                parties in interest

 02/28/2023   DMB     AD        Post auction meetings with client, internal team           1.10      1450.00          $1,595.00

 02/28/2023   LDJ     AD        Final preparation for auction                              1.80      1745.00          $3,141.00

 02/28/2023   LDJ     AD        Attend auction, including negotiations, document          15.00      1745.00      $26,175.00
                                revisions

 02/28/2023   MFC     AD        Prepare witness and exhibit list for sale hearing (.3);    0.40      1350.00           $540.00
                                emails with TPC and PJK regarding same (.1).

 02/28/2023   MFC     AD        Review sale objections filed.                              0.10      1350.00           $135.00

 02/28/2023   MFC     AD        Finalize sale hearing witness list for filing and          0.10      1350.00           $135.00
                                emails regarding filing and service of same.
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 02/28/2023   JMF     AD        Review APA and TSA revisions in preparation for          16.60       1275.00      $21,165.00
                                competing bidder auction (2.6); attend auction
                                (14.0).

 02/28/2023   TPC     AD        Various items of correspondence with cure                  1.50      1125.00          $1,687.50
                                objections re: auction issues related to
                                assumption/assignment

 02/28/2023   TPC     AD        Attend auction (respond to numerous issues related       12.40       1125.00      $13,950.00
                                to assumption/assignment of contracts, cure issues,
                                negotiate with bidders and other interested parties,
                                etc.)

 02/28/2023   PJK     AD        Prep for auction                                           2.80      1025.00          $2,870.00

 02/28/2023   PJK     AD        Attend auction                                           14.00       1025.00      $14,350.00

 02/28/2023   ECO     AD        Preparation of motion for leave to file late reply in      1.30        725.00          $942.50
                                support of sale motion and proposed order.

 02/28/2023   ECO     AD        Prepare e-mail to Peter Keane forwarding motion for        0.10        725.00           $72.50
                                leave to file late reply.

 02/28/2023   IDD     AD        Assist with preparations for asset auction                0.90         545.00          $490.50

                                                                                         527.90                  $684,234.50

  Bankruptcy Litigation [L430]
 02/01/2023   DMB     BL        Prep for DirecPath call                                    0.30      1450.00           $435.00

 02/01/2023   DMB     BL        Follow up call with client re DirecPath                    0.20      1450.00           $290.00

 02/01/2023   DMB     BL        Internal call re committee issues                          0.20      1450.00           $290.00

 02/01/2023   DMB     BL        Corr with DirecPath counsel                                0.20      1450.00           $290.00

 02/01/2023   DMB     BL        Corr with client re UCC diligence                          0.30      1450.00           $435.00

 02/01/2023   DMB     BL        Call with DirecPath and Barings counsel                    0.50      1450.00           $725.00

 02/01/2023   LDJ     BL        Review Committee diligence open issues, tasks              0.60      1745.00          $1,047.00

 02/01/2023   TPC     BL        Review UCC diligence requests (0.5), review data           1.70      1125.00          $1,912.50
                                room (0.4), multiple discussions with client (0.8) re:
                                respond to UCC document requests;

 02/01/2023   TPC     BL        Correspond with team re: issues related to UCC             0.70      1125.00           $787.50
                                document requests

 02/01/2023   TPC     BL        Revise first day final orders                              2.40      1125.00          $2,700.00

 02/01/2023   TPC     BL        Correspond with client and UCC re: comments to            0.40       1125.00           $450.00
                    Case
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                                first day final orders

 02/01/2023   TPC     BL        Work with client re: respond to UCC document           0.80      1125.00           $900.00
                                requests

 02/01/2023   TPC     BL        Teleconference with team re: prepare for upcoming      0.40      1125.00           $450.00
                                hearing

 02/01/2023   PJK     BL        Emails with MBL re Regions issues                      0.20      1025.00           $205.00

 02/01/2023   PJK     BL        Review Lumen issues, email from R Branning re          0.30      1025.00           $307.50
                                same

 02/01/2023   PJK     BL        Emails from DMB and client re DIRECPATH issues         0.20      1025.00           $205.00

 02/01/2023   IDD     BL        Draft agenda for hearing on 2/7/2023                   0.40        545.00          $218.00

 02/01/2023   IDD     BL        Draft agenda for hearing on 2/7/2023                   0.60        545.00          $327.00

 02/02/2023   KSN     BL        Prepare hearing binders for 2/7/23 hearing.            0.50        425.00          $212.50

 02/02/2023   TPC     BL        Review initial documents produced to UCC               1.50      1125.00          $1,687.50

 02/02/2023   TPC     BL        Correspond with company and team (0.6) and             1.40      1125.00          $1,575.00
                                review data from previous correspondence (0.8) re:
                                respond to various comments/inquiries related to
                                final first day orders

 02/02/2023   TPC     BL        Various correspondence with company re: respond        1.30      1125.00          $1,462.50
                                to UCC information requests

 02/02/2023   TPC     BL        Correspond with court re: preparations for upcoming    0.10      1125.00           $112.50
                                hearing

 02/02/2023   TPC     BL        Work with team re: revisions and status updates for    0.70      1125.00           $787.50
                                agenda

 02/02/2023   TPC     BL        Further revisions to Orders for upcoming hearing       1.10      1125.00          $1,237.50

 02/02/2023   PJK     BL        Emails with PSZJ team re docs for UCC, email to        0.70      1025.00           $717.50
                                UCC counsel (.3), further emails with PSZJ team re
                                schedules for UCC and issues re same (.3),
                                additional email to UCC counsel re same (.1)

 02/02/2023   IDD     BL        Revise agenda for hearing on 2/7/2023 per attorney     0.20        545.00          $109.00
                                comments (.2)

 02/03/2023   DMB     BL        Initial review re UST, UCC objections                  0.80      1450.00          $1,160.00

 02/03/2023   PEC     BL        Review 2/6/23 Hearing Binders                          0.20        545.00          $109.00

 02/03/2023   CJB     BL        Prepare hearing binders for hearing on 2/7/23.         0.10        425.00           $42.50

 02/03/2023   KSN     BL        Prepare hearing binder for 2/7/23 hearing.             0.30        425.00          $127.50
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          318-1 Filed
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                                                       07/13/23
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 02/03/2023   TPC     BL        Review agenda for filing                                 0.30      1125.00           $337.50

 02/03/2023   TPC     BL        Correspond with team re: amended agenda                  0.30      1125.00           $337.50

 02/03/2023   PJK     BL        Review UCC comments re debtor-UCC NDA,                   0.40      1025.00           $410.00
                                emails with PSZJ team re same

 02/03/2023   IDD     BL        File agenda for hearing on 2/7/2023 (.2); draft          0.80        545.00          $436.00
                                amended agenda for hearing on 2/7/2023 (.3); file
                                same with the Court (.2); arrange for service of both
                                on required parties (.1)

 02/04/2023   DMB     BL        Corr with Direcpath counsel                              0.20      1450.00           $290.00

 02/04/2023   DMB     BL        Corr with client re Direcpath                            0.20      1450.00           $290.00

 02/04/2023   PJK     BL        Emails with PSZJ team re logistics for 2/7 hearing       0.20      1025.00           $205.00

 02/04/2023   PJK     BL        Draft W/E list, emails with MBL re same                  0.30      1025.00           $307.50

 02/05/2023   DMB     BL        Review responses re UCC issues list                      0.40      1450.00           $580.00

 02/05/2023   LDJ     BL        Preparation for 2/7 hearing                              3.50      1745.00          $6,107.50

 02/05/2023   LDJ     BL        Review docket, critical dates memo                       0.50      1745.00           $872.50

 02/05/2023   MFC     BL        Review chambers procedures re hearing (.1); emails       0.20      1350.00           $270.00
                                with TPC regarding same (.1).

 02/05/2023   TPC     BL        Correspond with team re: issues related to amended       0.50      1125.00           $562.50
                                agenda

 02/05/2023   PJK     BL        Edits to W/E list, emails with MBL re same               0.20      1025.00           $205.00

 02/06/2023   DMB     BL        Follow up call with LDJ re UCC issues                    0.20      1450.00           $290.00

 02/06/2023   DMB     BL        Call with UCC re DIP, sale issues                        1.10      1450.00          $1,595.00

 02/06/2023   DMB     BL        Calls to/from client re hearing issues                   0.30      1450.00           $435.00

 02/06/2023   DMB     BL        Review materials re hearing prep                         1.40      1450.00          $2,030.00

 02/06/2023   LDJ     BL        Teleconference with David Bertenthal re: pending         0.20      1745.00           $349.00
                                case issues

 02/06/2023   LDJ     BL        Preparation, negotiations re: 2/7 hearing                2.00      1745.00          $3,490.00

 02/06/2023   MFC     BL        Prepare 3rd amended agenda (.2); emails with D.          0.30      1350.00           $405.00
                                Potts regarding filing and service of same and emails
                                with file room regarding updates to hearing binders
                                (.1).

 02/06/2023   MFC     BL        Attention to agenda, binders and Zoom registrations.     0.20      1350.00           $270.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          318-1 Filed
                                                   Filed
                                                       07/13/23
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                                                                                         Hours           Rate        Amount

 02/06/2023   KSN     BL        Prepare hearing binders for 2//7/23 hearing.              0.30        425.00          $127.50

 02/06/2023   TPC     BL        Revise and edit agenda                                    0.40      1125.00           $450.00

 02/06/2023   PJK     BL        Attention to CPO issues, emails with DMB re same          0.40      1025.00           $410.00

 02/06/2023   PJK     BL        Review motion for leave re late reply, edits to same,     0.30      1025.00           $307.50
                                emails with PSZJ team re same

 02/06/2023   PJK     BL        Emails with TPC re 2/7 agenda updates                     0.20      1025.00           $205.00

 02/06/2023   PJK     BL        Emails with I Densmore re various filings                 0.30      1025.00           $307.50

 02/06/2023   MFC     BL        Emails regarding response to Committee issues list.       0.10      1350.00           $135.00

 02/07/2023   DMB     BL        Prep for hearing                                          0.80      1450.00          $1,160.00

 02/07/2023   DMB     BL        Attend hearing                                            2.50      1450.00          $3,625.00

 02/07/2023   DMB     BL        Corr with E Brady, R Palacio re DirecPath                 0.30      1450.00           $435.00

 02/07/2023   DMB     BL        Call with client, UCC re sale, case issues                0.50      1450.00           $725.00

 02/07/2023   DMB     BL        Call with client re DirecPath                             0.20      1450.00           $290.00

 02/07/2023   DMB     BL        Call with e Brady re DirecPath                            0.10      1450.00           $145.00

 02/07/2023   DMB     BL        Call with R Palacio re DirecPath                          0.20      1450.00           $290.00

 02/07/2023   LDJ     BL        Attend 2/7 hearing                                        2.50      1745.00          $4,362.50

 02/07/2023   LDJ     BL        Final preparation, discussions re: 2/7 hearing            2.50      1745.00          $4,362.50

 02/07/2023   MFC     BL        Review docket for objections to first day orders (.1);    0.20      1350.00           $270.00
                                emails with TPC regarding final orders on same (.1).

 02/07/2023   MFC     BL        Prepare final orders for first day motions.               1.70      1350.00          $2,295.00

 02/07/2023   MFC     BL        Emails with ID regarding COCs for first day orders.       0.10      1350.00           $135.00

 02/07/2023   MFC     BL        Review and edit draft COCs and CNOs for first day         1.40      1350.00          $1,890.00
                                orders (.9); emails with ID regarding same (.3);
                                emails with D. Potts re filing and service of same
                                (.2).

 02/07/2023   ARP     BL        Prepare hearing and virtual notebook updates for          0.20        425.00           $85.00
                                2-7-23.

 02/07/2023   TPC     BL        Correspond with team re: various issues related to        0.40      1125.00           $450.00
                                revise final first day orders

 02/08/2023   DMB     BL        Corr with client re DirecPath                             0.10      1450.00           $145.00

 02/08/2023   LDJ     BL        Correspondence with PSZJ re: upcoming hearing,            0.20      1745.00           $349.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          318-1 Filed
                                                   Filed
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                                                                                         Hours           Rate        Amount
                                scheduling

 02/08/2023   MFC     BL        FInalize additional first day final orders and COCs       0.20      1350.00           $270.00

 02/08/2023   MFC     BL        Emails to/from chambers regarding Zoom link for           0.10      1350.00           $135.00
                                agenda.

 02/08/2023   MFC     BL        Emails with group regarding second day hearing            0.30      1350.00           $405.00
                                changes, open issues and timing.

 02/08/2023   MFC     BL        Emails with group regarding second day hearing            0.20      1350.00           $270.00
                                issues.

 02/08/2023   MFC     BL        Call with chambers regarding 3/14 and 3/22                0.10      1350.00           $135.00
                                hearings.

 02/08/2023   MFC     BL        Respond to chambers Regarding COCs and CNOs.              0.40      1350.00           $540.00

 02/08/2023   MFC     BL        Review and edit draft agenda.                             0.30      1350.00           $405.00

 02/08/2023   CJB     BL        Prepare hearing binders for hearing on 2/13/23.           0.60        425.00          $255.00

 02/08/2023   KSN     BL        Prepare hearing binders for 2/13/23 hearing.              0.80        425.00          $340.00

 02/08/2023   TPC     BL        Further revisions to final orders on first day motions    0.50      1125.00           $562.50

 02/08/2023   PJK     BL        Emails with PSZJ team re scheduling                       0.20      1025.00           $205.00

 02/08/2023   IDD     BL        Draft agenda for hearing on 2/13/2023                     1.90        545.00         $1,035.50

 02/09/2023   ECO     BL        E-mails with Peter Keane re issues with surety            0.20        725.00          $145.00
                                bonds and cancellation.

 02/09/2023   ECO     BL        Conduct legal research re termination of surety           1.50        725.00         $1,087.50
                                bonds after bankruptcy filing and effect of automatic
                                stay.

 02/09/2023   DMB     BL        Corr with client re DirecPath                             0.30      1450.00           $435.00

 02/09/2023   DMB     BL        Corr with DirecPath counsel                               0.20      1450.00           $290.00

 02/09/2023   DMB     BL        Corr to client re DirecPath                               0.10      1450.00           $145.00

 02/09/2023   DMB     BL        Call with DirecPath counsel                               0.30      1450.00           $435.00

 02/09/2023   DMB     BL        Call with Barings re Direcpath                            0.20      1450.00           $290.00

 02/09/2023   LDJ     BL        Review DirecPath issues, strategy                         0.80      1745.00          $1,396.00

 02/09/2023   MFC     BL        Call with TPC regarding wage motion and other first       0.20      1350.00           $270.00
                                day orders.

 02/09/2023   MFC     BL        Review revised agenda.                                    0.20      1350.00           $270.00

 02/09/2023   MFC     BL        Conference with ID regarding orders being entered         0.10      1350.00           $135.00
                    Case
                    Case 23-10051-JKS
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                                      Doc 441
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                                                   Filed
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                                                                                        Hours           Rate        Amount
                                and revisions to agenda.

 02/09/2023   MFC     BL        Emails with chambers and ID regarding cancellation       0.20      1350.00           $270.00
                                of hearing.

 02/09/2023   MFC     BL        Calls with ID regarding revised agenda and               0.20      1350.00           $270.00
                                cancellation of hearing.

 02/09/2023   CJB     BL        Prepare hearing binders for hearing on 2/13/23.          0.30        425.00          $127.50

 02/09/2023   ARP     BL        Prepare virtual and hearing notebook updates for         0.20        425.00           $85.00
                                2-9-23

 02/09/2023   KSN     BL        Prepare hearing binders for 2/13/23 hearing.             1.00        425.00          $425.00

 02/09/2023   TPC     BL        Correspond with team re: entry of final order for        0.40      1125.00           $450.00
                                first day motions

 02/09/2023   PJK     BL        Attention to interested parties service list issue,      0.20      1025.00           $205.00
                                emails with T Murphy and Kroll re same

 02/09/2023   PJK     BL        Research re surety bond issues (1.0), emails with        1.60      1025.00          $1,640.00
                                Novo re same and review info re same (.3), emails
                                with E Corma and DMB re additional research (.3)

 02/09/2023   PJK     BL        Emails with Kromer counsel re status call                0.20      1025.00           $205.00

 02/09/2023   PJK     BL        Emails from DMB and client re DirectPath                 0.20      1025.00           $205.00
                                settlement issues

 02/09/2023   IDD     BL        Revise agenda for hearing on 2/13/2023 (.4); file        0.70        545.00          $381.50
                                same with the Court (.2); arrange for service of same
                                on required parties (.1)

 02/09/2023   DMB     BL        Corr with P Keane re bond cancellation issues            0.20      1450.00           $290.00

 02/09/2023   DMB     BL        brief research re bond cancellation issues               0.50      1450.00           $725.00

 02/10/2023   ECO     BL        Continue to research issues relating to cancellation     2.60        725.00         $1,885.00
                                of surety bonds.

 02/10/2023   ECO     BL        Legal research/analysis of case law re cancellation      1.10        725.00          $797.50
                                of surety bonds.

 02/10/2023   DMB     BL        Work on potential DP settlement                          0.70      1450.00          $1,015.00

 02/10/2023   LDJ     BL        Correspondence with Peter Keane re: CPO, next            0.20      1745.00           $349.00
                                steps

 02/10/2023   LDJ     BL        Review CPO issues, tasks                                 0.80      1745.00          $1,396.00

 02/10/2023   PJK     BL        Draft letter re Frye issues re Lofts                     0.40      1025.00           $410.00

 02/10/2023   PJK     BL        Review correspondence and term sheets re                 1.50      1025.00          $1,537.50
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
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                                                                                       Hours           Rate        Amount
                                DIRECPATH settlement, begin preparing settlement
                                agreement (1.3), emails with DMB re same (.2)
 02/11/2023   ECO     BL        Preparation of research memo discussing legal           1.70        725.00         $1,232.50
                                issues with surety bonds/post-petition cancellation.

 02/11/2023   PJK     BL        Emails with PSZJ team, client, lender re CPO issues,    0.40      1025.00           $410.00
                                attention to same

 02/12/2023   ECO     BL        Continue to prepare research memo re surety             1.20        725.00          $870.00
                                bonds/automatic stay.

 02/12/2023   LDJ     BL        Review work in process, critical dates memo             0.50      1745.00           $872.50

 02/13/2023   ECO     BL        Review and analysis of Third Circuit case law           1.30        725.00          $942.50
                                regarding automatic stay/financial accommodation
                                contracts.

 02/13/2023   ECO     BL        Continue to prepare memo discussing issues with         3.90        725.00         $2,827.50
                                surety bond cancellation/issues regarding automatic
                                stay, property of the estate, and financial
                                accommodations.

 02/13/2023   DMB     BL        Further review/comment re DP agreement                  0.90      1450.00          $1,305.00

 02/13/2023   DMB     BL        Review/comment re draft revisions re DP agreement       0.40      1450.00           $580.00

 02/13/2023   DMB     BL        Call with Barings counsel re DirecPath                  0.20      1450.00           $290.00

 02/13/2023   LDJ     BL        Teleconference with David Bertenthal re: DirecPath,     0.30      1745.00           $523.50
                                open issues, strategy

 02/13/2023   PJK     BL        Draft cheat sheet of settlement terms, email to DMB     3.50      1025.00          $3,587.50
                                re same (.5), draft DirectPath settlement agreement
                                and research issues re same (2.8), email to DMB re
                                same (.2)

 02/13/2023   PJK     BL        Research re surety bond issues, emails with J Grall     0.30      1025.00           $307.50
                                re same

 02/14/2023   DMB     BL        Corr with DirecPath counsel                             0.10      1450.00           $145.00

 02/14/2023   DMB     BL        Review DirecPath materials                              0.60      1450.00           $870.00

 02/14/2023   PJK     BL        Revise DP settlement agreement and review DMB           1.60      1025.00          $1,640.00
                                comments (1.2), emails with DMB re same and call
                                with DMB re same (.2), email to R Branning re
                                same (.2)

 02/14/2023   PJK     BL        Call with UST, SH counsel, PSZJ team re CPO             1.50      1025.00          $1,537.50
                                issues (.3), attention to CPO issues (.4), revise
                                COC/order re CPO (.4), emails with PSZJ team re
                                same (.2), emails to client and Jones Day re same
                                (.2)
                    Case
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 02/14/2023   PJK     BL        Emails with TPC re hearing dates                         0.20      1025.00           $205.00

 02/14/2023   PJK     BL        Draft Frye letter, email to Novo re same                 0.50      1025.00           $512.50

 02/14/2023   PJK     BL        Further updates to draft DirectPath settlement           0.50      1025.00           $512.50
                                agreement, email to client re same

 02/15/2023   ECO     BL        E-mails with Peter Keane re research issues              0.20        725.00          $145.00
                                concerning surety bonds and the automatic stay.

 02/15/2023   ECO     BL        Continue to review case law and prepare research         3.20        725.00         $2,320.00
                                memo re canceling surety bonds/automatic stay.

 02/15/2023   ECO     BL        Prepare e-mail ton Peter Keane forwarding research       0.10        725.00           $72.50
                                memo re cancellation of surety bonds.

 02/15/2023   DMB     BL        Corr with P Keane re DirecPath                           0.20      1450.00           $290.00

 02/15/2023   DMB     BL        Corr from UCC counsel                                    0.10      1450.00           $145.00

 02/15/2023   DMB     BL        Review draft DirecPath agreement revisions               0.60      1450.00           $870.00

 02/15/2023   LDJ     BL        Teleconference with David Bertenthal re: DirectPath      0.10      1745.00           $174.50

 02/15/2023   TPC     BL        Correspond with UCC and team re: scheduling              0.20      1125.00           $225.00
                                issues

 02/15/2023   PJK     BL        Emails with Jones Day and client re CPO order,           0.60      1025.00           $615.00
                                emails with UST re same, attention to issues re
                                same, revise order per UST comments, finalize COC
                                and email to ID re filing of same

 02/15/2023   PJK     BL        Research re DirectPath settlement issues, emails         1.30      1025.00          $1,332.50
                                with DMB re same, revise draft settlement

 02/15/2023   PJK     BL        Further edits to DP settlement agreement (.3), email     0.60      1025.00           $615.00
                                to DP counsel and Barings counsel (.1), emails with
                                DMB and client re same (.2)

 02/15/2023   PJK     BL        Review initial research re surety bond issues, emails    0.60      1025.00           $615.00
                                with E Corma re same, emails with Novo re same,
                                emails with DMB re same

 02/15/2023   PJK     BL        Attention to Regions issues, emails with Regions         0.40      1025.00           $410.00
                                counsel re same, emails with J Grall re surety bonds

 02/15/2023   PJK     BL        Emails with Kroll re affidavits of service               0.20      1025.00           $205.00

 02/15/2023   PJK     BL        Draft 9019 motion re DP settlement, email to DMB         0.90      1025.00           $922.50
                                re same

 02/15/2023   IDD     BL        Draft Certification of Counsel with Proposed Order       0.60        545.00          $327.00
                                to schedule omnibus hearing (.3); file same with the
                    Case
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                                                                                            Hours           Rate        Amount
                                Court (.2); upload proposed Order to Judge's
                                Chambers for approval (.1)
 02/15/2023   IDD     BL        File Certification of Counsel re Proposed Order              0.30        545.00          $163.50
                                Directing Appointment of Consumer Privacy
                                Ombudsman with the Court (.2); upload proposed
                                Order to Judge's Chambers for approval (.1)

 02/15/2023   DMB     BL        Corr from client re surety bonds                             0.10      1450.00           $145.00

 02/16/2023   DMB     BL        Corr with client re DirecPath                                0.10      1450.00           $145.00

 02/16/2023   DMB     BL        Call with R Palacio re DirecPath                             0.40      1450.00           $580.00

 02/16/2023   DMB     BL        Review materials from R Palacio re DirecPath                 0.40      1450.00           $580.00

 02/16/2023   DMB     BL        Call with client re DirecPath                                0.20      1450.00           $290.00

 02/16/2023   LDJ     BL        Teleconference with David Bertenthal re: DirecPath           0.20      1745.00           $349.00

 02/16/2023   MFC     BL        Conference with ID regarding agenda and Zoom                 0.10      1350.00           $135.00
                                link.

 02/16/2023   MFC     BL        Review and edit draft agenda.                                0.20      1350.00           $270.00

 02/16/2023   KSN     BL        Prepare hearing binder for 2/22/23 hearing.                  0.50        425.00          $212.50

 02/16/2023   TPC     BL        Work with team re: hearing preparations                      0.30      1125.00           $337.50

 02/16/2023   TPC     BL        Review and comment on draft agenda                           0.30      1125.00           $337.50

 02/16/2023   PJK     BL        Emails with JKS chambers re CPO order, emails                0.20      1025.00           $205.00
                                with UST re same

 02/16/2023   PJK     BL        Draft letter to Suretec re surety bonds (.5), review         2.20      1025.00          $2,255.00
                                research re same from E Corma (.5), emails with
                                Novo re same (.4), emails with DMB re same (.2),
                                finalize Frye letter (.2), coordinate delivery of letters
                                (.2), attention to issues re same (.2)

 02/16/2023   PJK     BL        Call with client and DMB re Kromer issues (.2),              0.80      1025.00           $820.00
                                update redacted versions of Kromer info for data
                                room (.2), emails with client and PSZJ team re same
                                (.2), attention to issues re same

 02/16/2023   PJK     BL        Attention to CPO issues, emails with D Crapo re              0.40      1025.00           $410.00
                                same, coordinate call with CPO

 02/16/2023   PJK     BL        Emails with Kroll re service of orders                       0.20      1025.00           $205.00

 02/16/2023   PJK     BL        Review critical dates memo and docket (.2), emails           0.30      1025.00           $307.50
                                with T Fox re hearing dates (.1)

 02/16/2023   IDD     BL        Draft agenda for hearing on 2/22/2023                        0.60        545.00          $327.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          318-1 Filed
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                                                       07/13/23
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                                                                                        Hours           Rate        Amount

 02/16/2023   DMB     BL        Review research re bond cancellation issue               0.40      1450.00           $580.00

 02/17/2023   DMB     BL        Call to Barings counsel                                  0.10      1450.00           $145.00

 02/17/2023   DMB     BL        Review comments re draft DP agreement                    0.50      1450.00           $725.00

 02/17/2023   PEC     BL        Review 2/22/23 Hearing Binders                           0.20        545.00          $109.00

 02/17/2023   MFC     BL        Revise and finalize agenda and emails with ID            0.20      1350.00           $270.00
                                regarding same.

 02/17/2023   MFC     BL        Call with ID regarding need for amended agenda.          0.10      1350.00           $135.00

 02/17/2023   MFC     BL        Review and edit draft amended agenda.                    0.20      1350.00           $270.00

 02/17/2023   ARP     BL        Prepare notebook updates for hearing on 2/22/23.         0.10        425.00           $42.50

 02/17/2023   PJK     BL        Emails with Kroll and ID re address updates              0.20      1025.00           $205.00

 02/17/2023   PJK     BL        Emails with Regions counsel re open issues               0.30      1025.00           $307.50

 02/17/2023   PJK     BL        Call with CPO re privacy issues (.4), attention to       0.80      1025.00           $820.00
                                issues re same (.2), emails with D Crapo re same (.2)

 02/17/2023   IDD     BL        File Agenda for 2/22/2023 hearing with the Court         0.60        545.00          $327.00
                                (.2); arrange for service of same on required parties
                                (.1); forward same to Judge's Chambers (.1); draft
                                Amended Agenda for hearing on 2/22/2023 (.2)

 02/19/2023   DMB     BL        Follow up call with R Palacio re DirecPath               0.20      1450.00           $290.00

 02/19/2023   DMB     BL        Call with R Palacio re DirecPath                         0.20      1450.00           $290.00

 02/19/2023   DMB     BL        Call with TPC re potential DirecPath settlement          0.10      1450.00           $145.00

 02/19/2023   DMB     BL        Review/comment re revised DirecPath agreement            1.00      1450.00          $1,450.00

 02/19/2023   DMB     BL        Call with R Branning re DirecPath                        0.10      1450.00           $145.00

 02/19/2023   LDJ     BL        Review work in process, critical dates memo              0.70      1745.00          $1,221.50

 02/19/2023   TPC     BL        Review DP settlement agreement                           0.60      1125.00           $675.00

 02/19/2023   PJK     BL        Review edits to settlement agreement from DP,            0.90      1025.00           $922.50
                                update same, emails with DMB re same (.5), further
                                edits to settlement agreement, prep redline, emails
                                with R Branning and DMB re same (.4)

 02/20/2023   DMB     BL        Corr from R Palacio re DP                                0.10      1450.00           $145.00

 02/20/2023   DMB     BL        Corr with P Keane re DP agreement                        0.10      1450.00           $145.00

 02/20/2023   DMB     BL        Call with TPC re DirecPath                               0.10      1450.00           $145.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          318-1 Filed
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GigaMonster Networks LLC                                                                         Invoice 132223
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                                                                                         Hours           Rate        Amount

 02/20/2023   DMB     BL        Review DP draft agreement revisions                       0.30      1450.00           $435.00

 02/20/2023   PJK     BL        Email to DMB re updated DP settlement, edits to           0.40      1025.00           $410.00
                                same

 02/20/2023   PJK     BL        Review Suretec issues, call with Suretec counsel re       0.60      1025.00           $615.00
                                bond issues, emails with client re same

 02/20/2023   PJK     BL        Emails with Regions counsel re update on open             0.20      1025.00           $205.00
                                issues

 02/20/2023   PJK     BL        Review and further revise DP settlement agreement,        1.00      1025.00          $1,025.00
                                emails with client and DMB re same, email to DP
                                and Barings counsel

 02/20/2023   PJK     BL        Review critical dates memo and docket re recent           0.50      1025.00           $512.50
                                filings

 02/20/2023   DMB     BL        Corr with client, P Keane re surety issues                0.20      1450.00           $290.00

 02/21/2023   DMB     BL        Follow up client call re DirecPath                        0.20      1450.00           $290.00

 02/21/2023   DMB     BL        Call with DirecPath re potential settlement               0.80      1450.00          $1,160.00

 02/21/2023   DMB     BL        Review further revised DirecPath settlement               0.60      1450.00           $870.00

 02/21/2023   MFC     BL        Emails with group regarding cancellation of hearing.      0.10      1350.00           $135.00

 02/21/2023   TPC     BL        Review and revise agenda for upcoming hearing             0.30      1125.00           $337.50

 02/21/2023   TPC     BL        Various hearing preparations                              0.90      1125.00          $1,012.50

 02/21/2023   PJK     BL        Coordinate logistics for 2/22 hearing                     0.20      1025.00           $205.00

 02/21/2023   PJK     BL        Draft and revise 2nd amended agenda for 2/22              0.30      1025.00           $307.50
                                hearing, emails with PSZJ team re same, emails with
                                I Densmore re same

 02/21/2023   PJK     BL        Emails with Suretec counsel re surety bond status         0.30      1025.00           $307.50
                                letters, review same, email to Novo re same

 02/21/2023   PJK     BL        Research re CPO issues, prep email response to            0.80      1025.00           $820.00
                                CPO, emails with client re CPO follow up

 02/21/2023   PJK     BL        Emails with Kroll re service issues                       0.20      1025.00           $205.00

 02/21/2023   PJK     BL        Emails with M Caloway re 2/22 hearing, emails wtih        0.20      1025.00           $205.00
                                JKS chambers re same

 02/21/2023   PJK     BL        Emails with PSZJ team re amended 2/22 agenda to           0.20      1025.00           $205.00
                                cancel, review docket

 02/21/2023   IDD     BL        Draft 2nd Amended Agenda for hearing on                   0.60        545.00          $327.00
                                2/22/2023 (.3); file same with the Court (.2); arrange
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
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                                                       07/13/23
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                                                                                         Hours           Rate        Amount
                                for service of same on required parties (.1)

 02/22/2023   DMB     BL        Corr with client re DirecPath                             0.10      1450.00           $145.00

 02/22/2023   DMB     BL        Revise draft DirecPath agreement                          0.90      1450.00          $1,305.00

 02/22/2023   DMB     BL        Call with DirecPath counsel                               0.20      1450.00           $290.00

 02/22/2023   DMB     BL        Call with client re DirecPath                             0.20      1450.00           $290.00

 02/22/2023   DMB     BL        Review comments re draft DP agreement                     0.60      1450.00           $870.00

 02/22/2023   MFC     BL        EMails regarding cancellation of hearing, amended         0.10      1350.00           $135.00
                                agenda and related items.

 02/22/2023   JMF     BL        Review 9019 motion and changes to Dodd                    1.10      1275.00          $1,402.50
                                settlement agreement.

 02/22/2023   PJK     BL        Emails with LDJ and PSZJ team re 2/22 hearing             0.70      1025.00           $717.50
                                status (.2), emails to client and T Murphy re same
                                (.1), emails with JKS re hearing status (.2), review
                                updated agenda and emails with I Densmore re same
                                (.2)

 02/22/2023   PJK     BL        Revise DP settlement agreement, email to DMB re           1.20      1025.00          $1,230.00
                                same (.4), revise draft 9019 motion (.5), attention to
                                issues re same (.3)

 02/22/2023   PJK     BL        Research re DirectPath issues re settlement               0.60      1025.00           $615.00

 02/22/2023   IDD     BL        Draft 3rd Amended Agenda to cancel hearing on             0.60        545.00          $327.00
                                2/22/2023 (.3); file same with the Court (.2); arrange
                                for service of same on required parties (.1)

 02/23/2023   TPC     BL        Multiple emails with team re: scheduling issues           0.40      1125.00           $450.00

 02/23/2023   PJK     BL        Review critical dates memo and deadline reminders         0.20      1025.00           $205.00

 02/24/2023   MFC     BL        Emails to/from TPC regarding draft agenda.                0.10      1350.00           $135.00

 02/24/2023   PJK     BL        Review critical dates memo and docket (.2), email to      0.60      1025.00           $615.00
                                I Densmore re 3/2 agenda (.2), review draft 3/2
                                agenda (.2)

 02/24/2023   PJK     BL        Emails from DMB and client re DP settlement               0.20      1025.00           $205.00

 02/24/2023   IDD     BL        Draft agenda for hearing on 3/2/2023                      1.80        545.00          $981.00

 02/25/2023   LDJ     BL        Review CPO update                                         0.30      1745.00           $523.50

 02/25/2023   PJK     BL        Review CPO report, emails with client re issues on        0.50      1025.00           $512.50
                                same

 02/26/2023   LDJ     BL        Review critical dates, work in process                    0.50      1745.00           $872.50
                    Case
                    Case 23-10051-JKS
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                                      Doc 441
                                          318-1 Filed
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                                                       07/13/23
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 02/26/2023   TPC     BL        Review and draft proposed responses to UCC               1.40      1125.00          $1,575.00
                                document requests

 02/26/2023   PJK     BL        Attention to CPO issues, email to PSZJ team re           0.40      1025.00           $410.00
                                same

 02/26/2023   PJK     BL        Review draft 3/2 agenda, email to ID re same             0.20      1025.00           $205.00

 02/27/2023   KSN     BL        Prepare hearing binders for 3/2/23 hearing.              3.00        425.00         $1,275.00

 02/27/2023   TPC     BL        Review and revise agenda for upcoming hearing            0.40      1125.00           $450.00

 02/27/2023   PJK     BL        Review 3/2 agenda, emails with I Densmore re             0.30      1025.00           $307.50
                                same, emails with TPC and M Caloway re same,
                                discuss with TPC

 02/27/2023   IDD     BL        Revise draft Agenda for hearing on 3/2/2023             0.60         545.00          $327.00

 02/28/2023   MFC     BL        Emails with group regarding agenda issues.               0.20      1350.00           $270.00

 02/28/2023   TPC     BL        Review and revise agenda for upcoming hearing            0.40      1125.00           $450.00

 02/28/2023   IDD     BL        Finalize Agenda for 3/2/2023 hearing (.2); file same     0.50        545.00          $272.50
                                with the Court (.2); arrange for service on required
                                parties (.1)

                                                                                       144.10                  $159,759.50

  Case Administration [B110]
 02/01/2023   MFC     CA        Emails regarding matrix and property visits.            0.10       1350.00           $135.00

 02/01/2023   KSN     CA        Maintain document control.                               0.10        425.00           $42.50

 02/01/2023   IDD     CA        Review docket to update critical dates memorandum        0.30        545.00          $163.50
                                (.2); advise attorneys of upcoming deadlines (.1)

 02/01/2023   IDD     CA        Review docket to update Critical Dates                   0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/02/2023   KSN     CA        Maintain document control.                               0.20        425.00           $85.00

 02/02/2023   IDD     CA        Review docket to update Critical Dates                   0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/03/2023   KSN     CA        Maintain document control.                               0.10        425.00           $42.50

 02/03/2023   IDD     CA        Review docket to update Critical Dates                   0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
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                                                                                Hours           Rate        Amount

 02/06/2023   KSN     CA        Maintain document control.                       0.20        425.00          $85.00

 02/06/2023   IDD     CA        Review docket to update Critical Dates           0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/07/2023   KSN     CA        Maintain document control.                       0.10        425.00          $42.50

 02/08/2023   KSN     CA        Maintain document control.                       0.30        425.00         $127.50

 02/08/2023   IDD     CA        Review docket to update Critical Dates           0.40        545.00         $218.00
                                Memorandum (.3); advise attorneys of upcoming
                                deadlines (.1)

 02/09/2023   MFC     CA        Review upcoming deadlines.                       0.10      1350.00          $135.00

 02/09/2023   KSN     CA        Maintain document control.                       0.30        425.00         $127.50

 02/09/2023   IDD     CA        Review docket to update Critical Dates           0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/10/2023   KSN     CA        Maintain document control.                       0.10        425.00          $42.50

 02/10/2023   IDD     CA        Review docket to update Critical Dates           0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/13/2023   KSN     CA        Maintain document control.                       0.10        425.00          $42.50

 02/13/2023   IDD     CA        Review docket to update Critical Dates           0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/14/2023   CJB     CA        Maintain document control.                       0.10        425.00          $42.50

 02/15/2023   KSN     CA        Maintain document control.                       0.40        425.00         $170.00

 02/15/2023   IDD     CA        Review docket to update Critical Dates           0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/16/2023   KSN     CA        Maintain document control.                       0.20        425.00          $85.00

 02/16/2023   IDD     CA        Review docket to update Critical Dates           0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/17/2023   KSN     CA        Maintain document control.                       0.20        425.00          $85.00

 02/17/2023   IDD     CA        Review docket to update Critical Dates           0.30        545.00         $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
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 02/21/2023   KSN     CA        Maintain document control.                             0.20        425.00           $85.00

 02/21/2023   IDD     CA        Review docket to update Critical Dates                 0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/22/2023   KSN     CA        Maintain document control.                             0.30        425.00          $127.50

 02/22/2023   IDD     CA        Review docket to update Critical Dates                 0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/23/2023   MFC     CA        Review updated critical dates memo (.2); emails        0.30      1350.00           $405.00
                                with ID regarding changes to same (.1).

 02/23/2023   KSN     CA        Maintain document control.                             0.10        425.00           $42.50

 02/23/2023   IDD     CA        Review docket to update Critical Dates                 0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/24/2023   IDD     CA        Review docket to update Critical Dates                 0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/27/2023   IDD     CA        Review docket to update Critical Dates                 0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 02/28/2023   KSN     CA        Maintain document control.                             0.30        425.00          $127.50

 02/28/2023   IDD     CA        Review docket to update Critical Dates                 0.30        545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

                                                                                       9.30                       $5,075.00

  Claims Admin/Objections[B310]
 02/06/2023   MFC     CO        Respond to creditor inquiries.                         0.30      1350.00           $405.00

 02/07/2023   LDJ     CO        Respond to creditor inquiries                          0.20      1745.00           $349.00

 02/08/2023   LDJ     CO        Respond to creditor inquiries                          0.20      1745.00           $349.00

 02/21/2023   PJK     CO        Emails with Kroll re creditor inquiry re status and    0.20      1025.00           $205.00
                                notice

                                                                                       0.90                       $1,308.00
                    Case
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                                                                                      Hours           Rate        Amount

  Comp. of Prof./Others
 02/07/2023   MFC     CPO       Finalize order for interim comp motion (.2); emails    0.30      1350.00          $405.00
                                with ID regarding CNO for same (.1).

 02/23/2023   TPC     CPO       Correspond with team re: issues related to fee         0.30      1125.00          $337.50
                                applications

                                                                                       0.60                       $742.50

  Employee Benefit/Pension-B220
 02/01/2023   LDJ     EB        Review revised KERP motion                             0.30      1745.00          $523.50

 02/01/2023   PJK     EB        Review and update KERP motion, emails with client      0.80      1025.00          $820.00
                                re same, attention to issues re same

 02/05/2023   PJK     EB        Emails with E Corma re motion to seal for KERP         0.20      1025.00          $205.00

 02/05/2023   ECO     EB        E-mails with Peter Keane re KERP motion/filing         0.10        725.00          $72.50
                                under seal.

 02/06/2023   PJK     EB        Emails with E Corma re KERP motion to seal             0.20      1025.00          $205.00

 02/07/2023   ECO     EB        Preparation of motion to seal KERP motion and          1.10        725.00         $797.50
                                proposed order.

 02/07/2023   IDD     EB        Draft Certification of Counsel for Final Order on      0.30        545.00         $163.50
                                Wage Motion

 02/08/2023   DMB     EB        Corr to P Keane re KERP                                0.10      1450.00          $145.00

 02/08/2023   LDJ     EB        Review KERP issues                                     0.30      1745.00          $523.50

 02/08/2023   PJK     EB        Attention to KERP issues, call with R Branning re      0.40      1025.00          $410.00
                                same, emails with DMB re same

 02/08/2023   ECO     EB        Continue preparation of KERP motion to seal;           1.30        725.00         $942.50
                                conduct legal research re additional authority to
                                reflect changes in local rules and procedures.

 02/09/2023   ECO     EB        Continue preparation of motion to seal/include         0.70        725.00         $507.50
                                additional legal authority.

 02/09/2023   ECO     EB        Prepare e-mail to Peter Keane forwarding motion to     0.20        725.00         $145.00
                                seal and discussing local rules/procedures for
                                requesting filing under seal.

 02/09/2023   DMB     EB        Prep for call with client re KERP                      0.20      1450.00          $290.00

 02/09/2023   DMB     EB        Attend call with client re KERP                        0.30      1450.00          $435.00

 02/09/2023   DMB     EB        Call with LDJ re KERP                                  0.10      1450.00          $145.00
                    Case
                    Case 23-10051-JKS
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 02/09/2023   DMB     EB        Call with P Keane re KERP                                0.10      1450.00           $145.00

 02/09/2023   DMB     EB        Review KERP motion revision                              0.40      1450.00           $580.00

 02/09/2023   LDJ     EB        Review KERP evidence, arguments, issues                  0.70      1745.00          $1,221.50

 02/09/2023   MBL     EB        Review and comment on revised KERP motion                0.50      1445.00           $722.50
                                (0.3); emails with team re same (0.2).

 02/09/2023   MBL     EB        Review revised KERP and motion (0.2); further            0.30      1445.00           $433.50
                                emails with team re same (0.1).

 02/09/2023   PJK     EB        Call with client and PSZJ team re KERP issues            0.30      1025.00           $307.50

 02/09/2023   PJK     EB        Research re KERP issues (.3), emails with MBL and        1.40      1025.00          $1,435.00
                                DMB re same, (.3), revise motion re same (.4),
                                emails with client re revised motion and attention to
                                issues re same (.4)

 02/10/2023   DMB     EB        Corr with P Keane, client re KERP                        0.20      1450.00           $290.00

 02/10/2023   MFC     EB        Emails regarding employee payment issues (.1);           0.40      1350.00           $540.00
                                review same (.3).

 02/10/2023   PJK     EB        Research re KERP issues, emails with client re           0.60      1025.00           $615.00
                                KERP logistics and draft motion edits, attention to
                                same

 02/11/2023   LDJ     EB        Correspondence with PSZJ re: KERP                        0.30      1745.00           $523.50

 02/12/2023   DMB     EB        Corr with P Keane re KERP issues                         0.20      1450.00           $290.00

 02/12/2023   DMB     EB        Review revised KERP motion                               0.40      1450.00           $580.00

 02/12/2023   PJK     EB        Research re KERP issues, edits to KERP order (.4),       0.80      1025.00           $820.00
                                emails with client re same (.2), emails with E Corma
                                re same (.2)

 02/13/2023   DMB     EB        Corr with P Keane re KERP                                0.20      1450.00           $290.00

 02/13/2023   MBL     EB        Emails with lender counsel and team re KERP              0.30      1445.00           $433.50
                                motion; review motion to seal and motion to shorten
                                time.

 02/13/2023   PJK     EB        Review and edit motion to seal and motion to             0.50      1025.00           $512.50
                                shorten re KERP, emails with PSZJ team re same

 02/13/2023   PJK     EB        Attention to various issues re KERP, emails with         2.30      1025.00          $2,357.50
                                PSZJ team re same, email with DIP lender counsel
                                re same (.8), emails with client re KERP (.2),
                                finalize KERP motion and motion to seal and
                                motion to shorten (.5), emails with D Potts re filing
                                of KERP motion, motion to seal, motion to shorten
                    Case
                    Case 23-10051-JKS
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                                (.4), emails with LDJ re KERP (.2), emails to I
                                Densmore re KERP motion and delivery to
                                chambers (.2)
 02/13/2023   ECO     EB        E-mails with Peter Keane re KERP motion/hearing          0.10        725.00           $72.50
                                dates.

 02/13/2023   ECO     EB        Prepare motion to shorten time re KERP motion and        1.60        725.00         $1,160.00
                                proposed order.

 02/13/2023   ECO     EB        Prepare e-mail to Peter Keane forwarding motion to       0.10        725.00           $72.50
                                shorten re KERP motion.

 02/14/2023   MFC     EB        Emails regarding KERP motion and MTS notice of           0.10      1350.00           $135.00
                                same.

 02/14/2023   MBL     EB        Draft cease and desist letter to AerWave re              0.60      1445.00           $867.00
                                employee hiring (0.5); coordinate with client re
                                same (0.1).

 02/14/2023   PJK     EB        Emails with ID re KERP motion                            0.20      1025.00           $205.00

 02/14/2023   PJK     EB        Review OTS re KERP, emails from PSZJ team re             0.50      1025.00           $512.50
                                same, draft NOH re KERP hearing, emails with D
                                Potts re filing/service of same, emails with Kroll re
                                same

 02/14/2023   PJK     EB        Email to chambers re KERP motion and related docs        0.20      1025.00           $205.00

 02/14/2023   IDD     EB        Arrange for expedited service of KERP motion with        0.50        545.00          $272.50
                                supplemental pleadings to Judge's Chambers (.1);
                                upload proposed Order Shortening Notice of same to
                                Judge's Chambers for approval (.1); draft Notice of
                                Hearing for KERP Motion (.3)

 02/21/2023   DMB     EB        Prep for call with client re KERP issues                 0.20      1450.00           $290.00

 02/21/2023   DMB     EB        Attend KERP call with client                             0.40      1450.00           $580.00

 02/21/2023   LDJ     EB        Teleconference with client, PSZJ re: KERP                0.40      1745.00           $698.00

 02/21/2023   PJK     EB        Call with Novo and DMB re KERP issues                    0.30      1025.00           $307.50

 02/24/2023   MBL     EB        Emails with team and client re KERP status.              0.10      1445.00           $144.50

 02/24/2023   PJK     EB        Review open KERP issues re UCC comments,                 0.40      1025.00           $410.00
                                emails with R Branning re same

 02/26/2023   DMB     EB        Corr from client re KERP                                 0.10      1450.00           $145.00

 02/26/2023   MBL     EB        Review revised KERP order; emails with team re           0.10      1445.00           $144.50
                                same.

 02/26/2023   PJK     EB        Emails with client and PSZJ team re KERP order,          0.40      1025.00           $410.00
                    Case
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                         23-10051-JKS Doc
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                                                                                       Hours           Rate        Amount
                                email to UCC re same, review KERP revised order
                                and issues re same
 02/27/2023   MBL     EB        Review response to UST re KERP issues.                  0.10      1445.00           $144.50

 02/27/2023   PJK     EB        Attention to KERP issues, emails with R Branning        0.40      1025.00           $410.00
                                re KERP issues per UST, emails with UST re KERP
                                questions

 02/28/2023   MBL     EB        Emails with team and UST re KERP order; review          0.20      1445.00           $289.00
                                draft proffer re same.

 02/28/2023   PJK     EB        Draft proffer re KERP (.6), research re same (.2),      1.30      1025.00          $1,332.50
                                emails with PSZJ team re same, revise proffer (.3),
                                emails with R Branning re same (.2)

 02/28/2023   IDD     EB        Draft Certification of Counsel for KERP Motion          0.40        545.00          $218.00

                                                                                       25.20                   $27,453.00

  Executory Contracts [B185]
 02/01/2023   LDJ     EC        Review cure issues                                      0.30      1745.00           $523.50

 02/01/2023   TPC     EC        Correspond with landlord and client re: lease           0.30      1125.00           $337.50
                                assumption/assignment issues

 02/05/2023   DMB     EC        Corr with client, P Keane re cures                      0.20      1450.00           $290.00

 02/07/2023   DMB     EC        Corr with P Keane, claims agent re cure notices         0.40      1450.00           $580.00

 02/07/2023   PJK     EC        Emails with company re Lumen                            0.20      1025.00           $205.00

 02/08/2023   DMB     EC        Corr with P Keane re cure notices                       0.20      1450.00           $290.00

 02/10/2023   DMB     EC        Review materials re cure issues                         0.40      1450.00           $580.00

 02/15/2023   DMB     EC        Internal call re cures                                  0.20      1450.00           $290.00

 02/15/2023   DMB     EC        Corr from client re cure issues                         0.10      1450.00           $145.00

 02/15/2023   DMB     EC        Review cure materials                                   0.20      1450.00           $290.00

 02/17/2023   DMB     EC        Internal call re supplemental cure notice               0.20      1450.00           $290.00

 02/17/2023   IDD     EC        File Supplemental Cure Notice with the Court (.2);      0.30        545.00          $163.50
                                arrange for service of same on required parties (.1)

 02/20/2023   DMB     EC        Corr from client re cure issues                         0.20      1450.00           $290.00

 02/20/2023   TPC     EC        Multiple correspondence with counterparties re: cure    0.80      1125.00           $900.00
                                issues

 02/21/2023   DMB     EC        Review materials re Kromer cure objection               0.40      1450.00           $580.00
                    Case
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 02/21/2023   TPC     EC        Research various issues related to splitting master       1.10      1125.00          $1,237.50
                                leases for cure objections

 02/22/2023   DMB     EC        Call with contract party re sale issues                   0.30      1450.00           $435.00

 02/23/2023   TPC     EC        Correspond with landlords and owner re: lease             0.40      1125.00           $450.00
                                rejection issues

                                                                                          6.20                       $7,877.00

  Financial Filings [B110]
 02/02/2023   TPC     FF        Correspond with client re: MOR issues;                    0.20      1125.00           $225.00

 02/03/2023   PJJ     FF        Telephone conference with Jacob Grall regarding           0.20        545.00          $109.00
                                Schedules & Statements.

 02/03/2023   PJJ     FF        Review data provided for Schedules & Statements.          0.40        545.00          $218.00

 02/04/2023   PJK     FF        Emails with P Jeffries re contracts info for schedules    0.20      1025.00           $205.00

 02/06/2023   PJJ     FF        Draft Schedules & Statements.                             1.40        545.00          $763.00

 02/07/2023   PJJ     FF        Email from/to Jacob Grall regarding Schedules and         0.20        545.00          $109.00
                                Statements.

 02/07/2023   PJJ     FF        Work on Schedules & Statements.                           1.00        545.00          $545.00

 02/08/2023   LDJ     FF        Correspondence with PSZJ re: schedules/sofas              0.10      1745.00           $174.50

 02/08/2023   PJJ     FF        Work on Schedules & Statements.                           6.70        545.00         $3,651.50

 02/08/2023   MFC     FF        Calls with TPC and PJJ regarding Schedules and            0.20      1350.00           $270.00
                                SOFAs status.

 02/08/2023   MFC     FF        Review Schedules issue.                                   0.40      1350.00           $540.00

 02/08/2023   MFC     FF        Call with Novo regarding Schedules issues.                0.20      1350.00           $270.00

 02/09/2023   LDJ     FF        Correspondence with PSZJ re: schedules                    0.20      1745.00           $349.00

 02/09/2023   PJJ     FF        Work on Schedules & Statements.                           5.50        545.00         $2,997.50

 02/09/2023   MFC     FF        Emails with PJJ and Novo regarding Schedules              0.20      1350.00           $270.00
                                issues.

 02/09/2023   MFC     FF        Call with TPC regarding Schedules.                        0.10      1350.00           $135.00

 02/09/2023   MFC     FF        Draft Global Notes for Schedules/SOFAs.                   1.20      1350.00          $1,620.00

 02/09/2023   MFC     FF        Review and comment to draft Schedules and SOFA.           1.40      1350.00          $1,890.00

 02/10/2023   PJJ     FF        Telephone conference with Jacob & Tom regarding           0.50        545.00          $272.50
                                Schedules & Statements.
                    Case
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 02/10/2023   PJJ     FF        Telephone conference with Novo & client regarding     0.90        545.00          $490.50
                                Schedules & Statements.

 02/10/2023   PJJ     FF        Telephone conference with Mary regarding              0.40        545.00          $218.00
                                Schedules & Statements.

 02/10/2023   PJJ     FF        Work on Schedules & Statements.                       4.00        545.00         $2,180.00

 02/10/2023   MFC     FF        Emails with TPC and PJ regarding Schedules issues.    0.10      1350.00           $135.00

 02/10/2023   MFC     FF        Review and comment to additional Schedules and        0.70      1350.00           $945.00
                                SOFAs.

 02/10/2023   MFC     FF        Call with PJJ regarding Schedules and SOFA issues.    0.40      1350.00           $540.00

 02/10/2023   TPC     FF        Review schedules/SOFA comments from team.             2.30      1125.00          $2,587.50

 02/12/2023   PJJ     FF        Work on Schedules & Statements.                       8.30        545.00         $4,523.50

 02/13/2023   LDJ     FF        Review schedules open issues, next steps              0.30      1745.00           $523.50

 02/13/2023   PJJ     FF        Revise Schedules & Statements and prepare for         4.40        545.00         $2,398.00
                                filing.

 02/13/2023   PJJ     FF        Conference call with NOVO and PSZJ regarding          0.20        545.00          $109.00
                                Schedules & Statements review.

 02/13/2023   MFC     FF        Emails regarding updated Schedules and SOFAs.         0.20      1350.00           $270.00

 02/13/2023   MFC     FF        Call with TPC, PJJ and Novo regarding Schedules.      0.20      1350.00           $270.00

 02/13/2023   MFC     FF        Revise Global Notes (.6); emails with TPC and PJJ     0.70      1350.00           $945.00
                                regarding same (.1)

 02/13/2023   MFC     FF        Call with TPC and email to Novo regarding Global      0.10      1350.00           $135.00
                                Notes.

 02/13/2023   MFC     FF        Emails from/to Novo, TPC and PJJ regarding            0.20      1350.00           $270.00
                                revised Schedules and Global Notes.

 02/13/2023   MFC     FF        Review further revised Schedules and SOFAs and        1.10      1350.00          $1,485.00
                                finalize for filing.

 02/13/2023   MFC     FF        Emails with Novo, PJJ and TPC regarding               0.30      1350.00           $405.00
                                Schedules questions.

 02/13/2023   MFC     FF        Call with R. Branning regarding authority to file     0.10      1350.00           $135.00
                                Schedules and emails to/from D. Potts regarding
                                filing of same.

 02/13/2023   MFC     FF        Emails with D. Potts. re Schedules filing issues.     0.20      1350.00           $270.00

 02/13/2023   TPC     FF        Teleconferences with client and team re: schedule     0.40      1125.00           $450.00
                    Case
                    Case 23-10051-JKS
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                                drafts;

 02/13/2023   TPC     FF        Review draft schedules for filing;                     1.90      1125.00          $2,137.50

 02/13/2023   TPC     FF        Further correspondence with team and review of         1.60      1125.00          $1,800.00
                                schedules/SOFA drafts

 02/14/2023   PJJ     FF        Email from/to NOVO regarding monthly operating         0.20        545.00          $109.00
                                report.

 02/14/2023   TPC     FF        Research and respond to client questions related to    0.50      1125.00           $562.50
                                MORs

 02/15/2023   TPC     FF        Review and respond to inquiries related to MORs        0.50      1125.00           $562.50

 02/16/2023   TPC     FF        Review data and correspond with team re: Form 426      0.70      1125.00           $787.50
                                preparations

 02/20/2023   TPC     FF        Review issues and correspond with team re: MOR         0.70      1125.00           $787.50
                                issues

 02/22/2023   MFC     FF        Emails re Form 426 and review draft of same.           0.10      1350.00           $135.00

 02/22/2023   IDD     FF        File Periodic Report Form 426 with the Court           0.20        545.00          $109.00

 02/22/2023   TPC     FF        Draft Form 426 valuation statement for Costa Rica      1.30      1125.00          $1,462.50
                                sub

 02/23/2023   MFC     FF        Review filed ombusdman report.                         0.10      1350.00           $135.00

 02/24/2023   TPC     FF        Review MOR drafts, respond to client with              1.70      1125.00          $1,912.50
                                comments

                                                                                      55.30                   $44,399.50

  Financing [B230]
 02/01/2023   MBL     FN        Coordinate UCC DIP issues list with lender counsel.    0.10      1445.00           $144.50

 02/01/2023   MBL     FN        Address inquiry from Regions Bank; coordinate          0.30      1445.00           $433.50
                                with bank counsel, client, and team re same.

 02/02/2023   MBL     FN        Follow-up with counsel to Regions Bank and lenders     0.30      1445.00           $433.50
                                re DIP order and credit card issues.

 02/02/2023   PJK     FN        Emails from Regions and MBL re cash mgmt order         0.20      1025.00           $205.00

 02/03/2023   MBL     FN        Emails with counsel to Regions Bank and lenders re     0.20      1445.00           $289.00
                                revisions to cash management order; review same.

 02/03/2023   PJK     FN        Review cash mgmt final order, emails with PSZJ         0.70      1025.00           $717.50
                                team re same, emails with client and Regions
                                counsel re cash mgmt order
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 02/05/2023   MFC     FN        EMails regarding responses to Committee's DIP         0.10      1350.00           $135.00
                                issue list.

 02/05/2023   MBL     FN        Emails with lender and UCC counsel re UCC DIP         0.30      1445.00           $433.50
                                issues.

 02/07/2023   IDD     FN        Draft Certification of Counsel for Final Order on     0.30        545.00          $163.50
                                Cash Management Motion

 02/08/2023   MFC     FN        Emails to/from T. Fox regarding cash management       0.10      1350.00           $135.00
                                order.

 02/08/2023   MFC     FN        Call with and emails to/from Committee counsel        0.20      1350.00           $270.00
                                regarding cash management order.

 02/08/2023   MFC     FN        Additional emails with PJK and UST regarding cash     0.10      1350.00           $135.00
                                management order.

 02/08/2023   MFC     FN        Follow up email to chambers regarding cash            0.10      1350.00           $135.00
                                management order.

 02/08/2023   MFC     FN        EMail to Committee counsel regarding cash             0.10      1350.00           $135.00
                                management and Bank Street orders.

 02/08/2023   IDD     FN        Draft re-notice of final DIP hearing for 2/22/2023    0.20        545.00          $109.00

 02/10/2023   MBL     FN        Emails with client re cash management and credit      0.10      1445.00           $144.50
                                card issues.

 02/10/2023   PJK     FN        Research re Regions Bank issues re payments and       1.00      1025.00          $1,025.00
                                cash management, attention to issues re same (.6),
                                email with J Grall re same (.2), email to Regions
                                counsel re same (.2)

 02/13/2023   MFC     FN        Emails regarding status of Committee DIP issues.      0.10      1350.00           $135.00

 02/13/2023   MBL     FN        Emails with lender counsel and team re DIP            0.60      1445.00           $867.00
                                committee issues and milestones; draft updated
                                committee issues list.

 02/14/2023   MFC     FN        Emails regarding final DIP order.                     0.20      1350.00           $270.00

 02/14/2023   MBL     FN        Review draft final DIP order (0.4); follow-up with    0.50      1445.00           $722.50
                                lender counsel re same (0.1).

 02/14/2023   MBL     FN        Call with J. Grall re revised budget.                 0.20      1445.00           $289.00

 02/14/2023   MBL     FN        Emails with lender counsel re credit bid issues;      0.20      1445.00           $289.00
                                revise language in final DIP order.

 02/15/2023   DMB     FN        Corr from MBL re DIP comments                         0.10      1450.00           $145.00

 02/15/2023   DMB     FN        Review UCC DIP comments                               0.30      1450.00           $435.00
                    Case
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 02/15/2023   MBL     FN        Emails with client re variance reporting.             0.10      1445.00           $144.50

 02/15/2023   MBL     FN        Emails with team and client re final DIP order and    0.10      1445.00           $144.50
                                objection deadline.

 02/15/2023   MBL     FN        Review committee comments to final DIP order          0.80      1445.00          $1,156.00
                                (0.5); emails with team and opposing counsel re
                                same (0.3).

 02/16/2023   DMB     FN        Review new DIP comments                               0.30      1450.00           $435.00

 02/16/2023   LDJ     FN        Review DIP issues, amendments                         0.40      1745.00           $698.00

 02/16/2023   MFC     FN        Emails to/from ML and TPC regarding DIP status        0.20      1350.00           $270.00
                                and agenda.

 02/16/2023   MFC     FN        Emails from/to Novo regarding final DIP.              0.10      1350.00           $135.00

 02/16/2023   MBL     FN        Emails with opposing counsel and client re            0.30      1445.00           $433.50
                                committee DIP issues.

 02/16/2023   MBL     FN        Emails with lender and committee counsel re final     0.10      1445.00           $144.50
                                DIP order.

 02/16/2023   MBL     FN        Coordinate with team re DIP status and agenda         0.20      1445.00           $289.00
                                letter.

 02/17/2023   MFC     FN        Emails with Novo regarding DIP hearing status.        0.10      1350.00           $135.00

 02/17/2023   MFC     FN        Review Lender revised final DIP order and             0.20      1350.00           $270.00
                                Committee comments.

 02/17/2023   MBL     FN        Review and comment on revised final DIP order         0.50      1445.00           $722.50
                                from lenders; coordinate with client and team re
                                same.

 02/17/2023   MBL     FN        Review committee DIP objection.                       0.20      1445.00           $289.00

 02/18/2023   MBL     FN        Emails with team re final DIP hearing.                0.20      1445.00           $289.00

 02/18/2023   MBL     FN        Draft reservation of rights for committee re final    0.20      1445.00           $289.00
                                DIP hearing.

 02/18/2023   MBL     FN        Emails with client re hearing prep on final DIP.      0.10      1445.00           $144.50

 02/19/2023   MBL     FN        Follow-up with committee counsel and client re        0.20      1445.00           $289.00
                                reservation of rights in final DIP order; budget
                                issues.

 02/20/2023   DMB     FN        Call with T Wearsch re DIP issues                     0.10      1450.00           $145.00

 02/20/2023   DMB     FN        Call with MBL, UCC, T Wearsch re DIP revision         0.30      1450.00           $435.00
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 02/20/2023   DMB     FN        Review revised DIP language                              0.10      1450.00           $145.00

 02/20/2023   LDJ     FN        Review DIP issues, amendments                            0.40      1745.00           $698.00

 02/20/2023   MFC     FN        Call with C. Springer regarding DIP objection and        0.20      1350.00           $270.00
                                auction issues.

 02/20/2023   MFC     FN        Emails regarding revised final DIP order.                0.10      1350.00           $135.00

 02/20/2023   MBL     FN        Review updates to final DIP order and budget (0.4);      0.70      1445.00          $1,011.50
                                emails with opposing counsel and client re same
                                (0.3).

 02/20/2023   MBL     FN        Calls with D. Bertenthal, client, and UCC and DIP        0.60      1445.00           $867.00
                                lender counsel re DIP/sale order revisions.

 02/20/2023   MBL     FN        Further emails with opposing counsel re status of        0.30      1445.00           $433.50
                                DIP order (0.1); revise COC re same (0.2).

 02/20/2023   PJK     FN        Review final DIP order (.4), emails from PSZJ team       1.10      1025.00          $1,127.50
                                and lender re same (.4), draft COC re same (.3)

 02/21/2023   DMB     FN        Corr with MBL re DIP order                               0.30      1450.00           $435.00

 02/21/2023   DMB     FN        Call with MBL re DIP order                               0.10      1450.00           $145.00

 02/21/2023   MFC     FN        Emails regarding resolution of DIP objection and         0.10      1350.00           $135.00
                                amended agenda.

 02/21/2023   MFC     FN        Emails regarding amended DIP credit agreement.           0.10      1350.00           $135.00

 02/21/2023   MBL     FN        Review updated final DIP order and coordinate            0.20      1445.00           $289.00
                                filing (0.1); emails with opposing counsel and client
                                re same (0.1).

 02/21/2023   MBL     FN        Review proposed DIP amendment; emails with               0.30      1445.00           $433.50
                                lender counsel and client re same.

 02/21/2023   MBL     FN        Review updated draft agenda for DIP hearing;             0.10      1445.00           $144.50
                                coordinate with client re hearing.

 02/21/2023   PJK     FN        Review, finalize, and prep for filing COC and            0.70      1025.00           $717.50
                                related final DIP order and exhibits/redline, emails
                                with MBL re same, emails with I Densmore re same

 02/21/2023   IDD     FN        File Certification of Counsel with proposed Final        0.40        545.00          $218.00
                                DIP Order with the Court (.2); upload proposed
                                Order to Judge's Chambers (.1); arrange for service
                                on required parties (.1)

 02/22/2023   MFC     FN        Multiple emails regarding DIP amendment issues.          0.20      1350.00           $270.00

 02/22/2023   MBL     FN        Review revised DIP amendment; emails with lender         0.40      1445.00           $578.00
                    Case
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                                      Doc 441
                                          318-1 Filed
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                                                                                     Hours           Rate        Amount
                                counsel re same.

 02/24/2023   MBL     FN        Follow-up with lender counsel and client re DIP       0.20      1445.00           $289.00
                                amendment; review and finalize same.

 02/24/2023   MBL     FN        Emails with client re DIP funding status.             0.10      1445.00           $144.50

 02/27/2023   MBL     FN        Emails with client re DIP funding.                    0.10      1445.00           $144.50

                                                                                     18.10                   $23,820.00

  General Business Advice [B410]
 02/02/2023   MAM     GB        Draft annual report for Nina L. Hong regarding RPH    0.50        495.00          $247.50
                                Innovations, LLC.

 02/02/2023   MAM     GB        Review and reply to emails from Nina L. Hong          0.20        495.00           $99.00
                                regarding RPH Innovations, LLC annual report.

 02/21/2023   MAM     GB        Emails to Nina L. Hong regarding annual report        0.20        495.00           $99.00
                                status for RPH Innovations.

                                                                                      0.90                        $445.50

  Insurance Coverage
 02/07/2023   IDD     IC        Draft Certification of Counsel for Final Order on     0.30        545.00          $163.50
                                Insurance Motion

 02/08/2023   IDD     IC        File Certification of Counsel re Final Order on       0.30        545.00          $163.50
                                Insurance Motion with the Court (.2); upload
                                proposed Order re same to Judge's Chambers for
                                approval (.1)

                                                                                      0.60                        $327.00

  Meeting of Creditors [B150]
 02/22/2023   TPC     MC        Teleconference with team re: 341 meeting              0.50      1125.00           $562.50
                                preparations

 02/23/2023   LDJ     MC        Preparation for 341 meeting                           0.80      1745.00          $1,396.00

 02/23/2023   LDJ     MC        Attend 341 meeting                                    1.50      1745.00          $2,617.50

 02/23/2023   TPC     MC        Attend 341 meeting and discuss issues with client     1.80      1125.00          $2,025.00

 02/23/2023   TPC     MC        Draft summary of issues raised at 341 meeting by      0.60      1125.00           $675.00
                                UST and proposed responses

 02/24/2023   TPC     MC        Correspond to client and UST re: follow-up items      0.40      1125.00           $450.00
                                from 341 meeting
                    Case
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                                                   Filed
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 02/24/2023   TPC     MC        Correspond with UST re: respond to various issues        0.20      1125.00           $225.00
                                raised at 341 meeting

                                                                                         5.80                       $7,951.00

  Operations [B210]
 02/07/2023   IDD     OP        Draft Certification of Counsel for Final Order on        0.60        545.00          $327.00
                                Utilities Motion (.3); file same with the Court (.2);
                                upload proposed Order to Judge's Chambers for
                                approval (.1)

                                                                                         0.60                        $327.00

  Retention of Prof. [B160]
 02/02/2023   TPC     RP        Correspond with company and team (0.6) and               1.60      1125.00          $1,800.00
                                review data from previous correspondence (1.0) re:
                                respond to various comments/inquiries related to
                                retention application

 02/06/2023   TPC     RP        Review and research potential conflicts to be            0.40      1125.00           $450.00
                                disclosed for PSZJ retention

 02/08/2023   IDD     RP        File Supplemental Declaration in Support of PSZJ         0.90        545.00          $490.50
                                Retention Application with the Court (.2); arrange
                                for service of same on required parties (.1); draft
                                Certification of Counsel re PSZJ Retention
                                Application with the Court (.3); file same with the
                                Court (.2); upload proposed Order re same to Judge's
                                Chambers for approval (.1)

                                                                                         2.90                       $2,740.50

  Ret. of Prof./Other
 02/01/2023   LDJ     RPO       Review UST comments to professionals' retention          0.70      1745.00          $1,221.50
                                apps, and develop response

 02/01/2023   LDJ     RPO       Numerous emails with PSZJ re: retention                  0.50      1745.00           $872.50
                                applications

 02/01/2023   LDJ     RPO       Conference with Tim Cairns re: Bank Street               0.30      1745.00           $523.50
                                application, revisions

 02/01/2023   MFC     RPO       Review UST comments to retention applications and        0.10      1350.00           $135.00
                                emails with TPC regarding same.

 02/01/2023   MFC     RPO       Emails to Kroll and Novo regarding UST comments          0.20      1350.00           $270.00
                                to retention (.1); revise Novo order (.1).
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 02/01/2023   MFC     RPO       Emails with TPC regarding Kroll retention               0.10      1350.00           $135.00
                                application issues.

 02/01/2023   TPC     RPO       Review and respond to various comments from UST         1.80      1125.00          $2,025.00
                                re: retention motions

 02/01/2023   TPC     RPO       Correspond with Bank Street re: respond to UST          0.60      1125.00           $675.00
                                comments to retention application;

 02/02/2023   LDJ     RPO       Correspondence with PSZJ re: revisions to retention     0.30      1745.00           $523.50
                                orders

 02/02/2023   TPC     RPO       Correspond with professionals, UST, UCC re:             0.90      1125.00          $1,012.50
                                resolve issues related to retention orders

 02/03/2023   MFC     RPO       Review UST comments re Kroll retention                  0.50      1350.00           $675.00
                                application (.1); draft Kroll Supplemental
                                Declaration per UST request (.3); emails with Kroll
                                re same (.1)

 02/05/2023   MFC     RPO       Finalize Kroll Supplemental Dec for filing and          0.30      1350.00           $405.00
                                service.

 02/06/2023   MFC     RPO       Revise and finalize Novo and Kroll retention orders     0.30      1350.00           $405.00
                                (.2); emails with TPC regarding same (.1).

 02/06/2023   MFC     RPO       Emails with TPC regarding revised Novo and Kroll        0.10      1350.00           $135.00
                                retention orders.

 02/06/2023   TPC     RPO       Review comments and draft consolidated response         0.90      1125.00          $1,012.50
                                re: respond to UST comments to retention orders

 02/06/2023   TPC     RPO       Revise proposed orders for professional retentions      1.30      1125.00          $1,462.50

 02/06/2023   IDD     RPO       File Supplemental Declaration in support of Kroll       0.30        545.00          $163.50
                                Retention Application with the Court (.2); arrange
                                for service of same on required parties (.1)

 02/07/2023   MFC     RPO       Prepare revised orders on retention applications.       0.40      1350.00           $540.00

 02/07/2023   MFC     RPO       Emails to/from UST regarding Kroll and Novo             0.10      1350.00           $135.00
                                retention orders.

 02/07/2023   TPC     RPO       Further review of conflicts for disclosure              0.30      1125.00           $337.50

 02/07/2023   IDD     RPO       Draft Certification of Counsel for Kroll Retention      0.60        545.00          $327.00
                                Application (.3); draft Certification of Counsel for
                                Novo Advisors Retention Application (.3)

 02/08/2023   LDJ     RPO       Review final retention orders                           0.20      1745.00           $349.00

 02/08/2023   MFC     RPO       Revise OCP order per UST comments (.3); review          0.40      1350.00           $540.00
                                draft COC for same and emails with ID re filing (.1)
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 02/08/2023   MFC     RPO       Call with TPC regarding OCP, PSZJ and Bank              0.20      1350.00           $270.00
                                Street status.

 02/08/2023   TPC     RPO       Review orders (0.3) and revise certifications for       1.10      1125.00          $1,237.50
                                filing (0.8) re: submit order approving professional
                                retentions

 02/08/2023   IDD     RPO       Draft Certification of Counsel re Ordinary Course       0.90        545.00          $490.50
                                Professionals Motion (.3); file same with the Court
                                (.2); upload proposed Order re same to Judge's
                                Chambers for approval (.1); draft Certification of
                                Counsel re Bank Street Retention Application with
                                the Court (.3)

 02/09/2023   MFC     RPO       Revise and finalize Bank Street order and COC.          0.30      1350.00           $405.00

 02/09/2023   IDD     RPO       File Certification of Counsel for Bank Street           0.30        545.00          $163.50
                                Retention Application with the Court (.2); upload
                                proposed Order to Judge's Chambers for approval
                                (.1)

 02/22/2023   MFC     RPO       Review Committee retention applications and             0.20      1350.00           $270.00
                                motion to shorten for same.

 02/23/2023   MFC     RPO       Review court order denying Committee MTS notice         0.10      1350.00           $135.00
                                of retention applications.

                                                                                       14.30                    $16,852.00

  Tax Issues [B240]
 02/07/2023   IDD     TI        Draft Certification of Counsel for Final Order on       0.30        545.00          $163.50
                                Tax Motion

                                                                                        0.30                        $163.50

  Travel
 02/26/2023   DMB     TR        Travel to Delaware for auction (billed at 1/2 normal    5.40        725.00         $3,915.00
                                rate).

 02/27/2023   JMF     TR        Travel to DE for Auction and sale hearing (billed at    6.80        637.50         $4,335.00
                                1/2 normal rate).

                                                                                       12.20                       $8,250.00

  TOTAL SERVICES FOR THIS MATTER:                                                                             $991,725.50
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 Expenses
 02/01/2023   CC        Conference Call [E105] AT&T Conference Call, PJK         1.19
 02/01/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         3.62
 02/01/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         2.20
 02/01/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/01/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/01/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/01/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/01/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/01/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/02/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ       18.59
 02/03/2023   DC        31213.00001 Advita Charges for 02-03-23                22.50
 02/03/2023   DC        31213.00001 Advita Charges for 02-03-23                  7.50
 02/03/2023   LN        31213.00001 Lexis Charges for 02-03-23                   7.37
 02/03/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/03/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/03/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 02/03/2023   RE2       SCAN/COPY ( 49 @0.10 PER PG)                             4.90
 02/03/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/03/2023   RE2       SCAN/COPY ( 65 @0.10 PER PG)                             6.50
 02/03/2023   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00
 02/03/2023   RE2       SCAN/COPY ( 151 @0.10 PER PG)                          15.10
 02/03/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/03/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60
 02/03/2023   RE2       SCAN/COPY ( 47 @0.10 PER PG)                             4.70
 02/03/2023   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20
 02/03/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/03/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 02/03/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/03/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/05/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         3.88
 02/05/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         9.34
 02/06/2023   DC        31213.00001 Advita Charges for 02-06-23                15.00
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 02/06/2023   DC        31213.00001 Advita Charges for 02-06-23                  7.50
 02/06/2023   DC        31213.00001 Advita Charges for 02-06-23                35.50
 02/06/2023   RE2       SCAN/COPY ( 178 @0.10 PER PG)                          17.80
 02/06/2023   RE2       SCAN/COPY ( 46 @0.10 PER PG)                             4.60
 02/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/06/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/06/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 02/06/2023   RE2       SCAN/COPY ( 39 @0.10 PER PG)                             3.90
 02/06/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/06/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/06/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/06/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/06/2023   RE2       SCAN/COPY ( 474 @0.10 PER PG)                          47.40
 02/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/06/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/06/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/06/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 02/06/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/06/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/07/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         2.44
 02/07/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         1.23
 02/07/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         2.98
 02/07/2023   DC        31213.00001 Advita Charges for 02-07-23                  7.50
 02/07/2023   RE2       SCAN/COPY ( 100 @0.10 PER PG)                          10.00
 02/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/07/2023   RE2       SCAN/COPY ( 858 @0.10 PER PG)                          85.80
 02/07/2023   RE2       SCAN/COPY ( 790 @0.10 PER PG)                          79.00
 02/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/07/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/07/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
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 02/07/2023   RE2       SCAN/COPY ( 287 @0.10 PER PG)                          28.70
 02/07/2023   RE2       SCAN/COPY ( 38 @0.10 PER PG)                             3.80
 02/07/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/07/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/07/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/07/2023   RE2       SCAN/COPY ( 287 @0.10 PER PG)                          28.70
 02/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/07/2023   RE2       SCAN/COPY ( 780 @0.10 PER PG)                          78.00
 02/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/07/2023   RE2       SCAN/COPY ( 43 @0.10 PER PG)                             4.30
 02/07/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/07/2023   RE2       SCAN/COPY ( 869 @0.10 PER PG)                          86.90
 02/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/07/2023   RE2       SCAN/COPY ( 79 @0.10 PER PG)                             7.90
 02/07/2023   RE2       SCAN/COPY ( 49 @0.10 PER PG)                             4.90
 02/07/2023   TR        Transcript [E116]Reliable, Inv. WL109291, LDJ         551.00
 02/08/2023   DC        31213.00001 Advita Charges for 02-08-23                15.00
 02/08/2023   RE2       SCAN/COPY ( 66 @0.10 PER PG)                             6.60
 02/08/2023   RE2       SCAN/COPY ( 322 @0.10 PER PG)                          32.20
 02/08/2023   RE2       SCAN/COPY ( 161 @0.10 PER PG)                          16.10
 02/08/2023   RE2       SCAN/COPY ( 78 @0.10 PER PG)                             7.80
 02/08/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 02/08/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/08/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/08/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/08/2023   RE2       SCAN/COPY ( 56 @0.10 PER PG)                             5.60
 02/08/2023   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20
 02/08/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
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 02/08/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/08/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/08/2023   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70
 02/08/2023   RE2       SCAN/COPY ( 356 @0.10 PER PG)                          35.60
 02/08/2023   RE2       SCAN/COPY ( 28 @0.10 PER PG)                             2.80
 02/08/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/08/2023   RE2       SCAN/COPY ( 40 @0.10 PER PG)                             4.00
 02/08/2023   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00
 02/08/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/08/2023   RE2       SCAN/COPY ( 56 @0.10 PER PG)                             5.60
 02/08/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/08/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/08/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/08/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/08/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/08/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/08/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/08/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/08/2023   RE2       SCAN/COPY ( 48 @0.10 PER PG)                             4.80
 02/08/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40
 02/08/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/08/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/08/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/08/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/08/2023   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70
 02/08/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/08/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/08/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/09/2023   CC        Conference Call [E105] AT&T Conference Call, PJK         2.35
 02/09/2023   LN        31213.00001 Lexis Charges for 02-09-23                   7.69
 02/09/2023   RE        ( 4 @0.10 PER PG)                                        0.40
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 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 10 @0.10 PER PG)                                      1.00
 02/09/2023   RE        ( 26 @0.10 PER PG)                                      2.60
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 6 @0.10 PER PG)                                       0.60
 02/09/2023   RE        ( 20 @0.10 PER PG)                                      2.00
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 6 @0.10 PER PG)                                       0.60
 02/09/2023   RE        ( 16 @0.10 PER PG)                                      1.60
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 14 @0.10 PER PG)                                      1.40
 02/09/2023   RE        ( 16 @0.10 PER PG)                                      1.60
 02/09/2023   RE        ( 6 @0.10 PER PG)                                       0.60
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 24 @0.10 PER PG)                                      2.40
 02/09/2023   RE        ( 6 @0.10 PER PG)                                       0.60
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 26 @0.10 PER PG)                                      2.60
 02/09/2023   RE        ( 16 @0.10 PER PG)                                      1.60
 02/09/2023   RE        ( 44 @0.10 PER PG)                                      4.40
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 3 @0.10 PER PG)                                       0.30
 02/09/2023   RE        ( 18 @0.10 PER PG)                                      1.80
 02/09/2023   RE        ( 24 @0.10 PER PG)                                      2.40
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
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 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 20 @0.10 PER PG)                                      2.00
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 10 @0.10 PER PG)                                      1.00
 02/09/2023   RE        ( 30 @0.10 PER PG)                                      3.00
 02/09/2023   RE        ( 8 @0.10 PER PG)                                       0.80
 02/09/2023   RE        ( 20 @0.10 PER PG)                                      2.00
 02/09/2023   RE        ( 10 @0.10 PER PG)                                      1.00
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 20 @0.10 PER PG)                                      2.00
 02/09/2023   RE        ( 22 @0.10 PER PG)                                      2.20
 02/09/2023   RE        ( 16 @0.10 PER PG)                                      1.60
 02/09/2023   RE        ( 14 @0.10 PER PG)                                      1.40
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 14 @0.10 PER PG)                                      1.40
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 3 @0.10 PER PG)                                       0.30
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 10 @0.10 PER PG)                                      1.00
 02/09/2023   RE        ( 6 @0.10 PER PG)                                       0.60
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 4 @0.10 PER PG)                                       0.40
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
 02/09/2023   RE        ( 16 @0.10 PER PG)                                      1.60
 02/09/2023   RE        ( 2 @0.10 PER PG)                                       0.20
 02/09/2023   RE        ( 12 @0.10 PER PG)                                      1.20
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 02/09/2023   RE        ( 8 @0.10 PER PG)                                        0.80
 02/09/2023   RE        ( 8 @0.10 PER PG)                                        0.80
 02/09/2023   RE        ( 10 @0.10 PER PG)                                       1.00
 02/09/2023   RE        ( 12 @0.10 PER PG)                                       1.20
 02/09/2023   RE        ( 16 @0.10 PER PG)                                       1.60
 02/09/2023   RE        ( 2 @0.10 PER PG)                                        0.20
 02/09/2023   RE        ( 10 @0.10 PER PG)                                       1.00
 02/09/2023   RE        ( 8 @0.10 PER PG)                                        0.80
 02/09/2023   RE        ( 22 @0.10 PER PG)                                       2.20
 02/09/2023   RE        ( 8 @0.10 PER PG)                                        0.80
 02/09/2023   RE        ( 2 @0.10 PER PG)                                        0.20
 02/09/2023   RE        ( 28 @0.10 PER PG)                                       2.80
 02/09/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/09/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 20 @0.10 PER PG)                             2.00
 02/09/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/09/2023   RE2       SCAN/COPY ( 110 @0.10 PER PG)                          11.00
 02/09/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10
 02/09/2023   RE2       SCAN/COPY ( 19 @0.10 PER PG)                             1.90
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/09/2023   RE2       SCAN/COPY ( 110 @0.10 PER PG)                          11.00
 02/09/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
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 02/09/2023   RE2       SCAN/COPY ( 54 @0.10 PER PG)                             5.40
 02/09/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                             1.60
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 02/09/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/09/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/09/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 02/09/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/09/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 02/09/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/09/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/09/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/09/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/09/2023   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80
 02/09/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10
 02/09/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10
 02/09/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/09/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10
 02/09/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/09/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                             1.10
 02/09/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 02/09/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 02/09/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/09/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/09/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/09/2023   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80
 02/09/2023   RE2       SCAN/COPY ( 76 @0.10 PER PG)                             7.60
 02/10/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         0.90
 02/10/2023   LN        31213.00001 Lexis Charges for 02-10-23                   8.17
 02/10/2023   LN        31213.00001 Lexis Charges for 02-10-23                 15.67
 02/10/2023   LN        31213.00001 Lexis Charges for 02-10-23                   4.37
 02/11/2023   LN        31213.00001 Lexis Charges for 02-11-23                 24.48
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 02/11/2023   LN        31213.00001 Lexis Charges for 02-11-23                 16.50
 02/11/2023   LN        31213.00001 Lexis Charges for 02-11-23                 20.04
 02/11/2023   LN        31213.00001 Lexis Charges for 02-11-23                   4.37
 02/13/2023   CC        Conference Call [E105] AT&T Conference Call, PJK         2.52
 02/13/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         2.13
 02/13/2023   LN        31213.00001 Lexis Charges for 02-13-23                   8.25
 02/13/2023   LN        31213.00001 Lexis Charges for 02-13-23                 21.84
 02/13/2023   LN        31213.00001 Lexis Charges for 02-13-23                 17.48
 02/14/2023   CC        Conference Call [E105] AT&T Conference Call, PJK         4.40
 02/14/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         4.76
 02/14/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         3.62
 02/14/2023   DC        31213.00001 Advita Charges for 02-14-23                  7.50
 02/14/2023   PO        Postage [E108] Postage                                   0.60
 02/14/2023   RE        ( 2 @0.10 PER PG)                                        0.20
 02/14/2023   RE2       SCAN/COPY ( 66 @0.10 PER PG)                             6.60
 02/14/2023   RE2       SCAN/COPY ( 104 @0.10 PER PG)                          10.40
 02/14/2023   RE2       SCAN/COPY ( 50 @0.10 PER PG)                             5.00
 02/14/2023   RE2       SCAN/COPY ( 68 @0.10 PER PG)                             6.80
 02/14/2023   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80
 02/14/2023   RE2       SCAN/COPY ( 68 @0.10 PER PG)                             6.80
 02/14/2023   RE2       SCAN/COPY ( 52 @0.10 PER PG)                             5.20
 02/14/2023   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00
 02/14/2023   RE2       SCAN/COPY ( 30 @0.10 PER PG)                             3.00
 02/14/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/14/2023   RE2       SCAN/COPY ( 62 @0.10 PER PG)                             6.20
 02/14/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/14/2023   RE2       SCAN/COPY ( 104 @0.10 PER PG)                          10.40
 02/14/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                             4.40
 02/14/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                             4.40
 02/14/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/14/2023   RE2       SCAN/COPY ( 54 @0.10 PER PG)                             5.40
 02/14/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/14/2023   RE2       SCAN/COPY ( 328 @0.10 PER PG)                          32.80
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 02/14/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                             4.40
 02/14/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/14/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 02/14/2023   RE2       SCAN/COPY ( 41 @0.10 PER PG)                             4.10
 02/14/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/15/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         2.91
 02/15/2023   LN        31213.00001 Lexis Charges for 02-15-23                 16.32
 02/15/2023   LN        31213.00001 Lexis Charges for 02-15-23                   4.37
 02/15/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/15/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 02/16/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         1.30
 02/16/2023   CC        Conference Call [E105] AT&T Conference Call, DMB         0.73
 02/16/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         5.83
 02/16/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ         2.57
 02/16/2023   FE        31213.00001 FedEx Charges for 02-16-23                 16.50
 02/16/2023   FE        31213.00001 FedEx Charges for 02-16-23                 22.99
 02/16/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90
 02/16/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/16/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/16/2023   RE2       SCAN/COPY ( 480 @0.10 PER PG)                          48.00
 02/16/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/16/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/16/2023   RE2       SCAN/COPY ( 291 @0.10 PER PG)                          29.10
 02/16/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/16/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/16/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                             6.00
 02/16/2023   RE2       SCAN/COPY ( 90 @0.10 PER PG)                             9.00
 02/16/2023   RE2       SCAN/COPY ( 177 @0.10 PER PG)                          17.70
 02/16/2023   RE2       SCAN/COPY ( 194 @0.10 PER PG)                          19.40
 02/16/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/16/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/16/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/16/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/17/2023   CC        Conference Call [E105] AT&T Conference Call, PJK         2.64
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 02/17/2023   CC        Conference Call [E105] AT&T Conference Call, DMB               1.94
 02/17/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ             12.78
 02/17/2023   DC        31213.00001 Advita Charges for 02-17-23                        7.50
 02/17/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20
 02/17/2023   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                   1.90
 02/17/2023   RE2       SCAN/COPY ( 78 @0.10 PER PG)                                   7.80
 02/17/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                    0.50
 02/17/2023   RE2       SCAN/COPY ( 325 @0.10 PER PG)                                32.50
 02/17/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                   1.30
 02/17/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
 02/17/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
 02/17/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
 02/17/2023   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                   2.30
 02/17/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                    0.50
 02/17/2023   RE2       SCAN/COPY ( 178 @0.10 PER PG)                                17.80
 02/17/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
 02/17/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                   2.10
 02/17/2023   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                    0.70
 02/18/2023   AF        Air Fare [E110] American Airlines, Tkt. 00178797172573,    2,729.80
                        from SFO to PHL, PHL to SFO, DMB
 02/18/2023   TE        Travel Expense [E110] Travel Agency Service Fee, DMB         50.00
 02/19/2023   CC        Conference Call [E105] AT&T Conference Call, DMB               9.45
 02/20/2023   AF        Air Fare [E110] American Airlines, Tkt, 0012372978159,     1,417.90
                        from SFO to PHL, JMF
 02/20/2023   CC        Conference Call [E105] AT&T Conference Call, DMB               1.40
 02/20/2023   CC        Conference Call [E105] AT&T Conference Call, DMB               1.39
 02/20/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                   2.90
 02/20/2023   RE2       SCAN/COPY ( 51 @0.10 PER PG)                                   5.10
 02/20/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                   1.10
 02/21/2023   CC        Conference Call [E105] AT&T Conference Call, PJK               3.20
 02/21/2023   CC        Conference Call [E105] AT&T Conference Call, DMB               9.85
 02/21/2023   DC        31213.00001 Advita Charges for 02-21-23                        7.50
 02/21/2023   RE        ( 64 @0.10 PER PG)                                             6.40
 02/21/2023   RE        ( 77 @0.10 PER PG)                                             7.70
 02/21/2023   RE        ( 3 @0.10 PER PG)                                              0.30
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 02/21/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
 02/21/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
 02/21/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 02/21/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
 02/21/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 02/21/2023   RE2       SCAN/COPY ( 144 @0.10 PER PG)                               14.40
 02/21/2023   RE2       SCAN/COPY ( 288 @0.10 PER PG)                               28.80
 02/21/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 02/21/2023   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                  2.70
 02/21/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
 02/21/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
 02/21/2023   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                  2.70
 02/21/2023   RE2       SCAN/COPY ( 144 @0.10 PER PG)                               14.40
 02/21/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
 02/21/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
 02/21/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                  2.60
 02/21/2023   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                  3.10
 02/21/2023   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                  3.90
 02/21/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                  2.60
 02/21/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                  2.40
 02/21/2023   TE        Travel Expense [E110] Amtrak, Tkt. 0590705095131, from     208.00
                        Wilmington to Newark, JMF
 02/22/2023   CC        Conference Call [E105] AT&T Conference Call, TPC              2.96
 02/22/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ              1.62
 02/22/2023   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                  2.80
 02/22/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                  2.90
 02/22/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                  4.40
 02/22/2023   RE2       SCAN/COPY ( 56 @0.10 PER PG)                                  5.60
 02/22/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                  2.90
 02/22/2023   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
 02/22/2023   RE2       SCAN/COPY ( 52 @0.10 PER PG)                                  5.20
 02/22/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                  4.40
 02/22/2023   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                  3.90
 02/22/2023   RE2       SCAN/COPY ( 55 @0.10 PER PG)                                  5.50
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 02/23/2023   AF        Air Fare [E110] United Airlines, Tkt. 01624676273146,    1,348.90
                        from EWR to SFO, JMF
 02/23/2023   CC        Conference Call [E105] AT&T Conference Call, PJK             3.20
 02/23/2023   CC        Conference Call [E105] AT&T Conference Call, DMB           16.20
 02/23/2023   CC        Conference Call [E105] AT&T Conference Call, DMB             6.70
 02/23/2023   DC        31213.00001 Advita Charges for 02-23-23                    22.50
 02/23/2023   LN        31213.00001 Lexis Charges for 02-23-23                     18.57
 02/23/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                 2.60
 02/23/2023   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                 3.20
 02/23/2023   RE2       SCAN/COPY ( 32 @0.10 PER PG)                                 3.20
 02/24/2023   CC        Conference Call [E105] AT&T Conference Call, DMB             3.39
 02/24/2023   DC        31213.00001 Advita Charges for 02-24-23                   442.25
 02/24/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
 02/24/2023   RE2       SCAN/COPY ( 540 @0.10 PER PG)                              54.00
 02/24/2023   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                 3.70
 02/24/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
 02/24/2023   RE2       SCAN/COPY ( 410 @0.10 PER PG)                              41.00
 02/24/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                 2.20
 02/24/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
 02/24/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                 6.00
 02/24/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                 2.90
 02/24/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                                 5.30
 02/24/2023   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
 02/24/2023   RE2       SCAN/COPY ( 141 @0.10 PER PG)                              14.10
 02/24/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                  0.10
 02/24/2023   RE2       SCAN/COPY ( 1950 @0.10 PER PG)                            195.00
 02/24/2023   RE2       SCAN/COPY ( 310 @0.10 PER PG)                              31.00
 02/24/2023   RE2       SCAN/COPY ( 320 @0.10 PER PG)                              32.00
 02/24/2023   RE2       SCAN/COPY ( 310 @0.10 PER PG)                              31.00
 02/24/2023   RE2       SCAN/COPY ( 320 @0.10 PER PG)                              32.00
 02/24/2023   RE2       SCAN/COPY ( 23 @0.10 PER PG)                                 2.30
 02/24/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 02/24/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                 2.40
 02/24/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                  0.50
                    Case
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 02/24/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/24/2023   RE2       SCAN/COPY ( 23 @0.10 PER PG)                             2.30
 02/24/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/24/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/24/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 02/24/2023   RE2       SCAN/COPY ( 25 @0.10 PER PG)                             2.50
 02/24/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20
 02/24/2023   RE2       SCAN/COPY ( 13 @0.10 PER PG)                             1.30
 02/24/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/24/2023   RE2       SCAN/COPY ( 141 @0.10 PER PG)                          14.10
 02/24/2023   RE2       SCAN/COPY ( 38 @0.10 PER PG)                             3.80
 02/24/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/24/2023   RE2       SCAN/COPY ( 39 @0.10 PER PG)                             3.90
 02/24/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/24/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                             5.30
 02/24/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                             5.30
 02/24/2023   RE2       SCAN/COPY ( 68 @0.10 PER PG)                             6.80
 02/24/2023   RE2       SCAN/COPY ( 79 @0.10 PER PG)                             7.90
 02/24/2023   RE2       SCAN/COPY ( 31 @0.10 PER PG)                             3.10
 02/24/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/24/2023   RE2       SCAN/COPY ( 37 @0.10 PER PG)                             3.70
 02/24/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/24/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90
 02/24/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                             5.30
 02/24/2023   RE2       SCAN/COPY ( 7 @0.10 PER PG)                              0.70
 02/24/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/24/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/24/2023   RE2       SCAN/COPY ( 154 @0.10 PER PG)                          15.40
 02/24/2023   RE2       SCAN/COPY ( 154 @0.10 PER PG)                          15.40
 02/24/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/24/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
 02/24/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/24/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10
 02/24/2023   RE2       SCAN/COPY ( 19 @0.10 PER PG)                             1.90
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 02/24/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
 02/24/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
 02/24/2023   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                  1.70
 02/24/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
 02/24/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
 02/24/2023   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                  4.80
 02/24/2023   RE2       SCAN/COPY ( 38 @0.10 PER PG)                                  3.80
 02/25/2023   CC        Conference Call [E105] AT&T Conference Call, DMB            47.18
 02/25/2023   RE2       SCAN/COPY ( 69 @0.10 PER PG)                                  6.90
 02/25/2023   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                  4.80
 02/25/2023   RE2       SCAN/COPY ( 80 @0.10 PER PG)                                  8.00
 02/25/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                                  5.30
 02/25/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                                  5.30
 02/25/2023   RE2       SCAN/COPY ( 43 @0.10 PER PG)                                  4.30
 02/25/2023   RE2       SCAN/COPY ( 43 @0.10 PER PG)                                  4.30
 02/26/2023   BM        Business Meal [E111] Gotts Roadside, Working Meal, JMF      40.27
 02/26/2023   CC        Conference Call [E105] AT&T Conference Call, DMB              3.66
 02/26/2023   RE2       SCAN/COPY ( 42 @0.10 PER PG)                                  4.20
 02/26/2023   TE        Travel Expense [E110] InFlight Wifi Fee, DMB                29.00
 02/27/2023   BM        Business Meal [E111] Bistrot, Working Meal, DMB               9.24
 02/27/2023   BM        Business Meal [E111] Olimpyc Steaks, working meal, LDJ      30.48
 02/27/2023   CC        Conference Call [E105] AT&T Conference Call, PJK            14.27
 02/27/2023   CC        Conference Call [E105] AT&T Conference Call, DMB            10.14
 02/27/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ              4.57
 02/27/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ              0.86
 02/27/2023   DC        31213.00001 Advita Charges for 02-27-23                     22.35
 02/27/2023   DC        31213.00001 Advita Charges for 02-27-23                     22.50
 02/27/2023   LN        31213.00001 Lexis Charges for 02-27-23                      48.96
 02/27/2023   LN        31213.00001 Lexis Charges for 02-27-23                      74.28
 02/27/2023   LN        31213.00001 Lexis Charges for 02-27-23                      15.67
 02/27/2023   LN        31213.00001 Lexis Charges for 02-27-23                        4.37
 02/27/2023   RE        ( 4 @0.10 PER PG)                                             0.40
 02/27/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
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 02/27/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 02/27/2023   RE2       SCAN/COPY ( 334 @0.10 PER PG)                          33.40
 02/27/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/27/2023   RE2       SCAN/COPY ( 54 @0.10 PER PG)                             5.40
 02/27/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/27/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40
 02/27/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                              0.80
 02/27/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 02/27/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/27/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/27/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                             3.60
 02/27/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/27/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/27/2023   RE2       SCAN/COPY ( 40 @0.10 PER PG)                             4.00
 02/27/2023   RE2       SCAN/COPY ( 325 @0.10 PER PG)                          32.50
 02/27/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/27/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 02/27/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                             1.40
 02/27/2023   RE2       SCAN/COPY ( 160 @0.10 PER PG)                          16.00
 02/27/2023   RE2       SCAN/COPY ( 96 @0.10 PER PG)                             9.60
 02/27/2023   RE2       SCAN/COPY ( 98 @0.10 PER PG)                             9.80
 02/27/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/27/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/27/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40
 02/27/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/27/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/27/2023   RE2       SCAN/COPY ( 156 @0.10 PER PG)                          15.60
 02/27/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/27/2023   RE2       SCAN/COPY ( 50 @0.10 PER PG)                             5.00
 02/27/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/27/2023   RE2       SCAN/COPY ( 32 @0.10 PER PG)                             3.20
 02/27/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                             2.60
 02/27/2023   RE2       SCAN/COPY ( 43 @0.10 PER PG)                             4.30
 02/27/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
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 02/27/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
 02/27/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                   6.00
 02/27/2023   RE2       SCAN/COPY ( 158 @0.10 PER PG)                                15.80
 02/27/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                   6.00
 02/27/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60
 02/27/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                   1.00
 02/27/2023   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                   7.20
 02/27/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 02/27/2023   RE2       SCAN/COPY ( 44 @0.10 PER PG)                                   4.40
 02/27/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
 02/27/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20
 02/27/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20
 02/27/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                   3.60
 02/27/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60
 02/27/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
 02/27/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60
 02/27/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                    0.20
 02/27/2023   RE2       SCAN/COPY ( 39 @0.10 PER PG)                                   3.90
 02/27/2023   TE        Travel Expense [E110] InFlight Wifi Fee, JMF                 29.00
 02/28/2023   AT        Auto Travel Expense [E109] Verifone Transportation, JMF      59.45
 02/28/2023   BM        Business Meal [E111] Spark'd, Working Meal, DMB              10.50
 02/28/2023   DC        31213.00001 Advita Charges for 02-28-23                      23.99
 02/28/2023   DC        31213.00001 Advita Charges for 02-28-23                      48.15
 02/28/2023   DC        31213.00001 Advita Charges for 02-28-23                     461.45
 02/28/2023   DC        31213.00001 Advita Charges for 02-28-23                     220.25
 02/28/2023   LN        31213.00001 Lexis Charges for 02-28-23                       30.75
 02/28/2023   RE        ( 234 @0.10 PER PG)                                          23.40
 02/28/2023   RE        ( 208 @0.10 PER PG)                                          20.80
 02/28/2023   RE        ( 233 @0.10 PER PG)                                          23.30
 02/28/2023   RE        ( 68 @0.10 PER PG)                                             6.80
 02/28/2023   RE        ( 192 @0.10 PER PG)                                          19.20
 02/28/2023   RE        ( 1 @0.10 PER PG)                                              0.10
 02/28/2023   RE        ( 588 @0.10 PER PG)                                          58.80
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 02/28/2023   RE        ( 612 @0.10 PER PG)                                    61.20
 02/28/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/28/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 02/28/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/28/2023   RE2       SCAN/COPY ( 39 @0.10 PER PG)                             3.90
 02/28/2023   RE2       SCAN/COPY ( 94 @0.10 PER PG)                             9.40
 02/28/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/28/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/28/2023   RE2       SCAN/COPY ( 110 @0.10 PER PG)                          11.00
 02/28/2023   RE2       SCAN/COPY ( 75 @0.10 PER PG)                             7.50
 02/28/2023   RE2       SCAN/COPY ( 401 @0.10 PER PG)                          40.10
 02/28/2023   RE2       SCAN/COPY ( 34 @0.10 PER PG)                             3.40
 02/28/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                             2.20
 02/28/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
 02/28/2023   RE2       SCAN/COPY ( 200 @0.10 PER PG)                          20.00
 02/28/2023   RE2       SCAN/COPY ( 615 @0.10 PER PG)                          61.50
 02/28/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/28/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/28/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                              0.30
 02/28/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                             2.40
 02/28/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 02/28/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                             1.20
 02/28/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90
 02/28/2023   RE2       SCAN/COPY ( 25 @0.10 PER PG)                             2.50
 02/28/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/28/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 02/28/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 02/28/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/28/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/28/2023   RE2       SCAN/COPY ( 195 @0.10 PER PG)                          19.50
 02/28/2023   RE2       SCAN/COPY ( 50 @0.10 PER PG)                             5.00
 02/28/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/28/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/28/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
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 02/28/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                             6.00
 02/28/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                              0.90
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 02/28/2023   RE2       SCAN/COPY ( 40 @0.10 PER PG)                             4.00
 02/28/2023   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80
 02/28/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                              0.60
 02/28/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                             3.60
 02/28/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 02/28/2023   RE2       SCAN/COPY ( 29 @0.10 PER PG)                             2.90
 02/28/2023   RE2       SCAN/COPY ( 68 @0.10 PER PG)                             6.80
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 02/28/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                              0.40
 02/28/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                             1.00
 02/28/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                             2.10
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 02/28/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                              0.50
 02/28/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                              0.10
 02/28/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                             1.50
 02/28/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                              0.20
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 02/28/2023   RE2       SCAN/COPY ( 18 @0.10 PER PG)                             1.80
 02/28/2023   PAC       Pacer - Court Research                                 513.40

   Total Expenses for this Matter                                        $11,753.08
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        02/28/2023

Total Fees                                                                                            $991,725.50

Total Expenses                                                                                          11,753.08

Total Due on Current Invoice                                                                        $1,003,478.58

  Outstanding Balance from prior invoices as of        02/28/2023          (May not include recent payments)

A/R Bill Number          Invoice Date               Fees Billed         Expenses Billed              Balance Due
 132148                  01/31/2023                $304,014.00           $11,622.17                  $315,636.17

             Total Amount Due on Current and Prior Invoices:                                        $1,319,114.75
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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
GIGAMONSTER NETWORKS, LLC, et al.,1                       ) Case No. 23-10051 (JKS)
                                                          )
                                 Debtors.                 ) (Jointly Administered)
                                                          )
                                                          Objection Deadline: July 31, 2023 at 4:00 p.m.
                                                          Hearing Date: To be scheduled if necessary



                THIRD MONTHLY APPLICATION FOR COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES OF
                PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
              FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
               PERIOD FROM MARCH 1, 2023 THROUGH MARCH 31, 2023

    Name of Applicant:                                Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                      Debtors and Debtors in Possession
    to:
                                                      Effective as of January 16, 2023 by order
    Date of Retention:
                                                      signed February 9, 2023
    Period for which Compensation and
                                                      March 1, 2023 through March 31, 20232
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                      $934,165.25
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                      $    9,606.27
    as Actual, Reasonable and Necessary:

This is a:       ☒monthly        ☐ interim        ☐final application.

                 The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,000.00.



1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
2
  The applicant reserves the right to include any time expended in the time period indicated above in future
application(s) if it is not included herein.


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                                 PRIOR APPLICATIONS FILED

   Date          Period Covered        Requested      Requested      Approved        Approved
  Filed                                  Fees         Expenses         Fees          Expenses
 04/11/23      01/17/23 – 01/31/23     $304,014.00     $11,622.17    $243,211.20      $11,622.17
 04/18/23      02/01/23 – 02/28/23     $991,725.50     $11,753.08    $793,380.40      $11,753.08



                                     PSZ&J PROFESSIONALS

         Name of                 Position of the Applicant,      Hourly   Total        Total
       Professional              Number of Years in that         Billing  Hours     Compensation
        Individual                Position, Prior Relevant        Rate    Billed
                              Experience, Year of Obtaining    (including
                                License to Practice, Area of    Changes)
                                         Expertise
 Laura Davis Jones           Partner 2000; Joined Firm 2000;   $1,745.00    68.50     $119,532.50
                             Member of DE Bar since 1986
 David J. Barton             Partner 2000; Member of CA Bar    $1,645.00    51.50     $ 84,717.50
                             since 1981
 Richard J. Gruber           Of Counsel 2008; Member of CA     $1,525.00    40.10     $ 61,152.50
                             Bar since 1982
 David M. Bertenthal         Partner 1999; Member of CA Bar    $1,450.00   119.60     $173,420.00
                             since 1993                        $ 725.00      7.20     $ 5,220.00
 Maxim B. Litvak             Partner 2004; Member of TX Bar    $1,445.00     3.60     $ 5,202.00
                             since 1997; Member of CA Bar
                             since 2001
 Mary F. Caloway             Of Counsel 2020; Member of DE     $1,350.00     2.30     $   3,105.00
                             Bar since 1992
 Joshua M. Fried             Partner 2006; Member of CA Bar    $1,275.00    67.10     $ 85,552.50
                             since 1995; Member of NY Bar      $ 637.50      7.30     $ 4,653.75
                             since 1999; Member of NJ Bar
                             since 2000
 Timothy P. Cairns           Partner 2012; Member of DE Bar    $1,125.00    96.10     $108,112.50
                             2002-2014; 2017-Present
 Nina L. Hong                Partner 2006; Member of CA Bar    $1,075.00   139.70     $150,177.50
                             since 1996
 Peter J. Keane              Of Counsel 2018; Member of PA     $1,025.00   108.40     $111,110.00
                             Bar since 2008; Member of DE &
                             NH Bars since 2010
 Edward A. Corma             Associate 2022; Member of NJ      $ 725.00     17.10     $ 12,397.50
                             Bar since 2018; Member of PA
                             Bar since 2019; Member of DE
                             Bar since 2020
 Patricia J. Jeffries        Paralegal                         $ 545.00      0.80     $    436.00


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         Name of                Position of the Applicant,      Hourly   Total       Total
       Professional              Number of Years in that        Billing  Hours    Compensation
        Individual               Position, Prior Relevant        Rate    Billed
                              Experience, Year of Obtaining   (including
                               License to Practice, Area of    Changes)
                                        Expertise
 Patricia E. Cuniff          Paralegal                        $ 545.00     0.10     $      54.50
 Ian Densmore                Paralegal                        $ 545.00    15.70     $   8,556.50
 Karen S. Neil               Case Management Assistant        $ 425.00     1.80     $     765.00

                                    Grand Total:    $934,165.25
                                    Total Hours:         746.90
                                    Blended Rate:     $1,250.72




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                                 COMPENSATION BY CATEGORY

                 Project Categories                          Total Hours                    Total Fees
    Asset Disposition                                                 494.80                   $646,843.50
    Bankruptcy Litigation                                             101.80                   $126,001.00
    Business Operations                                                  2.70                  $ 2,852.50
    Case Administration                                                  7.90                  $ 4,411.50
    Claims Admin./Objections                                            21.30                  $ 24,586.00
    Compensation of Prof./Others                                         8.00                  $ 8,431.50
    Employee Benefit/Pension                                             2.90                  $ 4,132.00
    Executory Contracts                                                 79.30                  $ 89,377.00
    Financial Filings                                                    5.80                  $ 5,655.00
    Financing                                                            7.50                  $ 11,421.50
    Tax Issues                                                           0.40                  $     580.00
    Travel                                                              14.50                  $ 9,873.75


                                         EXPENSE SUMMARY

          Expense Category                              Service Provider3                         Total
                                                          (if applicable)                        Expenses
    Airport Parking                      SFO                                                      $ 180.00
    Auto Travel Expense                  KLS Worldwide Transportation                             $ 866.97
    Working Meals                        Spark’d; El Diablo Market St.; Chickies &                $ 153.05
                                         Pete; Deco; Cactus Cantina
    Conference Call                      AT&T Conference Call                                      $ 73.59
    Delivery/Courier Service             Advita                                                    $ 463.54
    Hotel Expense                        Hotel DuPont                                              $2,631.20
    Legal Research                       Lexis/Nexis                                               $ 185.82
    Outside Services                     L. Saunders                                               $ 434.40
    Court Research                       Pacer                                                     $ 364.80
    Reproduction Expense                                                                           $    8.90
    Reproduction/ Scan Copy                                                                        $1,130.60
    Travel Expense                       Travel Agency Fee; Inflight WiFi Service                  $ 64.00
    Transcript                           Reliable Companies; Veritext                              $3,049.40




3
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 ) Chapter 11
                                                       )
GIGAMONSTER NETWORKS, LLC, et al.,1                    ) Case No. 23-10051 (JKS)
                                                       )
                                 Debtors.              ) (Jointly Administered)
                                                       )
                                                        Objection Deadline: July 31, 2023 at 4:00 p.m.
                                                        Hearing Date: To be scheduled if necessary



              THIRD MONTHLY APPLICATION FOR COMPENSATION
                   AND REIMBURSEMENT OF EXPENSES OF
              PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
               FOR THE DEBTORS AND DEBTORS IN POSSESSION,
         FOR THE PERIOD FROM MARCH 1, 2023 THROUGH MARCH 31, 2023

                 Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”) and the Court’s “Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals,” signed on or about February 9, 2023 (the

“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), counsel

for the debtors and debtors in possession (“Debtors”), hereby submits its Third Monthly

Application for Compensation and for Reimbursement of Expenses for the Period from March 1,

2023 through March 31, 2023 (the “Application”).

                 By this Application PSZ&J seeks a monthly interim allowance of compensation

in the amount of $934,165.25 and actual and necessary expenses in the amount of $9,606.27 for


1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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a total allowance of $943,771.52 and payment of $747,332.20 (80% of the allowed fees) and

reimbursement of $9,606.27 (100% of the allowed expenses) for a total payment of $756,938.47

for the period March 1, 2023 through March 31, 2023 (the “Fee Period”):

                                                Background

                 1.          On January 16, 2023, the Debtors commenced these cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in

possession of their property and continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the Debtors’ chapter 11 cases. An official committee of

unsecured creditors (the “Committee”) was appointed in these cases on or about January 30,

2023.

                 2.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                 3.          On or about February 9, 2023, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within twenty-one (21) days after service of the

monthly fee application the Debtors are authorized to pay the Professional eighty percent (80%)

of the requested fees and one hundred percent (100%) of the requested expenses. Beginning

with the period ending March 31, 2023, and at three-month intervals or such other intervals



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convenient to the Court, each of the Professionals may file and serve an interim application for

allowance of the amounts sought in its monthly fee applications for that period. All fees and

expenses paid are on an interim basis until final allowance by the Court.

                 4.          The retention of PSZ&J, as counsel for the Debtors, was approved

effective as of January 16, 2023 by this Court’s “Order Authorizing the Employment and

Retention of Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the

Petition Date,” signed on or about February 9, 2023 (the “Retention Order”). The Retention

Order authorized PSZ&J to be compensated on an hourly basis and to be reimbursed for actual

and necessary out-of-pocket expenses.

                      PSZ&J’s APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                 5.          All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtors, and not on behalf of any committee, creditor or other person.

                 6.          PSZ&J, and any partner, of counsel, or associate thereof, have received no

payment and no promises for payment from any source other than from the Debtors for services

rendered or to be rendered in any capacity whatsoever in connection with the matters covered by

this Application. There is no agreement or understanding between PSZ&J and any other person

other than among the partners, of counsel, or associates of PSZ&J for the sharing of

compensation to be received for services rendered in these cases. PSZ&J has received payments

from the Debtors during the year prior to the Petition Date in the amount of $850,000 in

connection with the preparation of initial documents and its prepetition representation of the


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Debtors. Upon final reconciliation of the amount actually expended prepetition, any balance

remaining from the prepetition payments to PSZ&J will be credited to the Debtors and utilized as

PSZ&J’s retainer to apply to postpetition fees and expenses pursuant to the compensation

procedures approved by this Court in accordance with the Bankruptcy Code.

                 7.          The professional services and related expenses for which PSZ&J requests

interim allowance of compensation and reimbursement of expenses were rendered and incurred

in connection with these cases in the discharge of PSZ&J’s professional responsibilities as

attorneys for the Debtors in these chapter 11 cases. PSZ&J’s services have been necessary and

beneficial to the Debtors and their estates, creditors and other parties in interest.

                                               Fee Statements

                 8.          The fee statements for the Fee Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Fee Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code and the Bankruptcy Rules.

PSZ&J’s time reports are initially handwritten by the attorney or paralegal performing the

described services. The time reports are organized on a daily basis. PSZ&J is particularly

sensitive to issues of “lumping” and, unless time was spent in one time frame on a variety of

different matters for a particular client, separate time entries are set forth in the time reports.

PSZ&J’s charges for its professional services are based upon the time, nature, extent and value

of such services and the cost of comparable services other than in a case under the Bankruptcy

Code. PSZ&J has reduced its charges related to any non-working “travel time” to fifty percent



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(50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J professionals attempt

to work during travel.

                                      Actual and Necessary Expenses

                 9.          A summary of actual and necessary expenses incurred by PSZ&J for the

Fee Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per page

for photocopying expenses related to cases, such as this one, arising in Delaware. PSZ&J’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                 10.         PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtors for the receipt of faxes in these cases.

                 11.         With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                 12.         PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are



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in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered

                 13.         The names of the partners and associates of PSZ&J who have rendered

professional services in these cases during the Fee Period, and the paralegals and case

management assistants of PSZ&J who provided services to these attorneys during the Fee Period,

are set forth in the attached Exhibit A.

                 14.         PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Debtors on a regular basis with respect to various matters in connection with the Debtors’

bankruptcy cases, and performed all necessary professional services which are described and

narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of

the Debtors’ bankruptcy cases.

                                     Summary of Services by Project

                 15.         The services rendered by PSZ&J during the Fee Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit



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A identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.

             A.         Asset Disposition

                  16.        This category relates to work regarding sales and other asset disposition

issues. During the Fee Period, the Firm, among other things: (1) performed work regarding the

Skywire Asset Purchase Agreement; (2) performed work regarding a revised Transition Service

Agreement; (3) reviewed and analyzed issues regarding a proposed small property deal relating

to MC Partners; (4) reviewed and analyzed auction issues; (5) reviewed and analyzed

documentation issues relating to the successful bidder at auction; (6) performed work regarding

sale order modifications; (7) prepared for and attended an auction on March 1, 2023;

(8) reviewed and analyzed post-auction issues; (9) performed work regarding a notice of auction

results; (10) reviewed and analyzed an auction transcript; (11) performed work regarding

proposed resolutions of sale objections; (12) performed work regarding sale-related proffers;

(13) performed work regarding a reply in support of sale motion; (14) performed work regarding

a Second Amendment to the Bel Air Asset Purchase Agreement; (15) attended to issues

regarding Skywire Transition Service Agreement schedules; (16) performed work regarding

Debtor in Possession financing payoff issues; (17) reviewed and analyzed stalking horse breakup

fee and expense reimbursement issues; (18) reviewed and analyzed cure issues; (19) reviewed

and analyzed closing issues and performed work regarding a summary of postclosing

obligations; (20) attended to closing payment issues; (21) performed research; (22) performed



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work regarding the closing of the Skywire transaction; (23) reviewed and analyzed a wind down

budget regarding closing issues; (24) reviewed and analyzed issues regarding the MC Partners

Asset Purchase Agreement relating to remnant properties; (25) performed work regarding the

MC Partners sale transaction; (26) performed work regarding a notice of payment of cure

amounts; (27) reviewed and analyzed issues regarding de minimis asset sale procedures motions;

(28) performed work regarding template agreements for one-off transactions; (29) performed

work regarding miscellaneous asset sale issues; (30) performed work regarding a de minimis

asset sales motion; (31) reviewed and analyzed an office exit list; (32) performed work regarding

a form Asset Purchase Agreement for miscellaneous assets; and (33) corresponded and conferred

regarding asset disposition issues.

                             Fees: $646,843.50;   Hours: 494.80

             B.         Bankruptcy Litigation

                  17.        This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Fee Period, the Firm, among other things: (1) performed

work regarding Agenda Notices and Hearing Binders; (2) prepared for and attended a hearing on

March 2, 2023; (3) attended to deadline issues; (4) reviewed and analyzed a critical dates

memorandum and attended to scheduling issues; (5) performed work regarding an Omnibus

hearing order; (6) reviewed and analyzed Committee document requests and performed work

regarding responses to Committee diligence requests; (7) reviewed and analyzed removal issues;

(8) performed work regarding a motion to extend the removal deadline; (9) maintained a work-

in-progress list; (10) performed work regarding a bar date motion and a Section 365(d)(4)




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extension motion; (11) reviewed and analyzed privilege issues relating to documents to be

produced to the Committee; (12) reviewed and analyzed issues regarding DirecPath;

(13) performed work regarding a demand letter to DirecPath; and (14) corresponded and

conferred regarding bankruptcy litigation issues.

                             Fees: $126,001.00;    Hours: 101.80

             C.         Business Operations

                  18.        This category relates to work regarding business operations issues.

During the Fee Period, the Firm, among other things: (1) reviewed and analyzed issues

regarding an Alabama Attorney General complaint; (2) reviewed and analyzed Regions issues;

(3) performed work regarding disconnection notice issues; and (4) corresponded and conferred

regarding business operations issues.

                             Fees: $2,852.50;      Hours: 2.70

             D.         Case Administration

                  19.        This category relates to work regarding administration of these cases.

During the Fee Period, the Firm, among other things: (1) maintained a memorandum of critical

dates; (2) maintained document control; and (3) corresponded regarding case administration

issues.

                             Fees: $4,411.50;      Hours: 7.90

             E.         Claims Administration and Objections

                  20.        This category relates to work regarding claims administration and claims

objections. During the Fee Period, the Firm, among other things: (1) responded to creditor

inquiries; (2) performed research; (3) reviewed and analyzed issues regarding a bar date motion;


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(4) performed work regarding a bar date motion; (5) reviewed and analyzed issues regarding

contingent claims in bankruptcy proceedings; (6) reviewed and analyzed claims issues relating to

service contracts; and (7) corresponded and conferred regarding claim issues.

                             Fees: $24,586.00;     Hours: 21.30

             F.         Compensation of Professionals--Others

                  21.        This category relates to issues regarding the compensation of

professionals, other than the Firm. During the Fee Period, the Firm, among other things:

(1) performed work regarding the First Bank fee application; (2) performed work regarding the

Bank Street interim fee application; (3) performed work regarding a Novo staffing report; (4)

performed work on Kroll fee invoices; and (5) corresponded and conferred regarding

compensation issues.

                             Fees: $8,431.50;      Hours: 8.00

             G.         Employee Benefits and Pensions

                  22.        This category relates to issues regarding employee benefits and pension

plans, and other employee issues. During the Fee Period, the Firm, among other things: (1)

performed work regarding a Key Employee Retention Program order; (2) performed research;

and (3) corresponded regarding employee issues.

                             Fees: $4,132.00;      Hours: 2.90

             H.         Executory Contracts

                  23.        This category relates to issues regarding executory contracts and

unexpired leases of real property. During the Fee Period, the Firm, among other things:

(1) reviewed and analyzed mechanics lien issues; (2) performed research; (3) reviewed and


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analyzed cure issues; (4) performed work regarding a rejection procedures motion and order;

(5) reviewed and analyzed issues regarding unlisted contracts; (6) performed work regarding a

supplemental cure notice; (7) performed work regarding a list of assumed contracts;

(8) performed work regarding a cure summary; (9) performed work regarding a motion to extend

the period to assume or reject nonresidential leases of real property; (10) performed work

regarding a property exit list; (11) reviewed and analyzed circuit contract issues; and

(12) corresponded and conferred regarding lease and contract issues.

                             Fees: $89,377.00;     Hours: 79.30

             I.         Financial Filings

                  24.        This category relates to issues regarding compliance with reporting

requirements. During the Fee Period, the Firm, among other things: (1) performed work

regarding Monthly Operating Reports; (2) performed work regarding an Amended Statement of

Financial Affairs; and (3) corresponded regarding financial filings issues.

                             Fees: $5,655.00;      Hours: 5.80

             J.         Financing

                  25.        This category relates to issues regarding Debtor in Possession financing

and use of cash collateral. During the Fee Period, the Firm, among other things: (1) reviewed

and analyzed budget issues; (2) performed work regarding a payoff letter; (3) attended to funding

issues; (4) performed work regarding sale-related financing issues; and (5) corresponded and

conferred regarding financing issues.

                             Fees: $11,421.50;     Hours: 7.50




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             K.         Tax Issues

                  26.        This category relates to work regarding tax issues. During the Fee Period,

the Firm, among other things, reviewed and analyzed Texas tax issues and Arizona tax filing

issues.

                             Fees: $580.00;        Hours: 0.40

             L.         Travel

                  27.        During the Fee Period, the Firm incurred non-working time while

traveling on case matters. Such time is billed at one-half the normal rate.

                             Fees: $9,873.75;      Hours: 14.50

                                           Valuation of Services

                  28.        Attorneys and paraprofessionals of PSZ&J expended a total 746.90 hours

in connection with their representation of the Debtors during the Fee Period, as follows:

         Name of                     Position of the Applicant,        Hourly   Total          Total
       Professional                  Number of Years in that           Billing  Hours       Compensation
        Individual                    Position, Prior Relevant          Rate    Billed
                                  Experience, Year of Obtaining      (including
                                    License to Practice, Area of      Changes)
                                             Expertise
 Laura Davis Jones               Partner 2000; Joined Firm 2000;      $1,745.00    68.50       $119,532.50
                                 Member of DE Bar since 1986
 David J. Barton                 Partner 2000; Member of CA Bar       $1,645.00    51.50       $ 84,717.50
                                 since 1981
 Richard J. Gruber               Of Counsel 2008; Member of CA        $1,525.00    40.10       $ 61,152.50
                                 Bar since 1982
 David M. Bertenthal             Partner 1999; Member of CA Bar       $1,450.00   119.60       $173,420.00
                                 since 1993                           $ 725.00      7.20       $ 5,220.00
 Maxim B. Litvak                 Partner 2004; Member of TX Bar       $1,445.00     3.60       $ 5,202.00
                                 since 1997; Member of CA Bar
                                 since 2001
 Mary F. Caloway                 Of Counsel 2020; Member of DE        $1,350.00      2.30      $   3,105.00
                                 Bar since 1992



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         Name of                    Position of the Applicant,         Hourly   Total          Total
       Professional                 Number of Years in that            Billing  Hours       Compensation
        Individual                   Position, Prior Relevant           Rate    Billed
                                 Experience, Year of Obtaining       (including
                                   License to Practice, Area of       Changes)
                                            Expertise
 Joshua M. Fried                Partner 2006; Member of CA Bar        $1,275.00     67.10      $ 85,552.50
                                since 1995; Member of NY Bar          $ 637.50       7.30      $ 4,653.75
                                since 1999; Member of NJ Bar
                                since 2000
 Timothy P. Cairns              Partner 2012; Member of DE Bar        $1,125.00     96.10      $108,112.50
                                2002-2014; 2017-Present
 Nina L. Hong                   Partner 2006; Member of CA Bar        $1,075.00    139.70      $150,177.50
                                since 1996
 Peter J. Keane                 Of Counsel 2018; Member of PA         $1,025.00    108.40      $111,110.00
                                Bar since 2008; Member of DE &
                                NH Bars since 2010
 Edward A. Corma                Associate 2022; Member of NJ          $ 725.00      17.10      $ 12,397.50
                                Bar since 2018; Member of PA
                                Bar since 2019; Member of DE
                                Bar since 2020
 Patricia J. Jeffries           Paralegal                             $   545.00     0.80      $     436.00
 Patricia E. Cuniff             Paralegal                             $   545.00     0.10      $      54.50
 Ian Densmore                   Paralegal                             $   545.00    15.70      $   8,556.50
 Karen S. Neil                  Case Management Assistant             $   425.00     1.80      $     765.00

                                         Grand Total:      $934,165.25
                                         Total Hours:           746.90
                                         Blended Rate:       $1,250.72

                 29.         The nature of work performed by these persons is fully set forth in Exhibit

A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtors during the Fee Period is

$934,165.25.

                 30.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services


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other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order signed on or about

February 9, 2023 and believes that this Application complies with such Rule and Order.

                 WHEREFORE, PSZ&J respectfully requests that the Court enter an order

providing that, for the period of March 1, 2023 through March 31, 2023, an interim allowance be

made to PSZ&J for compensation in the amount of $934,165.25 and actual and necessary

expenses in the amount of $9,606.27 for a total allowance of $943,771.52 and payment of

$747,332.20 (80% of the allowed fees) and reimbursement of $9,606.27 (100% of the allowed

expenses) be authorized for a total payment of $756,938.47; and for such other and further relief

as this Court deems proper.

Dated: July 10, 2023                 PACHULSKI STANG ZIEHL & JONES LLP


                                     /s/ Laura Davis Jones_____________________
                                     Laura Davis Jones (DE Bar No. 2436)
                                     David M. Bertenthal (CA Bar No. 167624)
                                     Timothy P. Cairns (DE Bar No. 4228)
                                     919 North Market Street, 17th Floor
                                     P.O. Box 8705
                                     Wilmington, Delaware 19899 (Courier 19801)
                                     Telephone: (302) 652-4100
                                     Facsimile: (302) 652-4400
                                     Email: ljones@pszjlaw.com
                                             dbertenthal@pszjlaw.com
                                             tcairns@pszjlaw.com

                                     Counsel for the Debtors and Debtors in Possession




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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                 Laura Davis Jones, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                 b)          I am familiar with the work performed on behalf of the debtors and

debtors in possession by the lawyers and paraprofessionals of PSZ&J.

                 c)          I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about February 9,

2023 and submit that the Application substantially complies with such Rule and Order.



                                                /s/ Laura Davis Jones
                                                Laura Davis Jones




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                                   Pachulski Stang Ziehl & Jones LLP
                                           919 North Market Street
                                                 17th Floor
                                           Wilmington, DE 19801
                                                                     March 31, 2023
Rian Branning                                                        Invoice 132726
GigaMonster Networks, LLC                                            Client  31213
350 Franklin Gateway SE ste. 300                                     Matter  00001
Marietta , GA 30067
                                                                             LDJ

RE: Debtor Representation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 03/31/2023
                FEES                                                 $934,165.25
                EXPENSES                                               $9,606.27
                TOTAL CURRENT CHARGES                                $943,771.52
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  Summary of Services by Professional
  ID        Name                             Title                Rate       Hours              Amount

 DJB        Barton, David J.                 Partner            1645.00      51.50           $84,717.50

 DMB        Bertenthal, David M.             Partner             725.00       7.20            $5,220.00

 DMB        Bertenthal, David M.             Partner            1450.00     119.60       $173,420.00

                                                                             17.10           $12,397.50
 ECO        Corma, Edward A.                 Associate           725.00
                                                                             15.70            $8,556.50
 IDD        Densmore, Ian                    Paralegal           545.00
                                                                              7.30            $4,653.75
 JMF        Fried, Joshua M.                 Partner             637.50
                                                                             67.10           $85,552.50
 JMF        Fried, Joshua M.                 Partner            1275.00
                                                                              1.80             $765.00
 KSN        Neil, Karen S.                   Case Man. Asst.     425.00
 LDJ        Jones, Laura Davis               Partner            1745.00      68.50       $119,532.50

 MBL        Litvak, Maxim B.                 Partner            1445.00       3.60            $5,202.00

 MFC        Caloway, Mary F.                 Counsel            1350.00       2.30            $3,105.00

 NLH        Hong, Nina L.                    Partner            1075.00     139.70       $150,177.50

 PEC        Cuniff, Patricia E.              Paralegal           545.00       0.10              $54.50

 PJJ        Jeffries, Patricia J.            Paralegal           545.00       0.80             $436.00

 PJK        Keane, Peter J.                  Counsel            1025.00     108.40       $111,110.00

 RJG        Gruber, Richard J.               Counsel            1525.00      40.10           $61,152.50

 TPC        Cairns, Timothy P.               Partner            1125.00      96.10       $108,112.50

                                                                           746.90            $934,165.25
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  Summary of Services by Task Code
  Task Code         Description                                       Hours                        Amount

 AD                 Asset Disposition [B130]                          494.80                    $646,843.50

 BL                 Bankruptcy Litigation [L430]                      101.80                    $126,001.00

 BO                 Business Operations                                 2.70                      $2,852.50

 CA                 Case Administration [B110]                          7.90                      $4,411.50

 CO                 Claims Admin/Objections[B310]                      21.30                     $24,586.00

 CPO                Comp. of Prof./Others                               8.00                      $8,431.50

 EB                 Employee Benefit/Pension-B220                       2.90                      $4,132.00

 EC                 Executory Contracts [B185]                         79.30                     $89,377.00

 FF                 Financial Filings [B110]                            5.80                      $5,655.00

 FN                 Financing [B230]                                    7.50                     $11,421.50

 TI                 Tax Issues [B240]                                   0.40                       $580.00

 TR                 Travel                                             14.50                      $9,873.75

                                                                      746.90                    $934,165.25
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  Summary of Expenses
  Description                                                                            Amount
Airport Parking                                                                         $180.00
Auto Travel Expense [E109]                                                              $866.97
Working Meals [E111]                                                                    $153.05
Conference Call [E105]                                                                   $73.59
Delivery/Courier Service                                                                $463.54
Hotel Expense [E110]                                                                  $2,631.20
Lexis/Nexis- Legal Research [E                                                          $185.82
Outside Services                                                                        $434.40
Pacer - Court Research                                                                  $364.80
Reproduction Expense [E101]                                                                  $8.90

Reproduction/ Scan Copy                                                               $1,130.60
Travel Expense [E110]                                                                    $64.00
Transcript [E116]                                                                     $3,049.40

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                                                                                      Hours           Rate     Amount

  Asset Disposition [B130]
 02/01/2023   NLH     AD        Correspond with Peter Keane re APA schedules (.1);     1.00      1075.00       $1,075.00
                                work on APA schedule (.9)

 02/02/2023   NLH     AD        Work on APA documents and related issues (1.1)         1.10      1075.00       $1,182.50

 02/08/2023   NLH     AD        Internal correspondence re APA issues (.2)             0.20      1075.00        $215.00

 02/08/2023   LDJ     AD        Review sale issues, pending tasks                      2.00      1745.00       $3,490.00

 02/09/2023   NLH     AD        Work on APA issues (.5)                                0.50      1075.00        $537.50

 02/10/2023   LDJ     AD        Further review of pending sale issues                  1.50      1745.00       $2,617.50

 02/13/2023   LDJ     AD        Review sale issues, next steps                         2.00      1745.00       $3,490.00

 02/14/2023   LDJ     AD        Review sale issues                                     1.20      1745.00       $2,094.00

 02/15/2023   NLH     AD        Internal correspondence re APA issues (.8); work on    3.10      1075.00       $3,332.50
                                APA documents and related issues (2.3)

 02/16/2023   NLH     AD        Internal correspondence re APA issues (.7); work on    2.90      1075.00       $3,117.50
                                APA documents and related issues (2.2)

 02/16/2023   LDJ     AD        Review sale issues                                     1.70      1745.00       $2,966.50

 02/17/2023   NLH     AD        Internal correspondence re APA issues (1.2); work      3.60      1075.00       $3,870.00
                                on APA related issues (2.4)

 02/17/2023   LDJ     AD        Preparation for auction, pending issues                2.20      1745.00       $3,839.00

 02/18/2023   NLH     AD        Participate on WIP call (.7) ; work on APA             2.60      1075.00       $2,795.00
                                documents and related APA/TSA issues (1.9)

 02/19/2023   NLH     AD        Analyze TSA issue (.5)                                 0.50      1075.00        $537.50

 02/19/2023   LDJ     AD        Review sale issues                                     1.20      1745.00       $2,094.00

 02/20/2023   NLH     AD        Internal correspondence re APA issues (.5); work on    4.70      1075.00       $5,052.50
                                APA documents and related issues (4.2)

 02/20/2023   LDJ     AD        Review sale issues, cure issues                        2.40      1745.00       $4,188.00

 02/21/2023   NLH     AD        Internal correspondence re APA issues (.1); Analyze    1.30      1075.00       $1,397.50
                                APA schedule related issues (1.2)

 02/21/2023   LDJ     AD        Review bid issues, analysis                            1.30      1745.00       $2,268.50

 02/22/2023   LDJ     AD        Review sale of other assets open issues, strategy      1.50      1745.00       $2,617.50

 02/22/2023   LDJ     AD        Review sale issues                                     1.50      1745.00       $2,617.50

 02/23/2023   NLH     AD        Internal correspondence re APA issues (.9); work on    5.60      1075.00       $6,020.00
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                                                                                        Hours           Rate       Amount
                                APA documents and related issues (4.7)

 02/23/2023   LDJ     AD        Review pending sale issues                               1.00      1745.00        $1,745.00

 02/24/2023   NLH     AD        Internal correspondence re APA issues (1.3);             8.60      1075.00        $9,245.00
                                participate in internal conference re bids (.5); work
                                on APA documents and related issues (6.8)

 02/25/2023   NLH     AD        Internal correspondence re APA issues (1.2); work       11.50      1075.00       $12,362.50
                                on APA documents and related issues (10.3)

 02/26/2023   NLH     AD        Internal correspondence re APA issues (.9); work on     12.10      1075.00       $13,007.50
                                APA documents and related issues (11.2)

 02/27/2023   NLH     AD        Internal correspondence re APA issues (1.5); work        9.90      1075.00       $10,642.50
                                on APA documents and related issues (8.4)

 02/28/2023   NLH     AD        Participate in auction; revise APAs for bidders;        15.10      1075.00       $16,232.50
                                review issues related to TSAs and APAs (15.1)

 03/01/2023   NLH     AD        Internal correspondence re APA issues (1.3); work        9.40      1075.00       $10,105.00
                                on APA documents and related issues (8.1)

 03/01/2023   DJB     AD        Consider changes to Skywire APA (.2); Telephone          2.10      1645.00        $3,454.50
                                conference with D Bertenthal re same (.3); Revise
                                Skywire APA (1.4); Review Skywire's draft APA
                                (.2).

 03/01/2023   DJB     AD        Review revised TSA; Suggest language re $1.3             0.60      1645.00         $987.00
                                million cap.

 03/01/2023   DJB     AD        Forward TSA language to R Branning.                      0.30      1645.00         $493.50

 03/01/2023   DJB     AD        Draft TSA; Transmit to client for review;                2.60      1645.00        $4,277.00
                                Incorporate client comments; Transmit to Polsinelli;
                                Review Polsinelli revisions; Prepare response to
                                Polsinelli; Review Polsinelli response.

 03/01/2023   DMB     AD        Work on revisions to sale order                          1.20      1450.00        $1,740.00

 03/01/2023   DMB     AD        Corr with P Keane re sale order revisions                0.20      1450.00         $290.00

 03/01/2023   DMB     AD        Internal calls re TSA revisions                          0.30      1450.00         $435.00

 03/01/2023   DMB     AD        Conf with client re TSA revisions                        0.40      1450.00         $580.00

 03/01/2023   DMB     AD        Corr with MC partners counsel re proposed small          0.40      1450.00         $580.00
                                property deal

 03/01/2023   DMB     AD        Work on revisions to sale docs, call with buyer          1.60      1450.00        $2,320.00

 03/01/2023   DMB     AD        Call with MC counsel re proposed small deal              0.20      1450.00         $290.00

 03/01/2023   DMB     AD        Conf with LDJ re sale issues, hearing                    0.60      1450.00         $870.00
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 03/01/2023   DMB     AD        Review/comment re sale reply                              1.30      1450.00        $1,885.00

 03/01/2023   DMB     AD        Work on proposed resolutions of sale objections           2.40      1450.00        $3,480.00

 03/01/2023   DMB     AD        Conf with client, T Murphy re prep for sale hearing       1.00      1450.00        $1,450.00

 03/01/2023   DMB     AD        Review materials re sale hearing prep                     1.60      1450.00        $2,320.00

 03/01/2023   DMB     AD        Follow up conf with LDJ re sale hearing prep              0.40      1450.00         $580.00

 03/01/2023   LDJ     AD        Review sale order issues, comments                        0.40      1745.00         $698.00

 03/01/2023   LDJ     AD        Teleconference with David Bertenthal re: TSA              0.20      1745.00         $349.00

 03/01/2023   LDJ     AD        Numerous emails and calls with PSZJ re: sale issues,      1.90      1745.00        $3,315.50
                                objections

 03/01/2023   LDJ     AD        Continued work on sale objections, open issues,           3.50      1745.00        $6,107.50
                                going forward strategy

 03/01/2023   MBL     AD        Review auction sale update.                               0.10      1445.00         $144.50

 03/01/2023   JMF     AD        Review APA and documentation issues with                  1.80      1275.00        $2,295.00
                                successful bidder re auction and post auction
                                transactional issues.

 03/01/2023   JMF     AD        Telephone call with S. Kotana, P. Keane and C.           14.00      1275.00       $17,850.00
                                Ward re sale order modifications (.5); finalize APA,
                                sale order and documents and preparation re open
                                sale issues re tomorrow's hearing (13.5).

 03/01/2023   TPC     AD        Teleconferences with team re: preparation for sale        1.50      1125.00        $1,687.50
                                hearing

 03/01/2023   TPC     AD        Correspond with certain objectors to sale re: resolve     1.10      1125.00        $1,237.50
                                issues in advance of hearing

 03/01/2023   TPC     AD        Review reply in support of sale                           0.40      1125.00         $450.00

 03/01/2023   PJK     AD        Draft sale proffers (1.2), emails with client re PSZJ     1.40      1025.00        $1,435.00
                                team re same (.2)

 03/01/2023   PJK     AD        Prep for sale hearing (6.8), various emails with          9.20      1025.00        $9,430.00
                                buyer counsel re sale issues and revised sale
                                documents including sale order (1.2), calls with
                                buyer counsel re same (.4), emails with PSZJ team
                                re same (.8)

 03/01/2023   PJK     AD        Revise sale reply, various emails with PSZJ team re       1.20      1025.00        $1,230.00
                                same, emails with client re same

 03/01/2023   PJK     AD        Various calls and emails with sale objecting parties      0.80      1025.00         $820.00
                                re resolutions, revise sale order re same, emails with
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                                                                                        Hours           Rate     Amount
                                PSZJ team and client re same

 03/01/2023   PJK     AD        Attend auction                                           0.50      1025.00        $512.50

 03/01/2023   PJK     AD        Address postauction issues (.6), revise notice of        2.40      1025.00       $2,460.00
                                auction results (.3), revise sale reply (1.2), emails
                                with PSZJ team re same (.3)

 03/01/2023   PJK     AD        Review auction transcript, emails with PSZJ team re      0.40      1025.00        $410.00
                                same, emails with T Wearsch re same

 03/01/2023   TPC     AD        Attend auction for sale of assets                        2.50      1125.00       $2,812.50

 03/02/2023   NLH     AD        Internal correspondence re APA issues (1.1); work        6.60      1075.00       $7,095.00
                                on APA documents and related issues (5.5)

 03/02/2023   DJB     AD        Review TSA language change proposed by                   0.80      1645.00       $1,316.00
                                Purchaser; compose response.

 03/02/2023   DJB     AD        Review response to Polsinelli with client; Transmit      0.10      1645.00        $164.50
                                same.

 03/02/2023   DJB     AD        Review Polsinelli response to TSA language;              0.70      1645.00       $1,151.50
                                transmit final TSA to J Fried.

 03/02/2023   DJB     AD        Re-draft 2nd amendment to Bel Air APA; Transmit          1.80      1645.00       $2,961.00
                                to client for review; Consider Skywire TSA
                                schedules.

 03/02/2023   DJB     AD        Interoffice conference call with D Bertenthal re TSA     0.20      1645.00        $329.00
                                schedule (.1); Consider final changes to 2nd
                                Amendment to Bel Air APA (.1).

 03/02/2023   DJB     AD        Telephone conference with Hagan Lovells re TSA.          0.40      1645.00        $658.00

 03/02/2023   DJB     AD        Interoffice conference with J Fried re TSA language;     0.30      1645.00        $493.50
                                e-mail explanation of intention to J Fried.

 03/02/2023   DJB     AD        Scheduling for conference call with Skywire closing      0.30      1645.00        $493.50
                                team.

 03/02/2023   DMB     AD        Conf with LDJ re sale issues                             0.30      1450.00        $435.00

 03/02/2023   DMB     AD        Corr from JMF, P Keane re post hearing issues            0.30      1450.00        $435.00

 03/02/2023   DMB     AD        Prep for sale hearing                                    3.70      1450.00       $5,365.00

 03/02/2023   DMB     AD        Review/comment re backup bidder apa amendment            0.60      1450.00        $870.00

 03/02/2023   DMB     AD        Attend sale hearing                                      1.00      1450.00       $1,450.00

 03/02/2023   LDJ     AD        Post sale hearing emails and calls with PSZJ re: next    1.70      1745.00       $2,966.50
                                steps, order
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 03/02/2023   RJG     AD        Review final form of Asset Purchase Agreement              1.70      1525.00       $2,592.50
                                with Skywire.

 03/02/2023   RJG     AD        Coordinate with David J. Barton regarding closing          0.30      1525.00        $457.50
                                issues/preparations.

 03/02/2023   RJG     AD        Consider issues and message to David J. Barton             0.30      1525.00        $457.50
                                regarding necessary consents.

 03/02/2023   MBL     AD        Review sale reply.                                         0.10      1445.00        $144.50

 03/02/2023   MBL     AD        Address inquiries from team re DIP payoff; review          0.30      1445.00        $433.50
                                relevant DIP documents.

 03/02/2023   JMF     AD        Telephone calls with N. Hong (.2) and D. Barton (.2)       1.30      1275.00       $1,657.50
                                re and sale closing issues (.4); review revisions to
                                APA re committee issues (.2); review COC and
                                issues re finalization of settled sale objections (.3).

 03/02/2023   JMF     AD        Finalize Sale Order, TSA and ancillary sale                6.80      1275.00       $8,670.00
                                documents and prepare for Sale Hearing (5.8);
                                attend sale hearing (1.0).

 03/02/2023   JMF     AD        Review edits to Sale order and TSA re changes to           1.60      1275.00       $2,040.00
                                purchase contracts (1.6).

 03/02/2023   TPC     AD        Review and revise sale order to resolve objections         1.30      1125.00       $1,462.50
                                prior to hearing (0.8); correspondence with various
                                parties re: same (0.5)

 03/02/2023   PJK     AD        Prep for sale hearing, finalize documents re same          6.40      1025.00       $6,560.00
                                (5.2), various emails with PSZJ team and
                                discussions with PSZJ team on open issues (1.2)

 03/02/2023   PJK     AD        Edits to COC re sale order, emails with PSZJ team          4.60      1025.00       $4,715.00
                                re same (.4), address post-sale hearing issues,
                                various emails with PSZJ team and buyer counsel re
                                APA edits and post hearing issues, discuss same
                                with DMB, edits to APA and sale order (4.2)

 03/02/2023   PJK     AD        Emails with JKS chambers re sale order status,             0.20      1025.00        $205.00
                                attention to same

 03/02/2023   IDD     AD        File Notice of APA with the Court (.2); arrange for        0.90       545.00        $490.50
                                service of same to required parties (.1); file Notice
                                of Proposed Sale Order with the Court (.2); arrange
                                for service of same on required parties (.1); draft
                                Certification of Counsel for revised Sale Order (.3)

 03/02/2023   TPC     AD        Attend sale hearing                                        1.50      1125.00       $1,687.50

 03/02/2023   TPC     AD        Further review of final changes to sale order re: cure     1.50      1125.00       $1,687.50
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                                                                                      Hours           Rate     Amount
                                issues

 03/03/2023   NLH     AD        Review internal correspondence re APA issues (.3)      0.30      1075.00        $322.50

 03/03/2023   DJB     AD        Revise back-up bidder APA amendment (.5);              1.00      1645.00       $1,645.00
                                Prepare for conference call with Skywire re closing
                                preparations (.5).

 03/03/2023   DJB     AD        Conference call with Skywire counsel re closing        1.20      1645.00       $1,974.00
                                preparations (.6); E-mail to R Branning re closing
                                tasks (.4); Interoffice conference with R Gruber re
                                next steps (.2).

 03/03/2023   DMB     AD        Call with JMF re sale issues                           0.10      1450.00        $145.00

 03/03/2023   DMB     AD        Call with P Keane re sale issues                       0.10      1450.00        $145.00

 03/03/2023   DMB     AD        Corr with buyer re sale issues                         0.30      1450.00        $435.00

 03/03/2023   DMB     AD        Corr with DJB re second amendment draft                0.20      1450.00        $290.00

 03/03/2023   DMB     AD        Internal corr re pre closing call, issues              0.30      1450.00        $435.00

 03/03/2023   DMB     AD        Corr from P keane re entry of sale order               0.20      1450.00        $290.00

 03/03/2023   DMB     AD        Corr from buyer re sale order, TSA                     0.30      1450.00        $435.00

 03/03/2023   DMB     AD        Call with DJB re sale closing issues                   0.20      1450.00        $290.00

 03/03/2023   DMB     AD        Further review draft second amendment re backup        0.50      1450.00        $725.00
                                bid apa

 03/03/2023   DMB     AD        Review closing materials, APA, draft checklist re      1.40      1450.00       $2,030.00
                                closing issues

 03/03/2023   DMB     AD        Review materials re MC Partners small deal bid         0.40      1450.00        $580.00

 03/03/2023   DMB     AD        Follow up call with P Keane re sale issues             0.20      1450.00        $290.00

 03/03/2023   DMB     AD        Call with LDJ re sale, case next steps                 0.30      1450.00        $435.00

 03/03/2023   LDJ     AD        Numerous emails with PSZJ re: sale issues,             1.50      1745.00       $2,617.50
                                pre-closing tasks

 03/03/2023   LDJ     AD        Review closing issues                                  1.00      1745.00       $1,745.00

 03/03/2023   RJG     AD        Review closing checklist.                              0.20      1525.00        $305.00

 03/03/2023   RJG     AD        Join all hands call regarding closing preparations.    0.30      1525.00        $457.50

 03/03/2023   MBL     AD        Attention to entered sale order.                       0.10      1445.00        $144.50

 03/03/2023   JMF     AD        Review final sale order and exhibits re signed off     2.10      1275.00       $2,677.50
                                changes (.7); internal emails re same and backup
                                APA (.2); telephone call with D. Bertenthal re
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                                closing issues (.2); review closing items and issues
                                re Successful bidder APA (.8) and emails re TSA
                                issues (.2).
 03/03/2023   PJK     AD        Attention to COC re sale order, email to JKS            0.20      1025.00        $205.00
                                chambers re same

 03/03/2023   PJK     AD        Review final APA and analyze issues re same,            2.00      1025.00       $2,050.00
                                emails with PSZJ team and buyer counsel re same,
                                finalize COC and sale order

 03/03/2023   PJK     AD        Review entered sale order, emails with PSZJ team        1.20      1025.00       $1,230.00
                                and buyer counsel re order, attention to closing
                                issues

 03/03/2023   IDD     AD        File Certification of Counsel for revised proposed      0.40       545.00        $218.00
                                Sale Order with the Court (.2); upload proposed
                                order to Judge's Chambers (.1); retrieve signed Sale
                                Order to circulate to attorneys (.1)

 03/04/2023   DJB     AD        Update client re closing tasks.                         1.20      1645.00       $1,974.00

 03/04/2023   DMB     AD        Call with LDJ re sale issues                            0.10      1450.00        $145.00

 03/04/2023   DMB     AD        Corr with client re draft second amendment re MC        0.10      1450.00        $145.00
                                APA

 03/04/2023   DMB     AD        Corr with DJB, client re closing issues                 0.40      1450.00        $580.00

 03/04/2023   DMB     AD        Corr from buyer re closing                              0.10      1450.00        $145.00

 03/04/2023   DMB     AD        Corr with JMF re sale issues                            0.20      1450.00        $290.00

 03/04/2023   DMB     AD        Review APA, sale order re closing issues                0.90      1450.00       $1,305.00

 03/04/2023   DMB     AD        Continue work on closing, sale issues                   1.10      1450.00       $1,595.00

 03/04/2023   LDJ     AD        Review sale closing issues, next steps                  1.00      1745.00       $1,745.00

 03/04/2023   JMF     AD        Review APA and issues re closing (.5); telephone        1.10      1275.00       $1,402.50
                                call with D. Bertenthal re same (.2); review sale
                                order provisions (.4).

 03/04/2023   PJK     AD        Review backup bidder APA amendment, email from          0.30      1025.00        $307.50
                                DMB re same

 03/05/2023   DJB     AD        Follow-up with client re closing tasks; scheduling      0.30      1645.00        $493.50
                                for call re same.

 03/05/2023   DMB     AD        Corr to P Keane re bid deposits                         0.10      1450.00        $145.00

 03/05/2023   DMB     AD        Corr with DJB re closing issues                         0.20      1450.00        $290.00

 03/05/2023   DMB     AD        Corr with client re closing issues                      0.20      1450.00        $290.00
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 03/05/2023   DMB     AD        Call with LDJ re closing issues                         0.20      1450.00        $290.00

 03/05/2023   DMB     AD        Review materials re closing issues/tasks                0.90      1450.00       $1,305.00

 03/05/2023   LDJ     AD        Review closing issues                                   0.80      1745.00       $1,396.00

 03/05/2023   PJK     AD        Attention to wire deposit return issues, emails with    0.30      1025.00        $307.50
                                bidders re same, emails with PSZJ team re same

 03/06/2023   NLH     AD        Review internal correspondence re APA issues (.5)       0.50      1075.00        $537.50

 03/06/2023   DJB     AD        Prepare for conference call with client (.3);           4.00      1645.00       $6,580.00
                                Conference call with client re closing tasks (.6);
                                Consider material contract and schedule supplement
                                items (.8); Draft funds flow memo (1.8); Transmit
                                funds flow memo for internal comments (.3);
                                Scheduling for call with regulatory counsel (.2).

 03/06/2023   DJB     AD        Revise funds flow memo (1.0); Scheduling for call       1.20      1645.00       $1,974.00
                                with Polsinelli (.2).

 03/06/2023   DMB     AD        Call with client re closing prep, issues                0.50      1450.00        $725.00

 03/06/2023   DMB     AD        Corr with internal team re funds flow                   0.30      1450.00        $435.00

 03/06/2023   DMB     AD        Corr with DJB re APA issues                             0.20      1450.00        $290.00

 03/06/2023   DMB     AD        Corr with DJB re closing issues                         0.10      1450.00        $145.00

 03/06/2023   DMB     AD        Corr with J Grall, RJG re sale, TSA issues              0.30      1450.00        $435.00

 03/06/2023   DMB     AD        Corr with R Branning re regulatory issues               0.20      1450.00        $290.00

 03/06/2023   DMB     AD        Call with RJG re closing, cure issues                   0.30      1450.00        $435.00

 03/06/2023   DMB     AD        Review sale docs re closing prep                        0.50      1450.00        $725.00

 03/06/2023   DMB     AD        Review materials re closing, funds flow                 0.40      1450.00        $580.00

 03/06/2023   DMB     AD        Review revised funds flow                               0.20      1450.00        $290.00

 03/06/2023   DMB     AD        Further review sale docs re closing questions           0.40      1450.00        $580.00

 03/06/2023   DMB     AD        Prep for call with UCC counsel re sale, next steps      0.30      1450.00        $435.00

 03/06/2023   DMB     AD        Attend call with UCC counsel re sale, next steps        0.40      1450.00        $580.00

 03/06/2023   LDJ     AD        Review pending sale issues, closing tasks               1.00      1745.00       $1,745.00

 03/06/2023   RJG     AD        Participate in team all regarding closing               0.40      1525.00        $610.00
                                coordination.

 03/06/2023   RJG     AD        Assist with closing preparations.                       0.50      1525.00        $762.50
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 03/06/2023   RJG     AD        Coordinate regarding regulatory team's work.            0.20      1525.00         $305.00

 03/06/2023   MBL     AD        Review draft funds flow memorandum; emails with         0.10      1445.00         $144.50
                                team re same.

 03/06/2023   JMF     AD        Review backup bidder APA.                               0.70      1275.00         $892.50

 03/06/2023   JMF     AD        Review closing items and open issues re contracts.      0.60      1275.00         $765.00

 03/06/2023   TPC     AD        Review mechanics lien issues for former ROE             0.40      1125.00         $450.00
                                vendor

 03/06/2023   PJK     AD        Emails with client re NDA                               0.20      1025.00         $205.00

 03/06/2023   PJK     AD        Review funds flow and attention to closing issues       2.90      1025.00        $2,972.50
                                (1.8), emails with PSZJ team re same (.3), research
                                re same (.8)

 03/06/2023   PJK     AD        Attention to return of deposits, coordinate with V      0.40      1025.00         $410.00
                                Arias re same, emails with bidders, emails with
                                client re same

 03/06/2023   PJK     AD        Review Mansfield lien issues                            0.20      1025.00         $205.00

 03/07/2023   NLH     AD        Internal correspondence re APA issues (1.3); work      12.20      1075.00       $13,115.00
                                on APA issues (10.9)

 03/07/2023   DJB     AD        Conference call with Polsinelli re closing              1.70      1645.00        $2,796.50
                                preparations (.4); Follow-up re closing tasks (1.3).

 03/07/2023   DJB     AD        Forward TSA to R Branning (.2); Advise Polsinelli       0.40      1645.00         $658.00
                                re bill of sale and assignment forms (.2).

 03/07/2023   DJB     AD        Review TSA revisions (.2); Forward revised TSA to       0.40      1645.00         $658.00
                                R Branning (.1); Communicate with Polsinelli re
                                same (.1).

 03/07/2023   DJB     AD        Conference call with internal team re Unlisted          0.70      1645.00        $1,151.50
                                Contracts schedule (.3); Telephone conference with
                                AT re same (.2); E-mail re same to R Branning (.2).

 03/07/2023   DJB     AD        Telephone conference with R Branning re M&A             0.30      1645.00         $493.50
                                agreement.

 03/07/2023   DJB     AD        Consider unlisted contracts schedule; Froward bring     0.30      1645.00         $493.50
                                down certificates to R Gruber.

 03/07/2023   DJB     AD        Interoffice conference with N Hong re additional        0.30      1645.00         $493.50
                                potential disclosure supplement items.

 03/07/2023   DJB     AD        Analysis of disclosure issues.                          1.20      1645.00        $1,974.00

 03/07/2023   DMB     AD        Call with RJG re closing                                0.20      1450.00         $290.00
                    Case
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 03/07/2023   DMB     AD        Internal team call re closing                             0.20      1450.00        $290.00

 03/07/2023   DMB     AD        Corr with buyer, internal team re ROE issue               0.60      1450.00        $870.00

 03/07/2023   DMB     AD        Corr with DJB, N Hong re schedules                        0.30      1450.00        $435.00

 03/07/2023   DMB     AD        Prep for closing checklist call                           0.20      1450.00        $290.00

 03/07/2023   DMB     AD        Review/analysis re materials re ROE issue re closing      1.20      1450.00       $1,740.00

 03/07/2023   DMB     AD        Review materials re unlisted contracts                    0.70      1450.00       $1,015.00

 03/07/2023   DMB     AD        Follow up call with DJB re closing                        0.10      1450.00        $145.00

 03/07/2023   DMB     AD        Continue work on closing issues, review/analysis re       2.10      1450.00       $3,045.00
                                closing drafts, APA issues

 03/07/2023   DMB     AD        Attend closing checklist call                             0.50      1450.00        $725.00

 03/07/2023   LDJ     AD        Teleconference with PSZJ re: closing                      0.20      1745.00        $349.00

 03/07/2023   LDJ     AD        Review closing issues, tasks                              0.80      1745.00       $1,396.00

 03/07/2023   RJG     AD        Prepare for and participate in closing checklist call.    0.50      1525.00        $762.50

 03/07/2023   RJG     AD        Work on Funds Flow Memorandum.                            0.60      1525.00        $915.00

 03/07/2023   RJG     AD        Email to buyer team regarding Funds Flow Memo.            0.20      1525.00        $305.00

 03/07/2023   RJG     AD        Revise Bring-Down Certificate.                            0.50      1525.00        $762.50

 03/07/2023   RJG     AD        Circulate Bring-Down Certificate to buyer team.           0.10      1525.00        $152.50

 03/07/2023   RJG     AD        Conferences with David M. Bertenthal regarding            0.20      1525.00        $305.00
                                closing matters.

 03/07/2023   RJG     AD        Participate in team call regarding IP diligence.          0.40      1525.00        $610.00

 03/07/2023   RJG     AD        Join team call regarding potential disclosure issues.     0.30      1525.00        $457.50

 03/07/2023   RJG     AD        Exchange messages with J. Grall regarding                 0.20      1525.00        $305.00
                                regulatory dialogue.

 03/07/2023   RJG     AD        Conference with David M. Bertenthal and J. Grall          0.20      1525.00        $305.00
                                regarding regulatory dialogue.

 03/07/2023   JMF     AD        Review schedule supplement and emails re same (.3)        3.80      1275.00       $4,845.00
                                and issues re assumed contracts and cure reserves
                                (.9); review sale order and revisions to Appendix A
                                re excluded contracts (.5); review bring down and
                                purchaser certificates (.3); review TSA and
                                Polsinelli's requested changes to same (.6); review
                                closing checklist and updates re same (.4); review
                                funds flow memorandum (.3); review buyer changes
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                                                                                       Hours           Rate       Amount
                                and edits to exhibits to APA (.5).

 03/07/2023   PJK     AD        Research re additional closing issues, emails with      1.20      1025.00        $1,230.00
                                PSZJ team re same

 03/07/2023   PJK     AD        Review open cure issues in context of closing items,    0.80      1025.00         $820.00
                                research re same, emails with PSZJ team re same

 03/07/2023   PJK     AD        Attention to wire deposit returns, emails with V        0.40      1025.00         $410.00
                                Arias re same

 03/07/2023   PJK     AD        Attention to closing issues and research re same,       0.80      1025.00         $820.00
                                emails with client re same, emails with DMB re
                                same

 03/08/2023   NLH     AD        Internal correspondence re APA issues (1.1); work      12.30      1075.00       $13,222.50
                                on APA issues (11.2)

 03/08/2023   DJB     AD        Interoffice conference re Lofts disclosure (.2);        0.50      1645.00         $822.50
                                Revise proposed disclosure (.3).

 03/08/2023   DJB     AD        Interoffice conference with D Bertenthal re Lofts       0.60      1645.00         $987.00
                                disclosure (.2); Review of revisions to same (.2);
                                Scheduling for closing conference call with
                                Polsinelli (.2).

 03/08/2023   DMB     AD        Corr with TPC re cure issues                            0.30      1450.00         $435.00

 03/08/2023   DMB     AD        Corr with JMF re closing issue                          0.10      1450.00         $145.00

 03/08/2023   DMB     AD        Corr to lender re payoff info                           0.10      1450.00         $145.00

 03/08/2023   DMB     AD        Corr to DJB re closing call                             0.10      1450.00         $145.00

 03/08/2023   DMB     AD        Corr with buyer counsel re closing issues               0.20      1450.00         $290.00

 03/08/2023   DMB     AD        Call with MC counsel                                    0.20      1450.00         $290.00

 03/08/2023   DMB     AD        Internal corr re call with MC counsel                   0.10      1450.00         $145.00

 03/08/2023   DMB     AD        Corr with DJB, N Hong re closing issues                 0.30      1450.00         $435.00

 03/08/2023   DMB     AD        Corr with client re Whitaker park issues                0.30      1450.00         $435.00

 03/08/2023   DMB     AD        Internal corr re contract addition/deletion issues      0.20      1450.00         $290.00

 03/08/2023   DMB     AD        Corr from MC re backup bid                              0.10      1450.00         $145.00

 03/08/2023   DMB     AD        Review materials re new contract, cure issues           0.50      1450.00         $725.00

 03/08/2023   DMB     AD        Review/comment re corr re Whitaker park issue           0.30      1450.00         $435.00

 03/08/2023   DMB     AD        Review/analysis re closing issues, APA supplements      0.80      1450.00        $1,160.00

 03/08/2023   DMB     AD        Review materials re schedules supplement                0.70      1450.00        $1,015.00
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 03/08/2023   DMB     AD        Review APA re contract addition/deletion issues           0.30      1450.00        $435.00

 03/08/2023   DMB     AD        Follow up internal corr re Whitaker Park issues           0.30      1450.00        $435.00

 03/08/2023   DMB     AD        Research re Mansfield issue                               0.50      1450.00        $725.00

 03/08/2023   RJG     AD        Participate in team call regarding closing                0.40      1525.00        $610.00
                                coordination.

 03/08/2023   RJG     AD        Work with team on Lofts at Whitaker issue.                0.30      1525.00        $457.50

 03/08/2023   JMF     AD        Review assumed contract issues re Whitaker park           0.50      1275.00        $637.50
                                and dispute letter re same (.5).

 03/08/2023   JMF     AD        Review unlisted contract language and APA re              0.40      1275.00        $510.00
                                same.

 03/08/2023   JMF     AD        Review schedule supplement to APA and related             0.40      1275.00        $510.00
                                correspondences.

 03/08/2023   PJK     AD        Attention to Lofts issues, draft response to buyer,       0.80      1025.00        $820.00
                                emails with client re same, emails with DMB re
                                same

 03/08/2023   PJK     AD        Additional emails with PSZJ team re Lofts response,       0.60      1025.00        $615.00
                                research re same

 03/08/2023   PJK     AD        Research re contracts issues under Skywire APA,           0.80      1025.00        $820.00
                                emails with N Hong re smae

 03/08/2023   PJK     AD        Research re cure issues for closing purposes, emails      0.40      1025.00        $410.00
                                with DMB re same

 03/08/2023   PJK     AD        Additional emails from TPC and DMB re cure                0.50      1025.00        $512.50
                                issues, review info re same

 03/09/2023   NLH     AD        Internal correspondence re APA issues (.8); work on       5.50      1075.00       $5,912.50
                                APA issues (4.7)

 03/09/2023   DJB     AD        Follow up re Lofts disclosure.                            0.10      1645.00        $164.50

 03/09/2023   DJB     AD        Conference call with Polsinelli re closing tasks (.4);    3.00      1645.00       $4,935.00
                                Draft corporate consents (2.0); Transmit same to R
                                Branning (.2); Interoffice conference with T Cairns
                                re member approval requirement (.2); Interoffice
                                conference with R Gruber re member approval
                                requirement (.2).

 03/09/2023   DJB     AD        Interoffice conference with N Hong re Unlisted            1.00      1645.00       $1,645.00
                                Contracts (.4); Interoffice conference with D
                                Bertenthal re same (.2); Review Second Amendment
                                revisions by Jones Day (.4).
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 03/09/2023   DJB     AD        Interoffice conference with D Bertenthal re              1.00      1645.00       $1,645.00
                                corporate approvals (.2); Revise board consent (.6);
                                Transmit same to Polsinelli (.2).

 03/09/2023   DMB     AD        Corr with N Hong, P Keane re Water Street                0.20      1450.00        $290.00

 03/09/2023   DMB     AD        Corr with N Hong re unlisted contracts                   0.20      1450.00        $290.00

 03/09/2023   DMB     AD        Call from client re TSA                                  0.10      1450.00        $145.00

 03/09/2023   DMB     AD        Corr with JMF re MC transaction                          0.10      1450.00        $145.00

 03/09/2023   DMB     AD        Corr with N Hong re schedules supp                       0.20      1450.00        $290.00

 03/09/2023   DMB     AD        Corr from TPC re cure issues                             0.10      1450.00        $145.00

 03/09/2023   DMB     AD        Corr with RJG re closing, regulatory issues              0.30      1450.00        $435.00

 03/09/2023   DMB     AD        Review/analysis re Water Street issues                   0.90      1450.00       $1,305.00

 03/09/2023   DMB     AD        Review APA re "unlisted contracts"                       0.40      1450.00        $580.00

 03/09/2023   DMB     AD        Review MC comments re Second Amendment                   0.30      1450.00        $435.00

 03/09/2023   DMB     AD        Review draft schedules supp                              0.30      1450.00        $435.00

 03/09/2023   DMB     AD        Review updated closing checklist                         0.20      1450.00        $290.00

 03/09/2023   DMB     AD        Review materials re closing status, contract issues      0.60      1450.00        $870.00

 03/09/2023   DMB     AD        Follow up corr with N Hong, P Keane re unlisted          0.30      1450.00        $435.00
                                contracts

 03/09/2023   DMB     AD        Initial review re MC draft APA                           0.90      1450.00       $1,305.00

 03/09/2023   LDJ     AD        Review closing tasks                                     0.70      1745.00       $1,221.50

 03/09/2023   RJG     AD        Review revised Checklist and join in Checklist call      0.50      1525.00        $762.50
                                with buyer and seller teams.

 03/09/2023   RJG     AD        Review draft “remnant APA” from MC Partners’             0.60      1525.00        $915.00
                                counsel.

 03/09/2023   RJG     AD        Follow-up regarding status of regulatory work.           0.20      1525.00        $305.00

 03/09/2023   RJG     AD        Review and respond to revised ancillary documents.       0.30      1525.00        $457.50

 03/09/2023   JMF     AD        Review funds flow memorandum (.5); closing               4.20      1275.00       $5,355.00
                                checklist updates (.4); telephone call with buyer
                                team and N. Hong, R. Gruber, D. Barton re updates
                                to same (.3); telephone calls with D. Bertenthal re
                                wire payoff issues (.3); review assumed contract list
                                and closing issues (.4) review Whitaker Park article
                                and issues re ROE stay violation issues (.7); review
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                                sale order re cure and payment of dip and breakup
                                fee issues (.5); review spreadsheet and Exhibit A re
                                property circuit; issues (.6); and schedule
                                supplement (.2); review water street service
                                agreement and emails re same (.3)
 03/09/2023   PJK     AD        Attention to various closing issues, emails with         0.80      1025.00        $820.00
                                PSZJ team re same

 03/09/2023   PJK     AD        Research re cures and unlisted contracts for Skywire     0.80      1025.00        $820.00
                                sale (.6), emails with DMB re same (.2)

 03/09/2023   PJK     AD        Additional from PSZJ team re various closing issues      0.40      1025.00        $410.00

 03/09/2023   TPC     AD        Teleconference with buyer counsel re: various issues     0.50      1125.00        $562.50
                                related to sale closing

 03/10/2023   NLH     AD        Internal correspondence re APA issues (.3)               0.30      1075.00        $322.50

 03/10/2023   DJB     AD        Scheduling for call re Unlisted Contracts.               0.20      1645.00        $329.00

 03/10/2023   DJB     AD        Telephone conference with internal team re omitted       0.20      1645.00        $329.00
                                contracts.

 03/10/2023   DJB     AD        Conference call with Team Polsinelli re Water            0.20      1645.00        $329.00
                                District contracts.

 03/10/2023   DJB     AD        Revise 2nd amendment (.3); Transmit execution            1.30      1645.00       $2,138.50
                                copy to Jones Day (.2); Forward pay-off to M Litvak
                                (.2); Forward pay-off letter to client (.2); Forward
                                member consents to client for signature (.2);
                                Forward board consents to client for handling (.2).

 03/10/2023   DJB     AD        Interoffice conference with D Bertenthal re status of    0.30      1645.00        $493.50
                                contract schedules.

 03/10/2023   DMB     AD        Internal team call re closing                            0.30      1450.00        $435.00

 03/10/2023   DMB     AD        Call with Polsinelli re closing issues                   0.30      1450.00        $435.00

 03/10/2023   DMB     AD        Call with client re closing, budget issues               0.80      1450.00       $1,160.00

 03/10/2023   DMB     AD        Corr from client, DJB re TSA issues                      0.30      1450.00        $435.00

 03/10/2023   DMB     AD        Review materials re unlisted contract issues             1.30      1450.00       $1,885.00

 03/10/2023   DMB     AD        Review materials re TSA issues                           0.60      1450.00        $870.00

 03/10/2023   DMB     AD        Review revised MC second amendment                       0.30      1450.00        $435.00

 03/10/2023   DMB     AD        Review additional materials re unlisted contracts        0.70      1450.00       $1,015.00

 03/10/2023   DMB     AD        Follow up internal corr re unlisted contracts            0.20      1450.00        $290.00
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 03/10/2023   LDJ     AD        Review sale, funding issues                               0.30      1745.00        $523.50

 03/10/2023   LDJ     AD        Work on closing issues, tasks                             1.00      1745.00       $1,745.00

 03/10/2023   RJG     AD        Join in team call regarding unlisted contracts and        0.30      1525.00        $457.50
                                schedule supplements.

 03/10/2023   RJG     AD        Join team call with R. Branning,David M. Bertenthal       0.40      1525.00        $610.00
                                and Maxim B. Litvak regarding wind-down and next
                                steps regarding MC Partners transaction.

 03/10/2023   RJG     AD        Join conference with Buyer counsel regarding              0.30      1525.00        $457.50
                                response to S. Katona questions regarding unlisted
                                contracts, etc.

 03/10/2023   RJG     AD        Review Sky Wire TSA.                                      0.70      1525.00       $1,067.50

 03/10/2023   RJG     AD        Review and respond to funds flow.                         0.30      1525.00        $457.50

 03/10/2023   RJG     AD        Exchange messages with S. Katona regarding cures.         0.20      1525.00        $305.00

 03/10/2023   RJG     AD        Follow-up with R. Branning regarding purchaser            0.20      1525.00        $305.00
                                cure obligations.

 03/10/2023   RJG     AD        Coordinate with R. Branning regarding execution of        0.20      1525.00        $305.00
                                closing documents.

 03/10/2023   JMF     AD        Review sale order, procedures and procedures order        4.70      1275.00       $5,992.50
                                re contract and APA issues (1.3); telephone call with
                                D. Bertenthal, D. Barton, R. Gruber, Nina Hong and
                                P. Keane re closing issues (.3) review supplemental
                                contracts list and contracts to be assumed/assigned
                                (.4); review updated closing task items (.3); review
                                LLC agreement (.4); review unlisted contracts
                                schedule and description re same (.3); review written
                                consents re closing (.7); review backup APA
                                changes (.8); review payoff letter (.2).

 03/10/2023   PJK     AD        Call with PSZJ team re Skywire closing and other          0.40      1025.00        $410.00
                                issues

 03/10/2023   PJK     AD        Call with Skywire re cure/closing issues                  0.30      1025.00        $307.50

 03/10/2023   PJK     AD        Call with J Grall re closing issues, attention to same    0.40      1025.00        $410.00

 03/10/2023   PJK     AD        Emails from PSZJ team re closing issues                   0.40      1025.00        $410.00

 03/11/2023   DJB     AD        Review revised TSA and Polsinelli e-mails;                3.10      1645.00       $5,099.50
                                Interoffice conference with D Bertenthal re same;
                                Revise TSA; Transmit revised TSA to D Bertenthal.

 03/11/2023   DMB     AD        Corr with DJB re TSA revisions                            0.30      1450.00        $435.00
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 03/11/2023   DMB     AD        Corr with client re TSA                                   0.20      1450.00        $290.00

 03/11/2023   DMB     AD        Corr re MC second amendment                               0.20      1450.00        $290.00

 03/11/2023   DMB     AD        Corr from RJG re funds flow                               0.20      1450.00        $290.00

 03/11/2023   DMB     AD        Review/analysis re TSA revisions                          0.80      1450.00       $1,160.00

 03/11/2023   DMB     AD        Review further TSA revisions                              0.60      1450.00        $870.00

 03/11/2023   DMB     AD        Additional review/analysis re TSA issues                  0.90      1450.00       $1,305.00

 03/11/2023   LDJ     AD        Teleconference with David Bertenthal re: TSA              0.20      1745.00        $349.00

 03/11/2023   RJG     AD        Work with team on closing of Sky Wire transaction.        2.80      1525.00       $4,270.00

 03/11/2023   JMF     AD        Review sale order and bid procedures re assumed           2.80      1275.00       $3,570.00
                                contract deposit issues (1.3); review funds flow
                                memo (.2); review TSA agreement (.5); review sale
                                order re cure cap issues (.5); review Reno Kunzli
                                agreement re property listing and cure issues (.3).

 03/11/2023   PJK     AD        Emails from DMB and client re TSA                         0.20      1025.00        $205.00

 03/11/2023   PJK     AD        Various emails from PSZJ team re closing prep and         0.40      1025.00        $410.00
                                logistics for Skywire sale

 03/12/2023   DJB     AD        Analysis of pay-off letter (.3); Transmit comments        1.90      1645.00       $3,125.50
                                on pay-off letter to Jones Day (.5); Collect
                                signatures on corporate resolutions (.2); Forward
                                same to Polsinelli (.2); Interoffice conference with D
                                Bertenthal re TSA (.2); Forward TSA to Polsinelli
                                (.2); Review status of closing (.3).

 03/12/2023   DMB     AD        Call with DJB re TSA                                      0.10      1450.00        $145.00

 03/12/2023   DMB     AD        Corr with internal team, client re closing payments       0.40      1450.00        $580.00

 03/12/2023   DMB     AD        Calls with internal team re closing issues                0.30      1450.00        $435.00

 03/12/2023   DMB     AD        Review/analysis re TSA issues                             0.60      1450.00        $870.00

 03/12/2023   DMB     AD        Review sale materials, closing materials drafts re        1.40      1450.00       $2,030.00
                                closing issues

 03/12/2023   LDJ     AD        Work on closing issues                                    0.40      1745.00        $698.00

 03/12/2023   RJG     AD        Work on closing with team and buyer and DIP               4.80      1525.00       $7,320.00
                                lender teams.

 03/12/2023   JMF     AD        Telephone call with D. Bertenthal re cure and DIP         2.70      1275.00       $3,442.50
                                payoff issues (.2); review sale issues re payment of
                                excess cure amounts and segregated amounts re
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                                payoff letter (1.1); review cure status summary (.3);
                                review issues re DIP payoff requirements re sale
                                closing (.4); review written consents (.3); review
                                proposed changes to TSA (.4).
 03/12/2023   PJK     AD        Email from DMB re cure issues, review                     0.20      1025.00         $205.00
                                correspondence re same

 03/12/2023   PJK     AD        Various from PSZJ team re Skywire closing prep            1.30      1025.00        $1,332.50
                                issues, attention to issues re same (.8), emails with
                                PSZJ team re backup bidder issues and attention to
                                issues re same (.5)

 03/12/2023   PJK     AD        Emails from DMB and client re TSA, attention to           0.30      1025.00         $307.50
                                same

 03/12/2023   DMB     AD        Corr with client, MBL re prepetition TSA                  0.30      1450.00         $435.00

 03/12/2023   DMB     AD        Review DIP materials re prepetition tsa issue             0.70      1450.00        $1,015.00

 03/13/2023   NLH     AD        Internal correspondence re APA issues (.5); work on       6.70      1075.00        $7,202.50
                                APA related issues (3.1); Mountain Express Oil -
                                work on resolutions and related issues (2.6); Internal
                                Zoom call re resolutions (.5)

 03/13/2023   DJB     AD        Preparation for closing including multiple                7.00      1645.00       $11,515.00
                                conference calls, review of documents, and
                                collection of signatures.

 03/13/2023   DMB     AD        Corr with closing issues                                  0.30      1450.00         $435.00

 03/13/2023   DMB     AD        Call with DJB re closing docs, status                     0.20      1450.00         $290.00

 03/13/2023   DMB     AD        Call with client re closing issues                        0.30      1450.00         $435.00

 03/13/2023   DMB     AD        Call with buyer re closing issues .5; follow up call      0.60      1450.00         $870.00
                                with Chris Ward .1

 03/13/2023   DMB     AD        Call with MC Partners counsel re closing issues,          0.30      1450.00         $435.00
                                status

 03/13/2023   DMB     AD        Corr with buyer counsel re closing issues                 0.20      1450.00         $290.00

 03/13/2023   DMB     AD        Corr with TPC re cure issues                              0.10      1450.00         $145.00

 03/13/2023   DMB     AD        Corr with internal team re TSA issues                     0.20      1450.00         $290.00

 03/13/2023   DMB     AD        Corr with client re unlisted contracts                    0.20      1450.00         $290.00

 03/13/2023   DMB     AD        Corr with internal team re unlisted contract issues       0.30      1450.00         $435.00

 03/13/2023   DMB     AD        Review materials re closing issues per buyer call         0.80      1450.00        $1,160.00

 03/13/2023   DMB     AD        Review materials re TSA issues                            0.60      1450.00         $870.00
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 03/13/2023   DMB     AD        Review materials re unlisted contracts                   0.50      1450.00         $725.00

 03/13/2023   DMB     AD        Review further revisions re closing docs                 0.50      1450.00         $725.00

 03/13/2023   DMB     AD        Follow up call with client re closing issues             0.20      1450.00         $290.00

 03/13/2023   DMB     AD        Follow up corr with internal team re closing             0.30      1450.00         $435.00
                                mechanics

 03/13/2023   LDJ     AD        Review closing open issues                               0.70      1745.00        $1,221.50

 03/13/2023   RJG     AD        Work on closing with team and buyer and DIP              5.40      1525.00        $8,235.00
                                lender teams.

 03/13/2023   JMF     AD        Review sale procedures and issues re stalking horse      3.60      1275.00        $4,590.00
                                breakup fee and expense reimbursement and payoff
                                letter (1.3); telephone call with D. Bertenthal re
                                same (.1); review TSA edits (.4); review list of
                                contracts and APA issues re assumption (.5) review
                                Crestline consents re closing (.3); review cure
                                summary re cure cap issues (.3); review schedule A
                                and APA re cure issues (.7).

 03/13/2023   PJK     AD        Call with TPC and client re cure/sale issues             0.20      1025.00         $205.00

 03/13/2023   PJK     AD        Attention to closing issues, prepare summary re          1.80      1025.00        $1,845.00
                                postclosing obligations, email with DMB re same,
                                various emails from PSZJ team re closing issues

 03/13/2023   PJK     AD        Call with PSZJ team re closing issues (.5), attention    0.90      1025.00         $922.50
                                to additional closing issues (.4)

 03/13/2023   PJK     AD        Research re TSA issues, emails with DMB re same          0.60      1025.00         $615.00

 03/13/2023   TPC     AD        Further correspondence with team and buyer related       0.80      1125.00         $900.00
                                to sale closing

 03/14/2023   NLH     AD        Work on closing matters (1.6)                            1.60      1075.00        $1,720.00

 03/14/2023   DJB     AD        Review comments on TSA schedule (1.1);                   6.40      1645.00       $10,528.00
                                Communicate with client re same (1.1); Follow-up
                                re 1st Amendment signature page (.5); Track TSA
                                schedules (2.1); Track signatures (1.0); Track wires
                                (.6).

 03/14/2023   DJB     AD        Respond to P Keane re post-closing tasks.                0.30      1645.00         $493.50

 03/14/2023   DMB     AD        Call with client re closing payments                     0.30      1450.00         $435.00

 03/14/2023   DMB     AD        Call with RJG re closing issues                          0.20      1450.00         $290.00

 03/14/2023   DMB     AD        Call with LDJ re closing                                 0.10      1450.00         $145.00
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 03/14/2023   DMB     AD        Corr with client re closing payments                        0.10      1450.00        $145.00

 03/14/2023   DMB     AD        Call with P Keane re post closing issues                    0.10      1450.00        $145.00

 03/14/2023   DMB     AD        Corr with DJB re TSA revisions                              0.20      1450.00        $290.00

 03/14/2023   DMB     AD        Corr with client re TSA                                     0.30      1450.00        $435.00

 03/14/2023   DMB     AD        Corr with DJB re closing issues                             0.20      1450.00        $290.00

 03/14/2023   DMB     AD        Call with client re TSA, closing                            0.20      1450.00        $290.00

 03/14/2023   DMB     AD        Call with RJG re closing, TSA                               0.10      1450.00        $145.00

 03/14/2023   DMB     AD        Work on final closing issues, docs                          1.20      1450.00       $1,740.00

 03/14/2023   DMB     AD        Review/comment re draft corr to client re post              0.30      1450.00        $435.00
                                closing issues

 03/14/2023   DMB     AD        Review Polsinelli corr re cures                             0.20      1450.00        $290.00

 03/14/2023   DMB     AD        Review TSA revisions                                        0.40      1450.00        $580.00

 03/14/2023   DMB     AD        Follow up Call with client re closing payments              0.20      1450.00        $290.00

 03/14/2023   DMB     AD        Attention to issues re potential MC deal                    0.50      1450.00        $725.00

 03/14/2023   DMB     AD        Brief research re cure issues                               0.60      1450.00        $870.00

 03/14/2023   LDJ     AD        Multiple calls with PSZJ re: closing                        0.20      1745.00        $349.00

 03/14/2023   RJG     AD        Finish with closing of Sky Wire transaction.                3.20      1525.00       $4,880.00

 03/14/2023   MBL     AD        Misc. emails with team and opposing counsel re sale         0.10      1445.00        $144.50
                                closing.

 03/14/2023   JMF     AD        Review final sale and issues and emails re closing.         0.80      1275.00       $1,020.00

 03/14/2023   JMF     AD        Review wind down budget re closing issues.                  0.50      1275.00        $637.50

 03/14/2023   JMF     AD        Review sale order re cure objection and holdback            0.40      1275.00        $510.00
                                issues.

 03/14/2023   TPC     AD        Various correspondence in support of sale closing           0.40      1125.00        $450.00

 03/14/2023   PJK     AD        Review various sale related issues and closing              1.70      1025.00       $1,742.50
                                issues, prep draft list of go forward tasks, research re
                                same (1.3), emails with PSZJ team re same (.4)

 03/14/2023   PJK     AD        Review CPO issues, emails with client re same               0.30      1025.00        $307.50

 03/14/2023   PJK     AD        Emails from PSZJ team re closing issues, attention          0.50      1025.00        $512.50
                                to same
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 03/15/2023   DMB     AD        Call with client re MC deal                             0.30      1450.00        $435.00

 03/15/2023   DMB     AD        Call with MC counsel                                    0.20      1450.00        $290.00

 03/15/2023   DMB     AD        Corr from client re MC backlog properties               0.10      1450.00        $145.00

 03/15/2023   DMB     AD        Corr with UCC, client re closing                        0.20      1450.00        $290.00

 03/15/2023   DMB     AD        Review materials re potential MC transaction            0.60      1450.00        $870.00

 03/15/2023   DMB     AD        Review materials re MC backlog properties               0.40      1450.00        $580.00

 03/15/2023   LDJ     AD        Correspondence with PSZJ re: closing                    0.20      1745.00        $349.00

 03/15/2023   RJG     AD        Prepare for and participate in call with R. Branning    0.30      1525.00        $457.50
                                and David M. Bertenthal regarding “remnant”
                                transaction.

 03/15/2023   RJG     AD        Review and prepare comments to proposed                 1.70      1525.00       $2,592.50
                                “remnant” Asset Purchase Agreement.

 03/15/2023   JMF     AD        Review direct path APA.                                 1.20      1275.00       $1,530.00

 03/15/2023   PJK     AD        Call with PSZJ team re open issues                      0.50      1025.00        $512.50

 03/16/2023   DMB     AD        Corr with RJG re open issues list re potential          0.20      1450.00        $290.00
                                transaction

 03/16/2023   DMB     AD        Corr from N Hong, buyer re closing                      0.10      1450.00        $145.00

 03/16/2023   DMB     AD        Review draft open issues list re potential MC           0.30      1450.00        $435.00
                                transaction

 03/16/2023   DMB     AD        Review draft MC APA re open issues list                 0.60      1450.00        $870.00

 03/16/2023   RJG     AD        Message to David M. Bertenthal regarding                0.40      1525.00        $610.00
                                “remnant” transaction.

 03/17/2023   DMB     AD        Corr with RJG re MC APA                                 0.10      1450.00        $145.00

 03/17/2023   DMB     AD        Corr with client re MC sale                             0.10      1450.00        $145.00

 03/17/2023   DMB     AD        Further review draft MC APA                             0.50      1450.00        $725.00

 03/17/2023   LDJ     AD        Review TSA issues                                       0.30      1745.00        $523.50

 03/17/2023   RJG     AD        Messages to R. Branning regarding “remnant”             0.30      1525.00        $457.50
                                transaction issues.

 03/17/2023   JMF     AD        Review TSA post closing issues.                         0.50      1275.00        $637.50

 03/18/2023   DMB     AD        Corr from RJG re potential MC sale                      0.10      1450.00        $145.00

 03/18/2023   DMB     AD        Review TSA re outstanding tasks                         0.30      1450.00        $435.00
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 03/18/2023   LDJ     AD        Review TSA issues                                        0.20      1745.00        $349.00

 03/18/2023   RJG     AD        Respond to R. Branning message re proposed               0.20      1525.00        $305.00
                                “remnant” transaction.

 03/19/2023   DMB     AD        Further review proposed MC APA re remnant                0.70      1450.00       $1,015.00
                                properties, issues list re APA

 03/20/2023   DMB     AD        Work on issues list re MC proposed sale                  0.50      1450.00        $725.00

 03/20/2023   DMB     AD        Corr with client re MC proposed sale                     0.20      1450.00        $290.00

 03/20/2023   DMB     AD        Corr to MC counsel re proposed transaction               0.20      1450.00        $290.00

 03/20/2023   DMB     AD        Prep for client call re MC sale issues                   0.20      1450.00        $290.00

 03/20/2023   DMB     AD        Attend client call re MC sale issues                     0.50      1450.00        $725.00

 03/20/2023   RJG     AD        Team call regarding respond to MC proposed               0.40      1525.00        $610.00
                                transactions.

 03/20/2023   RJG     AD        Prepare revised issue List and send to David M.          0.60      1525.00        $915.00
                                Bertenthal.

 03/20/2023   JMF     AD        Review sale order, APA and revised motion re             1.40      1275.00       $1,785.00
                                contract rejection and abandonment issues.

 03/20/2023   JMF     AD        Review MC APA and open issues re same.                   0.80      1275.00       $1,020.00

 03/20/2023   TPC     AD        Review cure notices, APA, etc. re: draft notice of       1.20      1125.00       $1,350.00
                                payment of cure amounts to buyer

 03/20/2023   PJK     AD        Call with R Branning and PSZJ team re open issues        0.40      1025.00        $410.00
                                re Skywire sale and potential sale re MC

 03/20/2023   PJK     AD        Emails from PSZJ team re APA issues re MC                0.30      1025.00        $307.50
                                Partners sale

 03/20/2023   DMB     AD        Review/analysis re post sale open items list             0.30      1450.00        $435.00

 03/20/2023   PJK     AD        Research re DP properties and exit properties,           0.50      1025.00        $512.50
                                review lists, emails with DMB re same

 03/20/2023   PJK     AD        Updates to postclosing tasks list, email to client re    0.50      1025.00        $512.50
                                same

 03/21/2023   DMB     AD        Corr from Polsinelli re additional property interest     0.10      1450.00        $145.00

 03/21/2023   DMB     AD        Review MC responses re issues list                       0.30      1450.00        $435.00

 03/21/2023   RJG     AD        Review MC's response to issue List.                      0.40      1525.00        $610.00

 03/21/2023   MFC     AD        Emails regarding post-closing matters.                   0.10      1350.00        $135.00
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 03/21/2023   JMF     AD        Review cure issues re sale order and APA re              0.40      1275.00        $510.00
                                Assumed Contracts.

 03/21/2023   JMF     AD        Review sale closing issues and checklist of same.        0.50      1275.00        $637.50

 03/21/2023   PJK     AD        Emails with R Branning re postclosing tasks              0.30      1025.00        $307.50

 03/22/2023   DMB     AD        Call with client re MC issues                            0.60      1450.00        $870.00

 03/22/2023   DMB     AD        Corr with MC counsel                                     0.10      1450.00        $145.00

 03/22/2023   DMB     AD        Corr with Polsinelli re misc asset sales                 0.10      1450.00        $145.00

 03/22/2023   DMB     AD        Corr from buyer re cures                                 0.10      1450.00        $145.00

 03/22/2023   DMB     AD        Prep for call with client re cure issues                 0.30      1450.00        $435.00

 03/22/2023   DMB     AD        Review materials re MC proposal                          0.40      1450.00        $580.00

 03/22/2023   DMB     AD        Attend call with client re cure, misc sale issues        0.70      1450.00       $1,015.00

 03/22/2023   RJG     AD        Review and respond to MC response to issue List          0.40      1525.00        $610.00
                                regarding follow-up transaction.

 03/22/2023   RJG     AD        Prepare for and participate in call with R. Branning,    0.30      1525.00        $457.50
                                David M. Bertenthal and Peter J. Keane regarding
                                further MC transaction.

 03/22/2023   PJK     AD        Call with DMB, R Gruber, and client re MC                0.60      1025.00        $615.00
                                transaction points

 03/23/2023   DMB     AD        Corr from client re MC deal                              0.10      1450.00        $145.00

 03/23/2023   DMB     AD        Corr from buyer counsel                                  0.10      1450.00        $145.00

 03/23/2023   RJG     AD        Prepare for and participate in call with R. Branning     0.40      1525.00        $610.00
                                and David M. Bertenthal regarding MC response to
                                Issue list and next steps in proposed transaction.

 03/24/2023   DMB     AD        Call with RJG re MC sale issues                          0.10      1450.00        $145.00

 03/24/2023   DMB     AD        Corr with client, RJG re MC Partners                     0.30      1450.00        $435.00

 03/24/2023   DMB     AD        Corr with RJG re misc sales                              0.20      1450.00        $290.00

 03/24/2023   DMB     AD        Corr with client re misc sales                           0.10      1450.00        $145.00

 03/24/2023   DMB     AD        Review/analysis re sale doc form for misc assets         0.50      1450.00        $725.00

 03/24/2023   DMB     AD        Review materials re post closing issues                  0.40      1450.00        $580.00

 03/24/2023   DMB     AD        Follow up corr with RJG, client re MC Partners           0.20      1450.00        $290.00

 03/24/2023   RJG     AD        Research and respond to R. Branning questions            0.60      1525.00        $915.00
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                                regarding GM’s obligations under short-term Asset
                                Purchase Agreement.
 03/24/2023   RJG     AD        Exchange messages with R. Branning regarding         0.30      1525.00        $457.50
                                Nashville transaction.

 03/24/2023   RJG     AD        Conference with David M. Bertenthal regarding        0.10      1525.00        $152.50
                                status of further transaction with MC Partners.

 03/24/2023   RJG     AD        Work on stream-lined documentation for one-off       0.90      1525.00       $1,372.50
                                small transactions.

 03/24/2023   RJG     AD        Exchange messages with David M. Bertenthal           0.20      1525.00        $305.00
                                regarding one-off transactions.

 03/24/2023   PJK     AD        Research re de minimis asset sale procedures         0.30      1025.00        $307.50
                                motions, emails with TPC re same

 03/25/2023   DMB     AD        Corr with RJG re MC prepetition transaction          0.10      1450.00        $145.00

 03/25/2023   DMB     AD        Corr with RJG re form misc sale APA                  0.10      1450.00        $145.00

 03/25/2023   DMB     AD        Corr with client re MC prepetition sale              0.10      1450.00        $145.00

 03/25/2023   DMB     AD        Further review form misc sale APA                    0.50      1450.00        $725.00

 03/25/2023   RJG     AD        Review short-term Asset Purchase Agreement and       0.20      1525.00        $305.00
                                TSA regarding dispute about GigaMonster’s
                                ongoing obligations.

 03/25/2023   RJG     AD        Email exchange with R. Branning regarding            0.30      1525.00        $457.50
                                developing issues regarding ongoing obligations
                                under short-term Asset Purchase Agreement.

 03/25/2023   RJG     AD        Prepare and send template agreement for one-off      1.30      1525.00       $1,982.50
                                transactions.

 03/26/2023   DMB     AD        Corr with TPC re misc sales                          0.10      1450.00        $145.00

 03/27/2023   DMB     AD        Corr with client re MC transaction                   0.20      1450.00        $290.00

 03/27/2023   DMB     AD        Corr with MC counsel                                 0.10      1450.00        $145.00

 03/27/2023   DMB     AD        Corr with client re misc sales                       0.20      1450.00        $290.00

 03/27/2023   DMB     AD        Corr from client re TSA                              0.10      1450.00        $145.00

 03/27/2023   DMB     AD        Work on misc asset sale issues                       0.50      1450.00        $725.00

 03/27/2023   JMF     AD        Review open issues re supplemental APA.              0.40      1275.00        $510.00

 03/27/2023   TPC     AD        Draft motion for de minimis asset sales              2.40      1125.00       $2,700.00

 03/28/2023   DMB     AD        Call with TPC re misc sale issues                    0.20      1450.00        $290.00
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 03/28/2023   DMB     AD        Corr with client re Lincoln Crossing                      0.10      1450.00        $145.00

 03/28/2023   DMB     AD        Internal call re misc sale issues                         0.20      1450.00        $290.00

 03/28/2023   RJG     AD        Join team call regarding going forward sale issues to     0.30      1525.00        $457.50
                                be addressed.

 03/28/2023   PJK     AD        Review medical/office exit list, emails with client re    0.50      1025.00        $512.50
                                same, emails to UCC and Barings re same

 03/29/2023   DMB     AD        Call to RJG re sale issues                                0.10      1450.00        $145.00

 03/29/2023   DMB     AD        Call with TPC re misc asset sales                         0.10      1450.00        $145.00

 03/29/2023   DMB     AD        Corr with RJG, client re misc sale APA                    0.20      1450.00        $290.00

 03/29/2023   DMB     AD        Corr from RJG re sale process                             0.10      1450.00        $145.00

 03/29/2023   DMB     AD        Review materials re potential misc sales issues           0.50      1450.00        $725.00

 03/29/2023   DMB     AD        Analysis re contract issue re misc sale motion            0.40      1450.00        $580.00

 03/29/2023   RJG     AD        Work with R.Branning and Timothy P. Cairns on             0.40      1525.00        $610.00
                                Bill of Sale, Assignment and Agreement.

 03/29/2023   TPC     AD        Review bill of sale, other sale documents re:             1.50      1125.00       $1,687.50
                                document additional asset sales

 03/29/2023   TPC     AD        Review and revise motion for de minimis asset sales       2.10      1125.00       $2,362.50

 03/30/2023   DMB     AD        Corr with RJG, TPC misc asset sale issues                 0.30      1450.00        $435.00

 03/30/2023   DMB     AD        Corr with client, RJG re MC sale                          0.20      1450.00        $290.00

 03/30/2023   DMB     AD        Corr from RJG, T Wearsch re MC sale                       0.10      1450.00        $145.00

 03/30/2023   DMB     AD        Further corr with RJG, TPC re misc sales APA              0.20      1450.00        $290.00

 03/30/2023   DMB     AD        Additional review re form APA re misc sales               0.50      1450.00        $725.00

 03/30/2023   RJG     AD        Work on de minimus sales issues with David M.             1.20      1525.00       $1,830.00
                                Bertenthal, Timothy P. Cairns, and R. Branning and
                                draft agreement.

 03/30/2023   RJG     AD        Send draft of de minimus sale agreement to Sky            0.20      1525.00        $305.00
                                Wire counsel.

 03/30/2023   RJG     AD        Exchange messages with J. Grall regarding status of       0.20      1525.00        $305.00
                                further transaction with MC Partners.

 03/30/2023   RJG     AD        Exchange messages with T. Wearsch and R.                  0.30      1525.00        $457.50
                                Branning regarding status of further transaction with
                                MC Partners.
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                                                                                       Hours            Rate       Amount

 03/30/2023   TPC     AD        Correspond with team re: additional sale                 0.30      1125.00          $337.50
                                documentation

 03/31/2023   DMB     AD        Review revisions re misc sale motion                     0.30      1450.00          $435.00

 03/31/2023   MFC     AD        Conference with TPC regarding COC and stip for           0.10      1350.00          $135.00
                                taxing authority re sale order.

 03/31/2023   PJK     AD        Review de minimis sale motion, edits to draft, email     0.50      1025.00          $512.50
                                to TPC re same

                                                                                       494.80                    $646,843.50

  Bankruptcy Litigation [L430]
 02/15/2023   LDJ     BL        Review DirectPath issues                                 0.80      1745.00        $1,396.00

 02/16/2023   LDJ     BL        Review pending issues, tasks, next steps                 2.00      1745.00        $3,490.00

 02/21/2023   LDJ     BL        Review DirectPath issues, strategy                       0.70      1745.00        $1,221.50

 03/01/2023   DMB     BL        Conf with TPC re DirecPath, Kromer issues                0.30      1450.00          $435.00

 03/01/2023   LDJ     BL        Preparation of arguments and testimony for 3/2           6.50      1745.00       $11,342.50
                                hearing

 03/01/2023   PEC     BL        Review 3/2/23 Hearing Binder updates and send to         0.10       545.00           $54.50
                                chambers

 03/01/2023   MFC     BL        Review amended agenda and emails re same.                0.10      1350.00          $135.00

 03/01/2023   MFC     BL        Emails with TPC, PJK and ID re amended agenda            0.20      1350.00          $270.00
                                and changes thereto.

 03/01/2023   TPC     BL        Review and revise amended agendas                        0.50      1125.00          $562.50

 03/01/2023   TPC     BL        Various preparations for hearing                         1.60      1125.00        $1,800.00

 03/01/2023   PJK     BL        Review Central Authority submission, email to            0.40      1025.00          $410.00
                                trustee re same

 03/01/2023   IDD     BL        Draft 1st Amended Agenda for hearing on 3/2/2023         1.20       545.00          $654.00
                                (.7); file same with the Court (.2); arrange for
                                service of same (.1); forward updated documents to
                                Judge's Chambers (.2)

 03/02/2023   IDD     BL        Upload proposed Order on Motion to Seal to Judge's       0.10       545.00           $54.50
                                Chambers

 03/02/2023   LDJ     BL        Preparation for 3/2 hearing                              4.50      1745.00        $7,852.50

 03/02/2023   LDJ     BL        Attend 3/2 hearing                                       1.50      1745.00        $2,617.50
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          436-1 Filed
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 03/02/2023   TPC     BL        Review and revise amended agenda                       0.40      1125.00        $450.00

 03/02/2023   TPC     BL        Review pleadings and prepare for sale hearing          1.60      1125.00       $1,800.00

 03/02/2023   PJK     BL        Attend hearing                                         1.00      1025.00       $1,025.00

 03/02/2023   PJK     BL        Review critical dates memo                             0.20      1025.00        $205.00

 03/02/2023   IDD     BL        Draft 2nd amended agenda for hearing on 3/2/2023       1.00       545.00        $545.00
                                (.5); file same with the Court (.2); arrange for
                                service of same on required parties (.1); forward
                                updated documents to Judge's Chambers (.2)

 03/03/2023   TPC     BL        Review UCC document requests and work with             1.70      1125.00       $1,912.50
                                team re: response

 03/05/2023   LDJ     BL        Review critical dates memo, docket                     0.20      1745.00        $349.00

 03/06/2023   LDJ     BL        Teleconference with Committee counsel re: pending      0.50      1745.00        $872.50
                                issues

 03/06/2023   PJK     BL        Review critical dates memo and docket, attention to    0.40      1025.00        $410.00
                                upcoming deadlines

 03/06/2023   PJK     BL        Attention to Regions issues, emails with client re     0.30      1025.00        $307.50
                                same

 03/07/2023   PJK     BL        Review critical dates memo, attention to scheduling    0.60      1025.00        $615.00
                                issues, emails with DMB re same

 03/07/2023   PJK     BL        Attention to Lofts at Whitaker issues, emails with     0.70      1025.00        $717.50
                                PSZJ team re same, research re same

 03/08/2023   DMB     BL        Corr with Barings counsel                              0.10      1450.00        $145.00

 03/09/2023   MFC     BL        Emails with ID regarding matters on for 3/14 and       0.10      1350.00        $135.00
                                3/20 hearings.

 03/09/2023   TPC     BL        Correspond with court and team re: scheduling          0.20      1125.00        $225.00
                                hearing

 03/09/2023   PJK     BL        Emails with PSZJ team re Lofts                         0.20      1025.00        $205.00

 03/09/2023   IDD     BL        Draft Agenda for hearing on 3/14/2023                  0.50       545.00        $272.50

 03/10/2023   LDJ     BL        Review matters scheduled for 3/14 hearing              0.20      1745.00        $349.00

 03/10/2023   MFC     BL        Emails re agenda for 3/14 hearing.                     0.10      1350.00        $135.00

 03/10/2023   TPC     BL        Correspond with court and team re: hearing status      0.30      1125.00        $337.50

 03/10/2023   TPC     BL        Revise, edit, file agenda                              0.40      1125.00        $450.00

 03/10/2023   PJK     BL        Review 3/14 agenda                                     0.20      1025.00        $205.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
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 03/10/2023   PJK     BL        Review critical dates memo                                0.20      1025.00        $205.00

 03/10/2023   IDD     BL        Draft Certification of Counsel for Omnibus Hearing        1.10       545.00        $599.50
                                Order on 4/18/2023 (.3); revise draft Agenda for
                                3/14/2023 hearing (.3); file same with the Court (.2);
                                arrange for pleadings binder to be delivered to
                                Judge's Chambers (.1); draft Amended Agenda to
                                cancel the 3/14/2023 hearing (.2)

 03/12/2023   LDJ     BL        Review docket, critical dates                             0.20      1745.00        $349.00

 03/13/2023   DMB     BL        Corr with TPC re UCC diligence requests                   0.10      1450.00        $145.00

 03/13/2023   DMB     BL        Review draft responses re UCC diligence request           0.40      1450.00        $580.00

 03/13/2023   LDJ     BL        Correspondence with PSZJ re: 3/14 hearing,                0.20      1745.00        $349.00
                                cancellation

 03/13/2023   MFC     BL        Emails with TPC and ID regarding tomorrow's               0.10      1350.00        $135.00
                                hearing.

 03/13/2023   TPC     BL        Review UCC document requests and information in           1.10      1125.00       $1,237.50
                                data room

 03/13/2023   TPC     BL        Review and file agenda to cancel hearing                  0.20      1125.00        $225.00

 03/14/2023   DMB     BL        Corr with P Keane re removal                              0.10      1450.00        $145.00

 03/14/2023   MFC     BL        EMails with TPC and PJK regarding omnibus                 0.10      1350.00        $135.00
                                hearings.

 03/14/2023   TPC     BL        Correspond with team re: scheduling omnibus               0.20      1125.00        $225.00
                                hearings

 03/14/2023   TPC     BL        Correspond with team re: UCC 2004 against Barings         0.30      1125.00        $337.50

 03/14/2023   PJK     BL        Emails with PSZJ team re omni dates (.2), review          0.90      1025.00        $922.50
                                critical dates memo (.2), emails with PSZJ team re
                                extension motions (.2), obtain removal extension
                                forms and emails with E Corma re same (.3)

 03/14/2023   IDD     BL        Draft Agenda to cancel hearing on 3/20/2023 (.4);         1.00       545.00        $545.00
                                file same with the Court (.2); arrange for service of
                                same on required parties (.1); file Certification of
                                Counsel with proposed Omnibus Hearing Order for
                                4/18/2023 with the Court (.2); upload proposed
                                Order to Judge's Chambers (.1)

 03/15/2023   DMB     BL        Call with client re next steps, open issues               0.40      1450.00        $580.00

 03/15/2023   DMB     BL        Internal call re UCC info requests                        0.30      1450.00        $435.00

 03/15/2023   LDJ     BL        Review Committee discovery issues, next steps             1.00      1745.00       $1,745.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          436-1 Filed
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 03/15/2023   LDJ     BL        Teleconference with PSZJ re: open issues, next steps    0.30      1745.00        $523.50

 03/15/2023   TPC     BL        Review correspondence and investigate various           0.70      1125.00        $787.50
                                document production issues

 03/15/2023   TPC     BL        Teleconference with team re: document production        0.40      1125.00        $450.00
                                issues

 03/15/2023   IDD     BL        Draft agenda for hearing on 4/18/2023                   0.40       545.00        $218.00

 03/16/2023   PJK     BL        Review hearing transcripts, emails with I Densmore      0.40      1025.00        $410.00
                                re same, emails with J Mascaro re same

 03/16/2023   ECO     BL        Preparation of motion to extend period to remove        1.80       725.00       $1,305.00
                                actions.

 03/16/2023   IDD     BL        Revise agenda for hearing on 4/18/2023                  0.20       545.00        $109.00

 03/17/2023   PJK     BL        Review removal extension motion, emails with E          0.30      1025.00        $307.50
                                Corma re same

 03/17/2023   PJK     BL        Calls and emails with J Grall re Zayo, research re      0.40      1025.00        $410.00
                                same

 03/17/2023   ECO     BL        Preparation of motion to extend removal period,         1.20       725.00        $870.00
                                notice of motion, and proposed order.

 03/17/2023   ECO     BL        Prepare e-mail to Peter Keane forwarding motions to     0.10       725.00         $72.50
                                extend removal period and time to assume/reject
                                nonresidential real property leases.

 03/17/2023   IDD     BL        Revise agenda for hearing on 4/18/2023                  0.20       545.00        $109.00

 03/18/2023   PJK     BL        Email to DMB re Zayo issues, attention to same          0.40      1025.00        $410.00

 03/19/2023   LDJ     BL        Review docket, critical dates                           0.20      1745.00        $349.00

 03/20/2023   DMB     BL        Corr with P Keane, RJG re WIP list                      0.20      1450.00        $290.00

 03/20/2023   DMB     BL        Corr with TPC re UCC info requests                      0.20      1450.00        $290.00

 03/20/2023   LDJ     BL        Teleconference with Tim Cairns re: pending              0.50      1745.00        $872.50
                                discovery

 03/20/2023   LDJ     BL        Review pending case issues, tasks, next steps           0.80      1745.00       $1,396.00

 03/20/2023   TPC     BL        Teleconference with team re: document production        0.50      1125.00        $562.50
                                issues

 03/20/2023   PJK     BL        Call with PSZJ team re open issues                      0.20      1025.00        $205.00

 03/20/2023   PJK     BL        Research re MSA issues, emails with DMB re same         0.80      1025.00        $820.00

 03/20/2023   PJK     BL        Review 4/18 agenda, emails with I Densmore re           0.20      1025.00        $205.00
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
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                                                                                         Hours           Rate     Amount
                                same

 03/20/2023   PJK     BL        Research re DirecPath and exit properties, emails         0.80      1025.00        $820.00
                                with DMB re same

 03/20/2023   IDD     BL        Update agenda for hearing on 4/18/2023 (.2);              0.30       545.00        $163.50
                                circulate same to counsel (.1)

 03/20/2023   MFC     BL        Review Committee diligence request.                       0.20      1350.00        $270.00

 03/20/2023   MFC     BL        Group call regarding Committee diligence requests.        0.30      1350.00        $405.00

 03/21/2023   LDJ     BL        Review DirectPath issues                                  0.30      1745.00        $523.50

 03/21/2023   LDJ     BL        Conference with Tim Cairns re: Committee                  0.40      1745.00        $698.00
                                discovery requests

 03/21/2023   TPC     BL        Review Committee document requests re: prepare            1.70      1125.00       $1,912.50
                                for production

 03/21/2023   TPC     BL        Teleconference with UCC re: document requests             0.50      1125.00        $562.50
                                meet and confer

 03/21/2023   PJK     BL        Research re DirecPath ROEs and exit properties,           1.80      1025.00       $1,845.00
                                emails with DMB re same

 03/21/2023   IDD     BL        Revise agenda for hearing on 4/18/2023 per                0.10       545.00         $54.50
                                comments from P. Keane

 03/21/2023   DMB     BL        Corr with P Keane re DirecPath issues                     0.20      1450.00        $290.00

 03/21/2023   DMB     BL        Review DirecPath analysis                                 0.50      1450.00        $725.00

 03/22/2023   DMB     BL        Corr with TPC re UCC requests                             0.10      1450.00        $145.00

 03/22/2023   DMB     BL        Review/comment re DP draft                                0.10      1450.00        $145.00

 03/22/2023   LDJ     BL        Attention to discovery tasks                              0.60      1745.00       $1,047.00

 03/22/2023   TPC     BL        Review documents in data room re: respond to UCC          2.70      1125.00       $3,037.50
                                document requests

 03/22/2023   TPC     BL        Correspond with team re: respond to UCC document          0.40      1125.00        $450.00
                                requests

 03/22/2023   PJK     BL        Research re ROE termination issues                        1.80      1025.00       $1,845.00

 03/22/2023   PJK     BL        Call with DMB, TPC, and client re cure issues and         0.50      1025.00        $512.50
                                other ROE issues

 03/22/2023   PJK     BL        Draft demand letter re DirecPath, email to DMB re         0.30      1025.00        $307.50
                                same

 03/22/2023   PJK     BL        Review exit properties list re DirecPath issues, email    0.40      1025.00        $410.00
                    Case
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                                                                                       Hours           Rate     Amount
                                to client re same

 03/23/2023   DMB     BL        Call to P Keane re draft motions                        0.10      1450.00        $145.00

 03/23/2023   DMB     BL        Corr to P Keane re DirecPath                            0.10      1450.00        $145.00

 03/23/2023   DMB     BL        Further review draft pending motions                    0.60      1450.00        $870.00

 03/23/2023   MFC     BL        Emails with TPC and ID regarding cancellation of        0.10      1350.00        $135.00
                                3/27 hearing.

 03/23/2023   JMF     BL        Review removal extension motion.                        0.30      1275.00        $382.50

 03/23/2023   TPC     BL        Review and comment on motion to extend removal          0.30      1125.00        $337.50
                                deadline

 03/23/2023   TPC     BL        Review document production issues (0.7) and             1.20      1125.00       $1,350.00
                                teleconference with corporate counsel (0.5) re:
                                respond to UCC requests for documents

 03/23/2023   PJK     BL        Review critical dates memo, emails with I Densmore      0.20      1025.00        $205.00
                                re same

 03/23/2023   PJK     BL        Revise demand letter to DirecPath, email to DMB re      0.30      1025.00        $307.50
                                same

 03/23/2023   PJK     BL        Research re ROEs and DirecPath issues, emails with      0.90      1025.00        $922.50
                                DMB re same, emails with R Branning re same

 03/23/2023   PJK     BL        Research re circuit issues and termination, emails      0.80      1025.00        $820.00
                                with client re same

 03/23/2023   PJK     BL        Review and update removal and 365d4 motions,            0.60      1025.00        $615.00
                                emails with PSZJ team re same, emails with client re
                                same

 03/24/2023   DMB     BL        Call with LDJ re UCC, next steps                        0.10      1450.00        $145.00

 03/24/2023   DMB     BL        Internal corr re removal, 365d4 motions                 0.20      1450.00        $290.00

 03/24/2023   DMB     BL        Corr from TPC re UCC doc requests                       0.20      1450.00        $290.00

 03/24/2023   LDJ     BL        Attention to discovery efforts                          0.20      1745.00        $349.00

 03/24/2023   TPC     BL        Work with team and UCC re: document requests            0.70      1125.00        $787.50

 03/24/2023   PJK     BL        Review removal and 365d4 extension motions,             0.80      1025.00        $820.00
                                emails with client and PSZJ team re same, emails
                                with P Jeffries and J Grall re same

 03/26/2023   DMB     BL        Corr with LDJ re UCC call                               0.10      1450.00        $145.00

 03/26/2023   DMB     BL        Corr to AT&T counsel                                    0.10      1450.00        $145.00
                    Case
                    Case 23-10051-JKS
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 03/26/2023   DMB     BL        Review/comment re removal motion                         0.40      1450.00        $580.00

 03/26/2023   LDJ     BL        Review critical dates memo                               0.20      1745.00        $349.00

 03/26/2023   PJK     BL        Review and edit bar date motion, 365d4 extension         1.20      1025.00       $1,230.00
                                motion, and removal extension motion (.9), emails
                                with DMB re same (.2), emails with LDJ and DMB
                                re call for bar date (.1)

 03/27/2023   DMB     BL        Corr from RJG, TPC re UCC doc requests                   0.20      1450.00        $290.00

 03/27/2023   DMB     BL        Review materials from TPC re UCC doc requests            0.30      1450.00        $435.00

 03/27/2023   LDJ     BL        Review Committee discovery response issues               1.30      1745.00       $2,268.50

 03/27/2023   TPC     BL        Review documents for privilege and responsiveness        2.50      1125.00       $2,812.50
                                prior to production to UCC

 03/27/2023   TPC     BL        Correspond with team re: issues related to privilege     0.50      1125.00        $562.50
                                for documents to produce to UCC

 03/27/2023   PJK     BL        Research re litigation parties for removal extension,    0.50      1025.00        $512.50
                                review schedules, emails with J Grall and P Jeffries
                                re same

 03/27/2023   PJK     BL        Review and update 365d4 and removal extension            0.80      1025.00        $820.00
                                motions, emails with I Densmore re same

 03/28/2023   DMB     BL        Call with UCC re pending issues                          0.50      1450.00        $725.00

 03/28/2023   DMB     BL        Call to Barings counsel                                  0.10      1450.00        $145.00

 03/28/2023   DMB     BL        Corr with P Keane re DirecPath                           0.10      1450.00        $145.00

 03/28/2023   DMB     BL        Corr from TPC re Kroll                                   0.10      1450.00        $145.00

 03/28/2023   DMB     BL        Prep for call with UCC                                   0.30      1450.00        $435.00

 03/28/2023   DMB     BL        Review DirecPath materials                               0.60      1450.00        $870.00

 03/28/2023   DMB     BL        Follow up call to TPC re open, pending issues            0.10      1450.00        $145.00

 03/28/2023   DMB     BL        Follow up call with LDJ re UCC call                      0.20      1450.00        $290.00

 03/28/2023   DMB     BL        Client call re open, pending issues                      0.50      1450.00        $725.00

 03/28/2023   LDJ     BL        Teleconference with Committee counsel, PSZJ re:          0.50      1745.00        $872.50
                                pending issues, scheduling

 03/28/2023   LDJ     BL        Review pending tasks in follow-up to Committee           0.90      1745.00       $1,570.50
                                call

 03/28/2023   LDJ     BL        Review DirectPath issues                                 0.50      1745.00        $872.50
                    Case
                    Case 23-10051-JKS
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                                      Doc 441
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 03/28/2023   LDJ     BL        Review Committee discovery issues                       0.60      1745.00       $1,047.00

 03/28/2023   TPC     BL        Correspond with client re: case timeline                0.40      1125.00        $450.00

 03/28/2023   TPC     BL        Review corporate documents to be provided to UCC        2.20      1125.00       $2,475.00

 03/28/2023   TPC     BL        Research case law and precedent re: production of       2.00      1125.00       $2,250.00
                                corporate documents/minutes

 03/28/2023   TPC     BL        Work with team re: production of minutes                0.40      1125.00        $450.00

 03/28/2023   PJK     BL        Emails with Kroll and J Grall and P Jeffries re         1.30      1025.00       $1,332.50
                                service issues for removal extension and 365d4
                                motions (.3), attention to issues re same and review
                                service parties (.3), finalize removal extension and
                                365d4 motions for filing (.7)

 03/28/2023   PJK     BL        Revise rejection procedures order, emails with PSZJ     0.30      1025.00        $307.50
                                team and UCC counsel re same

 03/28/2023   IDD     BL        File Motion to Extend Removal Deadline with the         0.30       545.00        $163.50
                                Court (.2); arrange for service on required parties
                                (.1)

 03/29/2023   DMB     BL        Corr from client re open issues                         0.10      1450.00        $145.00

 03/29/2023   DMB     BL        Internal corr re DirecPath                              0.10      1450.00        $145.00

 03/29/2023   PJK     BL        Research re circuit MSAs, emails with J Grall re        1.80      1025.00       $1,845.00
                                same, emails with DMB re same

 03/29/2023   PJK     BL        Attention to issues re DirecPath demand letter,         0.40      1025.00        $410.00
                                update same, emails with DMB and email to LDJ
                                and TPC re same

 03/30/2023   PJK     BL        Review critical dates memo                              0.20      1025.00        $205.00

 03/30/2023   PJK     BL        Review Kroll invoice, emails with DMB re                0.30      1025.00        $307.50
                                comments on same

 03/30/2023   PJK     BL        Research re circuit MSAs, emails with E Corma re        0.50      1025.00        $512.50
                                additional research on same

 03/31/2023   LDJ     BL        Multiple emails with PSZJ re: discovery responses       0.50      1745.00        $872.50

 03/31/2023   TPC     BL        Review proposed documents to produce to UCC for         4.50      1125.00       $5,062.50
                                relevance and privilege

 03/31/2023   TPC     BL        Correspond with team and UCC re: document               0.60      1125.00        $675.00
                                production

 03/31/2023   PJK     BL        Review research re postpetition issues, emails with     0.90      1025.00        $922.50
                                E Corma and DMB re same (.5), additional research
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          436-1 Filed
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                                                                                         Hours            Rate       Amount
                                re same (.4)

 03/31/2023   PJK     BL        Review critical dates memo and docket                      0.30      1025.00          $307.50

 03/31/2023   IDD     BL        Revise agenda for hearing on 4/18/2023                     0.20       545.00          $109.00

                                                                                         101.80                    $126,001.00

  Business Operations
 03/08/2023   PJK     BO        Review Arbor at Cahaba Rivers issues re state AG           0.40      1025.00          $410.00
                                complaint, emails with DMB re same

 03/09/2023   PJK     BO        Review Arbors issues re Alabama AG complaint,              0.40      1025.00          $410.00
                                emails with DMB re same, email to client re same

 03/10/2023   PJK     BO        Emails with S Mutton re Regions issues, attention to       0.40      1025.00          $410.00
                                same, emails with Regions counsel

 03/15/2023   PJK     BO        Call with client re disconnection notices (.3), emails     0.90      1025.00          $922.50
                                with client and DMB re same (.2), research re same
                                (.4)

 03/15/2023   DMB     BO        Corr with client re disconnect notices                     0.20      1450.00          $290.00

 03/24/2023   PJK     BO        Attention to Regions issues, emails with J Grall and       0.40      1025.00          $410.00
                                Regions counsel re same

                                                                                           2.70                      $2,852.50

  Case Administration [B110]
 03/01/2023   KSN     CA        Maintain document control.                                 0.20       425.00           $85.00

 03/01/2023   IDD     CA        Review docket to update Critical Dates                     0.30       545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/02/2023   KSN     CA        Maintain document control.                                 0.10       425.00           $42.50

 03/02/2023   IDD     CA        Review docket to update Critical Dates                     0.30       545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/03/2023   KSN     CA        Maintain document control.                                 0.20       425.00           $85.00

 03/03/2023   IDD     CA        Review docket to update Critical Dates                     0.30       545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/06/2023   IDD     CA        Review docket to update Critical Dates                     0.30       545.00          $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)
                    Case
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                         23-10051-JKS Doc
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 03/07/2023   IDD     CA        Review docket to update Critical Dates                0.30       545.00       $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/08/2023   MFC     CA        Emails with ID regarding changes to critical dates    0.20      1350.00       $270.00
                                memo.

 03/08/2023   KSN     CA        Maintain document control.                            0.30       425.00       $127.50

 03/08/2023   IDD     CA        Review docket to update Critical Dates                0.40       545.00       $218.00
                                Memorandum (.2); circulate same to professionals
                                (.1); advise attorneys of upcoming deadlines (.1)

 03/09/2023   IDD     CA        Revisions to Critical Dates memo per attorney         0.50       545.00       $272.50
                                comments (.2); review docket to update Critical
                                Dates Memorandum (.2); advise attorneys of
                                upcoming deadlines (.1)

 03/10/2023   KSN     CA        Maintain document control.                            0.30       425.00       $127.50

 03/11/2023   MFC     CA        Review upcoming deadlines.                            0.10      1350.00       $135.00

 03/13/2023   KSN     CA        Maintain document control.                            0.20       425.00        $85.00

 03/14/2023   KSN     CA        Maintain document control.                            0.20       425.00        $85.00

 03/14/2023   IDD     CA        Review docket to update Critical Dates                0.30       545.00       $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/15/2023   IDD     CA        Review docket to update Critical Dates                0.30       545.00       $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/16/2023   IDD     CA        Review docket to update Critical Dates                0.30       545.00       $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/17/2023   IDD     CA        Review docket to update Critical Dates                0.30       545.00       $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/20/2023   KSN     CA        Maintain document control.                            0.10       425.00        $42.50

 03/20/2023   IDD     CA        Review docket to update Critical Dates                0.30       545.00       $163.50
                                Memorandum (.2); advise attorneys of upcoming
                                deadlines (.1)

 03/21/2023   IDD     CA        Review docket to update Critical Dates                0.10       545.00        $54.50
                                Memorandum

 03/22/2023   KSN     CA        Maintain document control.                            0.10       425.00        $42.50
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
                                      Doc 441
                                          436-1 Filed
                                                   Filed
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 03/22/2023   IDD     CA        Review docket to update Critical Dates                 0.20       545.00        $109.00
                                memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 03/23/2023   MFC     CA        Review updated critical dates memo.                    0.10      1350.00        $135.00

 03/23/2023   KSN     CA        Maintain document control.                             0.10       425.00         $42.50

 03/23/2023   IDD     CA        Review docket to update Critical Dates                 0.30       545.00        $163.50
                                memorandum (.2); circulate same to Debtor's
                                professionals (.1)

 03/27/2023   IDD     CA        Review docket to update Critical Dates                 0.30       545.00        $163.50
                                memorandum (.2); advise attorneys of upcoming
                                Deadlines (.1)

 03/28/2023   IDD     CA        Review docket to update Critical Dates                 0.20       545.00        $109.00
                                memorandum (.1); advise attorneys of upcoming
                                Deadlines (.1)

 03/29/2023   IDD     CA        Review docket to update Critical Dates                 0.30       545.00        $163.50
                                memorandum (.2); advise attorneys of upcoming
                                Deadlines (.1)

 03/30/2023   IDD     CA        Review docket to update Critical Dates                 0.20       545.00        $109.00
                                memorandum (.1); advise attorneys of upcoming
                                Deadlines (.1)

 03/31/2023   IDD     CA        Review docket to update Critical Dates                 0.20       545.00        $109.00
                                memorandum (.1); advise attorneys of upcoming
                                Deadlines (.1)

                                                                                       7.90                    $4,411.50

  Claims Admin/Objections[B310]
 03/07/2023   TPC     CO        Respond to various creditor issues                     0.30      1125.00        $337.50

 03/09/2023   LDJ     CO        Respond to creditor inquiries                          0.30      1745.00        $523.50

 03/15/2023   PJK     CO        Research re postpetition admin claims re certain       1.40      1025.00       $1,435.00
                                contracts

 03/17/2023   DMB     CO        Corr from client re vendor invoicing; review backup    0.30      1450.00        $435.00
                                materials

 03/18/2023   DMB     CO        Corr from P Keane re post petition vendor billing      0.10      1450.00        $145.00

 03/20/2023   PJK     CO        Research re bar date motion, emails with PSZJ team     0.40      1025.00        $410.00
                                re same

 03/21/2023   TPC     CO        Respond to various inquiries from creditors            0.30      1125.00        $337.50
                    Case
                    Case 23-10051-JKS
                         23-10051-JKS Doc
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                                                   Filed
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 03/21/2023   PJK     CO        Research re bar date motion                              0.30      1025.00        $307.50

 03/22/2023   DMB     CO        Initial review re bar date motion                        0.40      1450.00        $580.00

 03/22/2023   LDJ     CO        Correspondence with PSZJ re: bar date motion             0.30      1745.00        $523.50

 03/22/2023   JMF     CO        Review and comment re bar date motion, order and         0.90      1275.00       $1,147.50
                                exhibits.

 03/22/2023   PJK     CO        Draft and revise bar date motion, email to PSZJ          2.60      1025.00       $2,665.00
                                team re same

 03/23/2023   MFC     CO        EMails with PJK and JF regarding bar date motion.        0.10      1350.00        $135.00

 03/23/2023   JMF     CO        Review bar date motion edits.                            0.40      1275.00        $510.00

 03/23/2023   PJK     CO        Review and revise bar date motion, emails with           0.40      1025.00        $410.00
                                PSZJ team re same

 03/24/2023   DMB     CO        Internal corr re bar date motion                         0.10      1450.00        $145.00

 03/24/2023   DMB     CO        Review bar date motion                                   0.50      1450.00        $725.00

 03/24/2023   TPC     CO        Respond to inquiries from various creditors              0.30      1125.00        $337.50

 03/24/2023   PJK     CO        Review draft bar date motion, attention to issues re     0.40      1025.00        $410.00
                                same

 03/26/2023   DMB     CO        Corr with P Keane re bar date motion                     0.20      1450.00        $290.00

 03/26/2023   DMB     CO        Review bar date motion revisions                         0.40      1450.00        $580.00

 03/26/2023   LDJ     CO        Teleconference with David Bertenthal re: bar date        0.20      1745.00        $349.00

 03/27/2023   DMB     CO        Call to E Brady re bar date                              0.10      1450.00        $145.00

 03/27/2023   DMB     CO        Prep for internal call re bar date                       0.20      1450.00        $290.00

 03/27/2023   DMB     CO        Review bar date motion revisions                         0.30      1450.00        $435.00

 03/27/2023   DMB     CO        Attend internal call re bar date                         0.30      1450.00        $435.00

 03/27/2023   LDJ     CO        Teleconference with PSZJ re: bar date motion             0.20      1745.00        $349.00

 03/27/2023   JMF     CO        Review claims bar date motion and edits.                 0.40      1275.00        $510.00

 03/27/2023   TPC     CO        Teleconference with team re: bar date motion issues      0.30      1125.00        $337.50

 03/27/2023   PJK     CO        Attention to bar date motion issues, emails with         0.60      1025.00        $615.00
                                PSZJ team re status call

 03/27/2023   PJK     CO        Call with PSZJ team re bar date motion (.2), edits to    0.60      1025.00        $615.00
                                motion and email to PSZJ team (.4)
                    Case
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 03/28/2023   DMB     CO        Corr with internal team, client re bar date motion       0.30      1450.00         $435.00

 03/28/2023   PJK     CO        Attention to bar date motion issues, emails with         0.60      1025.00         $615.00
                                PSZJ team re same

 03/29/2023   DMB     CO        Call to C Bryant re bar date                             0.10      1450.00         $145.00

 03/29/2023   DMB     CO        Call with C Bryant re bar date, status                   0.40      1450.00         $580.00

 03/29/2023   DMB     CO        Corr to LDJ re bar date                                  0.10      1450.00         $145.00

 03/29/2023   LDJ     CO        Review bar date issues, revisions                        0.30      1745.00         $523.50

 03/29/2023   PJK     CO        Review bar date motion, emails with DMB re same          0.50      1025.00         $512.50

 03/30/2023   DMB     CO        Call with TPC re bar date issues                         0.30      1450.00         $435.00

 03/30/2023   DMB     CO        Call with P Keane re bar date                            0.20      1450.00         $290.00

 03/30/2023   DMB     CO        Corr from P Keane, client re bar date                    0.20      1450.00         $290.00

 03/30/2023   DMB     CO        Review bar date motion revisions                         0.30      1450.00         $435.00

 03/30/2023   PJK     CO        Finalize bar date motion, emails with D Potts re         0.80      1025.00         $820.00
                                filing of same

 03/30/2023   PJK     CO        Attention to bar date issues and service/notice,         0.40      1025.00         $410.00
                                emails with Kroll re same, emails with client re
                                same

 03/31/2023   TPC     CO        Respond to various inquiries from creditors              0.40      1125.00         $450.00

 03/31/2023   ECO     CO        Conduct legal research re contingent claims in           2.60       725.00       $1,885.00
                                bankruptcy; prepare notes re applicable law on
                                claims and relation to service contracts.

 03/31/2023   ECO     CO        Prepare e-mail to Peter Keane re claim issue/results     0.20       725.00         $145.00
                                of research.

                                                                                        21.30                    $24,586.00

  Comp. of Prof./Others
 03/08/2023   JMF     CPO       Review First Bank fee application (.4); and emails re    0.50      1275.00         $637.50
                                filing of same (.1).

 03/08/2023   PJK     CPO       Call with T Murphy re Bank Street app (.2), research     1.20      1025.00       $1,230.00
                                issues re same (.2), emails with E Corma re samples
                                (.2), draft interim fee app for Bank Street (.6)

 03/08/2023   ECO     CPO       E-mails with Peter Keane re information for              0.10       725.00          $72.50
                                investment banker fee application.
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                                                   Filed
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 03/08/2023   ECO     CPO       Review investment banker applications for               0.60       725.00        $435.00
                                compensation and prepare e-mail to Peter Keane re
                                information for Bank Street.

 03/09/2023   MFC     CPO       Emails regarding Bank Street interim fee                0.10      1350.00        $135.00
                                application.

 03/09/2023   PJK     CPO       Emails with Bank Street re form interim fee app,        0.50      1025.00        $512.50
                                updates to same

 03/09/2023   TPC     CPO       Correspondence with Novo re: various issues related     0.60      1125.00        $675.00
                                to fees in case

 03/09/2023   TPC     CPO       Review Kroll fee invoices and discuss with team         0.30      1125.00        $337.50

 03/10/2023   TPC     CPO       Research precedents re: Novo staffing reports           0.80      1125.00        $900.00

 03/15/2023   PJK     CPO       Finalize Bank Street interim fee app (.5), calls and    1.00      1025.00       $1,025.00
                                emails with T Murphy re same (.3), emails with D
                                Potts re filing/service of same (.2)

 03/23/2023   TPC     CPO       Review Kroll retention orders and respond to            0.40      1125.00        $450.00
                                questions from client

 03/24/2023   IDD     CPO       File Novo monthly staffing report for                   0.20       545.00        $109.00
                                January/February with the Court

 03/24/2023   TPC     CPO       Draft, review, revise Novo monthly staffing report      1.30      1125.00       $1,462.50

 03/24/2023   TPC     CPO       Further edit and file Novo staffing report              0.40      1125.00        $450.00

                                                                                        8.00                    $8,431.50

  Employee Benefit/Pension-B220
 02/13/2023   LDJ     EB        Review privacy ombudsman issues, next steps             0.70      1745.00       $1,221.50

 02/13/2023   LDJ     EB        Review KERP, stay bonus issues                          0.50      1745.00        $872.50

 02/13/2023   LDJ     EB        Teleconference with PSZJ re: KERP, privacy              0.30      1745.00        $523.50
                                ombudsman issues

 03/02/2023   IDD     EB        Upload revised proposed KERP Order to Judge's           0.10       545.00         $54.50
                                Chambers

 03/07/2023   PJK     EB        Research re KERP issues per KERP order, emails          0.50      1025.00        $512.50
                                with client re questions on same

 03/14/2023   DMB     EB        Corr from P Keane re KERP .1; review order .2           0.30      1450.00        $435.00

 03/14/2023   PJK     EB        Research re KERP issues, emails with R Branning re      0.50      1025.00        $512.50
                                same
                    Case
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                                                                                       2.90                    $4,132.00

  Executory Contracts [B185]
 03/01/2023   TPC     EC        Review cure/adequate assurance objections and draft    2.00      1125.00       $2,250.00
                                responses; work with team to adjourn cure
                                objections

 03/01/2023   TPC     EC        Multiple calls and correspondence with                 1.70      1125.00       $1,912.50
                                counterparties and buyer re: resolve adequate
                                assurance issues

 03/01/2023   TPC     EC        Draft reply to sale objections                         1.00      1125.00       $1,125.00

 03/02/2023   TPC     EC        Multiple items of correspondence with                  0.90      1125.00       $1,012.50
                                counterparties re: resolved cure issues prior to
                                hearing

 03/06/2023   DMB     EC        Call with TPC re new mechanics lien                    0.10      1450.00        $145.00

 03/06/2023   DMB     EC        Corr to P Keane re disputed cures                      0.10      1450.00        $145.00

 03/06/2023   DMB     EC        Call with JMF re cure issue                            0.10      1450.00        $145.00

 03/06/2023   DMB     EC        Review new mechanics lien cure issue                   0.10      1450.00        $145.00

 03/06/2023   DMB     EC        Review materials re outstanding cure issues            0.60      1450.00        $870.00

 03/06/2023   DMB     EC        Additional research re mechanics lien issue            0.40      1450.00        $580.00

 03/06/2023   DMB     EC        brief research re mechanics lien issue                 0.50      1450.00        $725.00

 03/07/2023   DMB     EC        Corr with TPC, RJG re cure issues                      0.30      1450.00        $435.00

 03/07/2023   DMB     EC        Review/analysis re cure issues                         0.60      1450.00        $870.00

 03/07/2023   TPC     EC        Correspond with client re cure issues                  0.30      1125.00        $337.50

 03/07/2023   PJK     EC        Emails with PSZJ team re rejection procedures          0.40      1025.00        $410.00
                                motion, emails with E Corma re same

 03/07/2023   ECO     EC        E-mails with Laura Davis Jones and Peter Keane re      0.20       725.00        $145.00
                                motion to establish lease rejection procedures.

 03/08/2023   ECO     EC        Preparation of motion to approve procedures for        1.40       725.00       $1,015.00
                                rejection of executory contracts and unexpired
                                leases.

 03/09/2023   TPC     EC        Review cure issues, correspondence, etc. re: draft     1.80      1125.00       $2,025.00
                                summary of cure obligations to circulate to team and
                                buyer

 03/09/2023   TPC     EC        Correspond with counterparties re: cure issues         0.70      1125.00        $787.50

 03/09/2023   TPC     EC        Teleconference with team and buyer re: cure issues     0.50      1125.00        $562.50
                    Case
                    Case 23-10051-JKS
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 03/09/2023   TPC     EC        Correspond with counterparties re: adjournment of          0.80      1125.00        $900.00
                                hearing

 03/09/2023   ECO     EC        Continue to prepare rejection procedures motion and        2.70       725.00       $1,957.50
                                notice of motion.

 03/09/2023   ECO     EC        Prepare proposed order for rejection procedures            0.80       725.00        $580.00
                                motion and form of order rejecting executory
                                contracts/unexpired leases.

 03/09/2023   ECO     EC        Prepare proposed rejection procedures and rejection        1.90       725.00       $1,377.50
                                notice to be filed with rejection procedures motion.

 03/09/2023   ECO     EC        Prepare e-mail to Peter Keane forwarding rejection         0.10       725.00         $72.50
                                procedures motion and supporting papers.

 03/10/2023   TPC     EC        Correspond with various counterparties re: cure            0.70      1125.00        $787.50
                                issues

 03/10/2023   TPC     EC        Review various documents and correspondence re:            2.20      1125.00       $2,475.00
                                investigate various issues related to cure amounts

 03/10/2023   PJK     EC        Research re cure issues and unlisted contracts and         2.10      1025.00       $2,152.50
                                review contracts (.7), emails with PSZJ team re
                                same (.4), draft supp cure notice re unlisted contracts
                                (.3), emails with Skywire and client re same (.3),
                                finalize notice and file, emails with Kroll re same
                                (.4)

 03/11/2023   DMB     EC        Corr with RJG, TPC re cures                                0.30      1450.00        $435.00

 03/11/2023   DMB     EC        Review materials re cure issues                            0.40      1450.00        $580.00

 03/12/2023   DMB     EC        Corr with TPC re cure issues                               0.20      1450.00        $290.00

 03/12/2023   DMB     EC        Corr with RJG re cures                                     0.10      1450.00        $145.00

 03/12/2023   TPC     EC        Review cure objections (0.5), precedents and case          2.30      1125.00       $2,587.50
                                law (1.0), and various data and correspondence (0.8)
                                re: prepare analysis of cure amounts related to sale

 03/12/2023   TPC     EC        Revise and edit cure summary for team                      0.80      1125.00        $900.00

 03/13/2023   MFC     EC        Review rejection procedures motion.                        0.10      1350.00        $135.00

 03/13/2023   DMB     EC        Review revised rejection procedures motion                 0.30      1450.00        $435.00

 03/13/2023   JMF     EC        Review and edit rejection and abandonment                  1.40      1275.00       $1,785.00
                                procedures motion.

 03/13/2023   TPC     EC        Review correspondence and evaluate issues related          1.50      1125.00       $1,687.50
                                to list of assumed contracts re: sale closing
                    Case
                    Case 23-10051-JKS
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                                      Doc 441
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                                                                                      Hours           Rate     Amount

 03/13/2023   TPC     EC        Teleconference with team re: list of assumed           0.30      1125.00        $337.50
                                contracts

 03/13/2023   TPC     EC        Evaluate several issues related to proper list of      1.80      1125.00       $2,025.00
                                assumed ROEs related to sale

 03/13/2023   TPC     EC        Review and comment on rejection procedures             0.40      1125.00        $450.00
                                motion

 03/13/2023   TPC     EC        Review and respond to buyer re: contract               0.60      1125.00        $675.00
                                assumption issues

 03/13/2023   TPC     EC        Further revisions to cure summary                      0.50      1125.00        $562.50

 03/13/2023   PJK     EC        Review and revise rejection procedures motion,         1.00      1025.00       $1,025.00
                                email to PSZJ team re same

 03/13/2023   PJK     EC        Emails with TPC re edits on rejection procedures,      0.50      1025.00        $512.50
                                revise motion

 03/13/2023   PJK     EC        Emails with client and Skywire re rejection            0.40      1025.00        $410.00
                                procedures motion, attention to issues re same

 03/14/2023   MFC     EC        Review revised rejection procedures motion.            0.10      1350.00        $135.00

 03/14/2023   TPC     EC        Research case law, precedents and various facts of     2.50      1125.00       $2,812.50
                                case re: reply to cure objections asserted by
                                counterparties

 03/14/2023   TPC     EC        Draft objection to cure claims                         1.70      1125.00       $1,912.50

 03/15/2023   PJK     EC        Emails with buyer counsel re rejection procedures      0.50      1025.00        $512.50
                                motion, edits to same, emails to UCC and Barings re
                                draft

 03/15/2023   DMB     EC        Corr from P Keane, client re rejection procedures      0.20      1450.00        $290.00

 03/15/2023   DMB     EC        Corr from buyer re rejection procedures                0.10      1450.00        $145.00

 03/15/2023   DMB     EC        Review materials re circuit agreements                 0.50      1450.00        $725.00

 03/15/2023   JMF     EC        Review rejection and abandonment procedures and        1.10      1275.00       $1,402.50
                                issues re unequivocal rejection.

 03/16/2023   DMB     EC        Corr with Polsinelli re cures                          0.10      1450.00        $145.00

 03/16/2023   DMB     EC        Corr re contract terminations                          0.20      1450.00        $290.00

 03/16/2023   DMB     EC        Corr from TPC re cure issues                           0.10      1450.00        $145.00

 03/16/2023   DMB     EC        Review Polsinelli analysis re potential cure issue     0.20      1450.00        $290.00

 03/16/2023   DMB     EC        Review revised rejection procedures                    0.30      1450.00        $435.00
                    Case
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 03/16/2023   TPC     EC        Review correspondence and sale documents (0.4),           0.80      1125.00        $900.00
                                work with client (0.2), correspond with counterparty
                                (0.2) re: respond to various inquiries from contract
                                counterparties

 03/16/2023   PJK     EC        Review and edit rejection procedures motion and           0.60      1025.00        $615.00
                                finalize same, emails with D Potts re filing/service
                                of same

 03/16/2023   ECO     EC        Preparation of motion to extend period to assume or       1.60       725.00       $1,160.00
                                reject nonresidential leases of real property.

 03/17/2023   DMB     EC        Corr from UCC re rejection procedures                     0.10      1450.00        $145.00

 03/17/2023   DMB     EC        Corr with P Keane, JMF re rejection procedures            0.20      1450.00        $290.00

 03/17/2023   DMB     EC        Review/analysis re draft corr re opt in properties        0.30      1450.00        $435.00

 03/17/2023   DMB     EC        Follow up corr from P Keane re rejection procedures       0.10      1450.00        $145.00

 03/17/2023   TPC     EC        Correspond with client re: cure issues                    0.30      1125.00        $337.50

 03/17/2023   PJK     EC        Email from UCC re rejection procedures motion,            0.60      1025.00        $615.00
                                emails with PSZJ team and client re same, research
                                re same

 03/17/2023   PJK     EC        Review residential property exit list, research issues    1.20      1025.00       $1,230.00
                                re same, draft email summary re same, emails with
                                DMB re same, emails to UCC and Barings

 03/17/2023   ECO     EC        Prepare motion to extend deadline to assume/reject        1.00       725.00        $725.00
                                nonresidential real property leases, notice of motion,
                                and proposed order.

 03/19/2023   DMB     EC        Corr from E Brady re opt in properties                    0.10      1450.00        $145.00

 03/20/2023   PJK     EC        Review and revise rejection procedures order, emails      0.40      1025.00        $410.00
                                with PSZJ team re same

 03/20/2023   PJK     EC        Call with PSZJ team re rejection procedures and           0.30      1025.00        $307.50
                                other issues

 03/20/2023   DMB     EC        Prep for Polsinelli call re cure issues                   0.20      1450.00        $290.00

 03/20/2023   DMB     EC        Review materials re outstanding cure issues               0.50      1450.00        $725.00

 03/20/2023   DMB     EC        Follow up call with TPC re cures                          0.20      1450.00        $290.00

 03/20/2023   DMB     EC        Attend Polsinelli call re cures                           0.40      1450.00        $580.00

 03/20/2023   TPC     EC        Review various correspondence re: cure issues             0.80      1125.00        $900.00

 03/20/2023   TPC     EC        Teleconferences with buyer and team re: cure issues       0.50      1125.00        $562.50
                    Case
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 03/20/2023   TPC     EC        Revise and edit cure summary                             0.70      1125.00        $787.50

 03/20/2023   DMB     EC        Corr to TPC re cures                                     0.10      1450.00        $145.00

 03/20/2023   DMB     EC        Corr from P Keane re opt in properties                   0.10      1450.00        $145.00
                                discontinuation letters

 03/20/2023   DMB     EC        Review materials re opt in properties discontinuation    0.40      1450.00        $580.00
                                letters

 03/20/2023   DMB     EC        Review analysis re severability, sale issues             0.50      1450.00        $725.00

 03/21/2023   PJK     EC        Emails with PSZJ team re rejection procedures,           0.60      1025.00        $615.00
                                emails with client re same, attention to issues re
                                same

 03/21/2023   DMB     EC        Corr to TPC re cure issues                               0.10      1450.00        $145.00

 03/21/2023   TPC     EC        Several items of correspondence from team and            0.80      1125.00        $900.00
                                buyer re: additional cure issues

 03/21/2023   TPC     EC        Review correspondence and objections re: analysis        1.50      1125.00       $1,687.50
                                of asserted cures

 03/21/2023   JMF     EC        Review rejection and abandonment language and            0.70      1275.00        $892.50
                                revisions to order re same.

 03/21/2023   TPC     EC        Review and comment on rejection procedures               0.40      1125.00        $450.00

 03/21/2023   PJK     EC        Review and edit 365d4 extension motion, emails           0.50      1025.00        $512.50
                                with PSZJ team re same

 03/22/2023   PJK     EC        Email from TPC re Kuenzli / Kromer cure issues           0.30      1025.00        $307.50
                                and latest updates, review info re same

 03/22/2023   DMB     EC        Corr with internal team re rejection procedures,         0.20      1450.00        $290.00
                                365d4

 03/22/2023   DMB     EC        Review materials re circuit issues                       0.40      1450.00        $580.00

 03/22/2023   DMB     EC        Review Kromer materials                                  0.30      1450.00        $435.00

 03/22/2023   TPC     EC        Review correspondence and draft summary of               1.50      1125.00       $1,687.50
                                Kromer's cure objection and potential response

 03/22/2023   TPC     EC        Correspond with buyer and team re: cure issues           0.30      1125.00        $337.50

 03/23/2023   DMB     EC        Call with TPC re cure issues                             0.10      1450.00        $145.00

 03/23/2023   DMB     EC        Follow up call with TPC re cure issues                   0.10      1450.00        $145.00

 03/23/2023   TPC     EC        Review cure issues in advance of call with               1.40      1125.00       $1,575.00
                                Mansfield
                    Case
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 03/23/2023   TPC     EC        Teleconference with Mansfield re: cure issues          0.50      1125.00        $562.50

 03/23/2023   DMB     EC        Corr to P keane re rejection procedures                0.10      1450.00        $145.00

 03/23/2023   DMB     EC        Corr from client re rejection procedures               0.10      1450.00        $145.00

 03/23/2023   DMB     EC        Corr with client, P Keane re circuit issues            0.30      1450.00        $435.00

 03/23/2023   DMB     EC        Corr with client re opt in properties                  0.30      1450.00        $435.00

 03/23/2023   DMB     EC        Review/analysis re contract rejection research         0.60      1450.00        $870.00

 03/23/2023   JMF     EC        Review 365(d)(4) extension motion (.4) and issues      0.90      1275.00       $1,147.50
                                re TSA and designated contracts treatment under
                                APA (.5).

 03/23/2023   TPC     EC        Review and comment on motion to extend lease           0.30      1125.00        $337.50
                                rejection deadline

 03/23/2023   TPC     EC        Revise and edit response to cure claims (0.9) and      1.50      1125.00       $1,687.50
                                review related precedent and case law (0.6)

 03/23/2023   PJK     EC        Emails with client re revised rejection procedures     0.20      1025.00        $205.00

 03/24/2023   DMB     EC        Corr from P Keane re rejection procedures              0.10      1450.00        $145.00

 03/24/2023   PJJ     EC        Research landlord addresses for 365(d)(4) motion.      0.80       545.00        $436.00

 03/26/2023   DMB     EC        Further review 365d4 motion                            0.30      1450.00        $435.00

 03/27/2023   DMB     EC        Review rejection procedures comments                   0.20      1450.00        $290.00

 03/27/2023   PJK     EC        Research re leases and landlords for extension         0.40      1025.00        $410.00
                                motion, emails with Kroll re same

 03/27/2023   PJK     EC        Review UCC comments on rejection procedures,           0.30      1025.00        $307.50
                                review procedures draft, email to PSZJ team re same

 03/28/2023   DMB     EC        Corr to P Keane re commercial building                 0.10      1450.00        $145.00
                                terminations

 03/28/2023   DMB     EC        Review materials re commercial building                0.20      1450.00        $290.00
                                terminations

 03/28/2023   DMB     EC        Review revised rejection procedures                    0.30      1450.00        $435.00

 03/28/2023   JMF     EC        Review changes re rejection procedures order and       0.50      1275.00        $637.50
                                issues re abandoned property.

 03/28/2023   IDD     EC        File Motion to Extend Time to Assume or Reject         0.30       545.00        $163.50
                                Leases with the Court (.2); arrange for service of
                                same to required parties (.1)

 03/29/2023   DMB     EC        Corr from client re circuit issues                     0.10      1450.00        $145.00
                    Case
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 03/29/2023   DMB     EC        Review/analysis re circuit contract issues              0.80      1450.00       $1,160.00

 03/29/2023   DMB     EC        Follow up corr with P Keane re circuit issues           0.20      1450.00         $290.00

 03/30/2023   ECO     EC        E-mails with Peter Keane re issues regarding service    0.20       725.00         $145.00
                                agreements/research question.

 03/30/2023   ECO     EC        Review service agreements; prepare notes for            0.60       725.00         $435.00
                                research issue on bankruptcy claims.

 03/30/2023   DMB     EC        Call with P Keane re contract issues                    0.10      1450.00         $145.00

 03/30/2023   DMB     EC        Corr from client re circuit contracts                   0.20      1450.00         $290.00

 03/30/2023   DMB     EC        Corr with client re rejection issues                    0.10      1450.00         $145.00

 03/30/2023   DMB     EC        Review contracts re rejection issues                    0.60      1450.00         $870.00

 03/30/2023   DMB     EC        research re contract issues                             0.80      1450.00       $1,160.00

 03/31/2023   DMB     EC        Corr to P Keane re contract research                    0.10      1450.00         $145.00

 03/31/2023   DMB     EC        Initial review/analysis re contract research            0.50      1450.00         $725.00

                                                                                       79.30                    $89,377.00

  Financial Filings [B110]
 03/07/2023   TPC     FF        Correspond with client re: SOFA amendments              0.40      1125.00         $450.00

 03/07/2023   TPC     FF        Correspond with UST and team re: MOR issues             0.30      1125.00         $337.50

 03/07/2023   TPC     FF        Review and file MORs                                    0.70      1125.00         $787.50

 03/07/2023   IDD     FF        File Monthly Operating Reports with the Court           0.50       545.00         $272.50

 03/17/2023   TPC     FF        Correspond with client re: SOFA amendments              0.40      1125.00         $450.00

 03/22/2023   TPC     FF        Review draft MORs                                       0.60      1125.00         $675.00

 03/24/2023   TPC     FF        Correspond with client re: UST fees                     0.20      1125.00         $225.00

 03/24/2023   TPC     FF        Review and file MORs                                    0.90      1125.00       $1,012.50

 03/24/2023   TPC     FF        Draft SOFA amendment                                    0.80      1125.00         $900.00

 03/24/2023   IDD     FF        File Monthly Operating Reports for all cases            0.70       545.00         $381.50

 03/24/2023   IDD     FF        File Amended Statement of Financial Affairs with        0.30       545.00         $163.50
                                the Court (.2); arrange for service of same (.1)

                                                                                        5.80                     $5,655.00
                    Case
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  Financing [B230]
 02/09/2023   LDJ     FN        Review financing issues                                  1.00      1745.00       $1,745.00

 03/01/2023   MBL     FN        Attention to DIP lender invoice.                         0.10      1445.00        $144.50

 03/09/2023   DMB     FN        Corr with MBL, client re budget                          0.20      1450.00        $290.00

 03/09/2023   DMB     FN        Corr with MBL re budget issues                           0.20      1450.00        $290.00

 03/09/2023   LDJ     FN        Review financing, budget issues                          0.30      1745.00        $523.50

 03/09/2023   MBL     FN        Emails with client and team re funding issues;           0.20      1445.00        $289.00
                                review final DIP order.

 03/10/2023   DMB     FN        Corr with MBL re payoff letter                           0.20      1450.00        $290.00

 03/10/2023   MBL     FN        Call with client and team re funding and sale issues.    0.50      1445.00        $722.50

 03/10/2023   MBL     FN        Review and comment on DIP payoff letter; emails          0.30      1445.00        $433.50
                                with team re same.

 03/12/2023   DMB     FN        Corr with DIP lender re payoff                           0.30      1450.00        $435.00

 03/12/2023   DMB     FN        Corr with RJG, MBL re DIP loan payoff                    0.10      1450.00        $145.00

 03/12/2023   DMB     FN        Corr with DJB re DIP payoff letter                       0.10      1450.00        $145.00

 03/12/2023   DMB     FN        Review DIP payoff letter                                 0.20      1450.00        $290.00

 03/12/2023   MBL     FN        Emails with team, client, and lender counsel re DIP      0.40      1445.00        $578.00
                                payoff and sale closing issues; review applicable
                                DIP documents.

 03/13/2023   DMB     FN        Corr with MBL re payoff letter                           0.20      1450.00        $290.00

 03/13/2023   MBL     FN        Emails with team, client, and lender counsel re          0.40      1445.00        $578.00
                                revised DIP payoff letter and sale closing issues;
                                review final DIP order.

 03/29/2023   DMB     FN        Corr with MBL re budget                                  0.20      1450.00        $290.00

 03/29/2023   DMB     FN        Review materials re budget                               0.40      1450.00        $580.00

 03/29/2023   DMB     FN        Follow up internal corr re budget                        0.20      1450.00        $290.00

 03/29/2023   MBL     FN        Emails with team and client re prof fee funding          0.20      1445.00        $289.00
                                issues.

 03/30/2023   DMB     FN        Call with LDJ, MBL re wind down budget                   0.40      1450.00        $580.00

 03/30/2023   DMB     FN        Call to P keane re contract issues                       0.10      1450.00        $145.00

 03/30/2023   LDJ     FN        Teleconference with PSZJ re: funding issues              0.30      1745.00        $523.50
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 03/30/2023   MBL     FN        Call with team re funding issues.                        0.50      1445.00          $722.50

 03/31/2023   LDJ     FN        Review budget, financing issues                          0.30      1745.00          $523.50

 03/31/2023   MBL     FN        Emails with team and client re funding issues;           0.20      1445.00          $289.00
                                review budget and escrow funding.

                                                                                         7.50                    $11,421.50

  Tax Issues [B240]
 03/03/2023   DMB     TI        Corr from TPC re Texas taxes                             0.10      1450.00          $145.00

 03/03/2023   DMB     TI        Corr from Texas tax claimant                             0.10      1450.00          $145.00

 03/24/2023   DMB     TI        Corr re AZ tax filings                                   0.20      1450.00          $290.00

                                                                                         0.40                       $580.00

  Travel
 03/02/2023   DMB     TR        Return travel to SF from auction/sale hearing (billed    7.20       725.00        $5,220.00
                                at 1/2 normal rate)

 03/03/2023   JMF     TR        Travel from DE to San Francisco (billed at 1/2           7.30       637.50        $4,653.75
                                normal rate).

                                                                                        14.50                     $9,873.75

  TOTAL SERVICES FOR THIS MATTER:                                                                              $934,165.25
                    Case
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 Expenses
 02/26/2023   AT        Auto Travel Expense [E109] KLS Worldwide Transportation     259.52
                        Services, Inv.3006510, From PHL to Hotel Dupont, DMB
 03/01/2023   BM        Business Meal [E111] Spark'd, Working Meal, JMF              10.03
 03/01/2023   BM        Business Meal [E111] Spark'd, Working Meal, DMB               4.25
 03/01/2023   BM        Business Meal [E111] El Diablo Market St, Working Meal,      17.40
                        DMB
 03/01/2023   CC        Conference Call [E105] AT&T Conference Call, PJK              2.81
 03/01/2023   DC        31213.00001 Advita Charges for 03-01-23                       7.50
 03/01/2023   DC        31213.00001 Advita Charges for 03-01-23                      30.95
 03/01/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 03/01/2023   RE2       SCAN/COPY ( 95 @0.10 PER PG)                                  9.50
 03/01/2023   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                  4.10
 03/01/2023   RE2       SCAN/COPY ( 760 @0.10 PER PG)                                76.00
 03/01/2023   RE2       SCAN/COPY ( 19 @0.10 PER PG)                                  1.90
 03/01/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 03/01/2023   RE2       SCAN/COPY ( 468 @0.10 PER PG)                                46.80
 03/01/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
 03/01/2023   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
 03/01/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 03/01/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 03/01/2023   RE2       SCAN/COPY ( 95 @0.10 PER PG)                                  9.50
 03/01/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
 03/01/2023   RE2       SCAN/COPY ( 162 @0.10 PER PG)                                16.20
 03/01/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 03/01/2023   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                  4.10
 03/01/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
 03/01/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
 03/01/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 03/01/2023   TE        Travel Expense [E110] Travel Agency Service Fee, DMB         35.00
 03/02/2023   AT        Auto Travel Expense [E109] KLS Worldwide Transportation     247.52
                        Services, Inv.3006679, From Hotel DuPont to PHL, DMB
 03/02/2023   AT        Auto Travel Expense [E109] KLS Worldwide Transportation     359.93
                        Services, Inv.3006679, From SFO to 7 Overhill, DMB
 03/02/2023   BM        Business Meal [E111] Spark'd, Working Meal, DMB              10.50
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 03/02/2023   DC        31213.00001 Advita Charges for 03-02-23                 7.50
 03/02/2023   DC        31213.00001 Advita Charges for 03-02-23               171.98
 03/02/2023   DC        31213.00001 Advita Charges for 03-02-23                15.00
 03/02/2023   DC        31213.00001 Advita Charges for 03-02-23                86.61
 03/02/2023   OS        Advita, Inv. #305, (overtime), L. Saunders             80.40
 03/02/2023   RE        ( 1 @0.10 PER PG)                                       0.10
 03/02/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00
 03/02/2023   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80
 03/02/2023   RE2       SCAN/COPY ( 120 @0.10 PER PG)                          12.00
 03/02/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                            3.60
 03/02/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30
 03/02/2023   RE2       SCAN/COPY ( 18 @0.10 PER PG)                            1.80
 03/02/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
 03/02/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
 03/02/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/02/2023   RE2       SCAN/COPY ( 400 @0.10 PER PG)                          40.00
 03/02/2023   RE2       SCAN/COPY ( 158 @0.10 PER PG)                          15.80
 03/02/2023   RE2       SCAN/COPY ( 530 @0.10 PER PG)                          53.00
 03/02/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/02/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                            3.60
 03/02/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                            1.50
 03/02/2023   RE2       SCAN/COPY ( 210 @0.10 PER PG)                          21.00
 03/02/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
 03/02/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/02/2023   RE2       SCAN/COPY ( 1575 @0.10 PER PG)                        157.50
 03/02/2023   RE2       SCAN/COPY ( 322 @0.10 PER PG)                          32.20
 03/02/2023   RE2       SCAN/COPY ( 120 @0.10 PER PG)                          12.00
 03/02/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/02/2023   RE2       SCAN/COPY ( 380 @0.10 PER PG)                          38.00
 03/02/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/02/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/02/2023   RE2       SCAN/COPY ( 790 @0.10 PER PG)                          79.00
 03/02/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                             0.60
 03/02/2023   RE2       SCAN/COPY ( 237 @0.10 PER PG)                          23.70
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 03/02/2023   RE2       SCAN/COPY ( 210 @0.10 PER PG)                                   21.00
 03/02/2023   RE2       SCAN/COPY ( 158 @0.10 PER PG)                                   15.80
 03/02/2023   RE2       SCAN/COPY ( 288 @0.10 PER PG)                                   28.80
 03/02/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30
 03/02/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60
 03/02/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 03/02/2023   RE2       SCAN/COPY ( 54 @0.10 PER PG)                                     5.40
 03/02/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10
 03/02/2023   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                      0.60
 03/02/2023   TE        Travel Expense [E110] InFlight Wifi Fee, DMB                    29.00
 03/03/2023   AP        SFO Parking, JMF                                               180.00
 03/03/2023   BM        Business Meal [E111] Chickies & Pete's, Working Meal,           38.35
                        DMB
 03/03/2023   HT        Hotel Expense [E110] Hotel Du Pont, 02/26/23 - 03/02/23, 4   1,315.60
                        nights, DMB
 03/03/2023   OS        Advita, Inv. #305, (overtime), L. Lewis                        108.60
 03/03/2023   OS        Advita, Inv. #305, (overtime), L. Saunders                     245.40
 03/03/2023   RE2       SCAN/COPY ( 370 @0.10 PER PG)                                   37.00
 03/03/2023   RE2       SCAN/COPY ( 103 @0.10 PER PG)                                   10.30
 03/04/2023   HT        Hotel Expense [E110] Hotel DuPont, 4 nights, JMF             1,315.60
 03/04/2023   RE        ( 88 @0.10 PER PG)                                               8.80
 03/06/2023   CC        Conference Call [E105] AT&T Conference Call, DJB                 6.89
 03/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 03/06/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30
 03/06/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30
 03/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 03/06/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 03/06/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30
 03/06/2023   TR        Transcript [E116] Reliable, Inv. WL109620, LDJ                 326.25
 03/07/2023   CC        Conference Call [E105] AT&T Conference Call, DMB                 1.86
 03/07/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 03/07/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                      0.90
 03/07/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 03/07/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                      0.90
 03/07/2023   RE2       SCAN/COPY ( 45 @0.10 PER PG)                                     4.50
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 03/07/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/07/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/07/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30
 03/07/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40
 03/07/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/07/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/07/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/08/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        2.76
 03/08/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/08/2023   RE2       SCAN/COPY ( 48 @0.10 PER PG)                            4.80
 03/08/2023   RE2       SCAN/COPY ( 12 @0.10 PER PG)                            1.20
 03/08/2023   RE2       SCAN/COPY ( 11 @0.10 PER PG)                            1.10
 03/08/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/08/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/08/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/08/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/10/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        3.26
 03/10/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        4.11
 03/10/2023   DC        31213.00001 Advita Charges for 03-10-23                22.50
 03/10/2023   RE2       SCAN/COPY ( 154 @0.10 PER PG)                          15.40
 03/10/2023   RE2       SCAN/COPY ( 64 @0.10 PER PG)                            6.40
 03/10/2023   RE2       SCAN/COPY ( 98 @0.10 PER PG)                            9.80
 03/10/2023   RE2       SCAN/COPY ( 72 @0.10 PER PG)                            7.20
 03/10/2023   RE2       SCAN/COPY ( 206 @0.10 PER PG)                          20.60
 03/10/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/10/2023   RE2       SCAN/COPY ( 26 @0.10 PER PG)                            2.60
 03/10/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40
 03/10/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40
 03/10/2023   RE2       SCAN/COPY ( 334 @0.10 PER PG)                          33.40
 03/10/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00
 03/10/2023   RE2       SCAN/COPY ( 14 @0.10 PER PG)                            1.40
 03/10/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00
 03/10/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30
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 03/10/2023   RE2       SCAN/COPY ( 130 @0.10 PER PG)                          13.00
 03/10/2023   RE2       SCAN/COPY ( 302 @0.10 PER PG)                          30.20
 03/10/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/10/2023   RE2       SCAN/COPY ( 60 @0.10 PER PG)                            6.00
 03/10/2023   RE2       SCAN/COPY ( 94 @0.10 PER PG)                            9.40
 03/10/2023   RE2       SCAN/COPY ( 10 @0.10 PER PG)                            1.00
 03/10/2023   RE2       SCAN/COPY ( 74 @0.10 PER PG)                            7.40
 03/10/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/10/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/10/2023   RE2       SCAN/COPY ( 21 @0.10 PER PG)                            2.10
 03/10/2023   RE2       SCAN/COPY ( 3 @0.10 PER PG)                             0.30
 03/10/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/10/2023   RE2       SCAN/COPY ( 78 @0.10 PER PG)                            7.80
 03/10/2023   RE2       SCAN/COPY ( 78 @0.10 PER PG)                            7.80
 03/10/2023   RE2       SCAN/COPY ( 140 @0.10 PER PG)                          14.00
 03/10/2023   RE2       SCAN/COPY ( 65 @0.10 PER PG)                            6.50
 03/10/2023   RE2       SCAN/COPY ( 55 @0.10 PER PG)                            5.50
 03/10/2023   RE2       SCAN/COPY ( 43 @0.10 PER PG)                            4.30
 03/11/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/11/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/13/2023   CC        Conference Call [E105] AT&T Conference Call, DJB        3.56
 03/13/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        1.92
 03/13/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                             0.90
 03/13/2023   RE2       SCAN/COPY ( 38 @0.10 PER PG)                            3.80
 03/14/2023   DC        31213.00001 Advita Charges for 03-14-23                15.00
 03/14/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/14/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/14/2023   TR        Transcript [E116] Veritext. Inv. 6398848, LDJ        2,723.15
 03/15/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        6.56
 03/15/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        1.34
 03/15/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        2.73
 03/15/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        3.03
 03/16/2023   RE2       SCAN/COPY ( 42 @0.10 PER PG)                            4.20
 03/17/2023   BM        Business Meal [E111] Deco, working meal, TPC           18.60
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 03/17/2023   RE2       SCAN/COPY ( 80 @0.10 PER PG)                            8.00
 03/20/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        3.87
 03/21/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        0.57
 03/22/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        5.45
 03/22/2023   LN        31213.00001 Lexis Charges for 03-22-23                 63.57
 03/22/2023   RE2       SCAN/COPY ( 53 @0.10 PER PG)                            5.30
 03/23/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        2.13
 03/23/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        3.56
 03/23/2023   DC        31213.00001 Advita Charges for 03-23-23                22.50
 03/23/2023   RE2       SCAN/COPY ( 19 @0.10 PER PG)                            1.90
 03/23/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/23/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/23/2023   RE2       SCAN/COPY ( 4 @0.10 PER PG)                             0.40
 03/23/2023   RE2       SCAN/COPY ( 7 @0.10 PER PG)                             0.70
 03/23/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                             0.20
 03/23/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/23/2023   RE2       SCAN/COPY ( 8 @0.10 PER PG)                             0.80
 03/23/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/24/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/24/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/24/2023   RE2       SCAN/COPY ( 68 @0.10 PER PG)                            6.80
 03/24/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/24/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/24/2023   RE2       SCAN/COPY ( 24 @0.10 PER PG)                            2.40
 03/24/2023   RE2       SCAN/COPY ( 16 @0.10 PER PG)                            1.60
 03/27/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ        1.75
 03/27/2023   CC        Conference Call [E105] AT&T Conference Call, PJK        2.23
 03/27/2023   CC        Conference Call [E105] AT&T Conference Call, TPC        0.75
 03/27/2023   DC        31213.00001 Advita Charges for 03-27-23                61.50
 03/27/2023   RE2       SCAN/COPY ( 1 @0.10 PER PG)                             0.10
 03/28/2023   BM        Business Meal [E111] Deco, working meal, TPC           17.40
 03/28/2023   CC        Conference Call [E105] AT&T Conference Call, DMB        4.18
 03/28/2023   RE2       SCAN/COPY ( 43 @0.10 PER PG)                            4.30
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 03/28/2023   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                    3.40
 03/28/2023   RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
 03/28/2023   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
 03/29/2023   RE2       SCAN/COPY ( 80 @0.10 PER PG)                                    8.00
 03/30/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ                5.46
 03/30/2023   CC        Conference Call [E105] AT&T Conference Call, LDJ                2.81
 03/31/2023   BM        Business Meal [E111] Cuctus Cantina, working meal, TPC         36.52
 03/31/2023   DC        31213.00001 Advita Charges for 03-31-23                        22.50
 03/31/2023   LN        31213.00001 Lexis Charges for 03-31-23                        122.25
 03/31/2023   RE2       SCAN/COPY ( 118 @0.10 PER PG)                                  11.80
 03/31/2023   PAC       Pacer - Court Research                                        364.80

   Total Expenses for this Matter                                                $9,606.27
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        03/31/2023

Total Fees                                                                                           $934,165.25

Total Expenses                                                                                             9,606.27

Total Due on Current Invoice                                                                         $943,771.52

  Outstanding Balance from prior invoices as of        03/31/2023          (May not include recent payments)

A/R Bill Number          Invoice Date               Fees Billed         Expenses Billed             Balance Due
 132148                  01/31/2023                $304,014.00           $11,622.17                   $60,802.80

 132223                  02/28/2023                $991,725.50           $11,753.08                 $198,345.10

             Total Amount Due on Current and Prior Invoices:                                       $1,202,919.42
